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                            EXHIBIT 3
Case 3:15-cv-07658-MAS-LHG Document 610-3 Filed 08/07/20 Page 2 of 343 PageID: 18492




         REDACTED
         EXHIBIT B
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 WDUJHWVWREHDFTXLUHGDQGWKHGHEWXVHGWRILQDQFHVXFKWUDQVDFWLRQVFDQJURZWRXQVXVWDLQDEOH

 OHYHOV7RGHPRQVWUDWHWKHORQJWHUPYDOXHRI3HDUVRQ¶VVWUDWHJ\WKHUHIRUH'HIHQGDQWVKDGWR

 FRQYLQFHLQYHVWRUVWKDW9DOHDQWFRXOGLQFUHDVHWKHVDOHVYROXPHRIWKHGUXJV9DOHDQWDFTXLUHG

 'XULQJWKH&ODVV3HULRG'HIHQGDQWVDVVXUHGLQYHVWRUVWKDW9DOHDQW¶V³QRQWUDGLWLRQDO´EXVLQHVV

 VWUDWHJ\ZLWKLWVSXUSRUWHGO\VXSHULRUPDUNHWLQJZDVGRLQJMXVWWKDW'HIHQGDQWVIXUWKHUDVVXUHG

 WKH PDUNHW WKDW 9DOHDQW¶V EXVLQHVV VWUDWHJLHV ZHUH ³VXVWDLQDEOH´  ,Q UHVSRQVH 9DOHDQW¶V VWRFN

 SULFHFOLPEHGIURPMXVWXQGHURQ'HFHPEHUMXVWEHIRUHWKHVWDUWRIWKH&ODVV3HULRG

 WRRYHURQ$XJXVW±WKH&ODVV3HULRGKLJK±DQLQFUHDVHRIQHDUO\

                 9DOHDQW¶V 8QGLVFORVHG %XVLQHVV 3UDFWLFHV  9DOHDQW¶V ³QRQWUDGLWLRQDO´ EXVLQHVV

 VWUDWHJ\KRZHYHUZDVQHLWKHUORZULVNQRUVXVWDLQDEOH5DWKHULWFRQVLVWHGRIGHFHSWLYHSUDFWLFHV

 WKDWHQDEOHG'HIHQGDQWVWRUHSRUWLQIODWHGVKRUWWHUPSURILWDELOLW\ZKLOHH[SRVLQJWKH&RPSDQ\WR

 PDVVLYHXQGLVFORVHGULVNVLQFOXGLQJORVWVDOHVUHJXODWRU\VDQFWLRQVDQGUHSXWDWLRQDOKDUP7KH

 FRQFHDOHGSUDFWLFHVLQFOXGHG



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      See$SSHQGL[RI0HGLD6RXUFHVILOHGKHUHZLWK


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       x    3ULFH*RXJLQJ'HIHQGDQWVFRQFHDOHGIURPLQYHVWRUVWKHH[WHQWWRZKLFK
             9DOHDQW¶VSURILWDELOLW\DQGSXUSRUWHGJURZWKZHUHGHSHQGHQWRQGUDPDWLF
             SULFHLQFUHDVHVIDUEH\RQGLQGXVWU\QRUPV)RUH[DPSOH9DOHDQWFODLPHG
             LWZDVFRQWUDFWXDOO\OLPLWHGWRSULFHLQFUHDVHVRIRUOHVVEXWRIWHQUDLVHG
             WKH SULFH RI GUXJV E\  WR   6XFK GUDVWLF SULFH LQFUHDVHV
             SURYLGHGDQLOOXVRU\ERRVWWRSURILWDELOLW\DQGZHUHXQVXVWDLQDEOHDVWKH\
             H[SRVHG9DOHDQWWREXVLQHVVDQGUHJXODWRU\ULVNVWKDWSD\RUVZRXOGUHMHFW
             SD\PHQWRUVXEVWLWXWHQRQ9DOHDQWSURGXFWVDQGVHUYHGWRPLVOHDGLQYHVWRUV
             DVWR9DOHDQW¶VWUXHILQDQFLDOSHUIRUPDQFHDQGSURVSHFWV

       x    &ODQGHVWLQH 1HWZRUN RI &DSWLYH 3KDUPDFLHV  ,QGHSHQGHQW SKDUPDFLHV
             VHUYH DV D FKHFN RQ SULFH JRXJLQJ WR UHGXFH IUDXG E\ HQFRXUDJLQJ WKH
             VXEVWLWXWLRQRIFKHDSHUSURGXFWV$NH\FRPSRQHQWRI9DOHDQW¶VGHFHSWLYH
             VWUDWHJ\ZDVWRUHURXWHSUHVFULSWLRQVDZD\IURPLQGHSHQGHQWSKDUPDFLHV
             LQWR9DOHDQW¶VVHFUHWQHWZRUNRIFRQWUROOHGSKDUPDFLHVPDGHXSRIHQWLWLHV
             QDPHGDIWHUFKHVVPRYHV3KLOLGRUZDVWKHSULPDU\SKDUPDF\LQ9DOHDQW¶V
             VHFUHWQHWZRUNDQGZDVIRUPHGZLWKWKHDVVLVWDQFHRI9DOHDQWHPSOR\HHV
             ZKR XVHG DOLDVHV WR FRQFHDO WKHLU LQYROYHPHQW DW 3KLOLGRU  9DOHDQW
             FRQFHDOHG LWV FRQWURO RYHU 3KLOLGRU WR FUHDWH WKH IDOVH LPSUHVVLRQ WKDW
             3KLOLGRUDQGLWVHQWLUHQHWZRUNRISKDUPDFLHVZHUHLQGHSHQGHQWUHGXFLQJ
             WKHOLNHOLKRRGWKDWSD\RUVRUSKDUPDF\EHQHILWPDQDJHUV ³3%0V´ ZRXOG
             VXEMHFWWKHSKDUPDFLHVWRHQKDQFHGVFUXWLQ\WKURXJKDXGLWVDQGDVDUHVXOW
             UHIXVHWRUHLPEXUVHWKHKLJKSULFHGGUXJVRUXQQHFHVVDU\UHILOOV&RQFHDOLQJ
             LWV UHODWLRQVKLS ZLWK DQG DYRLGLQJ VFUXWLQ\ RI  3KLOLGRU ZDV SDUWLFXODUO\
             LPSRUWDQW EHFDXVH 3KLOLGRU HQJDJHG LQ DGGLWLRQDO GHFHSWLYH SUDFWLFHV WR
             ZURQJIXOO\REWDLQSD\PHQWIRU9DOHDQW¶VGUXJVVXFKDVDOWHULQJSK\VLFLDQ
             SUHVFULSWLRQVWRUHTXLUH9DOHDQWSURGXFWVDQGUHVXEPLWWLQJUHMHFWHGFODLPV
             XVLQJIDOVHLQIRUPDWLRQ

       x    3DWLHQW$VVLVWDQFH3DWLHQWFRSD\VDOVRUHGXFHIUDXGE\HQVXULQJSDWLHQWV
             KDYHDQLQFHQWLYHWRFRPSODLQDQGRUVHHNJHQHULFDOWHUQDWLYHVIURPWKHLU
             SK\VLFLDQV LI WKH\ DUH SUHVFULEHG KLJKSULFHG PHGLFDWLRQV RU UHFHLYH
             XQQHFHVVDU\UHILOOV7KXVFHUWDLQSUDFWLFHVGHVLJQHGWRZDLYHRUHOLPLQDWH
             SDWLHQWFRSD\VWRLQFUHDVHVDOHVDQGVDOHSULFHVFDQYLRODWHFULPLQDO DQWL
             NLFNEDFN ODZV LI JRYHUQPHQW SD\RUV VXFK DV 0HGLFDLG DUH WDUJHWHG
             9DOHDQWWDUJHWHGSULYDWHSD\RUVZLWKVXFKGHFHSWLYHSUDFWLFHVHYHQWKRXJK
             WKRVHSUDFWLFHVVWLOOFDUULHGPDVVLYHEXVLQHVVULVNVLQFOXGLQJYLRODWLQJVWDWH
             ODZV DQG FRQWUDFWV DQG DOLHQDWLQJ SK\VLFLDQV SD\RUV DQG 3%0V DQG
             WKHUHE\UHGXFLQJRYHUDOOVDOHV7RSURORQJLWVVFKHPHWRGHIUDXG9DOHDQW
             VHFUHWO\ZDLYHGFRSD\VDQGHYHQVHQWIORZHUVWRSDWLHQWVZKRFRPSODLQHG
             DERXW WKH PDVVLYH SULFH LQFUHDVHV WKHUHE\ GLYHUWLQJ QHJDWLYH PHGLD
             DWWHQWLRQDQGVLOHQFLQJSDWLHQWVIURPFRPSODLQLQJWRWKHLUSK\VLFLDQVDQG
             LQVXUHUV

       x    0LVUHSUHVHQWLQJ9ROXPH*URZWK7RFRQFHDOWKHVL]HRI9DOHDQW¶VSULFH
             LQFUHDVHV DQG WKH H[WHQW WR ZKLFK LWV JURZWK ZDV GHSHQGHQW RQ VXFK
             LQFUHDVHV 'HIHQGDQWV PLVUHSUHVHQWHG YROXPH JURZWK LQ LWV VWDWHPHQWV WR

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                     LQYHVWRUV)RUH[DPSOHHYHQWKRXJKSULFHLQFUHDVHVZHUHUHVSRQVLEOHIRU
                      RI 9DOHDQW¶V JURZWK LQ WKH ILUVW TXDUWHU RI  ³4´  3HDUVRQ
                     IDOVHO\FODLPHGWKDW9DOHDQWKDGJURZQPRUHGXHWRYROXPHLQFUHDVHVWKDQ
                     SULFHLQFUHDVHV

           x        $FFRXQWLQJ )UDXG  9DOHDQW XVHG 3KLOLGRU WR UHFRUG ILFWLWLRXV VDOHV DQG
                     LQIODWH LWV UHYHQXHV LQ YLRODWLRQ RI *$$3  $OWKRXJK *$$3 UHTXLUHG
                     9DOHDQWWRUHFRUGUHYHQXHVRQO\RQWKHXOWLPDWHVDOHWRDSDWLHQW9DOHDQW
                     UHFRJQL]HG UHYHQXH RQ VKLSPHQWV WR 3KLOLGRU  :RUVH 9DOHDQW GRXEOH
                     FRXQWHG UHYHQXHV E\ UHFRJQL]LQJ UHYHQXH D VHFRQG WLPH ZKHQ 3KLOLGRU
                     VKLSSHGSURGXFWVWRSDWLHQWV9DOHDQWODFNHGDGHTXDWHLQWHUQDOFRQWUROVWR
                     SUHYHQWWKLVDFFRXQWLQJIUDXG

 'HIHQGDQWV&RQFHDOHG7KHLU,PSURSHU3UDFWLFHV

                 'XULQJWKH&ODVV3HULRG'HIHQGDQWV¶GHFHSWLYHSUDFWLFHVDQGWKHDVVRFLDWHGULVNV

 WKHUHIURPZHUHFRQFHDOHGIURPLQYHVWRUV9DOHDQWDQGLWVVHQLRUH[HFXWLYHVFODLPHG9DOHDQW¶V

 GUDPDWLFJURZWKLQUHYHQXHVDQGSURILWDELOLW\ZDVDWWULEXWDEOHWR9DOHDQW¶V³LQQRYDWLYH´PDUNHWLQJ

 VWUDWHJLHV LQFUHDVHG VDOHV YROXPH DQG SXUSRUWHGO\ ORZHUULVN DQG VXVWDLQDEOH EXVLQHVV PRGHO

 'HIHQGDQWV IXUWKHU PLVOHG LQYHVWRUV E\ UHSHDWHGO\ DVVXULQJ LQYHVWRUV WKDW 9DOHDQW KDG VWURQJ

 LQWHUQDOFRQWUROVDQGFRPSOLDQFHDQGWKDWLWVDFFRXQWLQJFRPSOLHGZLWK*$$3

                 )RU H[DPSOH RQ -DQXDU\   'HIHQGDQWV DQQRXQFHG WKHLU DOWHUQDWLYH

 IXOILOOPHQW ³$)´ VWUDWHJ\WRERRVWUHYHQXHVE\URXWLQJSUHVFULSWLRQVWKURXJKDQDOWHUQDWHFKDQQHO

 RIVHHPLQJO\LQGHSHQGHQWVSHFLDOW\SKDUPDFLHV'HIHQGDQWVFRQFHDOHGWKHIRUPDWLRQRI3KLOLGRU

 DQG WKHUHDIWHU FRQWLQXHG WR FRQFHDO 9DOHDQW¶V UHODWLRQVKLS ZLWK 3KLOLGRU DQG WKH QXPHURXV

 SUDFWLFHVXVHGWRGHFHLYHSD\RUV6LPSO\SXW'HIHQGDQWVWRXWHGWKHSXUSRUWHGEHQHILWVRIWKH$)

 VWUDWHJ\ZKLOHFRQFHDOLQJWKHGHFHSWLRQDQGULVNVDVVRFLDWHGWKHUHZLWK,QUHVSRQVHWRDQDQDO\VW

 TXHVWLRQDERXWWKH$)LQLWLDWLYHRQD-XO\FRQIHUHQFHFDOO3HDUVRQVXFFLQFWO\QRWHG³it’s

 a competitive advantage that we have´DQG³a very successful initiative.´


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      (PSKDVLVKDVEHHQDGGHGWRWKHSDUWLFXODUVWDWHPHQWVDOOHJHGWREHIDOVHDQGPLVOHDGLQJ


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             9DOHDQW¶V GHFHSWLRQ ZDV IURQW DQG FHQWHU ZKHQ 9DOHDQW HQJDJHG LQ D KRVWLOH

 WDNHRYHUDWWHPSWRIGUXJPDQXIDFWXUHU$OOHUJDQ,QF ³$OOHUJDQ´ LQ$OOHUJDQUHEXIIHGWKH

 RIIHUDUJXLQJWKDW9DOHDQW¶VEXVLQHVVPRGHOZDVXQVXVWDLQDEOHDQGUHOLDQWRQ³VRPHH\HSRSSLQJ

 LQFUHDVHV RI SULFH´  'HIHQGDQWV UHSHDWHGO\ DVVXUHG LQYHVWRUV WKDW $OOHUJDQ¶V FODLPV ZHUH

 FRPSOHWHO\IDOVH2Q0D\3HDUVRQWROGLQYHVWRUV³the highest price increase we could

 take under any managed care contract we have in the US is 9% a year´7KXV3HDUVRQUHDVRQHG

 ³we have a lot of constraints, just like other pharma companies do, in terms of pricing.´ 3HDUVRQ

 H[SOLFLWO\FRQILUPHGWKDW³the vast majority of our growth on a global basis. . . is volume´2Q

 -XQH3HDUVRQWROGLQYHVWRUV³I can assure you our operating model is both durable and

 sustainable´SRLQWLQJRXWWKDWPRVWRIWKH&RPSDQ\¶VWRSSURGXFWVZHUH³growing by volume,

 not just price.´2Q-XO\3HDUVRQHYHQFODLPHGWKDWDW9DOHDQWZH³[p]ut patients and

 our customers first by maintaining the highest ethical standards in the industry´  ,Q WUXWK

 KRZHYHU9DOHDQWGLGQRWKLQJRIWKHVRUW5DWKHUWRKLWLWVILQDQFLDOWDUJHWV9DOHDQWGUDPDWLFDOO\

 LQFUHDVHGWKH SULFHV RIFHUWDLQ SURGXFWV E\ PDQ\ PXOWLSOHVRI DQ\  OLPLW RU QRUPDO LQGXVWU\

 LQFUHDVHVIDFLOLWDWHGE\WKHGHFHSWLYHSUDFWLFHVGHWDLOHGKHUHLQ

             'HIHQGDQWV IDOVHO\ FODLPHG WKH JURZWK LQ VDOHV ZDV WKH UHVXOW RI PDUNHWLQJ WKH

 DFTXLUHG GUXJV EHWWHU WKDQ WKHLU SUHGHFHVVRUV )RU H[DPSOH RQ )HEUXDU\   +RZDUG%

 6FKLOOHU ³6FKLOOHU´  9DOHDQW¶V &)2 DWWULEXWHG ³the outstanding results in our dermatology

 business´WRWKH³implementation of innovative marketing approaches´ZKLOHFRQFHDOLQJIURP

 LQYHVWRUVWKDWDQLQFUHDVLQJSRUWLRQRIGHUPDWRORJ\VDOHVZHUHEHLQJURXWHGWKURXJK3KLOLGRUDQG

 WKDWWKRVHVDOHVZHUHEHLQJERRVWHGE\GHFHSWLYHSUDFWLFHVDQGDFFRXQWLQJIUDXG$QGRQ$SULO

 3HDUVRQIDOVHO\WROGDQDO\VWV³In terms of price volume, actually, volume was greater than




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 price in terms of our growth´±ZKHQLQIDFWRI9DOHDQW¶VJURZWKKDGEHHQDFKLHYHGWKURXJK

 LQFUHDVLQJSULFHVDQGRQO\WKURXJKLQFUHDVLQJYROXPHGXULQJ4

             'HIHQGDQWVXVHG9DOHDQW¶VVHFXULWLHVLQIODWHGE\WKHLUSULRUPLVUHSUHVHQWDWLRQVWR

 IXUWKHU9DOHDQW¶VDFTXLVLWLRQVWUDWHJ\DQGDFTXLUHFRPSDQLHVPRUHFKHDSO\9DOHDQWFRQGXFWHG

 QXPHURXV GHEW DQG HTXLW\ RIIHULQJV JHQHUDWLQJ DSSUR[LPDWHO\  ELOOLRQ LQ SURFHHGV IRU WKH

 &RPSDQ\ IURP WKH LQYHVWLQJ SXEOLF DQG XVHG WKH SURFHHGV WR IXQG FDVK DFTXLVLWLRQV RI RWKHU

 FRPSDQLHV

 7KH*UDGXDO'LVFORVXUHRIWKH7UXWK

             'HIHQGDQWV¶ VFKHPH VWDUWHG WR FRPH WR OLJKW LQ 6HSWHPEHU  DV D UHVXOW RI

 JRYHUQPHQWLQYHVWLJDWLRQVDODZVXLWE\DSKDUPDF\ZKRVH1DWLRQDO3URYLGHU,GHQWLILHU ³13,´ 

 3KLOLGRU KDG IUDXGXOHQWO\ XVHG WR REWDLQ SD\PHQWV IURP LQVXUHUV DQG WKH UHYHODWLRQ E\

 LQYHVWLJDWLYH MRXUQDOLVWV RI 9DOHDQW¶V VHFUHW UHODWLRQVKLS ZLWK 3KLOLGRU  'HVSLWH WKHVH SDUWLDO

 GLVFORVXUHV'HIHQGDQWVFRQWLQXHGWRPLVOHDG)RUH[DPSOHRQ2FWREHUZKHQDUHSRUW

 VXUIDFHGTXHVWLRQLQJZKHWKHU9DOHDQWFRXOG³EHWKHSKDUPDFHXWLFDO(QURQ´DQGVXJJHVWLQJWKDW

 9DOHDQWFRXOGEHXVLQJ3KLOLGRUWRLQIODWHVDOHV'HIHQGDQWVUHVSRQGHGGD\VODWHUE\VWDWLQJ³we

 stand by our accounting treatment of Philidor completely´9DOHDQW'LUHFWRU5REHUW$,QJUDP

  ³,QJUDP´ DGGHGWKDW³[t]he audit committee of the Board and the full Board have reviewed the

 Company’s accounting, the Philidor relationship, and have confirmed the appropriateness of

 the Company’s revenue recognition and accounting treatment´,QWUXWKKRZHYHU9DOHDQWKDG

 IUDXGXOHQWO\LQIODWHGLWVUHYHQXHVWKURXJK3KLOLGRULQYLRODWLRQRI*$$3UHTXLULQJLWWRUHVWDWHLWV

 IDOVHILQDQFLDOVWDWHPHQWVMXVWPRQWKVODWHUDIWHUWKH6(&FRPPHQFHGDQLQYHVWLJDWLRQ

             2Q 2FWREHU   RQH RI 9DOHDQW¶V ODUJHVW VKDUHKROGHUV $FNPDQ ZURWH DQ

 HPDLOWR3HDUVRQ6FKLOOHUDQGRWKHUERDUGPHPEHUVUHJDUGLQJDQDUWLFOHE\-RH1RFHUDLQThe



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 New York TimesWKDWGHVFULEHG9DOHDQWDV³VOHD]\´DQGTXHVWLRQHGZKHWKHU9DOHDQWZDVWKH³1H[W

 (QURQ´$FNPDQWROG3HDUVRQ³ZKHQRQHRIWKHPRVWFUHGLEOHMRXUQDOLVWVLQWKHZRUOGDFFXVHV

 \RXRIEHLQJWKHQH[W(QURQWLPHLVVKRUW´+HZDUQHGWKDW³<RXUUHSXWDWLRQDQGWKDWRIWKHUHVW

 RIWKHERDUGDORQJZLWKWKHFRPSDQ\LVDWJUDYHULVNRIEHLQJGHVWUR\HGRQDSHUPDQHQWEDVLV´

 $FNPDQDGYLVHGWKHPWRKROGDFRQIHUHQFHFDOOWR³DQVZHUWKHTXHVWLRQVKRQHVWO\QRPDWWHUKRZ

 HPEDUUDVVLQJWKHDQVZHUVDUHDQGQRPDWWHUZKDWWKHOHJDOLPSOLFDWLRQVDUH´$FNPDQFULWLFL]HG

 3HDUVRQ¶VDEUXSWHQGWRWKHSUHYLRXVFRQIHUHQFHFDOODQGKLVVFULSWHGDQVZHUVVWDWLQJ³7KHRQO\

 SHRSOH WKDW QHHG VFULSWV DQG OLPLWHG TXHVWLRQV DUH FURRNV  -RH 1RFHUD LV ULJKW  <RX ORRN OLNH

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                 2Q 2FWREHU   LQYHVWLJDWLYH MRXUQDOLVWV UHSRUWHG WKDW IRUPHU 3KLOLGRU

 HPSOR\HHVDGPLWWHG3KLOLGRU¶VGHFHSWLYHSUDFWLFHVDQGSURYLGHG3KLOLGRU PDQXDOVGRFXPHQWLQJ

 VRPH RI WKRVH SUDFWLFHV LQFOXGLQJ ³D FRXSOH RI GLIIHUHQW µEDFN GRRU¶ DSSURDFKHV WR UHFHLYH

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 FRQWUROVDQGGLVFORVXUHFRQWUROVDQGWKDWLWFRXOGQRWUHOHDVHDXGLWHGILQDQFLDOVWDWHPHQWVXQWLOWKH

 ERDUGFRPSOHWHGLWVDVVHVVPHQWRIWKH&RPSDQ\¶VLQWHUQDOFRQWUROV7KLVGHOD\ULVNHGDQHYHQWRI

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 DVDFRQVXOWDQWWR9DOHDQW'XULQJWKH&ODVV3HULRG3HDUVRQDZDUGHGKLPVHOIZLWK9DOHDQWVWRFN

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 9DOHDQW¶VERDUGRIGLUHFWRUVLQ6HSWHPEHUDQGKHUHPDLQHGDGLUHFWRUXQWLO-XQH

 6FKLOOHUVHUYHGDVWKH&RPSDQ\¶VLQWHULP&(2LQ-DQXDU\DQG)HEUXDU\ZKLOH3HDUVRQZDV

 RXWRQPHGLFDOOHDYH%HIRUHMRLQLQJ9DOHDQWLQ'HFHPEHU6FKLOOHUKDGD\HDUFDUHHUDV

 DQLQYHVWPHQWEDQNHUDW*ROGPDQ6DFKV &R ³*ROGPDQ6DFKV´ DILUPWKDWZDVSDLGPRUHWKDQ

 PLOOLRQE\9DOHDQWSULQFLSDOO\IRULWVUROHVLQDGYLVLQJ9DOHDQWRQWKH%LRYDLOPHUJHUDQG

 UDLVLQJ FDSLWDO IRU DFTXLVLWLRQV  2Q 0DUFK   9DOHDQW VWDWHG 6FKLOOHU KDG HQJDJHG LQ

 ³LPSURSHUFRQGXFW´DQGWKH&RPSDQ\DVNHGKLPWRUHVLJQIURPKLVSRVLWLRQRQWKHERDUG6FKLOOHU

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 -XQH   6FKLOOHU¶V WRWDO FRPSHQVDWLRQ FDVK DQG VWRFN DZDUGV  IRU  DQG  ZDV

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 WKHWKUHHPHPEHUVRIWKH2IILFHRIWKH&(2LQWKHLQWHULPSHULRGEHWZHHQ3HDUVRQEHJLQQLQJKLV

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             'HIHQGDQW-RUQZDV9LFH3UHVLGHQWRI*OREDO0DUNHWLQJDW%DXVFK /RPEIURP

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 9DOHDQW-RUQVHUYHGDVD9DOHDQW([HFXWLYH9LFH3UHVLGHQWDQG&RPSDQ\*URXS&KDLUPDQXQWLO

 KHUGHSDUWXUHRQ0DUFK-RUQZDVJHQHUDOPDQDJHURIWKH&RPSDQ\¶V86GHUPDWRORJ\

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 WKUHH PHPEHUV RI WKH 2IILFH RI WKH &(2 LQ WKH LQWHULP SHULRG EHWZHHQ 3HDUVRQ EHJLQQLQJ KLV

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 WRWDOFRPSHQVDWLRQ FDVKDQGVWRFNDZDUGV IRUDQGZDVDSSUR[LPDWHO\PLOOLRQ

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             'HIHQGDQW&DUURZDVDWDOOUHOHYDQWWLPHVWKH&RPSDQ\¶V&RUSRUDWH&RQWUROOHU2Q

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 FRPPLWWLQJ³LPSURSHUFRQGXFW´WKDW³UHVXOWHGLQWKHSURYLVLRQRILQFRUUHFWLQIRUPDWLRQWRWKH>DG

 KRF@FRPPLWWHHDQGWKHFRPSDQ\¶VDXGLWRUV´2Q0D\9DOHDQWDQQRXQFHGWKHKLULQJRI

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 )HEUXDU\DQGWKHQ&KDLUPDQRIWKH%RDUGIURP-DQXDU\WR0D\ZKHQKHZDV

 UHSODFHGDV&KDLUPDQE\WKHLQFRPLQJ&(2$WDOOUHOHYDQWWLPHV,QJUDPZDVDPHPEHURIWKH

 &RPSDQ\¶V7DOHQWDQG&RPSHQVDWLRQ&RPPLWWHH&RUSRUDWH*RYHUQDQFH&RPPLWWHHDQG$G+RF

 &RPPLWWHHIRUPHGWRLQYHVWLJDWHLVVXHVUHODWHGWR3KLOLGRU,QJUDPVLJQHGWKH&RPSDQ\¶V

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 7RURQWR DQG 1HZ <RUN RIILFHV SULRU WR KLV UHWLUHPHQW LQ   $W 9DOHDQW )DUPHU ZDV WKH

 &KDLUPDQ RI WKH 7DOHQW DQG &RPSHQVDWLRQ &RPPLWWHH DQG D PHPEHU RI WKH 1RPLQDWLQJ DQG

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 9DOHDQWDQQRXQFHGWKDW)DUPHUZRXOGQRWEHVHHNLQJUHHOHFWLRQ DQG KH ZDV UHSODFHG LQ -XQH

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 -RKQVRQ$W9DOHDQW*RJJLQVZDVDPHPEHURIWKH)LQDQFHDQG7UDQVDFWLRQV&RPPLWWHHDQG

 WKH1RPLQDWLQJDQG&RUSRUDWH*RYHUQDQFH&RPPLWWHH*RJJLQVVLJQHGWKH&RPSDQ\¶V

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                 'HIHQGDQW$QGHUV/|QQHU ³/|QQHU´ VHUYHGDVDPHPEHURI9DOHDQW¶VERDUGRI

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 &RPPLWWHHDQGWKH&KDLUPDQRIWKH)LQDQFHDQG7UDQVDFWLRQV&RPPLWWHH0HODV.\ULD]LVLJQHG

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                 'HIHQGDQW5REHUW13RZHU ³3RZHU´ KDVVHUYHGDVDPHPEHURIWKH&RPSDQ\¶V

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 'XULQJ KHU WHQXUH DW 6LJQDOLIH FHUWDLQ HPSOR\HHV HQJDJHG LQ D UHYHQXH LQIODWLRQ VFKHPH WKDW

 UHVXOWHG LQ ODUJH ILQHV DQG D \HDU SULVRQ VHQWHQFH IRU RQH RI WKH FRPSDQ\¶V H[HFXWLYHV  $W

 9DOHDQW 3URYHQFLR VHUYHG DV WKH &KDLUPDQ RI WKH &RPSDQ\¶V $XGLW DQG 5LVN &RPPLWWHH

 3URYHQFLR VLJQHG WKH &RPSDQ\¶V  . DQG  .  2Q $SULO   9DOHDQW

 DQQRXQFHGWKDW3URYHQFLRDQGIRXURWKHUGLUHFWRUV±LQFOXGLQJWKHWZRRWKHUPHPEHUVRIWKH$XGLW

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 $W 9DOHDQW 6WHYHQVRQ ZDV D PHPEHU RI WKH $XGLW DQG 5LVN &RPPLWWHH DQG WKH )LQDQFH DQG

 7UDQVDFWLRQV&RPPLWWHH6WHYHQVRQVLJQHGWKH&RPSDQ\¶V.

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 ILQDQFLDO VWDWHPHQWV ILQDQFLDO VWDWHPHQW VFKHGXOH DQG WKH HIIHFWLYHQHVV RI 9DOHDQW¶V LQWHUQDO

 FRQWURORYHUILQDQFLDOUHSRUWLQJ ³$XGLW5HSRUW´ 3Z&VLJQHGWKH$XGLW5HSRUWDQG

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 ,QYHVWPHQW$GYLVHUV$FWRI9DOXH$FW&DSLWDOWUDGHVVHFXULWLHVWKURXJKDQGRQEHKDOIRI

 VHYHUDOKHGJHIXQGLQYHVWPHQWYHKLFOHV9DOXH$FW&DSLWDOGHWHUPLQHVWKHVHFXULWLHVERXJKWRUVROG

 E\WKHKHGJHIXQGVWKHDPRXQWDQGSULFHRIVHFXULWLHVWUDGHGWKHWLPLQJRIWUDGHVDQGWKHW\SHV

 RIWUDQVDFWLRQVXVHGWRFRPSOHWHWKHWUDGHV$FFRUGLQJWRLWVZHEVLWH9DOXH$FW&DSLWDOWKURXJK

 LWVKHGJHIXQGVKDVDSSUR[LPDWHO\ELOOLRQRIDVVHWVXQGHUPDQDJHPHQW

          'HIHQGDQW9DOXH$FW&DSLWDO0DVWHU)XQG/3 ³0DVWHU)XQG´ LVRQHRI9DOXH$FW

 &DSLWDO¶VKHGJHIXQGLQYHVWPHQWYHKLFOHVWKURXJKZKLFK9DOXH$FW&DSLWDOWUDGHVVHFXULWLHV

          'HIHQGDQW 9DOXH$FW &R,QYHVW 0DVWHU )XQG /3 ³&R,QYHVW )XQG´  LV RQH RI

 9DOXH$FW &DSLWDO¶V KHGJH IXQG LQYHVWPHQW YHKLFOHV WKURXJK ZKLFK 9DOXH$FW &DSLWDO WUDGHV

 VHFXULWLHV  0DVWHU )XQG DQG &R,QYHVW )XQG DUH WRJHWKHU UHIHUUHG WR KHUHLQ DV WKH ³9DOXH$FW

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          'HIHQGDQW9$3DUWQHUV,//& ³9$3DUWQHUV´ LVWKHJHQHUDOSDUWQHURI9DOXH$FW

 &DSLWDO¶V KHGJH IXQG LQYHVWPHQW YHKLFOHV LQFOXGLQJ WKH 9DOXH$FW )XQGV  $FFRUGLQJ WR

 9DOXH$FW¶V6(&UHJLVWUDWLRQPDWHULDOV9$3DUWQHUV³LVUHVSRQVLEOHIRUWKHRYHUDOOPDQDJHPHQWRI

 >WKH9DOXH$FW)XQGV@´

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         9DOXH$FW&DSLWDO9$3DUWQHUVDQG9DOXH$FW+ROGLQJVDUHRUJDQL]HGXQGHUWKH

 ODZVRI'HODZDUHDQGWKH0DVWHU)XQGDQGWKH&R,QYHVW)XQGDUHRUJDQL]HGXQGHUWKHODZVRI

 WKH%ULWLVK9LUJLQ,VODQGV9DOXH$FW&DSLWDO9$3DUWQHUV9DOXH$FW+ROGLQJVWKH0DVWHU)XQG

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 VDPHH[HFXWLYHVDQGVKDUHWKHVDPHSULQFLSDOSODFHRIEXVLQHVVLQ6DQ)UDQFLVFR&DOLIRUQLD

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 FOLHQW'HPRQVWUDWLQJWKHFORVHFRRUGLQDWLRQEHWZHHQ9DOHDQWDQG3KLOLGRUWKHQXPHURXVUHODWHG

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                     HPSOR\HHV%4DOVRUHIHUVWRDFKHVVPRYHLQYROYLQJDELVKRSDQGTXHHQ
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           x        ,VRODQL//& ³,VRODQL´ ,VRODQLZDVD'HODZDUHFRPSDQ\ZLWK(ULF5LFH
                     3KLOLGRU¶V6HQLRU'LUHFWRURI&DOO&HQWHU2SHUDWLRQVDVLWVVROHPHPEHU,Q
                     FKHVVDQLVRODWHGTXHHQ¶VSDZQLVFDOOHGDQ³LVRODQL´,VRODWHGSDZQVDUH
                     XVXDOO\DZHDNQHVVEXWWKHUHFDQEHFRXQWHUSOD\V$IWHUEHLQJGHQLHGD
                     OLFHQVH WR RSHUDWH LQ &DOLIRUQLD 3KLOLGRU WKURXJK ,VRODQL DFTXLUHG D
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                     ,QFKHVVWKHWHUP³EDFNUDQN´LQYROYHVDFKHFNPDWHDORQJWKHEDFNUDQN
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 SURGXFWVDUHJHQHUDOO\SURWHFWHGIURPJHQHULFFRPSHWLWLRQIRUDSHULRGRIWLPHZKLFKSHUPLWVWKH

 PDQXIDFWXUHU WR UHFRXS LWV LQYHVWPHQW WKURXJK QRQFRPSHWLWLYH SULFLQJ  +RZHYHU 3HDUVRQ

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 VWUDWHJ\ZRXOGEHWRJURZWKURXJKDFTXLVLWLRQV8QGHU3HDUVRQ¶VFRPPDQG9DOHDQWRSHUDWHGOLNH

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            9DOHDQW¶VEXVLQHVVVWUDWHJ\ZDVGLUHFWHGDWUXQQLQJXSWKHVWRFNSULFHE\UHSRUWLQJ

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 FDUULHVLQFUHDVHGEXVLQHVVUHSXWDWLRQDOFRPSOLDQFHDQGUHJXODWRU\ULVNVDVLWLQFUHDVHVWKHRYHUDOO

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 IDFHOLWWOHWRQRFRPSHWLWLRQGHVSLWHEHLQJSDVWWKHSRLQWRISURWHFWLRQIURPJHQHULFV,QDGGLWLRQ

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 UHVSRQGHGWKDWWKRVHWZRGUXJV³PDNHXSWKH9$67PDMRULW\RIUHYHQXH´DW0DUDWKRQDQG³>W@KLV

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 3KDUPDFHXWLFDOV  0HGLFDO 3URGXFWV 3UDFWLFH ZURWH DQ HPDLO WR 3HDUVRQ DQG $QGUHZ 'DYLV

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 DQHPDLOWR$QGUHZ'DYLV 9DOHDQW¶VVHQLRU93IRU%XVLQHVV'HYHORSPHQW RQ0DUFK

 WKHSULFHDVVXPSWLRQV³DUHOHDGLQJWRKLJKJURVVPDUJLQV PRUHWKDQ ´%\WKHHQGRI

 9DOHDQWUHFRUGHGJURVVUHYHQXHVIURPWKHVDOHRI,VXSUHODQG1LWURSUHVVRIDSSUR[LPDWHO\

 PLOOLRQDJDLQVWDFRVWRIDSSUR[LPDWHO\PLOOLRQ

          7KHVHSUDFWLFHVZHUHZLGHVSUHDG$FFRUGLQJWRD'HXWVFKH%DQN6HFXULWLHV,QF

  ³'HXWVFKH %DQN´  DQDO\VLV LQ  DORQH 9DOHDQW UDLVHG SULFHV RQ LWV EUDQGQDPH GUXJV DQ

 DYHUDJHRIDSSUR[LPDWHO\ILYHWLPHVPRUHWKDQLWVFORVHVWLQGXVWU\SHHUV$VDQRWKHUH[DPSOH

 RI9DOHDQW¶VVWUDWHJLFSULFHJRXJLQJFDSVXOHVRI6\SULQHDQGFDSVXOHVRI&XSULPLQHZHUH

 SULFHGDWDSSUR[LPDWHO\DQGUHVSHFWLYHO\LQ0D\%\-XO\9DOHDQWKDG

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 &XSULPLQHWRRYHUIRUFDSVXOHV DPRUHWKDQLQFUHDVH HYHQWKRXJK9DOHDQW

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 KDGLQFUHGLEO\KLJKPDUJLQVDVIRUH[DPSOH9DOHDQWVROG&XSULPLQHIRUDSSUR[LPDWHO\LQ

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 GUXJ ZKLFK ZDV LQFUHDVHG IURP DSSUR[LPDWHO\  SHU WXEH WR RYHU  D PRUH WKDQ

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 IROORZLQJ9DOHDQW¶VDFTXLVLWLRQRIWKHGUXJIURP6SURXW

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 VR XQEHNQRZQVW WR SD\RUV FRPSODLQLQJ SDWLHQWV SDLG OLWWOHRUQRWKLQJIRU9DOHDQWPHGLFDWLRQV

 ZKLFK KDG H[SHULHQFHG GUDPDWLF SULFH KLNHV  9DOHDQW LQFUHDVHG LWV 3$3V LQ RUGHU WR ZDLYH RU

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 \HDULQWKH8QLWHG6WDWHVSee%HWKDQ\0FOHDQThe Valeant Meltdown and Wall Street’s Major
 Drug Problem9$1,7<)$,5-XQH


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 PRUHSDWLHQWVZHUHSD\LQJOHVV9DOHDQW¶VWRWDOVSHQGRQ3$3VLQFUHDVHGE\RYHUIURP

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 RILQVRPHFDVHVOLIHVDYLQJPHGLFDWLRQV9DOHDQWPDQLSXODWHGLWVSDWLHQWDVVLVWDQFHLQWRDQRWKHU

 GHFHSWLYH WDFWLF WR FRQFHDO LWV SULFH JRXJLQJ IURP WKH SULYDWH SD\RUV LW ZDV IOHHFLQJ  :KLOH

 9DOHDQW¶V LQFUHDVHG ILQDQFLDO DVVLVWDQFH DSSHDUHG WR EH LQFUHDVHG VXSSRUW IRU SDWLHQWV QHHGLQJ

 ILQDQFLDO DLG 9DOHDQW ZDLYHG RU UHGXFHG SDWLHQW REOLJDWLRQV IRU KLJKSULFHG 9DOHDQW GUXJV WR

 UHGXFHSDWLHQWFRPSODLQWVSDWLHQWUHIXVDOWRDFFHSWXQQHFHVVDU\UHILOOVRUHQUROOPHQWLQDXWRPDWLF

 UHILOOSURJUDPVDQGQHJDWLYHSXEOLFLW\

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 JRYHUQPHQW SD\RUV 9DOHDQW WDUJHWHG LWV 3$3 SUDFWLFHV WRZDUG SDWLHQWV ZLWK SULYDWH LQVXUDQFH

 (QJDJLQJLQVXFKDFWLYLWLHVKRZHYHUOHIW9DOHDQWRSHQWRSRWHQWLDOYLRODWLRQVRIVWDWHIUDXGDQG

 GHFHSWLYHSUDFWLFHVWDWXWHVDQGFRQWUDFWWHUPV,WDOVRLQFUHDVHGWKHULVNWKDWSULYDWHLQVXUHUVZRXOG

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 3%0VH[SODLQHGWR&RQJUHVVDWDKHDULQJRQ9DOHDQWWKDW3%0V³HQFRXUDJHWKHXVHRIJHQHULFV

 DQG PRUH DIIRUGDEOH EUDQG PHGLFDWLRQV´  +H QRWHG WKDW 3%0V UHVWUDLQ GUXJ FRVWV E\ ³XVLQJ

 GLIIHUHQWLDO FRSD\V DQG RWKHU WRROV WR HQFRXUDJH SDWLHQWV WR FKRRVH PRUH DIIRUGDEOH RSWLRQV´

 0HUULWW H[SODLQHG WKDW WKH SULFLQJ DQG PDUNHWLQJ WDFWLFV E\ 9DOHDQW ZHUH GHVLJQHG WR UHGXFH


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 ³UHVLVWDQFHWRKLJKHUSULFHV´+HWHVWLILHGWKDWE\SURYLGLQJFRSD\FRXSRQVWRHQFRXUDJHSDWLHQWV

 WR E\SDVV JHQHULF DQG FKHDSHU GUXJV ³IRU KLJKHU FRVW EUDQGHG GUXJV´ 9DOHDQW IRUFHG ³WKH

 HPSOR\HU¶VXQLRQVDQGRWKHUVWRSD\KXQGUHGVRIWKRXVDQGVPRUHIRUWKHPRVWH[SHQVLYHEUDQGV

 RQWKHIRUPXODU\´0HUULWWQRWHGWKDW³VXFKSUDFWLFHVDUHFRQVLGHUHGLOOHJDONLFNEDFNVLQIHGHUDO

 SURJUDPV´

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 FRQWUROOHGGLVWULEXWLRQFKDQQHODQGRIIHUHGGLVFRXQWVDVDPHDQVWRTXHOODQ\SXVKEDFNRQSULFH

 LQFUHDVHV9DOHDQWGHYHORSHGD35VWUDWHJ\WRGLYHUWDWWHQWLRQIURPDQ\QHJDWLYHPHGLDUHJDUGLQJ

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 WKH&RPSDQ\¶V³2USKDQ'UXJ0RGHO´IRU6\SULQH&XSULPLQHDQG'HPVHU7KHDQDO\VLVVWDWHG

 ³7DNHLQLWLDOSULFHLQFUHDVHWRGULYHSDWLHQWVLQWRWKHUHVWULFWHGGLVWULEXWLRQPRGHO´DQGQRWHG

 WKDW³>K@LJKGHGXFWLEOHFRSD\UHTXLUHVLQFUHDVHGIRXQGDWLRQVXSSRUW´7KHDQDO\VLV³DVVXPH>G@

 WDUJHWSULFHLQFUHDVHVRIIRU'HPVHUDQG&XSULPLQH´DQG³SULFHWDUJHWLQFUHDVHVRIIRU

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 FDOOHG³9DOHDQW&RYHUDJH3OXV3URJUDP´7KHSUHVHQWDWLRQSODLQO\VWDWHGWKDW³>W@KHSURJUDPZLOO

 EHIXQGHGWKURXJKSODQQHGSULFHLQFUHDVHV>i.e.IXQGHGE\KLJKHUSULFHVWRSD\RUVUDWKHUWKDQE\

 9DOHDQW@´7KHDQDO\VLVGLUHFWHGDGMXGLFDWRUVWR³>X@WLOL]HDOORISDWLHQWUHVRXUFHVSULRUWRFRSD\

 PLWLJDWLRQRUIRXQGDWLRQDVVLVWDQFH´ZKHQDGMXGLFDWLQJFODLPVDQGWRXVHD³>S@DWLHQWDVVLVWDQFH

 SURJUDPRUIUHHJRRGVDVODVWUHVRUW´7KHSUHVHQWDWLRQQRWHGWKDW9DOHDQWKDGDQRSSRUWXQLW\WR

 H[SDQG XWLOL]DWLRQ ³IRU QLFKH EUDQGV´ WKDW ³>L@QYROYHV D FRPELQDWLRQ RI DOWHUQDWLYHUHVWULFWHG




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 GLVWULEXWLRQ PRGHO DGYRFDF\ VXSSRUW DQG SDWLHQW DVVLVWDQFH SURJUDPV´ DORQJ ZLWK ³SODQQHG

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          7KHSUHVHQWDWLRQDOVRLGHQWLILHGWKHULVNVRIVXFKWDFWLFV WKDWZHUHFRQFHDOHGIURP

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 SDWLHQWV+&3¶VSD\RUVDQGRUJRYHUQPHQWDJHQFLHV´DQG³0DQDJHG&DUHSODQDFWLRQVDJDLQVW

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 ³35 0LWLJDWLRQ´ SODQ WR ³3ULYDWHO\ DGGUHVV FRQFHUQV IURP SDWLHQWV LQVXUDQFH FRPSDQLHV RU

 PDQDJHGFDUHSURYLGHUVWRSUHYHQWSXEOLFGLVSOD\VRIQHJDWLYHVHQWLPHQW´DQG³>P@LQLPL]HPHGLD

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 WKHPDUNHW±WRRIIHUSKDUPDFHXWLFDOFRPSDQLHVDJUHDWHUUHWXUQRQLQYHVWPHQW´,WH[SODLQHGWKDW

 ³>Z@KLOH WKH KLJK FRVW RI RUSKDQ GUXJV KDV EHHQ ODUJHO\ WROHUDWHG E\ WKH PHGLFDO FRPPXQLW\

 EHFDXVHWKHRYHUDOOLPSDFWRIWKHVHSKDUPDFHXWLFDOVRQKHDOWKEXGJHWVKDVEHHQUHODWLYHO\VPDOO

 WKHUHKDVUHFHQWO\EHHQDUHQHZHGIRFXVRQWKHFRVWRIWKHVHGUXJV´7KHSUHVHQWDWLRQZDUQHGWKDW

 WKH³SUHVVKDVDOVRSLFNHGXSRQWKHVHWUHQGV´DQG9DOHDQW¶VSODQQHGSULFHLQFUHDVHVRQGUXJVWR

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 PLVOHDGLQJUHVSRQVHVWRLQTXLULHVDERXWSULFHLQFUHDVHV1RWDEO\DGUDIW4 $GLUHFWHGWKDWWKH

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 SD\DVPXFKDVSRVVLEOHIRUWKHVHGUXJV"´ZDV³1R7KHVHUDWHLQFUHDVHVDUHHVVHQWLDOWRHQVXUH

 WKDW9DOHDQWLVDEOHWRFRQWLQXHWRRIIHUWKHVHLPSRUWDQWSKDUPDFHXWLFDOVWRRXUSDWLHQWVZKRDUH

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 FRVWVRISURGXFLQJWKHVHGUXJVKDGQRWLQFUHDVHGDQGWKHSULFHLQFUHDVHVZKLFKUHVXOWHGLQJURVV

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 HVVHQWLDOO\ FRQFHGHG WKH IDFW WKDW 9DOHDQW ZDV XVLQJ SULFH LQFUHDVHV WR FKDVH RXWVL]HG SURILW

 PDUJLQVZKHQKHZURWHD0D\HPDLOVWDWLQJ³7KHVHSDWLHQWVDUHWRRYDOXDEOHWRORVH´

          )RUH[DPSOH9DOHDQWHPSOR\HGLWV35VWUDWHJ\RQ%HUQD+H\PDQDSDWLHQWZKR

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 ³RXWUDJHG«E\WKHXQEHOLHYDEO\VWHHSLQFUHDVHVLQSULFHVFKDUJHGIRU6\SULQH´6KHZURWH³WRDVN

 IRUDQH[SODQDWLRQRIKRZWKHGUXJFRVWVFRXOGKDYHLQFUHDVHGVRGUDPDWLFDOO\´

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  IROORZLQJWKH35VWUDWHJ\ WKDW³WKHUHDUHPDQ\FKDOOHQJHVDVVRFLDWHGZLWKGHYHORSLQJWUHDWPHQWV

 IRUUDUHFRQGLWLRQVVXFKDV:LOVRQ¶VGLVHDVHWKHLQYHVWPHQWVZHPDNHWRGHYHORSDQGGLVWULEXWH

 QRYHOPHGLFLQHVDUHRQO\YLDEOHLIWKHUHLVDUHDVRQDEOHUHWXUQRQWKHFRPSDQ\¶VLQYHVWPHQWDQGLI

 RXUEXVLQHVVLVVXVWDLQDEOH´7KLVZDVGLVKRQHVWDQGPLVOHDGLQJEHFDXVHGHVSLWH9DOHDQW¶VPDVVLYH

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 QRWDIIRUGWKHFRSD\DQGZDVIRUFHGWRXVHDQDOWHUQDWLYHDQGLQKHUYLHZOHVVGHVLUDEOHWUHDWPHQW

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 ILQDQFLDODVVLVWDQFHVHQGLQJKHUIORZHUVDQGRIIHULQJIUHHPHGLFDWLRQIRUOLIHZKLOHFRQWLQXLQJWR

 FKDUJHWKHH[RUELWDQWSULFHVWRRWKHUSDWLHQWV




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         3HDUVRQ PRQLWRUHG VXFK FRPSODLQWV  )RU H[DPSOH LQ -DQXDU\  'UHZ .DW]

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\UIRUWKHDYHUDJHGRHV>VLF@QHHGHGIRUDSDWLHQWZLWK:'>:LOVRQ¶VGLVHDVH@ ;KLJKHUWKDQ

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 JHQHULF VXEVWLWXWLRQ LI URXWHG WKURXJK LQGHSHQGHQW SKDUPDFLHV  6R 9DOHDQW FUHDWHG D VHFUHW

 QHWZRUNRIVSHFLDOW\SKDUPDFLHVZKLFKLQFOXGHG3KLOLGRUWRERRVWWKHVDOHSULFHVRI9DOHDQWGUXJV

 DQGDYRLGWKHVFUXWLQ\DQGIDOORXWIURPGRLQJVR

          9DOHDQW¶VVSHFLDOW\SKDUPDFLHVUHGXFHGWKHOLNHOLKRRGRISXVKEDFNRUVXEVWLWXWLRQ

 RI FKHDSHU SURGXFWV E\ L  SK\VLFLDQV E\ VLPSOLI\LQJ DGPLQLVWUDWLYH EXUGHQV DVVRFLDWHG ZLWK

 UHMHFWLRQV RU LOOHJDOO\ DOWHULQJ SUHVFULSWLRQV LL  SDWLHQWV E\ ILOOLQJ SUHVFULSWLRQV LPPHGLDWHO\

 UHJDUGOHVVRILQVXUDQFHDSSURYDODQGE\RIIHULQJDVVLVWDQFHWRUHGXFH RU HOLPLQDWHFRSD\V LLL 

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 FRQFHDOLQJWKHFORVHUHODWLRQVKLSEHWZHHQ9DOHDQWDQGLWVFDSWLYHSKDUPDFLHVZKLFKDPRQJRWKHU

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 WHUPLQDWLRQ QRWLFHV LQ EODFN HQYHORSHV GHVFULEHG DV EHLQJ UHPLQLVFHQW RI D IXQHUDO  0HGLFLV¶

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 UHORFDWHGWR6FRWWVGDOH$UL]RQDDQGQRZRSHUDWHXQGHUWKHQDPH0HGLFLVDGLYLVLRQRI9DOHDQW´

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 ,QUHDOLW\9DOHDQWNHSWVHFUHWWKDWLWZDV3KLOLGRU¶VRQO\FOLHQWDQG9DOHDQWHPSOR\HHVKDGDVVLVWHG

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 FRQFHDO WKHLU LGHQWLWLHVZKLOH ZRUNLQJDW3KLOLGRU9DOHDQWHPSOR\HHV XVHG IDNH QDPHV VXFK DV

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 7KLV DJUHHPHQW SURYLGHG WKDW 3KLOLGRU ZRXOG LQGHPQLI\ 9DOHDQW ³DJDLQVW DQ\ DQG DOO FODLPV

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 &DUURDOOVLJQHGWKHDSSURYDO7KHDPHQGPHQWSURYLGHGWKDW3KLOLGRUZRXOGDGPLQLVWHU9DOHDQW¶V

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 WKHWUDFNLQJVHUYLFHXVHGE\FRPSDQLHVDQGDQDO\VWVWRPRQLWRUGUXJVDOHVDQGLQYHQWRU\FKDQQHOV

 3KLOLGRUDQGWKHVSHFLDOW\SKDUPDFLHVWKDWEHFDPHSDUWRILWVQHWZRUNGLGQRWRSHUDWHLQWKLVW\SLFDO

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 WKH9DOHDQWRUJDQL]DWLRQ)RUH[DPSOH-HII%HFNHU ³%HFNHU´ ZDVWKH2SHUDWLRQV0DQDJHUDW

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 VRPHRILWVPRVWHJUHJLRXVDFWVZKLOHXQGHUWKHGLUHFWLRQRI9DOHDQWDQGRULWVHPSOR\HHVDQGRU

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 WUDLQLQJ PDQXDO HQWLWOHG WKH ³$GMXGLFDWLRQ 5HIHUHQFH %LQGHU´ DQG RWKHU PDWHULDOV  3KLOLGRU¶V

 LPSURSHUWDFWLFVLQFOXGHG

         x      $OWHULQJ13,1XPEHUV7KLVIUDXGXOHQWWDFWLFLQYROYHGUHSUHVHQWLQJWKDW
                 D SUHVFULSWLRQ ILOOHG E\ 3KLOLGRU ZDV ILOOHG E\ D GLIIHUHQW SKDUPDF\  %\
                 XWLOL]LQJ D GLIIHUHQW SKDUPDF\¶V 13, QXPEHU ± VXFK DV 5 2 2UELW
                 3KDUPDF\RU:HVW:LOVKLUH3KLOLGRUZDVDEOHWRKLGHLWVLQYROYHPHQWDQG
                 HQVXUH UHLPEXUVHPHQW IURP LQVXUHUV IRU 9DOHDQW GUXJV WKDW LW RWKHUZLVH
                 FRXOG QRW KDYH VHFXUHG  7KLV WDFWLF ZDV GHVFULEHG E\ IRUPHU 3KLOLGRU
                 HPSOR\HHVLQWHUYLHZHGE\The Wall Street JournalDQGBloomberg,WZDV
                 DOVRFRQWDLQHGLQ3KLOLGRU¶VHPSOR\HHWUDLQLQJPDQXDOZKLFKSURYLGHG³:H
                 KDYHDFRXSOHRIGLIIHUHQWµEDFNGRRU¶DSSURDFKHVWRUHFHLYHSD\PHQWIURP
                 WKHLQVXUDQFHFRPSDQ\´ZKHUHWKH\³ZLOOQRWSD\XVIRUPHGLFDWLRQ´7KH
                 PDQXDODGGHG

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                         FRQWUDFWHG ZLWK   >,Q WKDW FDVH@ VXEPLW WKH 13, IRU RXU
                         SDUWQHULQ&DOLIRUQLD:HVW:LOVKLUH3KDUPDF\7KHUHLVD
                         JRRGFKDQFHWKH\DUHFRQWUDFWHG>,IGHQLHGWKHQH[WVWHSLV
                         WR@DGGWKH&DPEULD&HQWUDO)LOOLQVXUDQFHDQGUXQWKDWDVWKH
                         SULPDU\7KH\VKRXOGJHWDSDLGFODLPDQGWKHQ&DPEULD
                         DQRWKHURQHRIRXUSDUWQHUVZLOOUHLPEXUVHXV

         x      2SHUDWLQJD3KDUPDF\:LWKRXWD/LFHQVH3KLOLGRUXVHGLWVQHWZRUNRI
                 SKDUPDFLHV RU VLPSO\ WKHLU 13,V WR ILOO SUHVFULSWLRQV DQG REWDLQ
                 UHLPEXUVHPHQWV LQ VWDWHV ZKHUH 3KLOLGRU ZDV QRW OLFHQVHG LQFOXGLQJ
                 &DOLIRUQLD  3KLOLGRU DOVR VKLSSHG 9DOHDQW GUXJV WR VWDWHV ZKHUH QHLWKHU
                 3KLOLGRUQRUWKHSKDUPDF\DVVRFLDWHGZLWKWKH13,ZHUHOLFHQVHG

         x      $OWHULQJ3UHVFULSWLRQV7\SLFDOO\DSKDUPDFLVWPD\VXEVWLWXWHDFKHDSHU
                 JHQHULFDOWHUQDWLYHIRUDEUDQGHGSUHVFULSWLRQPHGLFDWLRQZKHQDYDLODEOH
                 7KH SUHVFULELQJ GRFWRU KRZHYHU PD\ VWDWH WKDW WKH SUHVFULSWLRQ EH

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                     ³GLVSHQVHGDVZULWWHQ´ ³'$:´ SURKLELWLQJJHQHULFVXEVWLWXWLRQ3KLOLGRU
                     FODQGHVWLQHO\ DOWHUHG SUHVFULSWLRQV IRU 9DOHDQW SURGXFWV WR LQFOXGH D
                     ³'$:´LQGLFDWLRQZLWKRXWWKHFRQVHQWRIWKHSUHVFULELQJSK\VLFLDQRUWKH
                     SDWLHQW PDNLQJ LW DSSHDU DV WKRXJK WKH SK\VLFLDQ RU SDWLHQW GHVLUHG
                     9DOHDQW¶V H[SHQVLYH EUDQGHG GUXJ UDWKHU WKDQ WKH FKHDSHU DOWHUQDWLYH
                     BloombergKDVUHSRUWHGWKDWDQ³XQGDWHG3KLOLGRUGRFXPHQWSURYLGHVD
                     VWHSE\VWHS JXLGH RQ KRZ WR SURFHHG ZKHQ D SUHVFULSWLRQ IRU 9DOHDQW
                     GHUPDWRORJLFDO FUHDP DQG JHOV LQFOXGLQJ 5HWLQ$ 0LFUR DQG 9DQRV LV
                     UHMHFWHG6LPLODULQVWUXFWLRQVIRUFKDQJLQJWKH'$:LQGLFDWLRQDUHVXSSOLHG
                     IRU SDWLHQWV ZKR DUH SD\LQJ LQ FDVK´  Bloomberg UHSRUWHG WKDW H[
                     HPSOR\HHVRI3KLOLGRUFRQILUPHGSUHVFULSWLRQVZHUHDOWHUHGDVWKHGRFXPHQW
                     LQVWUXFWV DQG VDLG WKH LQWHQW ZDV WR ILOO PRUH SUHVFULSWLRQV ZLWK 9DOHDQW
                     SURGXFWVWKDQJHQHULFV

           x        0LVUHSUHVHQWLQJ 'UXJ 3ULFHV  3KLOLGRU¶V HPSOR\HHV ZHUH LQVWUXFWHG WR
                     PDQLSXODWHWKH³XVXDODQGFXVWRPDU\SULFH´RISUHVFULSWLRQGUXJVZKHQ
                     DGMXGLFDWLQJ FODLPV LQ DQ DWWHPSW WR VHFXUH LQVXUDQFH SD\PHQW IRU KLJK
                     SULFHG9DOHDQWGUXJVZKLFKZDVDFFRPSOLVKHGE\ORZHULQJWKHSXUSRUWHG
                     XVXDO DQG FXVWRPDU\ SULFH XQWLO WKH LQVXUHU¶V V\VWHP DFFHSWHG WKH FODLP
                     5DWKHUWKDQDFFHSWSD\PHQWDWWKDWSULFH3KLOLGRUHPSOR\HHVZHUHWUDLQHG
                     WRUDLVHWKHSULFHDJDLQLQRUGHUWRSLQSRLQWDSODQ¶VPD[LPXPDOORZDEOH
                     SULFH)RUH[DPSOHDQLQWHUQDO3KLOLGRU3RZHU3RLQWWLWOHG³3URJUDP'UXJ
                     &RVW ([FHHGV 0D[LPXP (UURU´ ZKLFK ZDV XVHG WR WUDLQ 3KLOLGRU
                     HPSOR\HHV LQVWUXFWHG HPSOR\HHV WR UHTXHVW WKDW WKH LQVXUDQFH FRPSDQ\
                     UHSUHVHQWDWLYH SURYLGH WKH PD[LPXP UHLPEXUVHPHQW DPRXQW DQG LI WKH
                     UHSUHVHQWDWLYHGLGQRWGRVRWRPDQLSXODWHWKHSURFHVVE\³GURS>SLQJ@GRZQ
                     E\XQWLOSDLGDQGWKHQLQFUHDVHE\WRJHWDVFORVHDVSRVVLEOHWR
                     WKHPD[DPRXQWDOORZHGE\WKHLQVXUDQFHFRPSDQ\´,QDGGLWLRQ9DOHDQW
                     HPSOR\HHV3DWHODQG7DQQHUZHUHFRSLHGRQD1RYHPEHUHPDLOWKDW
                     LQFOXGHGDQDWWDFKPHQWH[SODLQLQJKRZ3KLOLGRUHPSOR\HHVFRXOGELOOWKH
                     KLJKHVWDPRXQWDQLQVXUDQFHFRPSDQ\ZDVZLOOLQJWRSD\E\UHVXEPLWWLQJ
                     UHMHFWHGFODLPVDWGLIIHUHQWSULFHSRLQWV

           x        0LVUHSUHVHQWLQJ 'UXJ 4XDQWLWLHV  8VLQJ WKLV WDFWLF LI D FODLP IRU
                     UHLPEXUVHPHQWZDVUHMHFWHGE\WKHLQVXUHU3KLOLGRUHPSOR\HHVZRXOGDOVR
                     UHVXEPLWWKHFODLPZLWKDORZHUTXDQWLW\RIGUXJVVRWKHSULFHZRXOGEH
                     ORZHU LQ RUGHU WR VHFXUH LQVXUDQFH DSSURYDO  7KH HPSOR\HH ZRXOG WKHQ
                     FRPSHQVDWHIRUWKHORZHUTXDQWLW\E\LQFUHDVLQJWKHQXPEHURISUHVFULSWLRQ
                     UHILOOVLQRUGHUWRVHFXUHWKHPD[LPXPUHLPEXUVHPHQW

           x        :DLYLQJ &RSD\V  7KLV WDFWLF LQYROYHG ZDLYLQJ FRSD\V WKURXJK SDWLHQW
                     DVVLVWDQFH SURJUDPV RU PDNLQJ QR UHDVRQDEOH HIIRUW WR FROOHFW DSSOLFDEOH
                     FRSD\PHQW DPRXQWV IURP SDWLHQWV  3KLOLGRU¶V WUDLQLQJ PDQXDO LQVWUXFWHG
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                     HPSOR\HHVWKDW3KLOLGRUKDGVHWXS³QXPHURXV KRXVHLQVXUDQFHVWKDWZLOO
                     EULQJ>SDWLHQW@FRSD\>V@GRZQ´3KLOLGRUHPSOR\HG]HURFRSD\SUDFWLFHVWR
                     LQFUHDVH VDOHV E\ UHPRYLQJ LQFHQWLYHV IRU SDWLHQWV WR XVH PXFK FKHDSHU
                     JHQHULFV

           x        $XWRPDWLFDOO\ 5HILOOLQJ 3UHVFULSWLRQV  7KLV WDFWLF UHSRUWHGO\ LQYROYHG
                     IRUH[DPSOH³HQOLVWLQJSDWLHQWVLQDQXQDGYHUWLVHGµDXWRUHILOO¶VXEVFULSWLRQ
                     SURJUDPWKDWDXWRPDWLFDOO\GHOLYHUHGPRUHWRHQDLOIXQJXVUHPRYHU>-XEOLD@
                     DQGFKDUJHGWKHPRQJRLQJFRSD\VWRGRLW´

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 VXFK DV UHVXEPLWWLQJ UHMHFWHG FODLPV ZLWK ORZHU SULFHV XVLQJ DOWHUQDWLYH 13,V RU DOWHULQJ

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 HPSOR\HGDW9DOHDQWVHQWUHJXODUHPDLOVWR3KLOLGRUHPSOR\HHVGHWDLOLQJKRZPDQ\SUHVFULSWLRQV

 3KLOLGRUZDVILOOLQJZKLFKGUXJVZHUHPRVWSRSXODUDQGZKDWGRFWRUVZHUHWKHELJJHVWSUHVFULEHUV

 7KHVHWDFWLFVKHOSHG9DOHDQWREWDLQKLJKSULFHGUHLPEXUVHPHQWVWKDWZRXOGRWKHUZLVHKDYHEHHQ

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 WDNHQQRWLFHRI3KLOLGRU¶VKLJKYROXPHRIFODLPVIRU9DOHDQWDQGWKHKLJKSULFHVZKLFKZRXOGKDYH

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   6WHSKHQ :LWW Valeant Pharmaceuticals’ Novel Business Approach Made It a Wall Street
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 SKDUPDF\¶V ORFDWLRQV IDLOHG WR PDLQWDLQ DSSURSULDWH OLFHQVLQJ RU VXEPLWWHG DQ\ IUDXGXOHQW

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 1HWZRUN´LQFOXGLQJXVLQJ³GXPP\´13,VWRREWDLQDSDLGUHVSRQVHDQGELOOLQJIRUDEUDQGZLWK

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 ³>D@OWHUDWLRQRIWKH8 &>XVXDODQGFXVWRPDU\@SULFHWRDWWHPSWWRLQFUHDVH&ODLPSD\PHQWZLWKRXW

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 FRPSOLDQFH DQG D YLRODWLRQ RI WKH DJUHHPHQW´  ,W DOVR SURKLELWHG SKDUPDFLHV IURP HQWHULQJ

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 2SWXP5[ WKHQRQHRI3KLOLGRU¶VODUJHVWUHYHQXHVRXUFHV VHQWDFHDVHDQGGHVLVWOHWWHUWR3KLOLGRU

 FLWLQJDEUHDFKRIFRQWUDFWDQGEHJDQUHMHFWLQJFODLPV7KHUHDIWHUDFFRUGLQJWRIRUPHUHPSOR\HHV

 LQWHUYLHZHG E\ Reuters 3KLOLGRU GHYRWHG VSHFLDO WUDLQLQJ VHVVLRQV RQ KRZ WR ELOO 2SWXP5[ E\

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 VDOH DJUHHPHQW EHWZHHQ 5 2 DQG ,VRODQL  5HLW] ZDV DOVR FRQFHUQHG WKDW D ODUJH YROXPH RI

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 VDOHVZHUHLQVWDWHVZKHUH5 2ZDVQRWOLFHQVHGWRRSHUDWHIRUGUXJV5 2KDGQHYHUGLVSHQVHG

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 E\DQLQVXUDQFHFRPSDQ\5HLW]UHIXVHGWRVLJQWKHDXGLWEXWWKHQOHDUQHGODWHUWKDWLWZDVVLJQHG

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 FRQVHQWWRELOOIRUSUHVFULSWLRQVWKDWZHUH´HLWKHUILOOHGE\RWKHUSKDUPDFLHVRUELOOHGEHIRUHWKH

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 LPPHGLDWHO\5HLW]DGGHGWKDWWKHDJUHHPHQWUHTXLUHG3KLOLGRU,VRODQLWRDSSO\IRUDSHUPLWDQG

 WKDW³WKLVSURFHVVGRHVQRWWDNHPRQWKV´DQGDVNHGIRUDOOGRFXPHQWVUHODWLQJWRWKHDSSOLFDWLRQ

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 \RX´7KHQH[WGD\5HLW]ZURWHEDFNDVNLQJZK\³3KLOLGRULVUHVSRQGLQJWRP\FRQFHUQVLQVWHDG

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 WKDW5LFHVLJQHGRIIRQWKH³$UJXV+XPDQDDXGLWWKHVDPHDXGLW,UHIXVHGWRVLJQ´DQG³(ULF5LFH

 LVQRWWKH3,&>SKDUPDFLVWLQFKDUJH@ ,DP DQGKDVQHYHUVWHSSHGWKURXJK5 2¶VGRRUV,DP

 QRWVXUHKRZKHFRXOGYHULI\WKHDFFXUDF\RIDQ\WKLQJSHUWDLQLQJWRWKDWDXGLW´

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 'DYHQSRUW)OHPLQJDQG:LVHKDUWIOHZWR&DOLIRUQLDWRPHHW5HLW]DW5 27KHPHHWLQJGLGQRW




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 ILOOHGE\5 2WKDWZHUHVKLSSHGWRSDWLHQWVIURP3HQQV\OYDQLD ZKHUH3KLOLGRUZDVORFDWHG 

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 ,VRODQL3KLOLGRU IUDXGXOHQWO\ LQGXFHG 0U 5HLW] WR VLJQ WKH >6DOH 0DQDJHPHQW 6HUYLFHV DQG

 UHODWHG@ $JUHHPHQWV LQ RUGHU WR DOORZ ,VRODQL3KLOLGRU WR HQJDJH LQ D PDVVLYH IUDXG´  5 2¶V

 FRXQVHO DGGHG WKDW ³,VRODQL LV VLPSO\ D VKHOO FUHDWHG E\ 3KLOLGRU WR SHUSHWUDWH D PDVVLYH IUDXG

 DJDLQVW QRW RQO\ 0U 5HLW] DQG 5 2 EXW DOVR WKH &DOLIRUQLD 6WDWH %RDUG RI 3KDUPDF\ >DQG@

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 DFFHVVWR5 2¶VYDOXDEOHPXOWLVWDWHSKDUPDF\OLFHQVHVDQGSD\HUFRQWUDFWV´DQG³3KLOLGRUWKHQ

 FUHDWHG ,VRODQL DV WKH LQVWUXPHQWDOLW\ WR LPSURSHUO\ XVH 5 2¶V 1&3'3 DQG 13, QXPEHUV WR

 GLVWULEXWH SKDUPDFHXWLFDOV LQ MXULVGLFWLRQV WKDW 3KLOLGRU ZRXOG QRW KDYH KDG DFFHVV WR EXW IRU

 5 2´  &RXQVHO DGGHG WKDW ³0U 5HLW]¶V ZRUVW IHDUV KDYH EHHQ UHDOL]HG DV KH KDV REWDLQHG

 LUUHIXWDEOHSURRIWKDWGHVSLWH0U'DYHQSRUW¶VZULWWHQDVVXUDQFH,VRODQL3KLOLGRUFRQWLQXHWRXVH

 5 2¶V13,QXPEHUVWRELOOSD\RUVIRUSUHVFULSWLRQVGLVSHQVHGE\3KLOLGRU´&RXQVHODOVR

 DVVHUWHGWKDW³0U5HLW]QRZKDVFRQFUHWHHYLGHQFHWKDWUHSUHVHQWDWLYHVRI,VRODQL3KLOLGRUKDYH

 VLJQHG IDOVH DQG PLVOHDGLQJ SD\HU DXGLWV DQG IDOVHO\ UHSUHVHQWHG WKHPVHOYHV DV RIILFHUV RU

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 KLPVHOIDQGKLVFRPSDQ\IURPWKHPDVVLYHSRWHQWLDODFWXDOFLYLOUHJXODWRU\DQGHYHQSRWHQWLDO

 FULPLQDOOLDELOLW\WKDW\RXUFOLHQWVKDYHH[SRVHGKLPWRGXHWRWKHLUPDOIHDVDQFH´DGGLQJWKDWWKH

 FRQGXFWZDVRXWOLQHGLQSULRUFRUUHVSRQGHQFH³WRZKLFK\RXUFOLHQWVKDYHSURYLGHGQRGHQLDOV´

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 SDUWLHV´RUWKDW³9DOHDQWLVFRQVSLULQJZLWKRWKHUSHUVRQVRUHQWLWLHVWRSHUSHWXDWHDPDVVLYHIUDXG

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 GLVFORVLQJLWVUHODWLRQVKLSZLWK3KLOLGRULQLWVILQDQFLDOVWDWHPHQWV'HIHQGDQWVFRQFHDOHGIURP

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 9DOHDQW¶V FRQWUROOLQJ UHODWLRQVKLS DQG WKDW 3KLOLGRU¶V ILQDQFLDOV ZHUH EHLQJ FRQVROLGDWHG LQWR

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 9DOHDQWZDVSURKLELWHGIURPUHFRUGLQJUHYHQXHIRUVKLSSLQJSURGXFWVWR3KLOLGRUEHFDXVHWKDWZDV

 DNLQWRVKLSSLQJSURGXFWVWRLWVHOI,QVWHDG9DOHDQWZRXOGKDYHWRZDLWXQWLO3KLOLGRUVKLSSHGWKH

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 )LQDQFHDQG7UDQVDFWLRQV&RPPLWWHHDQGWKHHQWLUHERDUGRIGLUHFWRUVDSSURYHGWKHDFFRXQWLQJ

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           DGGHGRYHUELOOLRQLQUHYHQXHLQ2QWKHERWWRPOLQHZHGHOLYHUHGFDVK
           (36JURZWKRIJUHDWHUWKDQDVFRPSDUHGWRdemonstrating once again
           the sustainability of our business model

           2XUEXVLQHVVHVFRQWLQXHGWRGHOLYHUVWURQJRUJDQLFJURZWKDQGZHH[SHFWIXOO\HDU
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           RUJDQLFJURZWKRIDSSUR[LPDWHO\

                       E       :KHQDVNHGDERXWSULFLQJIRU6RORG\QDGHUPDWRORJLFDOSURGXFWDFTXLUHG

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         6XUHIn terms of Solodyn, we’re not assuming we’re making any kind of major
         price increases in terms of the end consumer. Through the AF [alternative
         fulfillment] programs, it will allow us our sort of average price internally to go
         up, because of the way that system works. 

                  F      3HDUVRQDOVRGLVFXVVHGWKHH[SDQVLRQRI9DOHDQW¶V$)LQLWLDWLYHVWDWLQJ

         <HVWKHPRUHZHXQGHUVWDQGDERXWLWWKHPRUHH[FLWHGZHJHWDERXWLW quite frankly
         because it’s not just a singular sort of initiative that there’s a whole evolution
         being planned in terms of the Stage I, Stage II, Stage III. And there’s some
         exciting opportunities there that we’re not going to give specifics of. And also as
         we had hoped, we think it will apply to more than just Solodyn. Ziana is actually
         also being – already Medicis has Ziana being used in the AF program, and we
         see application for a number of our dermatology products and potentially
         neurology products in the US

                  G      :KHQDVNHGZKDWSHUFHQWDJHRI6RORG\QUHYHQXHZRXOGJRWKURXJKWKH$)

 LQLWLDWLYH 3HDUVRQ UHSOLHG LW ZRXOG LQFUHDVH EHFDXVH WKHUH ZDV ³HYLGHQFH´ $) ZDV ZRUNLQJ

 VWDWLQJ

         :HOOWKHODVWTXHVWLRQLW¶VPXFK– LWZLOOEHPXFKFORVHUWRWKDQWKDW¶V
         IRUVXUH$QG\HVZKDWZH±the AF, if it all works out, will both help eliminate
         or get rid of non-revenue producing or non-profitable scripts, but hopefully can
         be used to start generating truly profitable scripts through a different channel.
         That’s the intent, and we’re seeing evidence that that will work.

                  H      /DWHULQWKHFDOORQHDQDO\VWDVNHG3HDUVRQ³ZK\DUH\RXVRHQFRXUDJHGE\

 WKH$)VWUDWHJ\ZKHQQHWVDOHVKDYHEHHQKHDGLQJLQWKHZURQJGLUHFWLRQIRUWKHRQHFDVHVWXG\ZH

 FDQREVHUYH6RORG\Q"´,QUHVSRQVH3HDUVRQVDLGWKH$)FKDQQHOKDG³LQFHQWLYHV´LQSODFHWRJHW

 SDLGIRUGUXJVWKDWZHUHEHLQJUHMHFWHGE\UHWDLOSKDUPDFLHVVWDWLQJ

         $QGDJDLQ0HGLFLVLVVWLOOOHDUQLQJDQGZH¶UHMXVWVWLOOOHDUQLQJDERXWZKDWZHFDQ
         GRZLWKWKHVH$)VFULSWV6RZKHQVRPHRQHDFWXDOO\PDNHVWKHFDOORUVHQGVWKH
         VFULSWWRWKHDOWHUQDWHFKDQQHOZKDWFDQEHGRQHZLWKWKDW$QGDQXPEHURIWKLQJV
         FDQEHGRQH2QHLV\RXFDQFRQWLQXHWRWU\WRDGMXGLFDWHWKHFODLPMXVWEHFDXVHWKH
         FODLP ZDV RU just because the script was rejected at retail pharmacy, does not
         mean that eventually you can’t get the payer to actually pay for it,I\RXWKLQN
         DERXWWKHUHWDLOSKDUPDFLVWWKHUHWDLOSKDUPDFLVWGRHVQ¶WKDYHDKXJHLQFHQWLYHWR
         ZRUN KDUG WR JHW WKDW VFULSW UHLPEXUVHG  ,Q IDFW \RX PLJKW DUJXH WKH\ KDYH WKH
         RSSRVLWHLQFHQWLYHEHFDXVHWKH\JHWSDLGPRUHLIWKH\FRQYHUWLWWRDJHQHULF



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         So, all of a sudden if it goes to a different channel where the incentives are in
         place to actually try to get that claim adjudicated, then – so there’s a significant
         amount of that volume that gets rejected by retail that you can then adjudicate,
         and actually get fully paid.

                                                              

         6R,WKLQNWKURXJKDVZHFRQWLQXHWROHDUQDERXWWKLV AF program, there are some
         things that we can do that might actually change the direction in terms of so
         rather than see a decline in Solodyn, if we’re really successful we can begin
         starting to grow that product again. 6RLW¶VWKLQJVOLNHWKDWWKDWVRUWRIVWDUWJLYLQJ
         XVVRPHUHDORSWLPLVPLQWHUPVRIZKDW\RXFDQGR and how this program can sort
         of turn out to a much better case than assuming you didn’t have the AF program

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 QDWLRQZLGH FRQIHUHQFH FDOO UHSRUWLQJ 9DOHDQW¶V  ILQDQFLDO UHVXOWV  3HDUVRQ DQG 6FKLOOHU

 DWWHQGHG RQ EHKDOI RI WKH &RPSDQ\   'XULQJ WKH FDOO 3HDUVRQ DQG 6FKLOOHU DJDLQ WRXWHG WKH

 SXUSRUWHGEHQHILWVRIWKHLU$)VWUDWHJ\ZLWKRXWGLVFORVLQJWKHLPSURSHUSUDFWLFHVDQGULVNV

                  D     ,QUHVSRQVHWRDTXHVWLRQDERXWWKH$)VWUDWHJ\3HDUVRQVDLG

         The program is working actually quite well. We are going to be rolling out a
         couple new generations of the program but we’re not going to talk about it on
         this call. $QGZHDUHREYLRXVO\ORRNLQJDWRWKHUSURGXFWVWKDWFRXOGUXQWKURXJK
         WKLVV\VWHP&XUUHQWO\LW¶VMXVW=LDQDDQG6RORG\Q %XWFHUWDLQO\SUREDEO\E\PLG
         \HDU WKHUH ZLOO EH D QXPEHU RI RWKHU SURGXFWV WKDW ZH ZLOO EH XVLQJ DOWHUQDWH
         IXOILOOPHQWDVZHOO

                  E     :KHQSUHVVHGIRUGHWDLOVRQWKH³0HGLFLVDOWHUQDWHIXOILOOPHQWFKDQQHO´DQG

 ³KRZ WKDW VRUW RI FRQWULEXWHV WR WKH JURZWK´ 3HDUVRQ VDLG LW KDG LQFUHDVHG VDOHV YROXPHV EXW

 UHIXVHGWRGLVFORVHWKHLPSURSHUSUDFWLFHVDQGULVNVVWDWLQJ

         We have never given details. Medicis never gave details. And that was probably
         a smart practice. We are not going to give details in terms of what’s flowing
         through full alternate fulfillment and what’s not. What we can reiterate is that
         all of our key brands in dermatology since our sales force meeting are now
         growing

                2Q0D\WKH&RPSDQ\ILOHGLWVTXDUWHUO\UHSRUWRQ)RUP4IRU

 WKHSHULRGHQGHG0DUFK ³44´ 7KH44ZDVVLJQHGE\3HDUVRQDQG


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 6FKLOOHU DQG UHSUHVHQWHG WKDW PDQDJHPHQW¶V GLVFORVXUH FRQWUROV DQG SURFHGXUHV ZHUH HIIHFWLYH

 ³2XUPDQDJHPHQWZLWKWKHSDUWLFLSDWLRQRIRXU&(2DQG&KLHI)LQDQFLDO2IILFHU µ&)2¶  has

 evaluated the effectiveness of our disclosure controls and procedures as of March 31, 2013.

 Based on this evaluation, our CEO and CFO concluded that our disclosure controls and

 procedures were effective as of March 31, 2013” KHUHDIWHU ³,QWHUQDO&RQWUROV6WDWHPHQW´ 

               7KH 4 4 LQFOXGHG 6DUEDQHV 2[OH\ &HUWLILFDWLRQV VLJQHG E\ ERWK

 3HDUVRQDQG6FKLOOHUSXUVXDQWWR5XOHVD D RIWKH([FKDQJH$FWZKLFKVWDWHGDPRQJRWKHU

 WKLQJVWKDWWKH44GLGQRWFRQWDLQDQ\XQWUXHVWDWHPHQWRIPDWHULDOIDFWRURPLWWRVWDWHD

 PDWHULDOIDFW KHUHDIWHUWKH³62;&HUWLILFDWLRQV´ 6SHFLILFDOO\WKH62;&HUWLILFDWLRQVVWDWHG




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               7KH44UHSUHVHQWHGWKDW³pricing and sales volume of certain of

 our products . . . are distributed by third parties, over which we have no or limited control´ZKLOH

 FRQFHDOLQJWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU




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                 2Q -XQH   6FKLOOHU SUHVHQWHG DW WKH *ROGPDQ 6DFKV +HDOWKFDUH

 &RQIHUHQFH  6FKLOOHU ZDV DVNHG DERXW WKH &RPSDQ\¶V ³DOWHUQDWLYH IXOILOOPHQW SURJUDP´ E\ D

 *ROGPDQ6DFKVDQDO\VW6FKLOOHUUHVSRQGHGWKDWLWZDVLQFUHDVLQJSURILWVDQGWKDW$)ZDVDWUHQG

 LQ³WKHZKROHSKDUPDFHXWLFDOLQGXVWU\´VWDWLQJ

          $OWHUQDWLYH IXOILOOPHQW , WKLQN D FRXSOH WKLQJV  2QH LV WR PH the alternative
          fulfillments was an example of what the whole pharmaceutical industry –
          certainly what Mike and I believe is the trend, and that is the focus on the
          profitable scripts7KHUHZDVDGD\ZKHQ\RXFRXOGFDOORQDQ\ERG\DQGDOPRVW
          DQ\VFULSWZDVSURILWDEOH7KRVHGD\VDUHJRQHSo segmenting your customer
          base and really focusing on profitability KDVJRWWREHWKHIXWXUH. And that’s –
          alternative fulfillment was the beginning of that journey, but not the endpoint

          6R,SUREDEO\WKLQNXQGHU0HGLFLValternative fulfillmentZDVKHOGRXWDOLWWOHELW
          WRRPXFKDVWKHKRO\JUDLO,UHDOO\WKLQNLW¶V±LW¶VDFWXDOO\WKHVWDUWLQJSRLQWVDQG
          LQVRPHZD\VLWZDVTXLWHDFOXPV\VWDUWLQJSRLQW,WZDVQ¶WWKDWGLIIHUHQWEXW it’s
          a process where we have generation two and generation three. But it’s all trying
          to focus on profitable scripts, and stay away from those scripts that are
          unprofitable, and more judicious use of co-pay cards and the rest, and making
          sure when a customer, a patient is covered, you get reimbursed for it.Yes, I
          think – I’m hoping – we’ve got generation two and generation three, which I’m
          hoping sort of turn it into a pure defense, into more of an offensive tool to allow
          us to grow profits. And that’s really the focus, is growing profits

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 ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

 ZHUH

                   D     WKDW 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH DVVLVWDQFH DQG IRU WKH EHQHILW RI

 9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWVDQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQW

 SURGXFWV ZLWK FRPSHWLWRUV¶ GUXJV 9DOHDQW HPSOR\HHV ZRUNHG DW 3KLOLGRU 9DOHDQW FRXOG FORVH

 3KLOLGRUE\VHYHULQJWLHVDV9DOHDQWZDVLWVRQO\FOLHQWDQGWKHVHIDFWVZHUHEHLQJFRQFHDOHGE\

 9DOHDQWIURPSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0VDQGLQYHVWRUV

                   E     WKH³LQFHQWLYHV´ZHUHLQSODFHLQWKH$)FKDQQHOWRJHWUHMHFWHGFODLPVSDLG

 EHFDXVHRI9DOHDQW¶VFODQGHVWLQHDQGFRQWUROOLQJUHODWLRQVKLSZLWK3KLOLGRU


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                  F     WKDW9DOHDQW¶VSXUSRUWHGO\³VXVWDLQDEOH´EXVLQHVVVWUDWHJ\FRQVLVWHGRIDQG

 D PDWHULDO VRXUFH RI WKH WRXWHG JURZWK LQ UHYHQXHV DQG VDOHV RI LWV NH\ GHUPDWRORJ\ SURGXFWV

 UHVXOWHGIURPXVLQJGHFHSWLYHSUDFWLFHVRI L SULFHLQFUHDVHVZKLFKZHUHIDUEH\RQGLQGXVWU\

 QRUPVDQG'HIHQGDQWVNQHZZHUHXQVXVWDLQDEOH LL URXWLQJSDWLHQWVLQWRLWVFODQGHVWLQHQHWZRUN

 RISKDUPDFLHVWKDWZHUHIDOVHO\PDGHWRDSSHDULQGHSHQGHQW LLL XVLQJSDWLHQWDVVLVWDQFHDQG35

 VWUDWHJLHVWRPLQLPL]HSDWLHQWFRPSODLQWVDQG LY FRQFHDOLQJ9DOHDQW¶VGHFHSWLYHSUDFWLFHVIURP

 SD\RUVLQRUGHUWRREWDLQUHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWEHUHLPEXUVHGRUQRWUHLPEXUVHG

 DWVLPLODUO\KLJKSULFHVLIVXFKSUDFWLFHVZHUHNQRZQWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQVDQG

 3%0V

                  G     WKDW 9DOHDQW¶V EXVLQHVV ULVNV KDG PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH

 GHFHSWLYH SUDFWLFHV LQ VXESDUDJUDSK F  DERYH DQG H[SRVHG WKH &RPSDQ\ WR LQFUHDVHG ULVNV RI

 UHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRILQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQV

 GHFUHDVHG VDOHV DQG LQFUHDVHG VFUXWLQ\ QRQSD\PHQW DQG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\

 3%0VSULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVEHFDPHNQRZQZKLFKLVWKHWUXHUHDVRQ

 'HIHQGDQWVUHIXVHGWRGLVFXVVWKHVSHFLILFV

                  H     WKDWWKHZD\WKH$)³V\VWHPZRUNV´WRPDNHWKH³DYHUDJHSULFHLQWHUQDOO\

 JR XS´ DQG JHW FODLPV ³UHMHFWHG E\ UHWDLO´ SKDUPDFLHV ³IXOO\ SDLG´ ZDV WKURXJK WKH GHFHSWLYH

 SUDFWLFHV VHW IRUWK LQ VXESDUDJUDSK F  DERYH ZKLFK FDUULHG WKH LQFUHDVHG ULVNV VHW IRUWK LQ

 VXESDUDJUDSK G DERYH

                  I     WKDW WKH &RPSDQ\¶V UHSRUWHG UHYHQXHV HDUQLQJV SHU VKDUH ³(36´  DQG

 SURILWDELOLW\DVZHOODVLWVIXWXUHEXVLQHVVSURVSHFWVZHUHGHSHQGHQWRQ9DOHDQW¶VDELOLW\WRFRQWLQXH

 DQGFRQFHDOWKHGHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK F DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNV




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 LQVXESDUDJUDSK G DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVV

 SURVSHFWVDQG

                       J       WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

 SURJUDPV ZKLFK UHVXOWHG LQ DQ ³LPSURSHU WRQH DW WKH WRS´ ZLWK WKH 'HIHQGDQWV SULRULWL]LQJ

 LQFUHDVLQJ 9DOHDQW¶V VWRFN SULFH RYHU HQVXULQJ WKDW 9DOHDQW DQG LWV FODQGHVWLQH QHWZRUN RI

 SKDUPDFLHVFRPSOLHGZLWKDSSOLFDEOHODZVUHJXODWLRQVFRQWUDFWVDQGHQVXUHGWKDWLWV6(&ILOLQJV

 DQGSXEOLFGLVFORVXUHVZHUHIUHHRIPDWHULDOPLVVWDWHPHQWVDVVHWIRUWKLQ 

 -XO\WKURXJK-DQXDU\)DOVHDQG0LVOHDGLQJ6WDWHPHQWV

                       2Q-XO\WKH&RPSDQ\ILOHGD)RUP.ZLWKWKH6(&WKDWDWWDFKHG

 D PHPRUDQGXP WR HPSOR\HHV RI 9DOHDQW DQG %DXVFK  /RPE DQG D FRS\ RI WKH DQWLFLSDWHG

 RUJDQL]DWLRQDOFKDUWRIWKHFRPELQHGFRPSDQ\ XSRQFORVLQJRIWKHPHUJHU7KHPHPRUDQGXP

 SXUSRUWHGWRGHVFULEH9DOHDQW¶V³2UJDQL]DWLRQDO'HVLJQDQG3KLORVRSK\´E\VWDWLQJ

           In the end, our primary mission is to serve the patients and consumers who use
           our products, the physicians who prescribe / recommend them and the customers
           who provide retail outlets for these products. Healthcare companies are held by
           society to the highest possible ethical standard – and they should be. Adhering to
           this extremely high ethical bar supersedes any financial or other objective

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           &RQVLVWHQWZLWKRXUGHFHQWUDOL]HGRSHUDWLQJSKLORVRSK\RXUFRUSRUDWHFHQWHUZLOO
           EHVPDOOOHDQDQGIRFXVHGRQWKUHHWKLQJV

                      Ensuring adequate controls to protect our shareholders and to
           ensure we are in compliance with all regulatory requirements

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 DQDO\VWV WR GLVFXVV 9DOHDQW¶V VHFRQG TXDUWHU  ³4´  ILQDQFLDO UHVXOWV  'XULQJ WKH FDOO

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   2Q0D\WKH&RPSDQ\DQQRXQFHGLWKDGHQWHUHGLQWRDGHILQLWLYHDJUHHPHQWXQGHU
 ZKLFK9DOHDQWZRXOGDFTXLUH%DXVFK /RPEIRUELOOLRQLQFDVK2Q$XJXVWWKH
 &RPSDQ\DQQRXQFHGFRPSOHWLRQRIWKHDFTXLVLWLRQ


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 3HDUVRQZDVDVNHGZKHWKHUWKH&RPSDQ\ZRXOGQHHGWRDGRSW³PRUHRIDPDLQVWUHDPVWUDWHJ\´WR

 ³EHFRPH RQH RI WKH ZRUOG¶V ODUJHVW KHDOWKFDUH FRPSDQLHV´  ,Q UHVSRQVH 3HDUVRQ FRQWLQXHG WR

 GHIHQG9DOHDQW¶VSXUSRUWHGO\VXSHULRUQRQWUDGLWLRQDODFTXLVLWLRQVVWUDWHJ\VWDWLQJLQSDUW

         , GRQ¶W ± , WKLQN ZH ZRXOG SODQ WR KDYH RXU VDPH PRGHO  We think we can be
         successful by not doing what large pharma companies are doing, and that’s been
         our strategy, that will continue to be our strategy. And so we’re not looking to
         get into the traditional – ZH¶UHQRWJRLQJWRJR±WKHUDSHXWLFDUHDVDUHODUJHO\GULYHQ
         E\5 'LQWHUPVRIZK\SHRSOHRUJDQL]HWKDWZD\, and we don’t plan to spend –
         increase our R&D spend as a percent of sales to what other companies are doing.
         And we’ll continue to focus on both specialty segments DQGDWWUDFWLYHJHRJUDSKLF
         PDUNHWV

                3HDUVRQIXUWKHUDVVXUHGLQYHVWRUVWKDWWKHUHZHUHQRLQFUHDVHGFRPSOLDQFH

 ULVNVWRDFFRPSDQ\9DOHDQW¶VQRQWUDGLWLRQDOVWUDWHJ\VWDWLQJ

         In terms of compliance, compliance is obviously very, very important for us.$QG
         KDVWREHIRUHYHU\SKDUPDFHXWLFDOFRPSDQ\$QGDFWXDOO\,ZDV±,MXVWJRWWKH
         HPSOR\HHVXUYH\WKDWZHVHQGRXWHYHU\\HDU$QGZHKDYHDKXJHUHVSRQVHUDWH
         ZHOORYHUDQGHYHQKLJKHULQWKHHPHUJLQJPDUNHWV:KHQSHRSOHFRPHEDFN
         DQGWKH\UDWHRXU&RPSDQ\RQRXUPRVWSRVLWLYHDWWULEXWHVDQGRXUPRVWQHJDWLYH
         DWWULEXWHVDQGDWWKHYHU\WRSRIWKHOLVWRIWKHSRVLWLYHLVHWKLFDO6RRXUHPSOR\HHV
         UHDOO\GRDSSUHFLDWHLW That’s our most important thing that – that comes before
         everything.

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 4IRUWKHVHFRQGTXDUWHUHQGHG-XQH ³44´ VLJQHGE\3HDUVRQDQG6FKLOOHU7KH

 4 4 UHSUHVHQWHG WKDW ³pricing and sales volume of certain of our products . . . are

 distributed by third parties, over which we have no or limited control´ ZKLOH FRQFHDOLQJ WKDW

 9DOHDQW FRQWUROOHG DQG KDG VLJQLILFDQW LQIOXHQFH RYHU 3KLOLGRU  7KH 4 FRQWDLQHG WKH VDPH

 ,QWHUQDO&RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQV DVVHWIRUWKLQWKH44DW 

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 TXDUWHU ³4´  ILQDQFLDO UHVXOWV  7KH UHOHDVH DJDLQ HPSKDVL]HG 9DOHDQW¶V LQFUHGLEO\ UDSLG



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 JURZWK VWDWLQJ WKDW ³9DOHDQW¶V 'HYHORSHG 0DUNHWV UHYHQXH ZDV  ELOOLRQ XS  DV

 FRPSDUHG WR WKH WKLUG TXDUWHU RI ´ DQG WKDW ³[t]he growth in the Developed Markets was

 driven by continued improvement in many of our Dermatology prescription brands RXU

 DHVWKHWLFVDQGRUDOKHDOWKSRUWIROLRVour orphan drug productsDQG&HUD9H´

                2Q1RYHPEHUWKH&RPSDQ\ILOHGLWVTXDUWHUO\UHSRUWRQ)RUP

 4IRULWV4HQGHG6HSWHPEHU ³44´ VLJQHGE\3HDUVRQDQG6FKLOOHU7KH

 4 4 UHSUHVHQWHG WKDW ³pricing and sales volume of certain of our products . . . are

 distributed by third parties, over which we have no or limited control´ ZKLOH FRQFHDOLQJ WKDW

 9DOHDQW FRQWUROOHG DQG KDG VLJQLILFDQW LQIOXHQFH RYHU 3KLOLGRU  7KH 4 FRQWDLQHG WKH VDPH

 ,QWHUQDO&RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQVDVVHWIRUWKLQWKHSULRUILQDQFLDOVWDWHPHQWV

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                2Q -DQXDU\   3HDUVRQ DQG 6FKLOOHU KRVWHG D ILQDQFLDO JXLGDQFH

 FRQIHUHQFHFDOOZLWKLQYHVWRUVDQGDQDO\VWV'XULQJWKHFDOO3HDUVRQHPSKDVL]HGWKH&RPSDQ\¶V

 JURZWKLQVDOHVYROXPHZDVWKHUHVXOWRILWVEXVLQHVVVWUDWHJ\VWDWLQJ

         ,I ZH FRPSDUH 9DOHDQW¶V SHUIRUPDQFH LQ  WR WKH FRPSDQ\¶V DYHUDJH
         SHUIRUPDQFH IURP  WKURXJK  \RX FDQ VHH D FRQWLQXLQJ WUDFN UHFRUG RI
         FRQVLVWHQWVWURQJSHUIRUPDQFHLQWHUPVRIJURZWKLQUHYHQXHVHDUQLQJVDQGPRVW
         LPSRUWDQW UHWXUQV WR DOO RI \RX RXU VKDUHKROGHUV This is a result of achieving
         strong organic growth in a fiscally responsible manner for the products that we
         already own,FRXSOHGZLWKDFRQVLVWHQWWUDFNUHFRUGRIEX\LQJGXUDEOHDVVHWVLQD
         YHU\GLVFLSOLQHGPDQQHUDQGRYHUDFKLHYLQJLQWHUPVRILPSURYLQJJURZWKUDWHVDQG
         H[WUDFWLQJFRVWV\QHUJLHV

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 +HDOWKFDUH &(2V 8QVFULSWHG  $ 9LHZ IURP WKH 7RS &RQIHUHQFH  :KHQ DVNHG DERXW WKH

 &RPSDQ\¶VGHUPDWRORJ\ EXVLQHVVDQG9DOHDQW¶V$)SURJUDP3HDUVRQFRQWLQXHGWRFRQFHDOWKH

 SUDFWLFHVVWDWLQJ




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          The AF program ZDV,WKLQNUROOHGRXWDOLWWOHELWWRRTXLFNO\DQGWKHUHZHUHORWV
          RIEXJVLQLWDQGwe have a next generation that we’re going to – which we are
          implementing, which we aren’t going to talk about the details of,EXWQHWQHW,
          WKLQN6RORG\QLW¶VDORWOHVVLPSRUWDQWWRXVQRZWKDQZKHQZH±WKDQLWZDVWR
          0HGLFLVREYLRXVO\

                7KH VWDWHPHQWV LQ   DERYH ZHUH IDOVH DQG PLVOHDGLQJ

 ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

 ZHUH

                  D     WKDW 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH DVVLVWDQFH DQG IRU WKH EHQHILW RI

 9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWVDQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQW

 SURGXFWV ZLWK FRPSHWLWRUV¶ GUXJV 9DOHDQW HPSOR\HHV ZRUNHG DW 3KLOLGRU 9DOHDQW FRXOG FORVH

 3KLOLGRUE\VHYHULQJWLHVDV9DOHDQWZDVLWVRQO\FOLHQWDQGWKDWWKHVHIDFWVZHUHEHLQJFRQFHDOHG

 E\9DOHDQWIURPSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0VDQGLQYHVWRUV

                  E     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\FRQVLVWHGRIDQGDPDWHULDOVRXUFHRILWV

 JURZWK LQ UHYHQXH DQG VDOHV RI LWV NH\ GHUPDWRORJ\ SURGXFWV UHVXOWHG IURP XVLQJ GHFHSWLYH

 SUDFWLFHVRI L SULFHLQFUHDVHVZKLFKZHUHIDUEH\RQGLQGXVWU\QRUPVDQG'HIHQGDQWVNQHZZHUH

 XQVXVWDLQDEOH IRUH[DPSOHGRXEOLQJWKHSULFHRI6\SULQHRQ-XO\GRXEOLQJLWDJDLQRQ

 $XJXVWDQGGRXEOLQJLW\HWDJDLQRQ$XJXVWIRUDWRWDOLQFUHDVHRIIURP

  WR   LL  URXWLQJ SDWLHQWV LQWR LWV FODQGHVWLQH QHWZRUN RI SKDUPDFLHV WKDW ZHUH

 IDOVHO\PDGHWRDSSHDULQGHSHQGHQW LLL XVLQJSDWLHQWDVVLVWDQFHDQG35VWUDWHJLHVWRPLQLPL]H

 SDWLHQW FRPSODLQWV DQG LY  FRQFHDOLQJ WKHVH SUDFWLFHV IURP SD\RUV LQ RUGHU WR REWDLQ

 UHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWEHUHLPEXUVHGRUQRWUHLPEXUVHGDWVLPLODUO\KLJKSULFHV

 LIVXFKSUDFWLFHVZHUHNQRZQWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQVDQG3%0V

                  F     WKDWE\³QRWGRLQJZKDWODUJHSKDUPDFRPSDQLHVDUHGRLQJ´DQGIRFXVLQJ

 RQ5 'DQGLQVWHDGXVLQJWKH$)VWUDWHJ\9DOHDQW¶VEXVLQHVVULVNVKDGPDWHULDOO\LQFUHDVHGDVD



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 UHVXOW RI WKH FRQFHDOHG SUDFWLFHV LQ VXESDUDJUDSK E  DERYH ZKLFK H[SRVHG WKH &RPSDQ\ WR

 LQFUHDVHG ULVNV RI UHJXODWRU\ VDQFWLRQV LQFUHDVHG FRVWV RI LQYHVWLJDWLRQV UHSXWDWLRQDO KDUP

 FRQWUDFWXDOYLRODWLRQVGHFUHDVHGVDOHVDQGLQFUHDVHGVFUXWLQ\QRQSD\PHQWDQGVXEVWLWXWLRQRI

 9DOHDQWSURGXFWVE\3%0VSULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVEHFDPHNQRZQ

                  G     WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXHV(36DQGSURILWDELOLW\DVZHOODVLWV

 IXWXUH EXVLQHVV SURVSHFWV ZHUH GHSHQGHQW RQ 9DOHDQW¶V DELOLW\ WR FRQWLQXH DQG FRQFHDO WKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNVLQVXESDUDJUDSK

  F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVVSURVSHFWV

                  H     WKDWWKH&RPSDQ\¶VJURZWKDQGDELOLW\WRVHUYLFHLWVGHEWZHUHVXEVWDQWLDOO\

 GHSHQGHQWRQDFTXLULQJFRPSDQLHVDQGGUXJSRUWIROLRVLQZKLFKLWFRXOGHQJDJHLQSULFHJRXJLQJ

 DQGWKHGHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\VORZGRZQRUFHVVDWLRQRIVXFK

 DFTXLVLWLRQV ZRXOG KDYH D PDWHULDODGYHUVH HIIHFW RQ WKH &RPSDQ\¶V EXVLQHVV FDVK IORZV DQG

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                  I     WKDWDGKHULQJWRWKH³H[WUHPHO\KLJKHWKLFDOEDU´GLGQRW³VXSHUVHGH>@DQ\

 ILQDQFLDO´ REMHFWLYHDQG ³FRPSOLDQFH´ GLG QRW ³FRPH>@ EHIRUH HYHU\WKLQJ´EHFDXVHFRQWUDU\WR

 'HIHQGDQWV¶FODLPV9DOHDQWODFNHGDGHTXDWHLQWHUQDOFRQWUROVFRPSOLDQFHDQGWUDLQLQJSURJUDPV

 ZKLFKUHVXOWHGLQKDYLQJDQ³LPSURSHUWRQHDWWKHWRS´LQZKLFKVHQLRUPDQDJHPHQWDQGGLUHFWRUV

 SULRULWL]HGLQFUHDVLQJ9DOHDQW¶VVWRFNSULFHRYHUHQVXULQJWKDW9DOHDQWDQGLWVFODQGHVWLQHQHWZRUN

 RI SKDUPDFLHV FRPSOLHG ZLWK DSSOLFDEOH ODZV UHJXODWLRQV FRQWUDFWV DQG HQVXUHG WKDW LWV 6(&

 ILOLQJVDQGSXEOLFGLVFORVXUHVZHUHIUHHRIPDWHULDOPLVVWDWHPHQWVDVVHWIRUWKLQ 

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 )HEUXDU\WR-XQH)DOVHDQG0LVOHDGLQJ6WDWHPHQWV




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 ILQDQFLDOUHVXOWV7KHUHOHDVHQRWHGWKDWWKHVRXUFHRIJURZWKZDVLQFUHDVHGYROXPHRIGHUPDWRORJ\

 VDOHVVWDWLQJ

         9DOHDQW¶V'HYHORSHG0DUNHWVUHYHQXHZDVELOOLRQXSDVFRPSDUHGWR
         WKHIRXUWKTXDUWHURI7KLVLQFUHDVHZDVSULPDULO\OHGE\WKHDFTXLVLWLRQRI
         %DXVFK  /RPE ZKLFK ZDV FRPSOHWHG RQ $XJXVW    6DPH VWRUH RUJDQLF
         SURGXFWVDOHVJURZWKZDVH[FOXGLQJWKHLPSDFWRIWKHJHQHULFL]DWLRQRIWKH
         =RYLUD[IUDQFKLVH5HWLQ$0LFURDQG%HQ]D&OLQThe growth in the Developed
         Markets was driven by continued growth in certain dermatology prescription
         brandsour aesthetics, consumer, neurology and other and oral health portfolios
         DQGRXU&DQDGLDQEXVLQHVVXQLW

                 $OVRRQ)HEUXDU\3HDUVRQDQG6FKLOOHUKRVWHGDFRQIHUHQFHFDOO

 ZLWK LQYHVWRUV DQG DQDO\VWV WR GLVFXVV 9DOHDQW¶V 4 DQG )<  ILQDQFLDO UHVXOWV  :KHQ

 GLVFXVVLQJ 9DOHDQW¶V JURZWK LQ ³QHXURORJ\ DQG RWKHU´ 3HDUVRQ VWDWHG ³When we acquired

 Medicis, I think we mentioned that we picked up a couple of orphan drugs, which they weren’t

 marketing optimally. And so we have been able to take advantage of that and grow those

 products.´

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 IRUWKH\HDUHQGHG'HFHPEHU ³.´ 7KH.ZDVVLJQHGE\3HDUVRQDQG

 6FKLOOHU  7KH  . VWDWHG WKDW WKH &RPSDQ\ IDFHG VLJQLILFDQW FRPSHWLWLRQ IURP JHQHULF

 SKDUPDFHXWLFDO SURGXFWV ZLWKRXW GLVFORVLQJ WKH GHFHSWLYH VWHSV 9DOHDQW WRRN WR SUHYHQW

 VXEVWLWXWLRQRILWVSURGXFWV,WLQFOXGHGVWDWHPHQWVWKDW

                     D   DGGUHVVHG JHQHULF FRPSHWLWLRQ VWDWLQJ ³*HQHULF YHUVLRQV DUH JHQHUDOO\

 VLJQLILFDQWO\ OHVV H[SHQVLYH WKDQ EUDQGHG YHUVLRQV DQG ZKHUH DYDLODEOH PD\ EH UHTXLUHG LQ

 SUHIHUHQFHWRWKHEUDQGHGYHUVLRQXQGHUWKLUGSDUW\UHLPEXUVHPHQW SURJUDPV RU VXEVWLWXWHG E\

 SKDUPDFLHV´ DQG FODLPLQJ ³[t]o successfully compete for business with managed care and




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 pharmacy benefits management organizations, we must often demonstrate that our products

 offer not only medical benefits but also cost advantages as compared with other forms of care´

                    E      DGGUHVVHG9DULDEOH,QWHUHVW(QWLWLHV ³9,(´ ZKLFKDUHGHILQHGLQ*$$3

 DVDOHJDOHQWLW\WKDWLVVXEMHFWWRFRQVROLGDWLRQ$OWKRXJK3KLOLGRUZDVD9,(XQGHU*$$3 infra

    LQ LWV  . 9DOHDQW H[SOLFLWO\ VWDWHG WKDW 9DOHDQW GLG QRW KROG DQ\

 LQWHUHVWVLQ9,(V³>t@here were no material arrangements determined to be variable interest

 entities´DQG

                    F      LQFOXGHG0DQDJHPHQW¶V&RQFOXVLRQVLJQHGE\3HDUVRQDQG6FKLOOHU³that

 our internal control over financial reporting was effective as of December 31, 2013´7KH

 .DOVRLQFOXGHGWKHVDPH,QWHUQDO&RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQVDVVHWIRUWKLQ

 WKHSULRUILQDQFLDOVWDWHPHQWVDW 

                   7KH  . LQFOXGHG QXPHURXV VWDWHPHQWV UHJDUGLQJ WKH &RPSDQ\¶V

 SXUSRUWHGO\ORZHUULVNEXVLQHVVVWUDWHJ\)RUH[DPSOHWKH.VWDWHG

         The growth of our business is further augmented through our lower risk research
         and development model. This model allows us to advance certain development
         programs to drive future commercial growth, while minimizing our research and
         development expense.7KLVLVDFKLHYHGSULPDULO\DVIROORZV

         x         IRFXVLQJ RXU HIIRUWV RQ QLFKH WKHUDSHXWLF DUHDV VXFK DV H\H KHDOWK
                    GHUPDWRORJ\ DQG SRGLDWU\ DHVWKHWLFV DQG GHQWLVWU\ LQFOXGLQJ OLIHF\FOH
                    PDQDJHPHQWSURJUDPVIRUFXUUHQWO\PDUNHWHGSURGXFWVDQG

         x         DFTXLULQJ GRVVLHUV DQG UHJLVWUDWLRQV IRU EUDQGHG JHQHULF SURGXFWV ZKLFK
                    UHTXLUHOLPLWHGPDQXIDFWXULQJVWDUWXSDQGGHYHORSPHQWDFWLYLWLHV

                   7KH.UHSUHVHQWHGWKDW³pricing and sales volume of certain of

 our products. . . are distributed by third parties, over which we have no or limited control´ZKLOH

 IDLOLQJWRGLVFORVHWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

                   2Q $SULO   WKH &RPSDQ\ LVVXHG D UHOHDVH VWDWLQJ WKDW ³LW KD>G@

 VXEPLWWHG D PHUJHU SURSRVDO WR WKH%RDUG RI 'LUHFWRUV RI $OOHUJDQ XQGHU ZKLFK HDFK $OOHUJDQ

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 VKDUHZRXOGEHH[FKDQJHGIRULQFDVKDQGVKDUHVRI9DOHDQWFRPPRQVWRFN´,QWRWDO

 WKLVXQVROLFLWHGRIIHUWRDFTXLUH$OOHUJDQWKHPDNHURI%RWR[ DSRSXODUDQWLZULQNOHWUHDWPHQW 

 ZDVYDOXHGDWDSSUR[LPDWHO\ELOOLRQ7KHUHOHDVHGLVFORVHGWKDWWKHSURSRVDOZDVPDGHZLWK

 WKH IXOO VXSSRUW RI $FNPDQ DQG 3HUVKLQJ 6TXDUH ZKLFK KDG UDSLGO\ DFFXPXODWHG  RI

 $OOHUJDQ¶VRXWVWDQGLQJVWRFNOHDGLQJXSWRWKHSURSRVHGDFTXLVLWLRQPDNLQJLW$OOHUJDQ¶VVLQJOH

 ODUJHVWVKDUHKROGHU

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 TXDUWHU  ³4´  ILQDQFLDO UHVXOWV  7KH UHOHDVH UHSRUWHGRQ 9DOHDQW¶V FRQWLQXHG WUHQG RI

 H[WUDRUGLQDU\JURZWKLQFOXGLQJUHYHQXHJURZWKZKLFKUHSUHVHQWHG³DQLQFUHDVHRIRYHUWKH

 SULRU \HDU´ZKLFK ³>H@[FHHGHG RXUH[SHFWDWLRQV´ DORQJ ZLWK ³>S@RVLWLYH RUJDQLF JURZWK LQ WKH

 86´7KHUHOHDVHTXRWHG3HDUVRQDVVWDWLQJLQSDUW³[o]ur first quarter results demonstrate

 the strong, durable nature of our diversified business model´

                7KDWVDPHGD\3HDUVRQDQG6FKLOOHUKRVWHGDQHDUQLQJVFRQIHUHQFHFDOOZLWK

 LQYHVWRUVDQGDQDO\VWVWRGLVFXVVLWV4UHVXOWV:KHQDVNHGDERXWWKH&RPSDQ\¶VGHUPDWRORJ\

 SURGXFWV DQG ZKHWKHU ³\RX¶UH GRLQJ >DQ\WKLQJ@ GLIIHUHQWO\ LQ WHUPV RI KRZ \RX¶UH PDUNHWLQJ

 WKHP>R@ULPSURYLQJWKHJURVVWRQHWVRQWKRVHSURGXFWV´3HDUVRQUHVSRQGHGLQUHOHYDQWSDUW

         , WKLQN WKHRWKHU WKLQJ LV ± WKDW we’ve worked on is a much more sophisticated
         alternate fulfillment system that we’ve implemented the US, which is really
         helping. 7KRVHVFULSWVGRQ¶WVKRZXSLQ,06LQWHUPVRIZKDW¶VGRLQJ, but we’re
         very pleased that Solodyn is now growing. And we’ve applied that to a number
         of our other products, which is also helping in terms of the growth

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 WKHILUVWTXDUWHUHQGHG0DUFK ³44´ 7KH44ZDVVLJQHGE\3HDUVRQ

 DQG6FKLOOHU,QDGGLWLRQWRFRQILUPLQJWKHILQDQFLDOUHVXOWVDQQRXQFHGLQWKH&RPSDQ\¶V0D\

 HDUQLQJVUHOHDVHWKH44LQFOXGHG



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                   D     QXPHURXV VWDWHPHQWV UHJDUGLQJ WKH &RPSDQ\¶V SXUSRUWHGO\ ORZHU ULVN

 EXVLQHVVVWUDWHJ\IRUH[DPSOH

            The growth of our business is further augmented through our lower risk research
            and development model, which allows us to advance certain development
            programs to drive future commercial growth, while minimizing our research and
            development expense

                   E     WKH VDPH ,QWHUQDO &RQWUROV 6WDWHPHQW DQG 62; &HUWLILFDWLRQV VLJQHG E\

 3HDUVRQDQG6FKLOOHUDVVHWIRUWKLQ 

                 7KH44UHSUHVHQWHGWKDW³pricing and sales volume of certain of

 our products . . . are distributed by third parties, over which we have no or limited control´ZKLOH

 FRQFHDOLQJWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

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 XQVROLFLWHGELGDQGVWDWLQJLWVERDUGRIGLUHFWRUV³EHOLHYHVWKDWWKH9DOHDQWEXVLQHVVPRGHOLVQRW

 VXVWDLQDEOH´'XULQJDFRQIHUHQFHFDOORQWKHVDPHGD\'DYLG(,3\RWW ³3\RWW´  $OOHUJDQ¶V

 &KDLUPDQDQG&(2 UHIHUUHGWR³WKHXQVXVWDLQDELOLW\RI9DOHDQW¶VEXVLQHVVPRGHO´HPSKDVL]HG

 9DOHDQW¶VODFNRIRUJDQLFJURZWKDQGFDXWLRQHGLQYHVWRUVWR³YHU\FDUHIXOO\´FKHFNWKHUHVXOWV

 ³DFWXDOO\DFKLHYHG´E\9DOHDQW¶VQHZSURGXFWODXQFKHVDQG³GLJLQZKDWDUHWKHSULFHLQFUHDVHV

 EHKLQGWKRVHYHU\ORZ>RUJDQLFJURZWK@QXPEHUVEHFDXVHWKHUHDUHVRPHH\HSRSSLQJLQFUHDVHVRI

 SULFH´

                 2Q 0D\   9DOHDQW LVVXHG D UHOHDVH DQQRXQFLQJ WKDW LW ZRXOG EH

 KRVWLQJDQLQYHVWRUPHHWLQJDQGZHEFDVWRQ0D\³to respond to assertions Allergan has

 made that the Valeant model is not sustainable´  7KH UHOHDVH FRQWLQXHG  ³2XU JRDO IRU WKLV

 PHHWLQJ LV to provide transparency into Valeant’s historic, current, and future operating

 performance and to refute Allergan’s allegations through a thoughtful and fact-based

 presentation´


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                       2Q 0D\   $OOHUJDQ ILOHG D )RUP . ZLWK WKH 6(&  $OOHUJDQ

 DWWDFKHGDVOLGHSUHVHQWDWLRQHQWLWOHG³&HUWDLQ3RWHQWLDO%XVLQHVV5LVNVDQG,VVXHV:LWK9DOHDQW

 3KDUPDFHXWLFDOV,QWHUQDWLRQDO,QF´ZKLFKH[SUHVVHGFRQFHUQDERXW³9DOHDQW¶VORZRUJDQLFVDOHV

 JURZWK GULYHQ PRVWO\ E\ SULFH LQFUHDVHV ´  ,W DVVHUWHG WKDW PXFK RI 9DOHDQW¶V JURZWK ZDV

 DWWULEXWDEOHWR³XQVXVWDLQDEOHSULFHLQFUHDVHV±QRWYROXPH´7KHSUHVHQWDWLRQDOVRQRWHG9DOHDQW¶V

 ³GHSOHWHG5 'HQJLQH´DQGTXHVWLRQHGLWV³UROOXS´EXVLQHVVPRGHODQG³6LJQLILFDQW0DQDJHPHQW

 7XUQRYHU´

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 LQFUHDVHGLWVPHUJHUSURSRVDOIRU$OOHUJDQE\UDLVLQJWKHFDVKFRQVLGHUDWLRQDQGPDNLQJWKHWRWDO

 FRQVLGHUDWLRQ DSSUR[LPDWHO\  ELOOLRQ  7KDW VDPH GD\ WKH &RPSDQ\ KRVWHG LWV SUHYLRXVO\

 DQQRXQFHGLQYHVWRUPHHWLQJDQGFRQIHUHQFHFDOODWWHQGHGE\3HDUVRQ6FKLOOHUDQG-RUQ'XULQJ

 WKHFRQIHUHQFHFDOOWKH\UHIXWHG$OOHUJDQ¶VFODLPV

                       D       3HDUVRQ VDLG WKH\ ZRXOG SURYLGH LQYHVWRUV ZLWK ³a much deeper

 understanding of our operating model and why we believe it is sustainable for many years to

 come´DQGVKRZWKDW³when we buy a platform asset, we have either maintained the growth or

 in most cases, we have accelerated the growth´

                       E       -RUQHPSKDVL]HGWKHODXQFKRI³additional access programs so that patients

 can get the medicines that their physician prescribes for them´

                       F       -RUQUHLWHUDWHG³that in 2014 we have returned the business to growth” DQG 

 KLJKOLJKWHGWKHJURZWKRIGHUPDWRORJ\SURGXFWVLQFOXGLQJ6RORG\QDQG$FDQ\DVWDWLQJ

           :H KDYH VWDELOL]HG IRFXVHG DQG HQHUJL]HG WKH VDOHV IRUFH  :H DUH ODXQFKLQJ
           VHYHUDOQHZEUDQGVZKLFK,ZLOOWDONDERXWWe have returned many of our core

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 
   6RORG\QDQG$FDQ\DDUHSUHVFULSWLRQPHGLFDWLRQVXVHGWRWUHDWDFQHWKDWZHUHVROGWKURXJK
 3KLOLGRU


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        promoted brands to growth  :H KDYH QHZ PDQDJHG FDUH FDSDELOLWLHV we have
        launched additional access programs so that patients can get the medicines that
        their physician prescribes for them

                                                            

        6RZKDWW\SHRIJURZWKDUHZHWDONLQJDERXW"It is important that we recognize
        that we have been able in 2014 to turn around our largest brand, Solodyn:H
        HQWHUHGWKH\HDUZLWKVKDUHEUDQGHGVKDUHRIWKHGHUPDWRORJ\VSDFH:HDUH
        QRZXSDWDQGDV\RXFDQVHHRXUFRPSHWLWRUVKDYHLVVXHV'RU\[KDVEHHQ
        GHFOLQLQJDQG0RQRGR[LVIODW:HDUHYHU\SURXGRIWKLVDFFRPSOLVKPHQW

        )XUWKHU we continue to maintain greater than 80% share of the branded
        Clindamycin/BPO market with our brand, Acanya. 'HVSLWHORVVLQVRPHPDMRU
        DFFRXQWVLQPDQDJHGFDUHZHKDYHEHHQDEOHWRDFKLHYHWKLV

                 G     3HDUVRQ FRQFOXGHG WKH SUHVHQWDWLRQ SRUWLRQ RI WKH LQYHVWRU PHHWLQJ E\

 FODLPLQJ9DOHDQW³has delivered strong organic growth since I have been here´DQG³>w@e are

 very transparent´DQG³our basic underlying growth rate is about 8%´DQG

                 H     'XULQJ WKH TXHVWLRQ DQG DQVZHU VHVVLRQ 3HDUVRQ ZDV DVNHG WR UHFRQFLOH

 LQGXVWU\GDWDVKRZLQJSULFHLQFUHDVHVZLWKVOLGHVXVHGGXULQJWKHSUHVHQWDWLRQVKRZLQJD

 LQFUHDVH  3HDUVRQ FODLPHG 9DOHDQW ZDV “limited” WR ³9%´ SULFH LQFUHDVHV LQ GHUPDWRORJ\ DQG

 GHQLHGDOO$OOHUJDQ¶VFODLPVVWDWLQJ

        6R,WKLQNPRVWH[WHUQDOVRXUFHVWDONDERXWJURVVSULFHVZKLFKKDYHQRWKLQJWRGR
        ZLWKQHWSULFLQJWKURXJKPDQDJHGFDUHFRQWUDFWVHWFHWF We are limited. For
        example in the US with our managed care contracts, I think the maximum price
        increase we can take a year is 9% across dermatology, across ophthalmology, etc.
        So that is what limits. It is managed care in the United States

                                                            

        ,WKLQNZHVKRZHGWKDWZKHQwe went through the 10 points that Allergan asserted
        ZKLFK ZDV EDVHG RQ MXVW ORRNLQJ DW FRQYHQWLRQDO VRXUFHV DQG it is just not
        applicable to the way we run our business. And I would argue it would be less
        and less applicable to most pharma companies because the role of specialty
        pharmacies, the role of managed care is changing the landscape in terms of what
        you can look at




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              $OVR RQ 0D\   3HDUVRQ SDUWLFLSDWHG LQ WKH 6DQIRUG & %HUQVWHLQ

 6WUDWHJLF'HFLVLRQV&RQIHUHQFHRQEHKDOIRIWKH&RPSDQ\3HDUVRQZDVDVNHGVHYHUDOTXHVWLRQV

 GXULQJWKHFRQIHUHQFHDERXWSULFHYROXPHDQGWKHVXIILFLHQF\RI9DOHDQW¶VGLVFORVXUHV

                D     :LWKUHJDUGWRSULFHDQGYROXPH3HDUVRQVWDWHG

        7KHRQO\FRXQWU\LQWKHZRUOGWKDW\RXFDQUHDOO\VXVWDLQDEO\LQFUHDVHSULFLQJLVWKH
        8QLWHG 6WDWHV  And in the United States, you’re governed by managed care
        contracts.And the managed care contract – the highest price increase we could
        take under any managed care contract we have in the US is 9% a year

        So, we have a lot of constraints, just like other pharma companies do, in terms of
        pricing. So, we focus on volume growth, and the vast majority of our growth on
        a global basis – and we went through some of that this morning – is volume

                E     ,QUHVSRQVHWRZK\9DOHDQWGLGQRWSURYLGHPRUHGHWDLOHGGLVFORVXUHVRQ

 SURGXFWVDOHV3HDUVRQUHVSRQGHG³We’re more like a generics company in terms of the amount

 of revenue we get per product´DGGLQJ³>LW@MXVWPDNHVQRVHQVH´WRPDNHVXFKGLVFORVXUHVDQG

                F     3HDUVRQZDVDOVRDVNHGLIRWKHUVZHUHFRS\LQJ9DOHDQW¶VEXVLQHVVPRGHO

 DQGVDLGWKH\ZHUHWUDQVSDUHQWLQZKDWWKH\ZHUHGRLQJEXWLWZDVKDUGWRH[HFXWHFODLPLQJ³as

 Howard [Schiller] always says, it’s not a very easy model to replicate. It’s very simple. We tell

 you exactly what we’re doing. But it’s very hard. It requires working really, really hard,

 sweating the details every day´

              2Q-XQH3HDUVRQDQG6FKLOOHUKRVWHGDFRQIHUHQFHFDOO³to refute

 recent misleading assertions made by Allergan´'HIHQGDQWVPDGHWKHIROORZLQJVWDWHPHQWV

                D     'XULQJKLVRSHQLQJUHPDUNV3HDUVRQHPSKDVL]HGWKDW9DOHDQW¶V³business

 is strong´ DQG³[Valeant’s] operating model is both durable and sustainable´VWDWLQJLQSDUW

        ,DPSOHDVHGWRXSGDWHDOORI\RXWKDWRXUEXVLQHVVLVFRQWLQXLQJWRSHUIRUPZHOO,
        ILQGLWYHU\RGGWKDW$OOHUJDQFRQWLQXHVWRVXJJHVWWKDWRXU4DQGLQSDUWLFXODURXU
        4UHVXOWVZLOOGHPRQVWUDWHZHDNQHVV«In short, our business is strong and I
        can assure you our operating model is both durable and sustainable



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         ,Q$OOHUJDQ¶VLQYHVWRUSUHVHQWDWLRQGDWHG-XQHWKH\DVVHUWHGWKDW9DOHDQW
         KDVH[SHULHQFHGYROXPHGHFUHDVHVLQRILWVWRSZRUOGZLGHSKDUPDFHXWLFDO
         SURGXFWV

         )LUVWWKHSURGXFWVOLVWHGLQWKHSUHVHQWDWLRQDUHQRW9DOHDQW¶VWRSSURGXFWVE\
         UHYHQXH 2QO\  RI WKH SURGXFWV OLVWHG DUH LQ 9DOHDQW¶V WRS  SURGXFWV  The
         presentation also claimed that most of our products are not growing, when in
         fact,13 of our top 15 products are growing and 9 of the top 15 are growing by
         volume, not just price

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         :HH[SHFWWRJRWKURXJKHDFKDQGHYHU\RQHRIWKHRWKHUPLVFKDUDFWHUL]DWLRQVODWHU
         WKLVZHHNDQGZLOOSRVWWKHIDFWVWRRXUZHEVLWH

                  E     3HDUVRQ FRQWLQXHG WR UHVSRQG WR DVVHUWLRQV UHJDUGLQJ 9DOHDQW¶V RUJDQLF

 JURZWKDQGSULFHLQFUHDVHVODWHULQWKHFDOO

         :HKDYHEHHQDQGZH¶YHEHHQGRLQJWKLQJVWKHULJKWZD\DQGWKDW¶VJRLQJWRFRPH
         WROLJKW6R,WKLQNWKDW¶V±VRZKLOHWKHUH¶VVRPHRSSRUWXQLW\FRVWRQWKHIOLSVLGH
         SHRSOHDUHUHDOO\JRLQJWRVHHKRZZHOORXUEXVLQHVVRXUXQGHUO\LQJEXVLQHVVLV
         GRLQJ,WKLQNWKDW¶VDUHDOO\JRRGWKLQJ

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         ,WKLQNWKHRWKHUWKLQJZHZLOOSUREDEO\VWDUWGRLQJDJDLQLVSULFHYROXPHPeople
         – a lot of assertions are that it’s all about price, but it’s not,I\RXWKLQNDERXW
         ILUVWRIDOOPRVWJHRJUDSKLHVLQWKHZRUOG\RXFDQ¶WUDLVHSULFH<RX¶UHMXVWQRW
         DOORZHGWRDQG±LQWHUPVRISKDUPDFHXWLFDOSURGXFWV$QGDOVRJLYHQRXUPL[ZH
         KDYHDERXWRIRXUSURGXFWVDUH27&DQGWKHUH¶VOLPLWHGSULFHLQFUHDVHWKHUH
         $ERXWDUHGHYLFHVWKLQJVOLNHFRQWDFWOHQVHVZKHUHZH¶UHQRWUDLVLQJSULFH

         6R,WKLQNZKDWZH¶UHWDONLQJDERXWHDUOLHUWKLVPRUQLQJLVprobably we will report
         what the volume and price parts of our organic growth are. And I suspect it will
         be surprising to people because I think volume is a much larger piece of our
         organic growth than most people would assume it isDQG

                  F     3HDUVRQIXUWKHUVWDWHGGXULQJWKH-XQHFRQIHUHQFHFDOOWKDW³>R@XU

 VDOHV IRUFH LQ GHUPDWRORJ\ QRZ KDV EHHQ VWDEOH IRU D IHZ TXDUWHUV DQG    all our promoted

 products in dermatology are growing´




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 ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

 ZHUH

                  D     WKDW 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH DVVLVWDQFH DQG IRU WKH EHQHILW RI

 9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWVDQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQW

 SURGXFWV ZLWK FRPSHWLWRUV¶ GUXJV 9DOHDQW HPSOR\HHV ZRUNHG DW 3KLOLGRU 9DOHDQW FRXOG FORVH

 3KLOLGRU E\ VHYHULQJ WLHV DV 9DOHDQW ZDV LWV RQO\ FOLHQW DQG WKDW UDWKHU WKDQ SURYLGLQJ

 ³WUDQVSDUHQF\´ DQG WHOOLQJ LQYHVWRUV ³H[DFWO\´ ZKDW 9DOHDQW ZDV GRLQJ WKHVH IDFWV ZHUH EHLQJ

 FRQFHDOHGE\9DOHDQWIURPSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0VDQGLQYHVWRUV

                  E     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\FRQVLVWHGRIDQGDPDWHULDOVRXUFHRILWV

 JURZWKLQFOXGLQJLWVRUJDQLFJURZWKLQUHYHQXHVDQGVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQG

 RWKHU SURGXFWV UHVXOWHG IURP XVLQJ GHFHSWLYH SUDFWLFHV RI  L  SULFH LQFUHDVHV ZKLFK ZHUH IDU

 EH\RQGLQGXVWU\QRUPVDQG'HIHQGDQWVNQHZZHUHXQVXVWDLQDEOH IRUH[DPSOHLQFUHDVLQJWKHSULFH

 RI&XSULPLQHRQ)HEUXDU\DQGDJDLQRQ0D\IRUDWRWDOLQFUHDVHRI  LL 

 URXWLQJ SDWLHQWV LQWR LWV FODQGHVWLQH QHWZRUN RI SKDUPDFLHV WKDW ZHUH IDOVHO\ PDGH WR DSSHDU

 LQGHSHQGHQW LLL XVLQJSDWLHQWDVVLVWDQFHDQG35VWUDWHJLHVWRPLQLPL]HSDWLHQWFRPSODLQWVUDWKHU

 WKDQREWDLQLQJDKLJKHU³VHOISD\FRPSRQHQW´IURPSDWLHQWVDQG LY FRQFHDOLQJWKHVHSUDFWLFHV

 IURP SD\RUV LQ RUGHU WR REWDLQ UHLPEXUVHPHQW IRU GUXJV WKDW ZRXOG QRW EH UHLPEXUVHG RU QRW

 UHLPEXUVHG DW VLPLODUO\ KLJK SULFHV LI VXFK SUDFWLFHV ZHUH NQRZQ WR SULYDWH SD\RUV SDWLHQWV

 SK\VLFLDQVDQG3%0V

                  F     WKDW9DOHDQWZDVQHLWKHU³OLNHDJHQHULFVFRPSDQ\LQWHUPVRIWKHDPRXQW

 RI UHYHQXH ZH JHW SHU SURGXFW´ OLPLWHG ³MXVW OLNH RWKHU SKDUPD FRPSDQLHV´ RQ SULFLQJ QRU




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 ³OLPLWHG´ WR  SULFH LQFUHDVHV EXW UDWKHU 9DOHDQW¶V JURZWK ZDV VXEVWDQWLDOO\ GULYHQ E\ DQG

 GHSHQGHQWXSRQSULFHLQFUHDVHVIDUH[FHHGLQJLQGXVWU\QRUPV

                  G     9DOHDQW¶V EXVLQHVV PRGHO DQG SULFLQJ VWUDWHJ\ ZDV QRW VXVWDLQDEOH DQG

 9DOHDQWZDVQRWFRPSHWLQJE\GHPRQVWUDWLQJWKH³FRVWDGYDQWDJHV´RILWVSURGXFWVDV'HIHQGDQWV

 ZHUHGHFHLYLQJSD\RUVLQWRSD\LQJPDVVLYHSULFHLQFUHDVHVZLWKRXWMXVWLILFDWLRQDV9DOHDQWKDGQRW

 LQFUHDVHGVSHQGLQJRQ5 'WRLPSURYHWKHDIIHFWHGPHGLFDWLRQV

                  H     WKDW 9DOHDQW¶V EXVLQHVV ULVNV KDG PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH

 FRQFHDOHGSUDFWLFHVLQVXESDUDJUDSK E DERYHZKLFKH[SRVHGWKH&RPSDQ\WRLQFUHDVHGULVNVRI

 UHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRILQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQV

 GHFUHDVHG VDOHV DQG LQFUHDVHG VFUXWLQ\ QRQSD\PHQW DQG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\

 3%0VSULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVEHFDPHNQRZQ

                  I     WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXHV(36DQGSURILWDELOLW\DVZHOODVLWV

 IXWXUH EXVLQHVV SURVSHFWV ZHUH GHSHQGHQW RQ 9DOHDQW¶V DELOLW\ WR FRQWLQXH DQG FRQFHDO WKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNVLQVXESDUDJUDSK

  H DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVVSURVSHFWV

                  J     WKDWWKH&RPSDQ\¶VJURZWKDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQW

 RQ DFTXLULQJ FRPSDQLHV DQG GUXJSRUWIROLRVLQZKLFKLWFRXOGHQJDJH LQ SULFH JRXJLQJ DQGWKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\VORZGRZQRUFHVVDWLRQRIVXFKDFTXLVLWLRQV

 ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH &RPSDQ\¶V EXVLQHVV FDVK IORZV DQG UHVXOWV RI

 RSHUDWLRQV

                  K     WKDW 9DOHDQW ZDV QRW HPSOR\LQJ D ³ORZHU ULVN UHVHDUFK DQG GHYHORSPHQW

 PRGHO´EXWUDWKHUHPSOR\LQJDVWUDWHJ\WKDWVXEMHFWHG9DOHDQWWRWKHLQFUHDVHGULVNVVHWIRUWKLQ

 VXESDUDJUDSK H DERYH



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                 L     WKDW9DOHDQW¶V³PXFKPRUHVRSKLVWLFDWHGDOWHUQDWHIXOILOOPHQWV\VWHPWKDW

 ZH¶YHLPSOHPHQWHGLQWKH86´WKDWZDV³UHDOO\KHOSLQJ´DQGGULYLQJVDOHVJURZWKZDVSUHGLFDWHG

 RQWKHGHFHSWLYHSUDFWLFHVGHVFULEHGLQVXESDUDJUDSK E DERYHDQGFDUULHGWKHXQGLVFORVHGULVNV

 VHWIRUWKLQVXESDUDJUDSK H DERYH

                 M     WKDWWKH³DGGLWLRQDODFFHVVSURJUDPVVRWKDWSDWLHQWVFDQJHWWKHPHGLFLQHV

 WKDWWKHLUSK\VLFLDQSUHVFULEHVIRUWKHP´ZHUHQHLWKHUGHVLJQHGWRPDNHSULFHVPRUHDIIRUGDEOHQRU

 WRJHWSDWLHQWVWKHPHGLFLQHVWKHLUGRFWRUVSUHVFULEHGEXWZHUHXVHGWRIRUFHSDWLHQWVLQWR9DOHDQW¶V

 FRQWUROOHGGLVWULEXWLRQFKDQQHODQGUHURXWHSUHVFULSWLRQVDZD\IURPUHWDLOSKDUPDFLHVDQGRUDOWHU

 SK\VLFLDQRUGHUVWRHQVXUHWKDWSUHVFULSWLRQVIRUWKHLUEUDQGHGSURGXFWVUDWKHUWKDQWKHJHQHULF

 DOWHUQDWLYHVZRXOGEHILOOHGDQGUHLPEXUVHG

                 N     WKDW UDWKHU WKDQ EHLQJ OLNH ³PRVW SKDUPD FRPSDQLHV´ ZLWK UHVSHFW WR

 VSHFLDOW\SKDUPDFLHV'HIHQGDQWVKDGDFORVHDQGHIIHFWLYHO\FRQWUROOLQJUHODWLRQVKLSZLWK3KLOLGRU

 DQGLWVQHWZRUN

                 O     WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

 SURJUDPV ZKLFK UHVXOWHG LQ DQ ³LPSURSHU WRQH DW WKH WRS´ ZLWK WKH 'HIHQGDQWV SULRULWL]LQJ

 LQFUHDVLQJ 9DOHDQW¶V VWRFN SULFH RYHU HQVXULQJ WKDW 9DOHDQW DQG LWV FODQGHVWLQH QHWZRUN RI

 SKDUPDFLHVFRPSOLHGZLWKDSSOLFDEOHODZVUHJXODWLRQVFRQWUDFWVDQGHQVXUHGWKDWLWV6(&ILOLQJV

 DQGSXEOLFGLVFORVXUHVZHUHIUHHRIPDWHULDOPLVVWDWHPHQWVDVVHWIRUWKLQ DQG

                 P     WKDWLQYLRODWLRQRI*$$3WKH.DQG44IDLOHGWRGLVFORVH

 3KLOLGRUDVD9,(DVVHWIRUWKLQ 

 -XO\WR-DQXDU\)DOVHDQG0LVOHDGLQJ6WDWHPHQWV

               2Q-XO\WKH&RPSDQ\LVVXHGDUHOHDVHDQQRXQFLQJLWKDGILOHGDQ

 LQYHVWRUSUHVHQWDWLRQZLWKWKH6(&WKDWZRXOGEHXVHGLQPHHWLQJVZLWK$OOHUJDQ¶VLQVWLWXWLRQDO



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 LQYHVWRUV DQG SUR[\ DGYLVRUV  7KH SUHVHQWDWLRQ HQWLWOHG ³,QYHVWRU 3UHVHQWDWLRQ 5HJDUGLQJ WKH

 $OOHUJDQ6SHFLDO0HHWLQJ3URFHVV´LQFOXGHG³9DOHDQW2SHUDWLQJ3ULQFLSOHV´VWDWHGDV

         x      Put patients and our customers first by maintaining the highest ethical
                 standards in the industry

         x      Select high-growth business segments WKHUDSHXWLFDUHDV DQGJHRJUDSKLHV)
                 where the healthcare professional is still the primary decision maker

                                                             

         x      Ensure tight controls and rigorous compliance standards ZKLOHDYRLGLQJ
                 RYHUVSHQGLQJ>@

                2Q -XO\   WKH &RPSDQ\ LVVXHG D UHOHDVH DQQRXQFLQJ LWV VHFRQG

 TXDUWHU  ³4´  ILQDQFLDO UHVXOWV  7KH UHOHDVH UHSRUWHG ³ 6HFRQG 4XDUWHU 7RWDO

 5HYHQXH>RI@ELOOLRQDQLQFUHDVHRIRYHUWKHSULRU\HDU´,WTXRWHG3HDUVRQDVVWDWLQJ

 ³Valeant once again delivered strong quarterly results and, as expected, organic growth has

 accelerated from the first quarter$VZHORRNDFURVVWKHHQWLUHEXVLQHVV,KDYHQHYHUEHHQPRUH

 FRQILGHQWDERXWWKHJURZWKWUDMHFWRU\DFURVVWKHHQWLUHFRPSDQ\´

                7KDWVDPHGD\WKH&RPSDQ\KRVWHGDFRQIHUHQFHFDOOWRGLVFXVVLWV4

 ILQDQFLDOUHVXOWV3HDUVRQDQG6FKLOOHUDWWHQGHGRQEHKDOIRIWKH&RPSDQ\'XULQJKLVRSHQLQJ

 UHPDUNV3HDUVRQVWDWHGLQSDUW

         Turning to medical dermatology7KHEXVLQHVVKDVQRZVWDELOL]HGZLWKDQHZ
         PDQDJHPHQWWHDP And the branded market share has increased across all key
         Medicis products since the beginning of 2014. This includes Solodyn, Ziana, and
         Zyclara

                                                             

         0RYLQJWRRXUSHUIRUPDQFHE\EXVLQHVV,ZRXOGOLNHWRWRXFKRQWKHJURZWKDQG
         SHUIRUPDQFHRIRXUGHYHORSHGPDUNHWRSHUDWLRQVH[FOXGLQJWKH%DXVFK /RPE
         EXVLQHVVHV  In the US, dermatology grew approximately 7% in the quarter,
         LQFOXGLQJWKHKHDGZLQGVIURPJHQHULFV, driven by the continued growth of Acanya,
         Targretin, and Elidel

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        Given the strong reception from both physicians and patients of our recently
        launched products Jublia 8OWUD DQG /X]X HDFK RI WKHP KDV H[FHHGHG RXU
        H[SHFWDWLRQV $V , PHQWLRQHG after only three weeks of being available, last
        week’s script demand for Jublia exceeded over 1,300 scripts. This trend is
        expected to accelerate, asUHJXODWRU\DSSURYDOIRUPDUNHWLQJPDWHULDOVDUHUHFHLYHG
        DQGour dermatology sales forces is appropriately trained

               /DWHU LQ WKH FDOO D 'HXWVFKH %DQN DQDO\VW DVNHG D ³TXHVWLRQ RQ WKH

 DOWHUQDWLYHIXOILOOPHQWLQLWLDWLYHV´DQGZKHWKHU'HIHQGDQWVFRXOG³MXVWJLYHXVDVHQVHRIKRZPXFK

 YROXPHWHQGVWRUXQWKURXJKWKDWFKDQQHO´,QUHVSRQVH3HDUVRQVWDWHG

        We’re not going to give specifics. It’s – we think it’s a competitive advantage that
        we have. $QGLWLVVWLOOSULPDULO\WKH0HGLFLVSURGXFWVDOWKRXJKQRWH[FOXVLYHO\
        WKH0HGLFLVSURGXFWV And – but I don’t want to give specific numbers, but it is a
        very successful initiative

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 IRU4 ³44´ VLJQHGE\3HDUVRQDQG6FKLOOHU7KH44FRQWDLQHGWKHVDPH

 ,QWHUQDO&RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQVVHWIRUWKLQ 7KH44

 LQFOXGHGDVWDWHPHQWUHJDUGLQJWKH&RPSDQ\¶VSXUSRUWHGO\ORZHUULVNEXVLQHVVVWUDWHJ\VWDWLQJ

        The growth of our business is further augmented through our lower risk research
        and development model, which allows us to advance certain development
        programs to drive future commercial growth, while minimizing our research and
        development expense.

               7KH44UHSUHVHQWHGWKDW³pricing and sales volume of certain of

 our products . . . are distributed by third parties, over which we have no or limited control´ZKLOH

 FRQFHDOLQJWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

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 DVVHUWLRQV PDGH DERXW 9DOHDQW¶V EXVLQHVV´ ZKLFK SXUSRUWHG WR UHVSRQG WR VWDWHPHQWV PDGH E\

 $OOHUJDQLQLWV$XJXVWUHOHDVHDQGLQDQ$XJXVWFinancial Times DUWLFOH$PRQJ

 RWKHU WKLQJV 9DOHDQW VWDWHG WKDW WKH &RPSDQ\¶V ³Promoted Pharmaceutical brands i.e

 Dermatology,'HQWDO are growing from a combination of price and volume”DQGWKDW“[w]e have


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 no knowledge of any exposures or issues other than those disclosed or for which reserves have

 been established´

               2Q6HSWHPEHUWKH&RPSDQ\ILOHGZLWKWKH6(&DOHWWHUVHQWE\

 3HDUVRQ WR 9DOHDQW¶V HPSOR\HHV ZKLFK LQFOXGHG UHIHUHQFH WR $OOHUJDQ¶V ³DWWDFN>V@ >R@Q RXU

 EXVLQHVV´DQG³RXUEXVLQHVVPRGHODQGRXUWUDFNUHFRUGRIRUJDQLFJURZWK´,QWKHOHWWHU3HDUVRQ

 UHVSRQGHGWKDW³>K@LJKOLJKWVDFURVV9DOHDQW¶VEXVLQHVVHVLQFOXGH´

          x     return to growth of our U.S. Prescription Dermatology business, LQFOXGLQJ
                 WKH2EDJL0HGLFDOEXVLQHVV coupled with the early, but exciting launch
                 successes of Jublia and Luzu

                                                            

          x     continued tremendous growth in our U.S. Neuro & Other and
                 OraPharma businesses

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 TXDUWHU ³4´ ILQDQFLDOUHVXOWV7KHUHOHDVHUHSRUWHGLQUHOHYDQWSDUW“Total Revenue

 [of] $2.1 billion . . . GAAP EPS [of] $0.81, [and] Cash EPS $2.11.”7KHUHOHDVHDOVRUHSRUWHG

 net income of $275.4 PLOOLRQ7KHUHOHDVHIXUWKHUUHSRUWHGWKDW³[t]otal same store sales organic

 growth was 19%, LQFOXGLQJLPSDFWIURPJHQHULFV´

               7KH VDPH GD\ 3HDUVRQ 6FKLOOHU DQG .HOOHQ KRVWHG D FRQIHUHQFH FDOO WR

 GLVFXVV9DOHDQW¶V4ILQDQFLDOUHVXOWV,QKLVRSHQLQJUHPDUNV3HDUVRQHPSKDVL]HGLPSURYHG

 PDUNHWLQJDQGLQFUHDVHGGHUPDWRORJ\VDOHVDVWKHVRXUFHRI9DOHDQW¶VHDUQLQJVJURZWKVWDWLQJLQ

 SDUW

          Revenues for our dermatology business, LQFOXGLQJWKHUHFHQW3UHFLVLRQDFTXLVLWLRQ,
          grew 33% quarter over quarter. The turnaround of our dermatology business is
          continuing. New leadership has brought stability to the sales force and has led
          to innovative new marketing approaches that are working well. This has resulted
          in market share and revenue gains across the portfolio, including launch
          products



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        Elidel, Acanya, Zyclara, and Ziana have all gained market share since the
        beginning of 2014. Elidel has had an exceptional year, increasing market share
        from 45% to 52%$QGLWKDVRYHUWDNHQ3URWRSLFDVWKHOHDGHULQWKLVFDWHJRU\

        After years of declines Solodyn market share has stabilized. On the new products
        side, both Jublia and Luzu quickly gained share, with Jublia reaching 7% script
        share of the total onychomycosis market, both branded and generics. And Luzu
        accelerated its script share to 13% of the branded topical antifungal market. In
        addition, quarter-over-quarter result growth for all of our dermatology promoted
        brands was over 40%

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 UHVXOWVZLWKWKH6(&DQG9DOHDQWLQWXUQILOHGDGRFXPHQWHQWLWOHG³2FWREHUWKUHEXWWDOLWHPV´

 ,QWKHGRFXPHQW9DOHDQWUHEXWWHG$OOHUJDQ¶VDVVHUWLRQWKDW³SULFHLVDODUJHGULYH>U@RIJURZWKIRU

 VHOHFW9DOHDQW86SKDUPDFHXWLFDOEXVLQHVVHV´E\VWDWLQJLQSDUW

        x      Overall price/volume for the Valeant business was ~50% volume and
                ~50% price.

        x      Like all PhRMA >3KDUPDFHXWLFDO5HVHDUFKDQG0DQXIDFWXUHUVRI$PHULFD@
                companies, including Allergan, our managed care contracts restrict our
                price increases each year, and many of our managed care contracts
                restrict price increases to less than 10% net price increase per year.

                x      Gross price increases could be seen as higher but do not contribute
                        to our reported net sales growth.

               2Q2FWREHUWKH&RPSDQ\ILOHGLWVTXDUWHUO\UHSRUWRQ)RUP4

 IRUWKHWKLUGTXDUWHUHQGHG6HSWHPEHU ³44´ 7KH44ZDVVLJQHGE\

 3HDUVRQDQG6FKLOOHU7KH44UHSRUWHG3Q14 revenue of $2.056 billion, net income of

 $275.4 million, and GAAP EPS of $0.81 DQG LQFOXGHG D VWDWHPHQW UHJDUGLQJ WKH &RPSDQ\¶V

 SXUSRUWHGO\ORZHUULVNEXVLQHVVVWUDWHJ\VWDWLQJ

        The growth of our business is further augmented through our lower risk research
        and development model, which allows us to advance certain development
        programs to drive future commercial growth, while minimizing our research and
        development expense.:HEHOLHYHWKLVVWUDWHJ\ZLOODOORZXVWRPD[LPL]HERWKWKH
        JURZWKUDWHDQGSURILWDELOLW\RIWKH&RPSDQ\DQGWRHQKDQFHVKDUHKROGHUYDOXH



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 our products . . . are distributed by third parties, over which we have no or limited control´ZKLOH

 FRQFHDOLQJWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

                 7KH 4 4 DOVR LQFOXGHG WKH VDPH ,QWHUQDO &RQWUROV 6WDWHPHQW DQG

 62;&HUWLILFDWLRQVVLJQHGE\3HDUVRQDQG6FKLOOHUDVVHWIRUWKLQ

                 2Q -DQXDU\   WKH &RPSDQ\ KRVWHG D JXLGDQFH FDOO WR GLVFXVV LWV

 H[SHFWHGILQDQFLDOSHUIRUPDQFHDQGVWUDWHJLFLQLWLDWLYHVIRUWKH\HDU3HDUVRQ6FKLOOHUDQG

 .HOOHQDWWHQGHGRQEHKDOIRIWKH&RPSDQ\'XULQJWKHFDOO3HDUVRQVWDWHGLQUHOHYDQWSDUW

          We demonstrated tremendous organic growth improvement in 2014  

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          ,QFRQFOXVLRQall the successes from 2014 DQGRXU>SURFHVV@IRUDQGEH\RQG
          continue to validate that Valeant’s business model is both sustainable and value
          creating. Our robust organic growth profile is evidenced by our ability to deliver
          double-digit organic growth, not only in 2014 DQGEXWVWURQJRUJDQLFJURZWK
          IRUWKHIRUHVHHDEOHIXWXUH

                 7KH VWDWHPHQWV LQ   DERYH ZHUH IDOVH DQG PLVOHDGLQJ

 ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

 ZHUH

                   D     WKDW 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH DVVLVWDQFH DQG IRU WKH EHQHILW RI

 9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWVDQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQW

 SURGXFWV ZLWK FRPSHWLWRUV¶ GUXJV 9DOHDQW HPSOR\HHV ZRUNHG DW 3KLOLGRU LQ 'HFHPEHU 

 9DOHDQW SDLG 3KLOLGRU¶V RZQHUV  PLOOLRQ IRU WKH ULJKW WR DFTXLUH 3KLOLGRU IRU  ZDV

 FRQVROLGDWLQJ 3KLOLGRU¶V UHVXOWV DV LWV RZQ DQG KDG REWDLQHG H[SOLFLW ULJKWV WR GLUHFW 3KLOLGRU

 DFWLYLWLHVDQGWKHVHIDFWVZHUHEHLQJFRQFHDOHGIURPSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0V

 DQGLQYHVWRUV



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 GRFWRUVZHUH³WKHSULPDU\GHFLVLRQPDNHU´IRUPHGLFDWLRQVEXWFRQVLVWHGRIDQGDPDWHULDOVRXUFH

 RILWVJURZWKLQUHYHQXHVDQGVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQGRWKHUSURGXFWVUHVXOWHG

 IURPXVLQJGHFHSWLYHSUDFWLFHVRI L SULFHJRXJLQJZKLFK'HIHQGDQWVNQHZZDVXQVXVWDLQDEOH

 DQGIDUEH\RQGLQGXVWU\QRUPV IRUH[DPSOHLQFUHDVLQJWKHSULFHRI6\SULQHDQG&XSULPLQHE\

 RQ-XO\  LL URXWLQJSDWLHQWVLQWRLWVFODQGHVWLQHQHWZRUNRISKDUPDFLHVWKDWZHUH

 IDOVHO\PDGHWRDSSHDULQGHSHQGHQW LLL XVLQJSDWLHQWDVVLVWDQFHDQG35VWUDWHJLHVWRPLQLPL]H

 SDWLHQW FRPSODLQWV DQG LY  FRQFHDOLQJ WKHVH SUDFWLFHV IURP SD\RUV LQ RUGHU WR REWDLQ

 UHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWEHUHLPEXUVHGRUQRWUHLPEXUVHGDWVLPLODUO\KLJKSULFHV

 LIVXFKSUDFWLFHVZHUHNQRZQWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQVDQG3%0V

                 F     WKDW 9DOHDQW¶V EXVLQHVV ULVNV KDG PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH

 FRQFHDOHGSUDFWLFHVLQVXESDUDJUDSK E DERYHZKLFKH[SRVHGWKH&RPSDQ\WRLQFUHDVHGULVNVRI

 UHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRILQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQV

 GHFUHDVHG VDOHV DQG LQFUHDVHG VFUXWLQ\ QRQSD\PHQW DQG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\

 3%0VSULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVEHFDPHNQRZQ

                 G     WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXHV(36DQGSURILWDELOLW\DVZHOODVLWV

 IXWXUH EXVLQHVV SURVSHFWV ZHUH GHSHQGHQW RQ 9DOHDQW¶V DELOLW\ WR FRQWLQXH DQG FRQFHDO WKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNVLQVXESDUDJUDSK

  F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVVSURVSHFWV

                 H     WKDWWKH&RPSDQ\¶VJURZWKDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQW

 RQ DFTXLULQJ FRPSDQLHV DQG GUXJSRUWIROLRVLQZKLFKLWFRXOGHQJDJH LQ SULFH JRXJLQJ DQGWKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\VORZGRZQRUFHVVDWLRQRIVXFKDFTXLVLWLRQV




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 ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH &RPSDQ\¶V EXVLQHVV FDVK IORZV DQG UHVXOWV RI

 RSHUDWLRQV

                 I      WKDWWKHVRXUFHRI9DOHDQW¶VJURZWKLQFOXGLQJLWVRUJDQLFJURZWKDQGWKH

 JURZWKRIGHUPDWRORJ\SUHVFULSWLRQSURGXFWV6RORG\Q=LDQD=\FODUD(OLGHODQG-XEOLDZDVQRW

 WKHLPSURYHGPDUNHWLQJEXVLQHVVVWUDWHJLHVDQGLQFUHDVHGVDOHVYROXPHRIFHUWDLQSURGXFWVEXW

 ZDVWKHUHVXOWRIWKHGHFHSWLYHSUDFWLFHVGHVFULEHGLQVXESDUDJUDSK E DERYH

                 J      WKDW$OOHUJDQ¶VFODLPVZHUHQRW³XQMXVWLILHG´DV9DOHDQW¶VEXVLQHVVVWUDWHJ\

 UHOLHG XSRQ H[WUDRUGLQDU\ SULFH LQFUHDVHV ZKLFK ZHUH QRW FDSSHG DW  EXW ZHUH IDU EH\RQG

 LQGXVWU\QRUPVZKLFKFDUULHGWKHXQGLVFORVHGULVNVGHWDLOHGLQVXESDUDJUDSK F DERYHDQGZHUH

 XQVXVWDLQDEOHGXHWRSUDFWLFHVGHVFULEHGLQVXESDUDJUDSK E DERYH

                 K      WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

 SURJUDPV ZKLFK UHVXOWHG LQ DQ ³LPSURSHU WRQH DW WKH WRS´ ZLWK WKH 'HIHQGDQWV SULRULWL]LQJ

 LQFUHDVLQJ 9DOHDQW¶V VWRFN SULFH RYHU HQVXULQJ WKDW 9DOHDQW DQG LWV FODQGHVWLQH QHWZRUN RI

 SKDUPDFLHVFRPSOLHGZLWKDSSOLFDEOHODZVUHJXODWLRQVFRQWUDFWVDQGHQVXUHGWKDWLWV6(&ILOLQJV

 DQGSXEOLFGLVFORVXUHVZHUHIUHHRIPDWHULDOPLVVWDWHPHQWVDVVHWIRUWKLQ 

                 L      WKDW IDU IURP ³PDLQWDLQLQJ WKH KLJKHVW HWKLFDO VWDQGDUGV LQ WKH LQGXVWU\´

 'HIHQGDQWV ZHUH HQJDJHG LQ WKH GHFHSWLYH SUDFWLFHV VHW IRUWK LQ VXESDUDJUDSK E  DERYH DQG

 GHVSLWH³HQVXU>LQJ@WLJKWFRQWUROVDQGULJRURXVFRPSOLDQFHVWDQGDUGV´9DOHDQWODFNHGFRQWUROVDQG

 FRPSOLDQFHVWDQGDUGVDVGHVFULEHGLQVXESDUDJUDSK K DERYH

                 M      WKDW9DOHDQWLPSURSHUO\UHFRJQL]HG3KLOLGRUUHYHQXHLQYLRODWLRQRI*$$3

 FDXVLQJWKHUHYHQXHVQHWLQFRPHDQG*$$3(36UHSRUWHGLQ9DOHDQW¶V2FWREHUUHOHDVH

 DQG44WREHPDWHULDOO\PLVVWDWHGDVVHWIRUWKLQ   

 DQG



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                 N     WKDWLQYLRODWLRQRI*$$3WKH44DQG44IDLOHGWRGLVFORVH

 3KLOLGRUDVD9,(DVVHWIRUWKLQ 

 )HEUXDU\WR$SULO)DOVHDQG0LVOHDGLQJ6WDWHPHQWV

               2Q)HEUXDU\WKH&RPSDQ\LVVXHGDUHOHDVHDQQRXQFLQJLWVIRXUWK

 TXDUWHU ³4´ DQG)<ILQDQFLDOUHVXOWV)RU4WKHUHOHDVHUHSRUWHG³Revenue

 [of] $2.3 billion . . . GAAP EPS [of] $1.56, [and] Cash EPS [of] $2.58.´)RUWKHIXOO\HDU

 WKHUHOHDVHUHSRUWHG³Revenue [of] $8.3 billion GAAP EPS [of] $2.67, [and] Cash EPS [of]

 $8.34, H[FOXGLQJ$OOHUJDQJDLQ ´7KHUHOHDVHDOVRUHSRUWHG4Q14 net income of $534.9 million

 DQG2014 net income of $913.5 PLOOLRQ7KHUHOHDVHIXUWKHUUHSRUWHGWKDW³Total Same Store Sales

 organic growth” was 16% and 13% for the 4Q14 and FY 2014, respectivelyDQGTXRWHG3HDUVRQ

 DV FODLPLQJ 9DOHDQW¶V VWUDWHJ\ ³LV SD\LQJ RII IRU DOO RI RXU VWDNHKROGHUV´ DQG UHSRUWLQJ

 ³Outstanding growth in the U.S., most notably dermatology´

               2Q )HEUXDU\   3HDUVRQ DQG 6FKLOOHU KRVWHG D FRQIHUHQFH FDOO WR

 GLVFXVV9DOHDQW¶V4DQG)<ILQDQFLDOUHVXOWV'XULQJWKHFDOO6FKLOOHUWRXWHG9DOHDQW¶V

 VRXUFHVRIJURZWKLQFOXGLQJWKDW³[r]evenues for our dermatology business were very strong and

 increased 70% year-over-year´DQG

        The outstanding work of our sales teams, implementation of innovative
        marketing approaches, great leadership, a portfolio of great products, and our
        four new launch products have contributed to the turnaround and the
        outstanding results in our dermatology business in Q4 and 2014

        Core products such as Zyclara, Elidel, and the RAM franchise continued their
        strong growth. And Solodyn grew in Q4 and grew 5% for all of 2014, after a
        tough year in 2013

        Jublia continues its rapid growth trajectory and reported more than 20,000
        weekly scripts for the last reported weekly sales report7KLV\LHOGVDQDQQXDOL]HG
        UXQUDWHRIJUHDWHUWKDQPLOOLRQIRUWKHSURGXFW




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                 2Q)HEUXDU\WKH&RPSDQ\ILOHGZLWKWKH6(&LWVDQQXDOUHSRUWRQ

 )RUP.IRUWKH\HDUHQGHG'HFHPEHU ³.´ 7KH.ZDVVLJQHGE\

 3HDUVRQ6FKLOOHUDQGWKH'LUHFWRU'HIHQGDQWV7KH.

                    D    UHSRUWHG WKH &RPSDQ\¶V 4Q14 revenue of $2.28 billion, net income of

 $534.9 million, and GAAP EPS of $1.56, and full year 2014 revenues of $8.264 billion, net

 income of $913.5 million, and GAAP EPS of $2.67

                    E    DWWULEXWHGWKHVRXUFHRI9DOHDQW¶VJURZWKWR³our lower risk, output-focused

 research and development model, which allows us to advance certain development programs to

 drive future commercial growth, while minimizing our research and development expense´

                    F    FODLPHG³[t]o successfully compete for business with managed care and

 pharmacy benefits management organizations, we must often demonstrate that our products

 offer not only medical benefits but also cost advantages as compared with other forms of care .

 . . .´

                    G    VWDWHGWKDW³[t]he consolidated financial statements include the accounts

 of the Company and those of its subsidiaries and any variable interest entities (‘VIEs’) for which

 the Company is the primary beneficiary´ZKLOHRPLWWLQJDQ\PHQWLRQRI3KLOLGRU

                    H    VWDWHGXQGHUWKHKHDGLQJ³%XVLQHVV&RPELQDWLRQV´

            During the year ended December 31, 2014, the Company completed other smaller
            acquisitions, including the consolidation of variable interest entities, which are
            not material individually or in the aggregate7KHVHDFTXLVLWLRQVDUHLQFOXGHGLQ
            WKHDJJUHJDWHGDPRXQWVSUHVHQWHGEHORZ

                    I    LQFOXGHG ³5HSRUWV RI 0DQDJHPHQW RQ )LQDQFLDO 6WDWHPHQWV DQG ,QWHUQDO

 &RQWURORYHU)LQDQFLDO5HSRUWLQJ´VLJQHGE\3HDUVRQDQG6FKLOOHUVWDWLQJ

            )LQDQFLDO6WDWHPHQWV




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        7KH &RPSDQ\¶V PDQDJHPHQW LV UHVSRQVLEOH IRU SUHSDULQJ WKH DFFRPSDQ\LQJ
        FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV LQ FRQIRUPLW\ ZLWK 8QLWHG 6WDWHV JHQHUDOO\
        DFFHSWHG DFFRXQWLQJ SULQFLSOHV ³86 *$$3´  ,Q SUHSDULQJ WKHVH FRQVROLGDWHG
        ILQDQFLDO VWDWHPHQWV management selects appropriate accounting policies DQG
        XVHV LWV MXGJPHQW DQG EHVW HVWLPDWHV to report events and transactions as they
        occurManagement has determined such amounts on a reasonable basis in order
        to ensure that the consolidated financial statements are presented fairly, in all
        material respects. Financial information included throughout this Annual
        Report is prepared on a basis consistent with that of the accompanying
        consolidated financial statements.

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        ,QWHUQDO&RQWURO2YHU)LQDQFLDO5HSRUWLQJ

        8QGHU WKH VXSHUYLVLRQ DQG ZLWK WKH SDUWLFLSDWLRQ RI PDQDJHPHQW LQFOXGLQJ WKH
        &RPSDQ\¶V &KLHI ([HFXWLYH 2IILFHU DQG &KLHI )LQDQFLDO 2IILFHU WKH &RPSDQ\
        FRQGXFWHGDQHYDOXDWLRQRIWKHHIIHFWLYHQHVVRILWVLQWHUQDOFRQWURORYHUILQDQFLDO
        UHSRUWLQJ EDVHG RQ WKH IUDPHZRUN GHVFULEHG LQ ,QWHUQDO &RQWURO ² ,QWHJUDWHG
        )UDPHZRUN   LVVXHG E\ WKH &RPPLWWHH RI 6SRQVRULQJ2UJDQL]DWLRQVRIWKH
        7UHDGZD\ &RPPLVVLRQ Based on its evaluation under this framework,
        management concluded that the Company’s internal control over financial
        reporting was effective as of December 31, 2014

                 J    UHSUHVHQWHGWKDW³pricing and sales volume of certain of our products . . .

 are distributed or marketed by third parties, over which we have no or limited control´DQG

                 K    LQFOXGHG WKH VDPH ,QWHUQDO &RQWUROV 6WDWHPHQW DQG 62; &HUWLILFDWLRQV

 VLJQHGE\3HDUVRQDQG6FKLOOHUDVVHWIRUWKLQ 

              2Q$SULOWKH&RPSDQ\LVVXHGDUHOHDVHDQQRXQFLQJLWVILQDQFLDO

 UHVXOWVIRU4DVZHOODVLQFUHDVHGJXLGDQFHIRUIXOO\HDU7KHUHOHDVHUHSRUWHG³Same

 Store Sales Organic Growth was 15%, driven by´

                x     Growth from launch brands, LQFOXGLQJ %LR7UXH 0XOWLSXUSRVH
                       6ROXWLRQ%LR7UXH21(GD\&RQWDFW/HQVJublia, Luzu, DQG8OWUD
                       &RQWDFW/HQV

                x     Double digit growth in U.S. businesses such as &RQWDFW /HQV
                       Dermatology, Neurology and Other, 2EDJLDQG2UDO+HDOWK>@




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                2Q$SULO3HDUVRQ6FKLOOHUDQG.HOOHQKRVWHGDFRQIHUHQFHFDOOWR

 GLVFXVV9DOHDQW¶V4ILQDQFLDOUHVXOWVZLWKLQYHVWRUVDQGDQDO\VWV'XULQJWKHFDOO

                  D     3HDUVRQVWDWHGLQSDUW

         Our US dermatology business had an outstanding quarter. Dermatology revenue
         grew 38% year on year and script growth grew 37% year on year. Jublia scripts
         grew 87% in Q1 versus Q4 of last year

                  E     $Q DQDO\VW DVNHG ³LI \RX FRXOG TXDQWLI\ D OLWWOH ELW KRZ PXFK ZDV SULFH

 YHUVXV YROXPH WKDW FRQWULEXWHG WR JURZWK LQ 4"  $QG ZKDW GR \RX IDFWRU LQ \RXU IXOO\HDU

 JXLGDQFHSULFHYHUVXVYROXPH"´3HDUVRQUHVSRQGHG

         In terms of price volume, actually volume was greater than price in terms of our
         growth2XWVLGHWKH8QLWHG6WDWHVLW¶VDOOYROXPHAnd in the US it’s shifting
         more to volume than price, and we expect that to continueZLWKRXUODXQFKEUDQGV
         $ORWRIRXUSULFHVIRUPRVWRIRXUSURGXFWVDUHQHJRWLDWHGZLWKPDQDJHGFDUH$QG
         WKHUH¶VRQO\DOLPLWHGDPRXQWRISULFHWKDWZHFDQWDNH

                2Q$SULOWKH&RPSDQ\ILOHGLWVTXDUWHUO\UHSRUWRQ)RUP4

 ZLWKWKH6(&IRUWKHSHULRGHQGHG0DUFK ³44´ 7KH44ZDVVLJQHG

 E\3HDUVRQDQG6FKLOOHUDQG D UHSRUWHGWKH&RPSDQ\¶V1Q15revenue of $2.191 billion E 

 LQFOXGHGWKHVDPHVWDWHPHQWUHODWHGWR9DOHDQW¶V³Business Combinations´DVLQWKH&RPSDQ\¶V

 . GLVFXVVHGDERYHDW H  F IDLOHGWRPHQWLRQWKHH[LVWHQFHRI3KLOLGRUDVD

 VIE DQG G  LQFOXGHG WKH VDPH ,QWHUQDO &RQWUROV 6WDWHPHQW DQG 62; &HUWLILFDWLRQV VLJQHG E\

 3HDUVRQDQG6FKLOOHUDVDQGVHWIRUWKLQ 

                7KH 4 4 DOVR LQFOXGHG D VWDWHPHQW UHJDUGLQJ WKH &RPSDQ\¶V

 SXUSRUWHGO\ORZHUULVNEXVLQHVVVWUDWHJ\VWDWLQJ

         The growth of our business is further augmented through our lower risk, output-
         focused research and development model, which allows us to advance certain
         development programs to drive future commercial growth, while minimizing our
         research and development expense. :H EHOLHYH WKLV VWUDWHJ\ ZLOO DOORZ XV WR
         PD[LPL]HERWKWKHJURZWKUDWHDQGSURILWDELOLW\RIWKH&RPSDQ\DQGWRHQKDQFH
         VKDUHKROGHUYDOXH


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                7KH44UHSUHVHQWHGWKDW³pricing and sales volume of certain of

 our products . . . are distributed or marketed by third parties, over which we have no or limited

 control´ZKLOHFRQFHDOLQJWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

                7KH VWDWHPHQWV LQ   DERYH ZHUH IDOVH DQG PLVOHDGLQJ

 ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

 ZHUH

                 D      WKDW 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH DVVLVWDQFH DQG IRU WKH EHQHILW RI

 9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWVDQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQW

 SURGXFWVZLWKFRPSHWLWRUV¶GUXJV9DOHDQWHPSOR\HHVZRUNHGDW3KLOLGRU9DOHDQWSDLG3KLOLGRU¶V

 RZQHUVPLOOLRQIRUWKHULJKWWRDFTXLUH3KLOLGRUIRUZDVFRQVROLGDWLQJ3KLOLGRU¶VUHVXOWV

 DVLWVRZQDQGKDGREWDLQHGH[SOLFLWULJKWVWRGLUHFW3KLOLGRUDFWLYLWLHVDQGWKHVHIDFWVZHUHEHLQJ

 FRQFHDOHGIURPSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0VDQGLQYHVWRUV

                 E      WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\FRQVLVWHGRIDQGDPDWHULDOVRXUFHRILWV

 JURZWKLQUHYHQXHVDQGVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQGRWKHUSURGXFWVUHVXOWHGIURP

 XVLQJ GHFHSWLYH SUDFWLFHV RI  L  SULFH LQFUHDVHV ZKLFK ZHUH IDU EH\RQG LQGXVWU\ QRUPV DQG

 'HIHQGDQWV NQHZ ZHUH XQVXVWDLQDEOH LL  URXWLQJ SDWLHQWV LQWR LWV FODQGHVWLQH QHWZRUN RI

 SKDUPDFLHVWKDWZHUHIDOVHO\PDGHWRDSSHDULQGHSHQGHQW LLL XVLQJSDWLHQWDVVLVWDQFHDQG35

 VWUDWHJLHVWRPLQLPL]HSDWLHQWFRPSODLQWVDQG LY FRQFHDOLQJWKHVHSUDFWLFHVIURPSD\RUVLQRUGHU

 WRREWDLQUHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWEHUHLPEXUVHGRUQRWUHLPEXUVHGDWVLPLODUO\

 KLJKSULFHVLIVXFKSUDFWLFHVZHUHNQRZQWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQVDQG3%0V

                 F      WKDW UDWKHU WKDQ FRPSHWLQJ E\ GHPRQVWUDWLQJ WKHLU SURGXFWV¶ ³FRVW

 DGYDQWDJHV´ 'HIHQGDQWV ZHUH GHFHLYLQJ SD\RUV LQWR SD\LQJ GUDPDWLF SULFH LQFUHDVHV ZKLFK

 LQFOXGHGUDLVLQJWKHSULFHRISURGXFWVIDUDERYHLQGXVWU\QRUPVDQGE\DVPXFKDVGXULQJ



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 WKH&ODVV3HULRGZLWKRXWMXVWLILFDWLRQDV9DOHDQWKDGQRWLQFUHDVHGVSHQGLQJRQ5 'WRLPSURYH

 WKHDIIHFWHGPHGLFDWLRQV

                 G      WKDW 9DOHDQW¶V EXVLQHVV ULVNV KDG PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH

 FRQFHDOHGSUDFWLFHVLQVXESDUDJUDSK E DERYHZKLFKH[SRVHGWKH&RPSDQ\WRLQFUHDVHGULVNVRI

 UHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRILQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQV

 GHFUHDVHG VDOHV DQG LQFUHDVHG VFUXWLQ\ QRQSD\PHQW DQG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\

 3%0VSULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVEHFDPHNQRZQ

                 H      WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXHV(36DQGSURILWDELOLW\DVZHOODVLWV

 IXWXUH EXVLQHVV SURVSHFWV ZHUH GHSHQGHQW RQ 9DOHDQW¶V DELOLW\ WR FRQWLQXH DQG FRQFHDO WKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNVLQVXESDUDJUDSK

  G DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVVSURVSHFWV

                 I      WKDWWKH&RPSDQ\¶VJURZWKDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQW

 RQ DFTXLULQJ FRPSDQLHV DQG GUXJSRUWIROLRVLQZKLFKLWFRXOGHQJDJH LQ SULFH JRXJLQJ DQGWKH

 GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\VORZGRZQRUFHVVDWLRQRIVXFKDFTXLVLWLRQV

 ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH &RPSDQ\¶V EXVLQHVV FDVK IORZV DQG UHVXOWV RI

 RSHUDWLRQV

                 J      WKDW9DOHDQWZDVQRWHPSOR\LQJD³lower risk research and development

 model´EXWHPSOR\LQJDVWUDWHJ\WKDWVXEMHFWHG9DOHDQWWRWKHLQFUHDVHGULVNV

                 K      WKDW 9DOHDQW KDG PDWHULDOO\ LQFUHDVHG VDOHV YROXPH WKURXJK 3KLOLGRU DV

 3KLOLGRUH[SDQGHGLWVQHWZRUNRISKDUPDFLHVDQGEHJDQVHOOLQJLQVWDWHVZKHUHLWGLGQRWKDYHRU

 KDGEHHQGHQLHGDOLFHQVH

                 L      WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

 SURJUDPV ZKLFK UHVXOWHG LQ DQ ³LPSURSHU WRQH DW WKH WRS´ ZLWK WKH 'HIHQGDQWV SULRULWL]LQJ



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 LQFUHDVLQJ9DOHDQW¶V VWRFN SULFH IRU H[DPSOHE\ LPSOHPHQWLQJWKH PDVVLYH SULFH LQFUHDVHV IRU

 ,VXSUHODQG1LWURSUHVVWRH[FHHGLWV(36FRQVHQVXVWDUJHW RYHUHQVXULQJWKDW9DOHDQWDQG

 LWVFODQGHVWLQHQHWZRUNRISKDUPDFLHVFRPSOLHGZLWKDSSOLFDEOHODZVUHJXODWLRQVFRQWUDFWVDQG

 HQVXUHGWKDWLWV6(&ILOLQJVDQGSXEOLFGLVFORVXUHVZHUHIUHHRIPDWHULDOPLVVWDWHPHQWVDVVHWIRUWK

 LQ 

                 M     WKDW 9DOHDQW¶V ERDUG RI GLUHFWRUV DQG VHQLRU PDQDJHPHQW UHYLHZHG DQG

 DSSURYHGWKHLPSURSHUDFFRXQWLQJZKLFKUHIOHFWHGDPDWHULDOZHDNQHVVLQLQWHUQDOFRQWUROV

                 N     WKDWLQYLRODWLRQRI*$$3WKH.DQG44IDLOHGWRGLVFORVH

 3KLOLGRUDVD9,(DVVHWIRUWKLQ  DQG

                 O     WKDW9DOHDQWLPSURSHUO\UHFRJQL]HG3KLOLGRUUHYHQXHLQYLRODWLRQRI*$$3

 FDXVLQJWKHUHYHQXHVQHWLQFRPHDQG*$$3(36UHSRUWHGLQ9DOHDQW¶V)HEUXDU\UHOHDVH

 DQG.DQGWKHUHYHQXHVUHSRUWHGLQWKH44WREHPDWHULDOO\PLVVWDWHGDVVHWIRUWK

 LQ   

 0D\WR-XO\)DOVHDQG0LVOHDGLQJ6WDWHPHQWV

               2Q 0D\   3HDUVRQ DGGUHVVHG LQYHVWRUVDW 9DOHDQW¶V  DQQXDO

 VKDUHKROGHUPHHWLQJ3HDUVRQPDGHQXPHURXVVWDWHPHQWVDERXWWKHEXVLQHVVVWUDWHJ\VRXUFHRI

 JURZWKSULFLQJDQGVWRFNSULFHLQFOXGLQJ

                 D     3HDUVRQVDLGWKDW³we have a differentiated R&D model that has and will

 continue to deliver more innovative products to our customers at a lower cost than our

 competitors´DGGLQJWKDW“[w]e’ve delivered three consecutive strong quarters of organic growth,

 19% and 16% and 15% respectively´DQG

                 E     3HDUVRQVDLG9DOHDQWKDGD³unique executive compensation system tied to

 generating disproportionate returns for our shareholders´



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               2Q0D\3HDUVRQDWWHQGHGDQ5%&,QYHVWRU0HHWLQJRQEHKDOIRI

 WKH&RPSDQ\DQGPDGHQXPHURXVVWDWHPHQWVDERXWWKH&RPSDQ\¶VSULFLQJVRXUFHRIJURZWKDQG

 DFFRXQWLQJSUDFWLFHVLQFOXGLQJ

                 D     ZKHQDVNHGWRGLVFXVVSULFLQJLQWKH8QLWHG6WDWHV3HDUVRQVDLGWKDWGXHWR

 PDQDJHG FDUH FRQWUDFWV 9DOHDQW ZDV ³contractually not allowed to raise prices beyond´ DQ

 DYHUDJHRI³5%´LQFOXGLQJLQLWV'HUPDWRORJ\EXVLQHVV

                 E     LQ GLVFXVVLQJ SULFLQJ 3HDUVRQ VDLG RI WKH 1HXURORJ\ DQG 2WKHU EXVLQHVV

 VHJPHQW³that’s where we have the most ability to raise price[s] and play with price´DQGUDLVLQJ

 SULFHV³is I believe not, at least from your [an investor’s] standpoint a bad thing.´3HDUVRQVDLG

 RUSKDQSURGXFWVZDVZKHUHKHKDGIOH[LELOLW\WRUDLVHSULFHV3HDUVRQVDLG9DOHDQW¶VEDVHSODQZDV

 DURXQGSULFHLQFUHDVHVDGGLQJWKDW9DOHDQWKDGUDLVHGSULFHVPRUHLQFHUWDLQDUHDVEXWWKDW³we

 don’t plan for them, but again if we can take advantage of – during times we’ve had significant

 price increases in acquisitions´5DWKHUWKDQGLVFORVLQJWKHGHFHSWLYHWDFWLFVWRLPSOHPHQWWKH

 SULFH LQFUHDVHV 3HDUVRQ FODLPHG 9DOHDQW ZDV DEOH WR UDLVH SULFHV E\ EX\LQJ SURGXFWV IURP

 FRPSDQLHV ³that did not not price their product the right way´

                 F     3HDUVRQ VDLG WKH\ UDLVHG WKH SULFHV RI ,VXSUHO DQG 1LWURSUHVV EHFDXVH

 0DUDWKRQ OHIW PRQH\ ³RQ WKH WDEOH´ DQG FODLPHG WKH GUXJV ZHUH SULFHG PXFK ORZHU WKDQ

 FRPSHWLWLYH SURGXFWV VWDWLQJ WKH\ UDLVHG SULFHV ³because the drugs were mispriced vs.

 comparative products´DQGDGGLQJ³that can create lot of value[] for shareholders´




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                       G       3HDUVRQDGGHGWKDW³we’ve been accused of our growth being price and not

 volume´EXWFODLPHGWKDW³organic growth is more volume than price and will continue to be´

 DQG

                       H       WXUQLQJ WR 9DOHDQW¶V DFFRXQWLQJ SUDFWLFHV DQG ILQDQFLDO VWDWXV 3HDUVRQ

 UHDVVXUHGLQYHVWRUV³our accounting practices are fine´DQGDGGHG³[w]e get audited all the time,

 by the SEC…and we have absolutely no issue from a government standpoint´  DQG WKDW ³we

 never had a financial irregularity´

                       2Q -XO\   WKH &RPSDQ\ LVVXHG D UHOHDVH DQQRXQFLQJ LWV VHFRQG

 TXDUWHU ³4´ ILQDQFLDOUHVXOWVDQGLQFUHDVLQJWKH&RPSDQ\¶VIXOO\HDUJXLGDQFH

 7KH UHOHDVH UHSRUWHG WKDW ³Same Store Sales Organic Growth was 19%, driven by: U.S.

 businesses, driven by the strength of dermatologyFRQWDFWOHQVHVGHQWDODQG2EDJL´

                       7KH-XO\UHOHDVHDOVRTXRWHG3HDUVRQDVVWDWLQJ

           We once again exceeded our guidance and delivered our fourth consecutive
           quarter of greater than 15% organic growthOur strong second quarter results
           were driven by outperformance in our U.S. businessesVWURQJUHVXOWVLQFHUWDLQ
           HPHUJLQJ PDUNHWV DQG RXWVWDQGLQJ VWDUWV WR ERWK WKH 6DOL[ DQG 'HQGUHRQ
           DFTXLVLWLRQV

                       2Q-XO\WKH&RPSDQ\DOVRKRVWHGDFRQIHUHQFHFDOOWRGLVFXVVLWV

 4 ILQDQFLDO UHVXOWV  3HDUVRQ 5RVLHOOR DQG .HOOHQ DWWHQGHG RQ EHKDOI RI WKH &RPSDQ\

 &RPPHQWLQJRQWKH&RPSDQ\¶VUHVXOWV3HDUVRQVWDWHGLQUHOHYDQWSDUW

           We have now delivered four consecutive quarters of more than 15% same-store
           organic growthStrong performance throughout our businesses resulted in both

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    2Q0D\6FKLOOHULQDQHPDLOZLWKDVXEMHFW³SULFHYROXPH´ZURWHWR3HDUVRQ³/DVW
 QLJKWRQHRIWKHLQYHVWRUVDVNHGDERXWSULFHYHUVXVYROXPHIRU4([FOXGLQJ>0@DUDWKRQSULFH
 UHSUHVHQWHGDERXWRIRXUJURZWK,I\RXLQFOXGH>0@DUDWKRQSULFHUHSUHVHQWVDERXW´,Q
 DGGLWLRQ RQ 0D\   DQ 5%& &DSLWDO 0DUNHWV //& ³5%& &DSLWDO 0DUNHWV´  DQDO\VW
 UHSRUWHGWKDWRQHRIWKHNH\WDNHDZD\VIURPWKHPHHWLQJVZLWK9DOHDQWPDQDJHPHQWDQG3HDUVRQ
 ZDV³YROXPHQRWSULFHLVIXHOLQJRUJDQLFJURZWK´


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        our top and bottom line exceeding the Q2 guidance that we provided on our last
        call.

                                                             

        Turning to organic growth, our overall same-store total company organic growth
        was 19% for the quarter. The exceptional growth of our US businesses driven by
        the strength of dermatologyFRQWDFWOHQVHVGHQWDODQG2EDJLZDVFRPSOLPHQWHG
        E\ PDQ\ RI RXU HPHUJLQJ PDUNHWV LQFOXGLQJ &KLQD 0LGGOH (DVW1RUWK $IULFD
        5XVVLDDQG6RXWK.RUHD

                                                      

        Jublia is now our second largest product with annual run-rates sales of
        approximately $450 million

        Our US dermatology business had another excellent quarter ZLWK RXU ODXQFK
        EUDQGV OHDGLQJ WKH ZD\  Both launch and core brands contributed to the
        dermatology revenue growth of 55% year-on-year. Jublia scripts grew 37% in Q2
        versus Q1 . . .

               'XULQJWKHTXHVWLRQDQGDQVZHUVHVVLRQRIWKH&RPSDQ\¶V-XO\

 FRQIHUHQFHFDOOD-HIIHULHV//&DQDO\VWTXHVWLRQHGZKHWKHUWKHQXPEHURISUHVFULSWLRQVIRU-XEOLD

 JRLQJ WKURXJK VSHFLDOW\ SKDUPDF\ FKDQQHOV KDG LPSURYHG  ,Q UHVSRQVH .HOOHQ 9DOHDQW¶V

 &RPSDQ\*URXS&KDLUPDQFRQFHDOHG9DOHDQW¶VFRQWURORYHUWKH3KLOLGRUQHWZRUNDQGVWDWHG

        Yes, the adoption through multiple specialty pharmacies continues. ,WKLQNODVW
        WLPHZHVDLG-XEOLDZDVDURXQG7KDWWUHQGFRQWLQXHV)RUGHUP>DWRORJ\@
        RYHUDOOLWYDULHVE\SURGXFWEXWLW¶VDURXQG

               $V WKH FDOO FRQWLQXHG 3HDUVRQ ZDV DVNHG DERXW WKH SULFH LQFUHDVH RQ

 *OXPHW]DDQGWKH³H[WHQWWRZKLFK\RXHQYLVLRQPRUHSULFLQJSRZHUEURDGO\VSHDNLQJLQWKH

 86"´,QUHVSRQVH3HDUVRQVWDWHG

        ,WKLQNPRVWSKDUPDFRPSDQLHVWKDW,¶PDZDUHRIDVWKHSURGXFWJHWVLQWRWKHODVW
        VWDJHVRIWKHLUOLIHOLNH*OXPHW]DZH¶UHJRLQJWRORVH*OXPHW]DZLWKLQVL[PRQWKV
        RIWHQSULFHLQFUHDVHVDUHWDNHQDWWKHHQGSo that was just consistent with what
        most companies do

        Our view on pricingDFURVVPRVWRIRXUSRUWIROLRwe do not take prices2XWVLGH
        WKH 86 WKHUH¶V OLNH ]HUR SULFH , WKLQN 'DYLG DV ZH JHW PRUH DQG PRUH LQWR


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           VHJPHQWVOLNHFRQWDFWOHQVHVDQGFRQVXPHUSURGXFWVDQGRWKHUGHYLFHVZH¶UHQRW
           DEOH WR WDNH SULFH 6R ZH¶UH RSSRUWXQLVWLF ZKHQLW FRPHV WRSULFH But our base
           strategy is, how do we grow organically through volume, which is -- I think this
           quarter, we once again exhibited our ability to do so

                       2Q-XO\WKH&RPSDQ\ILOHGLWVTXDUWHUO\UHSRUWRQ)RUP4ZLWK

 WKH6(&IRULWV4HQGHG-XQH ³44´ 7KH44ZDVVLJQHGE\3HDUVRQ

 DQG5RVLHOOR7KH44reported the Company’s revenues for the six months ended June

 30, 2015 of $4.923 billion7KH44DOVRVWDWHG

           As is customary in the pharmaceutical industry, our gross product sales are
           subject to a variety of deductions LQ DUULYLQJ DW UHSRUWHG QHW SURGXFW VDOHV
           3URYLVLRQVIRUWKHVHGHGXFWLRQVDUHUHFRUGHGFRQFXUUHQWO\ZLWKWKHUHFRJQLWLRQRI
           JURVV SURGXFW VDOHV UHYHQXH DQG LQFOXGH FDVK GLVFRXQWV DQG DOORZDQFHV
           FKDUJHEDFNVDQGGLVWULEXWLRQIHHVZKLFKDUHSDLGWRGLUHFWFXVWRPHUVDVZHOODV
           UHEDWHVDQGUHWXUQVZKLFKFDQEHSDLGWRERWKGLUHFWDQGLQGLUHFWFXVWRPHUV
           Provisions as a percentage of gross sales increased to 32% and 33% for the
           second quarter and first half of 2015UHVSHFWLYHO\FRPSDUHGZLWKDQG
           LQWKHVHFRQGTXDUWHUDQGILUVWKDOIRIThe increase was driven by (i) higher
           provisions for rebates, chargebacks, and returns, including managed care rebates
           for Jublia and the co-pay assistance programs for launch products including
           Jublia, Onexton, and Retin-A Micro Microsphere 0.08% (“RAM 0.08%”)
           

                       7KH 4 4 DOVR LQFOXGHG D VWDWHPHQW UHJDUGLQJ WKH &RPSDQ\¶V

 SXUSRUWHGO\ORZHUULVNEXVLQHVVVWUDWHJ\VWDWLQJ

           The growth of our business is further augmented through our lower risk, output-
           focused research and development model, which allows us to advance certain
           development programs to drive future commercial growth, while minimizing our
           research and development expense.




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    $IWHUWKHFDOO$FNPDQVHQWDQHPDLOWR3HDUVRQVWDWLQJ³,FDQ¶WWKLQNRIDEXVLQHVVRYHUWKH
 FRXUVHRIP\FDUHHUWKDWKDVGHOLYHUHGVXFKVWURQJRSHUDWLQJSHUIRUPDQFH´ZKLFKZDV³FRPELQHG
 ZLWKWUDQVSDUHQF\DFFRXQWDELOLW\´$FNPDQQRWHGWKDW3HDUVRQ³VRXQGHGDOLWWOHGHIHQVLYHRQWKH
 SULFHLQFUHDVHTXHVWLRQ´DQG3HDUVRQUHVSRQGHG³<HV:DVDZHDNDQVZHU´


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                 7KH44UHSUHVHQWHGWKDW³pricing and sales volume of certain of

  our products . . . are distributed or marketed by third parties, over which we have no or limited

  control´ZKLOHFRQFHDOLQJWKDW9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

                 7KH44LQFOXGHGWKHVDPH,QWHUQDO&RQWUROV6WDWHPHQWDQG62;

  &HUWLILFDWLRQV DVLQWKHSULRUILQDQFLDOVWDWHPHQWV EXWVLJQHGE\5RVLHOORDQG3HDUVRQ DQGVHWIRUWK

  LQ 

                 7KH VWDWHPHQWV LQ   DERYH ZHUH IDOVH DQG PLVOHDGLQJ

  ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

  ZHUH

                  D      WKDW 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH DVVLVWDQFH DQG IRU WKH EHQHILW RI

  9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWVDQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQW

  SURGXFWVZLWKFRPSHWLWRUV¶GUXJV9DOHDQWHPSOR\HHVZRUNHGDW3KLOLGRU9DOHDQWSDLG3KLOLGRU¶V

  RZQHUVPLOOLRQIRUWKHULJKWWRDFTXLUH3KLOLGRUIRU9DOHDQWZDVFRQVROLGDWLQJ3KLOLGRU¶V

  UHVXOWVDVLWVRZQDQGKDGREWDLQHGH[SOLFLWULJKWVWRGLUHFW3KLOLGRU¶VDFWLYLWLHVDQGWKHVHIDFWV

  ZHUHEHLQJFRQFHDOHGE\9DOHDQWIURPSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0VDQGLQYHVWRUV

                  E      WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\FRQVLVWHGRIDQGDPDWHULDOVRXUFHRILWV

  JURZWKLQUHYHQXHVDQGVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQGRWKHUSURGXFWVUHVXOWHGIURP

  XVLQJ GHFHSWLYH SUDFWLFHV RI  L  SULFH LQFUHDVHV ZKLFK ZHUH IDU EH\RQG LQGXVWU\ QRUPV DQG

  'HIHQGDQWV NQHZ ZHUH XQVXVWDLQDEOH LL  URXWLQJ SDWLHQWV LQWR LWV FODQGHVWLQH QHWZRUN RI

  SKDUPDFLHVWKDWZHUHIDOVHO\PDGHWRDSSHDULQGHSHQGHQW LLL XVLQJSDWLHQWDVVLVWDQFHDQG35

  VWUDWHJLHVWRPLQLPL]HSDWLHQWFRPSODLQWVDQG LY FRQFHDOLQJWKHVHSUDFWLFHVIURPSD\RUVLQRUGHU

  WRREWDLQUHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWEHUHLPEXUVHGRUQRWUHLPEXUVHGDWVLPLODUO\

  KLJKSULFHVLIVXFKSUDFWLFHVZHUHNQRZQWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQVDQG3%0V



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                  F      WKDW 9DOHDQW¶V EXVLQHVV ULVNV KDG PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH

  FRQFHDOHGSUDFWLFHVLQVXESDUDJUDSK E DERYHZKLFKH[SRVHGWKH&RPSDQ\WRLQFUHDVHGULVNVRI

  UHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRILQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQV

  GHFUHDVHG VDOHV DQG LQFUHDVHG VFUXWLQ\ QRQSD\PHQW DQG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\

  3%0VSULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVEHFDPHNQRZQ

                  G      WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXHV(36DQGSURILWDELOLW\DVZHOODVLWV

  IXWXUH EXVLQHVV SURVSHFWV ZHUH GHSHQGHQW RQ 9DOHDQW¶V DELOLW\ WR FRQWLQXH DQG FRQFHDO WKH

  GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNVLQVXESDUDJUDSK

  F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVVSURVSHFWV

                  H      WKDWWKH&RPSDQ\¶VJURZWKDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQW

  RQ DFTXLULQJ FRPSDQLHV DQG GUXJSRUWIROLRVLQZKLFKLWFRXOGHQJDJH LQ SULFH JRXJLQJ DQGWKH

  GHFHSWLYHSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\VORZGRZQRUFHVVDWLRQRIVXFKDFTXLVLWLRQV

  ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH &RPSDQ\¶V EXVLQHVV FDVK IORZV DQG UHVXOWV RI

  RSHUDWLRQV

                  I      WKDW9DOHDQWZDVQRWHPSOR\LQJD³ORZHUULVNRXWSXWIRFXVHGUHVHDUFKDQG

  GHYHORSPHQWPRGHO´EXWHPSOR\LQJDVWUDWHJ\WKDWVXEMHFWHG9DOHDQWWRWKHLQFUHDVHGULVNV

                  J      WKDW 9DOHDQW KDG PDWHULDOO\ LQFUHDVHG VDOHV YROXPH WKURXJK 3KLOLGRU DV

  3KLOLGRUH[SDQGHGLWVQHWZRUNRISKDUPDFLHVDQGEHJDQVHOOLQJLQVWDWHVZKHUHLWGLGQRWKDYHRU

  KDGEHHQGHQLHGDOLFHQVH

                  K      WKDWSULFHLQFUHDVHVUHSUHVHQWHGRI9DOHDQW¶V4JURZWKFRPSDUHG

  WRRQO\DWWULEXWDEOHWRYROXPHLQFUHDVHV

                  L      WKDWFRQWUDU\WR3HDUVRQ¶VVXJJHVWLRQVWKDWSULFHLQFUHDVHVZHUHQRWD³EDG

  WKLQJ´IRULQYHVWRUVDQGWKDWSULRURZQHUVKDGXQGHUSULFHGGUXJV9DOHDQWKDGDFKLHYHGWKHSULFH



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  LQFUHDVHVWKURXJKWKHGHFHSWLYHSUDFWLFHVGHVFULEHGLQVXESDUDJUDSK E DERYHZKLFKFDUULHGWKH

  XQGLVFORVHGULVNVGHVFULEHGLQVXESDUDJUDSK F DERYH

                  M     WKDW 9DOHDQW¶V JURZWK LQFOXGLQJ LWV RUJDQLF JURZWK DQG ILQDQFLDO UHVXOWV

  ZHUHGULYHQLQVLJQLILFDQWSDUWE\'HIHQGDQWV¶GHFLVLRQWRLPSOHPHQWPDVVLYHDQGXQVXVWDLQDEOH

  SULFHVLQFUHDVHVLQ,VXSUHODQG1LWURSUHVVWRKLWILQDQFLDOWDUJHWV

                  N     WKDW WKH SURYLVLRQV IRU UHEDWHV DQG FKDUJHEDFNV LQFOXGLQJ PDQDJHG FDUH

  UHEDWHV IRU -XEOLD KDGLQFUHDVHG GXH WR WKH &RPSDQ\¶V XVHRI FRSD\ UHLPEXUVHPHQWV DQG RWKHU

  PHWKRGVRIILQDQFLDODVVLVWDQFHWRFRQFHDOLWVSULFHJRXJLQJDVGHVFULEHGLQVXESDUDJUDSK E DERYH

  DQGZHUHQRW³FXVWRPDU\´GHGXFWLRQV

                  O     WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

  SURJUDPV ZKLFK UHVXOWHG LQ DQ ³LPSURSHU WRQH DW WKH WRS´ ZLWK WKH 'HIHQGDQWV SULRULWL]LQJ

  LQFUHDVLQJ 9DOHDQW¶V VWRFN SULFH RYHU HQVXULQJ WKDW 9DOHDQW DQG LWV FODQGHVWLQH QHWZRUN RI

  SKDUPDFLHVFRPSOLHGZLWKDSSOLFDEOHODZVUHJXODWLRQVFRQWUDFWVDQGHQVXUHGWKDWLWV6(&ILOLQJV

  DQGSXEOLFGLVFORVXUHVZHUHIUHHRIPDWHULDOPLVVWDWHPHQWVDVVHWIRUWKLQ 

                  P     WKDW 9DOHDQW¶V ³XQLTXH´ FRPSHQVDWLRQ V\VWHP ZDV SDUW RI 9DOHDQW¶V

  LPSURSHU³WRQHDWWKHWRS´DVGHVFULEHGLQVXESDUDJUDSK O DERYH

                  Q     WKDW 9DOHDQW¶V ERDUG RI GLUHFWRUV DQG VHQLRU PDQDJHPHQW UHYLHZHG DQG

  DSSURYHGWKHLPSURSHUDFFRXQWLQJZKLFKUHIOHFWHGDPDWHULDOZHDNQHVVLQLQWHUQDOFRQWUROV

                  R     WKDWLQYLRODWLRQRI*$$3WKH44IDLOHGWRGLVFORVH3KLOLGRUDVD

  9,(DVVHWIRUWKLQ DQG

                  S     WKDW9DOHDQWLPSURSHUO\UHFRJQL]HG3KLOLGRUUHYHQXHLQYLRODWLRQRI*$$3

  FDXVLQJWKHUHYHQXHVUHSRUWHGLQ9DOHDQW¶V44IRUWKHVL[PRQWKVHQGLQJ-XQHWR

  EHPDWHULDOO\PLVVWDWHGDVVHWIRUWKLQ  



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  6HSWHPEHUWR'HFHPEHU)DOVHDQG0LVOHDGLQJ6WDWHPHQWV

                 2Q 6HSWHPEHU   9DOHDQW ILOHG D )RUP . ZLWK WKH 6(& WKDW

  DWWDFKHGDOHWWHUIURP3HDUVRQWRWKH&RPSDQ\¶VHPSOR\HHVUHVSRQGLQJWRFODLPVWKDW9DOHDQW¶V

  ³EXVLQHVVPRGHODQGVWUDWHJ\LVGHSHQGHQWXSRQODUJHSULFHLQFUHDVHVLQRXU86SKDUPDFHXWLFDO

  EXVLQHVV´DQG³>F@RQFHUQDURXQGRXUH[SRVXUHWR86JRYHUQPHQWGUXJSULFHUHLPEXUVHPHQW´,Q

  KLVOHWWHU

                   D     3HDUVRQUHIHUUHGWRWKHVHFRQFHUQVDVD³EHDUWKHVLV´FODLPHGWKH\ZHUH

  ³incorrect on both accounts´DQGGLVPLVVHGWKHGHSHQGHQF\RQSULFHLQFUHDVHVVWDWLQJ³Valeant

  is well-positioned for strong organic growth, even assuming little to no price increases´

                   E     3HDUVRQ DGGHG WKDW ³>D@V ZH KDYH VWDWHG PDQ\ WLPHV Valeant’s core

  operating principles include a focus on volume growthDQGDFRQFHQWUDWLRQRQSULYDWHDQGFDVK

  SD\PDUNHWVWKDWDYRLGJRYHUQPHQWUHLPEXUVHPHQWLQWKH86´DQG³WKHPDMRULW\RIRXUSRUWIROLR

  will continue to deliver strong volume-based organic growth and is not dependent on price

  increases´

                   F     3HDUVRQZHQWRQWR³OD\RXWWKHIDFWV´QRWLQJLQSDUWWKDW L JURZWKLQ

  GHUPDWRORJ\RSKWKDOPRORJ\5[DQGGHQWLVWU\ZDVEDVHGRQKDYLQJ³delivered over 30% script

  growth year to date´ DQG LL  WKH\ H[SHFWHG ³double-digit script growth and corresponding

  revenue growth trends to continue´LQWKH³6DOL[EXVLQHVV´DQG

                   G     3HDUVRQ DGGHG ³we expect double-digit organic growth in 2016 and

  beyond as we prepare for the launch of Addyi and anticipate other potential product approvals

  ´3HDUVRQFORVHGE\QRWLQJWKDW³>W@KLVLVQRWWKHILUVWWLPHZHKDYHIDFHGTXHVWLRQVDERXWRXU

  EXVLQHVV PRGHO DQG VWUDWHJ\ LQ WKH PDUNHW DQG LW OLNHO\ ZRQ¶W EH WKH ODVW´ DGGLQJ KH ZDV

  ³FRQYLQFHGZHZLOOFRQWLQXHWRJHQHUDWHWKHEHVWRXWFRPHVIRURXUVKDUHKROGHUVDQGWKHKHDOWKFDUH

  FRPPXQLW\´

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                 2Q 2FWREHU   9DOHDQW LVVXHG D UHOHDVH WKDW QRWHG LW UHFHLYHG

  'HSDUWPHQWRI-XVWLFHVXESRHQDVIRUGRFXPHQWVUHJDUGLQJLWVSDWLHQWDVVLVWDQFHDQGGLVWULEXWLRQ

  SUDFWLFHV  7KH UHOHDVH TXRWHG 3HDUVRQ DV VWDWLQJ WKDW ³All of us at Valeant firmly believe in

  maintaining strong regulatory and financial controls and believe we have operated our business

  in a fully compliant manner´

                 2Q2FWREHU9DOHDQWLVVXHGDUHOHDVHDQQRXQFLQJLWVWKLUGTXDUWHU

   ³4´  ILQDQFLDO UHVXOWV DQG KRVWHG DQ HDUQLQJV FRQIHUHQFH FDOO WKDW EHJDQ EHIRUH WKH

  PDUNHWRSHQHG

                   D     7KHUHOHDVHVWDWHGLQSDUW³Same store sales organic growth of 13%5th

  consecutive quarter of > 10% organic growth GULYHQ E\ Continued outperformance of U.S.

  businesses, particularly dermatologyDQGFRQWDFWOHQV´

                   E     $VGLVFXVVHGLQ E\WKLVWLPH9DOHDQW¶VWLHVWR3KLOLGRU

  ZHUH EHJLQQLQJ WR EH XQFRYHUHG E\ LQYHVWLJDWLYH MRXUQDOLVWV ZKLFK IRUFHG 9DOHDQW WR SXEOLFO\

  GLVFORVHWKHUHODWLRQVKLS7RRIIVHWWKHGRZQZDUGSUHVVXUHRQWKHSULFHRI9DOHDQWVHFXULWLHVWKH

  &RPSDQ\raisedUHYHQXHDQG(36JXLGDQFHIRUWKH4DQGIXOO\HDUVWDWLQJ

          

          4*XLGDQFH

          x      Total Revenue increased to $3.25 - $3.45 billion [midpoint of $3.35
                  billion] from $3.2 - $3.4 billion [midpoint of $3.3 billion]

          x      Cash EPS increased to $4.00 - $4.20 [midpoint of $4.10] from $3.98 -
                  $4.18 [midpoint of $4.08]

                  )XOO<HDU*XLGDQFH

          x      Total Revenue increased to $11.0 - $11.2 billion [midpoint of $11.1
                  billion] from $10.7 - $11.1 billion [midpoint of $10.9 billion]

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            x        Cash EPS increased to $11.67 - $11.87 [midpoint of $11.77] from $11.50
                      - $11.80 [midpoint of $11.65]DQG

                        F       ,QDGGLWLRQWKHUHOHDVHTXRWHG3HDUVRQDVVWDWLQJLQSDUW³With our strong

  product portfolio and growth prospects, we feel very confident in our future outlook and we are

  reaffirming our $7.5 billion EBITDA floor for 2016.´

                        7KDWVDPHGD\3HDUVRQ5RVLHOORDQG.HOOHQKRVWHGDFRQIHUHQFHFDOO,Q

  WKHVOLGHGHFNSUHVHQWDWLRQDFFRPSDQ\LQJWKHHDUQLQJVFRQIHUHQFHFDOO9DOHDQWLQFOXGHGDOLVWRI

  DQWLFLSDWHG ³4XHVWLRQV IURP ,QYHVWRUV´  2QH RI WKH ³DQWLFLSDWHG´ TXHVWLRQV ZDV ³+RZ GRHV

  9DOHDQWZRUNZLWKVSHFLDOW\SKDUPDFLHVDQGZKDWLV9DOHDQW¶VUHODWLRQVKLSZLWK3KLOLGRU´WRZKLFK

  WKHSUHVHQWDWLRQQRWHG

            x        We have viewed our relationship with Philidor and our other specialty
                      pharmacies as proprietary and as one of our competitive advantages

            x        Similar to many pharmaceutical companies in the U.S., DQ LQFUHDVLQJ
                      SHUFHQWDJH RI RXU UHYHQXH LV FRPLQJ IURP SURGXFWV GLVSHQVHG through
                      multiple specialty pharmacies

            x        We find specialty pharmacies improve patients’ access to medicines at an
                      affordable price and help ensure physicians are able to prescribe the
                      medications they believe most appropriate for their patients

                                                                      

            x        We understand that Philidor:

                      x         3URYLGHVVHUYLFHVXQGHURXUSURJUDPVIRUFRPPHUFLDOO\LQVXUHGDQG
                                 FDVKSD\LQJFODLPVRQO\$Q\FODLPWKDWZRXOGEHUHLPEXUVHGLQ
                                 ZKROHRULQSDUWE\JRYHUQPHQWLQVXUDQFHLVQRWHOLJLEOHIRURXUFR
                                 SD\VXEVLG\SURJUDPV

                      x         Does not restrict prescriptions it fills to any particular
                                 manufacturers (including Valeant)


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    $V'HIHQGDQWVNQHZDQGDV3KLOLGRUDGPLWWHGRQ1RYHPEHU9DOHDQWZDV3KLOLGRU¶V
  RQO\FXVWRPHU


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                  x      Dispenses generic products as specified in patient’s prescription
                          or as requested by patient

                 'XULQJ WKH FRQIHUHQFH FDOO 3HDUVRQ UHSHDWHG VRPH RI WKH VDPH FODLPV

  VD\LQJ WKDW WKH UHODWLRQVKLS ZLWK 3KLOLGRU KDG QRW EHHQ GLVFORVHG SUHYLRXVO\ IRU ³competitive

  reasons´DQGVXJJHVWLQJ9DOHDQW¶VXVHRIVSHFLDOW\SKDUPDFLHVZDVVLPLODUWRLWVFRPSHWLWRUVDQG

  UHVXOWHGLQPRUHDIIRUGDEOHSULFHVVWDWLQJLQSDUW

          The topic of specialty pharmacies has not been a focus of ours on past calls
          because we believe this was a competitive advantage that we did not want to
          disclose to our competitors. But given all the incorrect assertions E\VRPHZH
          ZLOOSURYLGHDQXSGDWHWRWKLVFDOO

          Similar to many pharmaceutical companies in the US, an increasing percentage
          of our revenue is coming from products dispensed through multiple specialty
          pharmacies. We find specialty pharmacies improve patients’ access to medicines
          at an affordable price, and help ensure physicians are able to prescribe the
          medications they believe most appropriate for their patients. In almost all cases,
          our inventory with specialty pharmacies in this channel and the title to our
          medicine only transfers to the pharmacy when the actual prescription is filled

                 3HDUVRQDOVRFODLPHGWKDW³[s]ince we do not recognize the revenue of our

  products [sold through Philidor] until the prescriptions are filled, this consolidation has the

  impact of delaying revenue recognition as compared to products that are sold through

  traditional distribution channels´

                 ,Q UHIHUHQFH WR PHGLD DQG JRYHUQPHQWDO VFUXWLQ\ RI 9DOHDQW¶V SULFLQJ

  SUDFWLFHV GLVFXVVHGEHORZ 3HDUVRQFODLPHGWKDWVXFKFULWLFLVPZDVDQLQGXVWU\ZLGHSUREOHPDQG

  WROGLQYHVWRUVWKDW9DOHDQW¶VIRUHFDVWZDVDSSURSULDWHO\GLVFRXQWHGIRUVXFKVFUXWLQ\FODLPLQJ

  ³it’s clear that the pharmaceutical industry is being aggressively attacked for past pricing

  actions. And that’s not just Valeant, but I think it’s all companies  , GR WKLQN JLYHQ WKDW

  HQYLURQPHQW WKH SULFLQJ WKDW SKDUPDFHXWLFDO FRPSDQLHV ZLOO WDNH LQ WKH IXWXUH ZLOO EH PRUH

  PRGHVWDQGwe built that into our forecast for next year´



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                :LWKUHJDUGWRDODZVXLWWKDWKDGEHHQILOHGE\RQHRIWKHSKDUPDFLHVLQWKH

  3KLOLGRUQHWZRUN5 2ZKLFKKDGFODLPHGIUDXGXOHQWSUDFWLFHVZHUHEHLQJHPSOR\HG3HDUVRQ

  UHDVVXUHGLQYHVWRUVWKDWWKHEXVLQHVVSUDFWLFHVRI9DOHDQWDQG3KLOLGRUZHUHSURSHUE\FODLPLQJ

         R&O is one of the specialty pharmacies in our networkDQG9DOHDQWKDVVKLSSHG
         DSSUR[LPDWHO\  PLOOLRQ DW ZKROHVDOH SULFHV WR WKHP  7KLV UHSUHVHQWV
         DSSUR[LPDWHO\PLOOLRQDWQHWSULFHV$Q\SURGXFWV5 2GLVSHQVHGWRSDWLHQWV
         ZHUHUHFRJQL]HGDVRXUUHYHQXHVDQGDUHUHIOHFWHGLQRXUUHFHLYDEOHV$Q\SURGXFWV
         VWLOO KHOG E\ 5 2 DUH UHIOHFWHG LQRXU LQYHQWRU\  R&O is currently improperly
         holding significant amounts it receives from payers  :H ZLOO UHIUDLQ IURP
         FRPPHQWRQDFWLYHOLWLJDWLRQDQGlook forward to showing in court that we are
         owed the money

                'XULQJWKHFRQIHUHQFHFDOO5RVLHOORUHSHDWHGWKHLQFUHDVHGJXLGDQFHIURP

  WKHUHOHDVH E  F DQGDGGHGWKDW³[w]e expect our gross margins to approach 80% in

  the fourth quarter, driven by continued growth in our dermatology and Salix businesses, the

  launch of Addyi DQG GHFUHDVHG VDOHV RI ;HQD]LQH´  +LV VWDWHPHQWV ZHUH DFFRPSDQLHG E\ WKH

  IROORZLQJFKDUWLQWKHVOLGHSUHVHQWDWLRQ




                                                                                                   

                7RIXUWKHUDOOD\LQYHVWRUFRQFHUQDQGEXR\WKHSULFHRI9DOHDQW¶VVHFXULWLHV

  WKHVOLGHSUHVHQWDWLRQDOVRVWDWHGWKDW9DOHDQWZDV³reaffirming our expectations to exceed $7.5

  [billion] in EBITDA in 2016´:KHQ3HDUVRQZDVDVNHGGXULQJWKHFRQIHUHQFHFDOOKRZWKHODFN

  RISULFHLQFUHDVHVJRLQJIRUZDUGPD\DIIHFWWKH&RPSDQ\¶VDELOLW\WRPHHW(%,7'$JXLGDQFHLQ

  KHUHVSRQGHGLQSDUW³today . . . we feel very comfortable with the $7.5 billionand we

  expect our guidance next year will exceed that´


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                                                B
Case 3:15-cv-07658-MAS-LHG Document 610-3 Filed 08/07/20 Page 108 of 343 PageID:
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                 2Q 2FWREHU   9DOHDQW LVVXHG D UHOHDVH LQ UHVSRQVH ³WR UHFHQW

  DFFXVDWLRQVPDGHUHJDUGLQJLWVILQDQFLDOUHSRUWLQJDQGRSHUDWLRQV´E\&LWURQ5HVHDUFK ³&LWURQ´ 

  WKDW 9DOHDQW ZDV LQIODWLQJ UHYHQXHV WKURXJK LWV KLGGHQ QHWZRUN RI SKDUPDFLHV WR UHIXWH VXFK

  DOOHJDWLRQVDQGFRQILUPLWZDVFRPSO\LQJZLWK*$$3VWDWLQJLQSDUW

          x      All shipments to Philidor and other pharmacies in the Philidor pharmacy
                  network, including R&O, are not recorded in Valeant’s consolidated net
                  revenue. Sales are recorded only when the product is dispensed to the
                  patient All sales to Philidor and Philidor network pharmacies are
                  accounted for as intercompany sales and are eliminated in
                  consolidation. They are not included in the consolidated financial results
                  that Valeant reports externally.

          x      $Q\LQYHQWRU\DWSKDUPDFLHVLQWKH3KLOLGRUSKDUPDF\QHWZRUNDUHLQFOXGHG
                  LQ 9DOHDQW¶V FRQVROLGDWHG LQYHQWRU\ EDODQFHV ± there is no sales benefit
                  from any inventory held at these specialty pharmacies DQGLQYHQWRU\KHOG
                  DW WKH 3KLOLGRU QHWZRUN SKDUPDFLHV LV UHIOHFWHG LQ 9DOHDQW¶V UHSRUWHG
                  LQYHQWRU\OHYHOV

                                                                

          x      The timing of our revenue recognition by selling through the Philidor
                  pharmacy network is actually delayed when compared to selling through
                  the traditional wholesaler channel

                 2Q2FWREHUWKH&RPSDQ\ILOHGLWVTXDUWHUO\UHSRUWRQ)RUP4

  ZLWK WKH 6(& IRU WKH SHULRG HQGHG 6HSWHPEHU   ³4 4´   7KH 4 4 ZDV

  VLJQHGE\3HDUVRQDQG5RVLHOOR7KH44UHSRUWHGWKH&RPSDQ\¶Vrevenue for the nine

  months ended September 30, 2015 of $7.71 billion

                 7KH44GLVFORVHGWKDW9DOHDQWKDGWKH³SRZHUWRGLUHFW3KLOLGRU¶V

  DFWLYLWLHV´DQGVWDWHGWKDW9DOHDQW¶VHQWLUHERDUGRIGLUHFWRUVKDGUHYLHZHG9DOHDQW¶VDFFRXQWLQJ

  IRU3KLOLGRUDQGKDGFRQILUPHGLWVDSSURSULDWHQHVV6SHFLILFDOO\WKH44VWDWHG

                   D     'XULQJWKH\HDUHQGHG'HFHPEHUWKH&RPSDQ\FRPSOHWHG
          RWKHUVPDOOHUDFTXLVLWLRQVLQFOXGLQJWKHFRQVROLGDWLRQRIYDULDEOHLQWHUHVWHQWLWLHV
          which were not material individually or in the aggregate.7KHVHDFTXLVLWLRQVDUH
          LQFOXGHG LQ WKH DJJUHJDWHG DPRXQWV SUHVHQWHG EHORZ  %HJLQQLQJ LQ 'HFHPEHU
           WKH &RPSDQ\ KDV FRQVROLGDWHG 3KLOLGRU 5[ 6HUYLFHV //& ³3KLOLGRU´ 

                                                  
                                                B
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        SKDUPDF\ QHWZRUN ZKLFK LQFOXGHV 5 2 3KDUPDF\ //&  7KH &RPSDQ\
        GHWHUPLQHGWKDWEDVHGRQLWVULJKWVLQFOXGLQJLWVRSWLRQWRDFTXLUH3KLOLGRU3KLOLGRU
        LVDYDULDEOHLQWHUHVWHQWLW\IRUZKLFKWKH&RPSDQ\LVWKHSULPDU\EHQHILFLDU\JLYHQ
        LWVSRZHUWRGLUHFW3KLOLGRU¶VDFWLYLWLHVDQGLWVREOLJDWLRQWRDEVRUEWKHLUORVVHVDQG
        ULJKWVWRUHFHLYHWKHLUEHQHILWV$VDUHVXOWVLQFH'HFHPEHUWKH&RPSDQ\
        KDV LQFOXGHG WKH DVVHWV DQG OLDELOLWLHV DQG UHVXOWV RI RSHUDWLRQV RI 3KLOLGRU LQ LWV
        FRQVROLGDWHGILQDQFLDOVWDWHPHQWV1HWVDOHVUHFRJQL]HGWKURXJK3KLOLGRUUHSUHVHQW
        DSSUR[LPDWHO\DQGRIWKH&RPSDQ\¶VWRWDOFRQVROLGDWHGQHWUHYHQXHIRUWKH
        WKUHHPRQWKDQGQLQHPRQWKSHULRGVHQGHG6HSWHPEHUUHVSHFWLYHO\DQG
        WKH WRWDO DVVHWV RI 3KLOLGRU UHSUHVHQW OHVV WKDQ  RI WKH &RPSDQ\¶V WRWDO
        FRQVROLGDWHG DVVHWV DV RI 6HSWHPEHU    7KH LPSDFW RI 3KLOLGRU DV D
        FRQVROLGDWHGHQWLW\RQWKH&RPSDQ\¶VQHWUHYHQXHVIRUZDVQRPLQDO
                 
                                                               

        2Q 2FWREHU   WKH &RPSDQ\ DOVR DQQRXQFHG WKDW LWV Audit and Risk
        Committee and the full Board of Directors have reviewed the Company’s
        accounting for its Philidor arrangement and have confirmed the appropriateness
        of the Company’s related revenue recognition and accounting treatment.

                                                                

        As is customary in the pharmaceutical industry, our gross product sales are
        subject to a variety of deductions LQ DUULYLQJ DW UHSRUWHG QHW SURGXFW VDOHV
        Provisions for these deductions are recorded concurrently with the recognition
        of gross product sales revenue and include cash discounts and allowances,
        chargebacks, and distribution fees, which are paid to direct customers, as well as
        rebates and returns, which can be paid to both direct and indirect customers
        Gross product sales for products dispensed through Philidor Rx Services, LLC
         ³3KLOLGRU´ SKDUPDF\QHWZRUN ZKLFKLVFRQVROLGDWHGDVDYDULDEOHLQWHUHVWHQWLW\
        ZLWKLQRXUFRQVROLGDWHGILQDQFLDOVWDWHPHQWV are recognized when a prescription
        is dispensed to a patient.  1HW VDOHV UHFRJQL]HG WKURXJK WKH 3KLOLGRU SKDUPDF\
        QHWZRUNUHSUHVHQWVDQGRIRXUWRWDOFRQVROLGDWHGQHWUHYHQXHIRUWKHWKUHH
        PRQWKVDQGQLQHPRQWKVHQGHG6HSWHPEHUUHVSHFWLYHO\

                 E      7KH44DOVRGHVFULEHGWKH&RPSDQ\¶VSHUIRUPDQFH

        ([FOXGLQJ WKH LWHPV GHVFULEHG DERYH ZH UHDOL]HG LQFUHPHQWDO SURGXFW VDOHV
        UHYHQXH IURP WKH UHPDLQGHU RI WKH H[LVWLQJ EXVLQHVV RI  PLOOLRQ DQG 
        PLOOLRQLQWKHWKLUGTXDUWHUDQGILUVWQLQHPRQWKVRIUHVSHFWLYHO\The growth,
        which incorporates sales directly to wholesalers and retailers as well as use of
        specialty pharmacies (primarily Philidor), reflected (1) higher sales of (i) Jublia
         ODXQFKHGLQPLG  LL WKH Retin-A franchise LQFOXGLQJWKHODXQFKRI5$0
         LQ PLG  LLL  ;HQD]LQH LY  $UHVWLQ Y  Solodyn DQG YL  WKH
        &DUDFIUDQFKLVHDQG  KLJKHUVDOHVIURPRWKHUUHFHQWSURGXFWODXQFKHVLQFOXGLQJ
        WKHODXQFKHVRI%LRWUXH21(GD\%DXVFK/RPE8OWUDDQG2QH[WRQ


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                  F     7KH 4 4 DOVR LQFOXGHG D VWDWHPHQW UHJDUGLQJ WKH &RPSDQ\¶V

  SXUSRUWHGO\ORZHUULVNEXVLQHVVVWUDWHJ\VWDWLQJ

         The growth of our business is further augmented through our lower risk, output-
         focused research and development model, which allows us to advance certain
         development programs to drive future commercial growth, while minimizing our
         research and development expenseDQG

                  G     7KH44LQFOXGHGWKHVDPH,QWHUQDO&RQWUROV6WDWHPHQWDQG62;

  &HUWLILFDWLRQV WKLVWLPHVLJQHGE\3HDUVRQDQG5RVLHOOR DVVHWIRUWKLQ 

                2Q2FWREHU9DOHDQWLVVXHGDUHOHDVHGHVLJQHGWRDOOD\LQYHVWRU

  FRQFHUQVDQGUHLQIODWHWKHSULFHRI9DOHDQWVWRFNZKLFK

                  D     UHSHDWHGWKDW9DOHDQW¶V³Audit and Risk Committee and the full Board of

  Directors have reviewed the company’s accounting for its Philidor arrangement and have

  confirmed the appropriateness of the company’s related revenue recognition and accounting

  treatment´

                  E     TXRWHG3HDUVRQDVVWDWLQJWKDW³As we have said previously, our accounting

  with respect to the Company’s Philidor arrangements is fully compliant with the law´ DQG³We

  operate our business based on the highest standard of ethics, and we are committed to

  transparency´DQG

                  F     TXRWHG,QJUDPDVVWDWLQJWKDWWKHERDUGRIGLUHFWRUV³has fully supported

  the company’s specialty pharmacy strategy´ DGGLQJ WKDW 3HDUVRQ ³operates with the highest

  degree of ethics´

                $OVR RQ 2FWREHU   WKH &RPSDQ\ KRVWHG D FRQIHUHQFH FDOO ZLWK

  LQYHVWRUVWKDWZDVDFFRPSDQLHGE\DSUHVHQWDWLRQ3HDUVRQ6FKLOOHU5RVLHOOR,QJUDP3URYHQFLR

  0HODV.\ULD]L6WHYHQVRQ&DUURDQG.HOOHQDWWHQGHGRQEHKDOIRIWKH&RPSDQ\7KHSUHVHQWDWLRQ




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                                              B
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  GLVFORVHG WKDW ³>R@XU VSHFLDOW\ SKDUPDF\ VWUDWHJ\ RULJLQDWHG IURP WKH 0HGLFLV $OWHUQDWH

  )XOILOOPHQW3URJUDP´$PRQJRWKHUWKLQJVWKHSUHVHQWDWLRQDOVRVWDWHGWKDW

                        D       ³Prescriptions through Philidor are less profitable than traditional

  channels due to lower copay rates, lower cash pay rates and more cash pay scripts in Philidor

  than in retail and other channels´

                        E       ³We do not own or control Philidor´DQG³Philidor employees do not

  report to Valeant´

                        F       ³Philidor is independent´DQG

                        G       ³8QOHVVDQGXQWLO9DOHDQWH[HUFLVHVWKHRSWLRQWRDFTXLUH3KLOLGRUPhilidor

  remains independentDQG9DOHDQWKDVQRULJKWVWRUHPRYH&(2RUPDQDJHPHQW´

                        3HDUVRQ DVVXUHG LQYHVWRUV WKHUH ZDV QR LPSURSHU DFFRXQWLQJ RU RWKHU

  LPSURSHUSUDFWLFHVLQYROYLQJ3KLOLGRUVWDWLQJ

                        D       ³we stand by our accounting treatment of Philidor completely´

                        E       ³[w]e follow the law and we comply with accounting and disclosure

  rules´

                        F       ³the sensational claims made by the short seller Andrew Left, through his

  entity Citron, are completely untrue. His motivation is the same as someone who runs into a

  crowded theater to falsely yell fire. He wanted people to run´

                        G       ³after we saw the false report from Citron, we promptly coordinated with

  our outside regulatory counsel from Cahill to make a request that the SEC investigate Mr. Left

  and Citron´


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    ,URQLFDOO\WKLVUHTXHVWHYHQWXDOO\OHGWKH6(&WRLQYHVWLJDWH9DOHDQW¶VDFFRXQWLQJZKLFKDV
  QRWHGEHORZUHVXOWHGLQDUHVWDWHPHQW


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                  H     ³:HVWLOOEHOLHYHWKDWWKHVWUDWHJ\RIZRUNLQJZLWKVSHFLDOW\SKDUPDFLHVLV

  VRXQGDQGLW¶VJRRGIRUSDWLHQWVDQGSK\VLFLDQVThere have been no issues with regards to the

  accounting or revenue recognition of the business´DQG

                  I     ³We have been working with outside counsel and we have found no

  evidence of illegal activity whatsoever at Philidor´

                ,QJUDP 9DOHDQW¶V OHDG LQGHSHQGHQW GLUHFWRU VSHDNLQJ RQ EHKDOI RI WKH

  HQWLUHERDUGRIGLUHFWRUVLQFOXGLQJWKH'LUHFWRU'HIHQGDQWVUHDIILUPHGWKHVHVWDWHPHQWVVD\LQJ

         7KDQN \RX 0LNH >3HDUVRQ@  As Mike stated, the Company stands by its
         accounting completely. The audit committee of the Board and the full Board
         have reviewed the Company’s accounting, the Philidor relationship, and have
         confirmed the appropriateness of the Company’s revenue recognition and
         accounting treatment

                5RVLHOORUHLQIRUFHGWKHVWDWHPHQWVE\3HDUVRQDQG,QJUDPDGGLQJ

                  D     ³Valeant consolidates financials with Philidor and the Philidor network,

  ensuring that revenue recognition and financial statement presentation is appropriate´

                  E     ³Valeant recognizes revenue only when products are dispensed to

  patients, and Valeant records this at net realized price´

                  F     ³There is simply no way to stuff the channel of consolidated variable

  interest entities, or VIEs, since all inventory remains on Valeant’s consolidated balance sheet

  until dispensed to patients´DQG

                  G     ³3KLOLGRUZDVFRQVLGHUHGD9,(SULRUWRWKHSXUFKDVHRSWLRQDJUHHPHQWEXW

  VLQFH9DOHDQWZDVQRWGHWHUPLQHGWREHWKHSULPDU\EHQHILFLDU\FRQVROLGDWLRQZDVQRWDSSURSULDWH

  $ SXUFKDVH RSWLRQ DJUHHPHQW IRU 3KLOLGRU ZDV H[HFXWHG LQ 'HFHPEHU   The finance and

  transactions committee, audit and risk committee, and full Board, all reviewed the transaction.




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  The appropriate accounting treatment was determined by management and reviewed with the

  Audit and Risk Committee.´

                 9DOHDQW¶V FRUSRUDWH FRQWUROOHU&DUUR DOVR GHIHQGHG 9DOHDQW¶V DFFRXQWLQJ

  DQGODFNRISULRUGLVFORVXUHUHJDUGLQJ3KLOLGRU6SHFLILFDOO\

                   D     &DUURFODLPHGWKDWDVRI\HDUHQG“Philidor is not considered to be

  material to Valeant’s business for reporting purposes´DWWKHHQGRIEHFDXVHWKH³*$$3

  UHTXLUHPHQW IRU GLVFORVLQJ VDOHVWR ODUJH FXVWRPHUV LV RI UHYHQXH´DQGLQ'HFHPEHU

  3KLOLGRU¶V\HDUWRGDWHQHWVDOHVZHUHPLOOLRQDQG

                   E     &DUUR FODLPHG WKDW IRU WKH ILUVW WZR TXDUWHUV RI  ³Philidor was not

  specifically mentioned in our disclosures because it had not been material to the consolidated

  financial statements´ EHFDXVH ³>L@W UHSUHVHQWHG  RU OHVV RI WRWDO DVVHWV DQG  RU OHVV RI

  FRQVROLGDWHGQHWUHYHQXHVVLQFHWKHIRXUWKTXDUWHURI´

                 6FKLOOHUUHDVVXUHGLQYHVWRUVWKDWWKHUHZDVQRHYLGHQFHRIZURQJGRLQJE\

  3HDUVRQVWDWLQJ³LI,KDGDQ\FRQFHUQVZKDWVRHYHUDERXW9DOHDQWRU0LNH,ZRXOGQRWKDYHVWD\HG

  RQWKH%RDUG,W¶VDVVLPSOHDVWKDW:KHQZHDQQRXQFHGWKDW,ZDVOHDYLQJDQG0LNHDQG,KDG

  DELWRIRXUORYHIHVW,GRQ¶WZDQWWRUHSHDWDOOWKHZRUGVEXW,PHDQWWKHPLQWHUPVRI0LNHLV

  SURIHVVLRQDOKLVHWKLFVKLVZRUNHWKLFKLVFRPPLWPHQWWRGRLQJWKHULJKWWKLQJ´

                 7RPLWLJDWHWKHLPSDFWRIWKHQHJDWLYHQHZV3HDUVRQUHDIILUPHG9DOHDQW¶V

  UHFHQWO\LQFUHDVHGJXLGDQFHVWDWLQJ³Given the continued healthy growth in dermatology

  6DOL[H\HKHDOWKand the recent Addyi launch, we expect to meet or exceed our fourth-quarter

  projections H[FOXGLQJ WKH RQHWLPH H[SHQVHV DVVRFLDWHG ZLWK UHFHQW HYHQWV´  +H DGGHG ³we

  continue to be very comfortable with our 2016 EBITDA expectation of greater than $7.5

  billion´



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  &DUURDQG.HOOHQKRVWHGDFRQIHUHQFHFDOOZLWKLQYHVWRUVWR³XSGDWH>WKHPDUNHW@RQRXUVWUDWHJ\

  ZLWKUHVSHFWWRVSHFLDOW\SKDUPDFLHVWRH[SODLQRXUWUDQVLWLRQSODQVIRU3KLOLGRUWRGLVFXVVRXU

  EXVLQHVV SHUIRUPDQFH IRU WKH ILUVW KDOI RI WKH TXDUWHU DQG SHUKDSV PRVW LPSRUWDQWO\ WR WDNH

  TXHVWLRQVIURPDOORI\RX´3HDUVRQVWDWHGLQUHOHYDQWSDUW

            We began working with Philidor because we believed a strong relationship with
            one specialty pharmacy would deliver better, faster customer service for doctors
            and patients. We were also looking for a pharmacy which would be willing to
            process prescriptions before adjudicating the claims, which would allow us rather
            than the patient, to assume the risk if the commercial payer denied the claim

                        $QDQDO\VWQRWHGWKDWWKHUHZHUH³WZRNLQG>V@RIPDMRUDFFXVDWLRQVDLPHG

  DWWKH&RPSDQ\´RQHUHJDUGLQJSULFLQJDQGWKHRWKHUUHJDUGLQJ3KLOLGRUDQGQRWHGWKDW9DOHDQW

  ³GHFLGHGWROLPLW\RXUSULFLQJJRLQJIRUZDUG´DQG³FXWRSHUDWLRQVZLWK3KLOLGRU´:LWKUHJDUGWR

  3KLOLGRU3HDUVRQUHVSRQGHGLQSDUW

            :HOO3KLOLGRUZDVYHU\VSHFLILF First, there was the Citron report which claimed
            financial fraud and other things. They quickly came out and there was no
            financial fraud, in terms of Valeant had to do.%XWWKHQRWKHUDOOHJDWLRQVZHUH
            PDGHLQWHUPVRIWKHSUDFWLFHVRI3KLOLGRU$QGZHIHOWERWKPDQDJHPHQWDQGWKH
            %RDUGIHOWWKDWJLYHQWKHVHDOOHJDWLRQVJLYHQZKDWZDVKDSSHQLQJWRRXUVWRFNSULFH
            DQGJLYHQZKDWPDQ\RIRXUPDMRUVKDUHKROGHUVZHUHDVNLQJXVWRGRWKDWWKHEHVW
            WKLQJWRGRZDVWRVHYHU

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  DQ DWWHPSW WR RIIVHW WKHGLVDSSRLQWLQJ UHYLVHG  JXLGDQFH DQG QRWZLWKVWDQGLQJ WKH ILQDQFLDO

  LPSDFWRILWVORVWVDOHVWKURXJK3KLOLGRUDQGLQFUHDVHGVFUXWLQ\E\3%0VDQGSULYDWHSD\RUVIRULWV




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     $V GLVFXVVHG EHORZ LQ ODWH 2FWREHU 9DOHDQW DQQRXQFHG WKDW LW ZRXOG EH WHUPLQDWLQJ LWV
  UHODWLRQVKLSZLWK3KLOLGRUDQGWKDW3KLOLGRUZRXOGVKXWGRZQ


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  SURGXFWV 9DOHDQW¶V 'HFHPEHU   UHOHDVH SURMHFWHG UREXVW  JURZWK ZLWK UHYHQXH RI

  $12.5 - $12.7 billion, Cash EPS of $13.25 - $13.75, and EBITDA of $6.9 - $7.1 billion

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  -RUQDQG.HOOHQSDUWLFLSDWHGRQEHKDOIRIWKH&RPSDQ\5RVLHOORUHSHDWHGWKHJXLGDQFHDQG

  3HDUVRQVWDWHGWKHJXLGDQFHZDVFRQVHUYDWLYHQRWLQJ³I feel very comfortable with the guidance

  %XWHDFKOLWWOHSLHFHV>VLF@,IHHOOLWWOHOHVVFRPIRUWDEOHWKLV\HDUMXVWJLYHQ±so we put an extra

  dose of conservatism in´3HDUVRQDGGHG

           AddyiDORWRISHRSOHKDYHVDLG$GG\LLVDGLVDVWHUtoday you’ll see it’s not a
           disaster6Rwe believe we’ll sell between $100 million and $150 million in sales
           of Addyi next year

                 7KH VWDWHPHQWV LQ   DERYH ZHUH IDOVH DQG PLVOHDGLQJ

  ZKHQPDGH7KHWUXHIDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\'HIHQGDQWV

  ZHUH

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  ZLWKWKHDVVLVWDQFHDQGIRUWKHEHQHILWRI9DOHDQWWRLQFUHDVHWKHVDOHVSULFHVRI9DOHDQWSURGXFWV

  DQGWRVXEYHUWWKHVXEVWLWXWLRQRI9DOHDQWSURGXFWVZLWKFRPSHWLWRUV¶GUXJV9DOHDQWHPSOR\HHV

  ZRUNHGDW3KLOLGRUDQG9DOHDQWFRXOGFORVH3KLOLGRUE\VHYHULQJWLHVZLWKLWDVLWZDV3KLOLGRU¶V

  RQO\FXVWRPHUDQGWKDWWKHVHIDFWVZHUHEHLQJFRQFHDOHGE\9DOHDQWIURPSULYDWHSD\RUVSDWLHQWV

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  XVLQJ GHFHSWLYH SUDFWLFHV RI  L  SULFH LQFUHDVHV ZKLFK ZHUH IDU EH\RQG LQGXVWU\ QRUPV DQG

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  ZHUH IDOVHO\ PDGH WR DSSHDU LQGHSHQGHQW LLL  XVLQJ SDWLHQW DVVLVWDQFH DQG 35 VWUDWHJLHV WR

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  LQFUHDVLQJ 9DOHDQW¶V VWRFN SULFH RYHU HQVXULQJ WKDW 9DOHDQW DQG LWV FODQGHVWLQH QHWZRUN RI

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  ZKHUHLQ9DOHDQW³IDLOHGWRDGHTXDWHO\DQVZHURXUTXHVWLRQVDERXWWKHEDVLVIRUWKHLUVN\URFNHWLQJ

  SULFHV´,WDOVRUHYHDOHGWKDWRQ$XJXVW³5DQNLQJ0HPEHU&XPPLQJVVHQW>D@GRFXPHQW

  UHTXHVWWR9DOHDQW´DQGRQ6HSWHPEHU³9DOHDQWUHMHFWHG5DQNLQJ0HPEHU&XPPLQJV¶

  UHTXHVWLQDGLVPLVVLYHWZRSDJHOHWWHUWKDWUHIXVHGWRSURYLGHDQ\RIWKHUHTXHVWHGGRFXPHQWV´

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  6HQDWRU &ODLUH 0F&DVNLOO ³VHQW D GHWDLOHG OLVW RI  TXHVWLRQV WR >9DOHDQW@ SURELQJ LWV VLPSOH

  H[SODQDWLRQ WKDW LW LQFUHDVHG WZR KHDUW GUXJ SULFHV EHFDXVH WKH\ ZHUH µVLJQLILFDQWO\

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  >WKH@FURVVKDLUVRI>WKH@86&RQJUHVV´IRULWVSUDFWLFHRI³HQJDJ>LQJ@LQDEXVLQHVVVWUDWHJ\RI

  EX\LQJROGQHJOHFWHGGUXJVDQGWXUQLQJWKHPLQWRKLJKSULFHVSHFLDOW\GUXJV´

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  QRWLQJWKDW³>D@QDO\VWVDW0RUJDQ6WDQOH\HVWLPDWHGWKDWµRXWVL]HG¶SULFHLQFUHDVHVRQHLJKWGUXJV

  DFFRXQWHGIRUDERXWSHUFHQWRI9DOHDQW¶VUHYHQXHDQGSHUFHQWRILWVHDUQLQJVEHIRUHWD[HVDQG

  LQWHUHVWLQWKHVHFRQGTXDUWHU´7KHDUWLFOHSURYLGHGIXUWKHULQVLJKWLQWR9DOHDQW¶VGHSHQGHQF\RQ

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  DQDYHUDJHRISHUFHQWDERXWILYHWLPHVDVPXFKDVLWVFORVHVWLQGXVWU\SHHUV´$VDQH[DPSOH




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  LWQRWHGWKDW*OXPHW]D DGLDEHWHVSLOOWKDWZDVSDUWRIWKH6DOL[EXVLQHVV LQFUHDVHGLQSULFHRYHU

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  VXESRHQDVIURPERWKWKH86$WWRUQH\¶V2IILFHIRUWKH'LVWULFWRI0DVVDFKXVHWWVDQGWKH86

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  WKHPDWHULDOVUHTXHVWHGE\WKHVXESRHQDVUHODWHWRGRFXPHQWVZLWKUHVSHFWWRRXUSDWLHQWDVVLVWDQFH

  SURJUDPV DQG DOVR LQFOXGH UHTXHVWV UHODWLQJ WR ILQDQFLDO VXSSRUW SURYLGHG E\ WKH FRPSDQ\ IRU

  SDWLHQWVGLVWULEXWLRQRIWKHFRPSDQ\¶VSURGXFWVLQIRUPDWLRQSURYLGHGWRWKH&HQWHUVIRU0HGLFDUH

  DQG0HGLFDLG6HUYLFHVDQGSULFLQJGHFLVLRQV´7KHUHOHDVHIXUWKHUVWDWHGWKDW9DOHDQW³UHVSRQGHG

  WRDOHWWHUIURP6HQDWRU&ODLUH0F&DVNLOO´UHJDUGLQJWKHSULFLQJRI1LWURSUHVVDQG,VXSUHODQGWKH

  ³UHLPEXUVHPHQWSURFHVVIRUKRVSLWDOSURFHGXUHVLQYROYLQJ1LWURSUHVVDQG,VXSUHOWKHDQDO\VLVDQG

  UHDVRQV XQGHUO\LQJ 9DOHDQW¶V SULFLQJ GHFLVLRQV´  7KH UHOHDVH QRWHG WKDW WKH &RPSDQ\ ZDV

  ³EHJLQQLQJRXWUHDFKWRKRVSLWDOVZKHUHWKHLPSDFWRIDSULFHFKDQJHZDVVLJQLILFDQWO\JUHDWHUWKDQ

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  $FNPDQ VHQW DQ HPDLO WR /DXULH /LWWOH ³/LWWOH´  9DOHDQW¶V 6HQLRU 9LFH 3UHVLGHQW ,QYHVWRU

  5HODWLRQVDQG3HDUVRQUHJDUGLQJD6RXWKHUQ,QYHVWLJDWLQJ5HSRUWLQJ)RXQGDWLRQ ³6,5)´ UHSRUW

  RQ9DOHDQWZKLFKGHVFULEHGWKHFRQQHFWLRQEHWZHHQ9DOHDQWDQG3KLOLGRU/LWWOHUHVSRQGHG³:H

  NQHZLWZDVFRPLQJDQGZLOODGGUHVVRQWRGD\¶VFDOO´

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  UHVXOWVDQGKRVWHGDQHDUQLQJVFDOOWKDWEHJDQEHIRUHWKHPDUNHWRSHQHG3HDUVRQ5RVLHOORDQG

  .HOOHQKRVWHGWKHFDOOXVLQJDSUHSDUHGVOLGHSUHVHQWDWLRQ3HDUVRQVDLGKHZDQWHGWRDGGUHVV³WKH

  WXUPRLO RYHU WKH SDVW IHZ ZHHNV IURP ERWK JRYHUQPHQWDO DQG PHGLD VFUXWLQ\´  7KH &RPSDQ\

  DGPLWWHGOLPLWHGIDFWVVXFKDVFRQILUPLQJLWVUHODWLRQVKLSZLWKDQGRSWLRQWRDFTXLUH3KLOLGRUDQG

  WKDW LW KDG EHHQ FRQVROLGDWLQJ 3KLOLGRU¶V ILQDQFLDO UHVXOWV ZLWK LWV RZQ  7KH &RPSDQ\ DOVR

  HIIHFWLYHO\ FRQFHGHG LWV QRQWUDGLWLRQDO VWUDWHJ\ ZDV QHLWKHU VXVWDLQDEOH QRU OHVV ULVN\ E\

  GLVFORVLQJLWZRXOGUHO\OHVVRQDFTXLVLWLRQVDQGPRUHRQ5 'ZLWK3HDUVRQDGGLQJWKDW9DOHDQW

  ZRXOGEH³PDNLQJSULFLQJDVPDOOHUSDUWRIRXUJURZWKORRNLQJIRUZDUG´DQG³ZLOOSXUVXHIHZHU

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  VLJQDOLQJWKHXQVXVWDLQDEOHQDWXUHRIWKHLUQRQWUDGLWLRQDOVWUDWHJ\DQGWKHLOOXVRU\QDWXUHRIWKH

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  ³1HXURDQG2WKHUSRUWIROLRZKLFKLVGHSHQGHQWRQSULFH´DQGWKDW³LQWHUQDO5 'ZLOOEHFRPH

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            $V\RXDOONQRZ9DOHDQWKDVUHVSRQGHGWR6HQDWRU0F&DVNLOODQGDGGUHVVHGKHU
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            DOVR QRWHG WKDW ZH DUHEHJLQQLQJ DQ RXWUHDFK WR KRVSLWDOVZKHUH WKHLPSDFW RI D
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            GHUPDWRORJLHVLW¶VPXFKOHVV,¶PVRUU\,FDQ¶W±LW¶VVLJQLILFDQWEXWLW¶V±,GRQ¶W
            NQRZWKHSUHFLVHQXPEHUEXWLW¶VFHUWDLQO\RIRXU86SRUWIROLRPD\EH
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  KRZ3KLOLGRU¶VDSSOLFDWLRQIRUDOLFHQVHLQ&DOLIRUQLDKDGEHHQUHMHFWHGEHFDXVHLWKDGFRQFHDOHG

  LWVRZQHUV7KHDUWLFOHUHSRUWHGWKDW9DOHDQWXVHG3KLOLGRUWR³NHHSWKHKHDOWKV\VWHPSD\LQJIRU

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  GHUPDWRORJLVWDVVWDWLQJWKDW9DOHDQW¶VSURJUDPZDVGHVLJQHGWREXIIHUSK\VLFLDQVDQGLQVXUHUV

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          OLNHFDQFHUPXOWLSOHVFOHURVLVDQGUDUHJHQHWLFGLVRUGHUV%XWWKHGUXJVGLVSHQVHG
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  GXELRXVRZQHUVKLSVWUXFWXUH´DQGTXHVWLRQHGZK\WKLVHQWLW\ZDV³1(9(5GLVFORVHGLQDQ\SULRU

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  PDLORUGHU SKDUPDFLHV WR SURS XS VDOHV DQG NHHS SDWLHQWV DQG WKHLU LQVXUDQFH FRPSDQLHV IURP

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  QXPEHUV LGHQWLFDO SULYDF\ QRWLFHV D VKDUHG IDFVLPLOH QXPEHU DQG VKDUHG ZHEVLWHV  &LWURQ

  FODLPHG ³LW DSSHDUV WR &LWURQ WKDW 9DOHDQW3KLOLGRU KDYH FUHDWHG DQ HQWLUH QHWZRUN RI SKDQWRP

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  UHSRUWDOVRSURYLGHGLQYHVWRUVZLWKGHWDLOVRIWKH5 2ODZVXLW:KHQWUDGLQJUHVXPHG9DOHDQW

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  H[SODQDWLRQWKDW9DOHDQWGLGQRWGLVFORVH3KLOLGRUEHFDXVHLWZDVDFRPSHWLWLYHDGYDQWDJH³FRPHV



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  XSVKRUW´7KHDUWLFOHQRWHGWKDW³>Z@KLOH9DOHDQWPD\DUJXHLWGLGQ¶WWKLQNWKHFRQVROLGDWLRQRI

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  DXGLWRUV XQGHUVWRRG DQG DJUHHG ZLWK WKH DFFRXQWLQJ VWUDWHJ\ DQG GLVFORVXUH RI WKLV EXVLQHVV´

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                      KDYHULJKWV DQGKDYHXWLOL]HGWKHP WRDSSURYHNH\SRVLWLRQV e.gLQKRXVH
                      ODZ\HUFKLHIFRPSOLDQFHRIILFHU LQFOXGHG3KLOLGRULQ9DOHDQW¶V62;
                      ,QWHUQDO&RQWURO7HVWLQJDQG,QWHUQDO$XGLWSURJUDPIRU´

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                      &RPPLWWHH 5LJKW WR UHTXLUH KLUHV IRU FHUWDLQ SRVLWLRQV 6XEVWDQWLDO
                      LQIRUPDWLRQ ULJKWV &RYHQDQWV UHVSHFWLQJ 3KLOLGRU¶V FRPSOLDQFH ZLWK DOO
                      DSSOLFDEOHODZV´DQG

            x        LQDVHFWLRQDGGUHVVLQJ9DOHDQW¶V³0DQDJHPHQW5LJKWV´RYHU3KLOLGRUWKDW
                      ³9DOHDQWKDVWKHULJKW EXWQRWWKHREOLJDWLRQ WRDSSRLQWRUFDXVH3KLOLGRU
                      WRKLUH$GYLVRUWRWKH&(2+HDG&RPSOLDQFH2IILFHU,Q+RXVHODZ\HU
                      +HDG,7RIILFHU2WKHUHPSOR\HHVDVUHDVRQDEO\UHTXHVWHG´

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  ZDVQRWGHWHUPLQHGWREHWKHSULPDU\EHQHILFLDU\FRQVROLGDWLRQZDVQRWDSSURSULDWH$SXUFKDVH

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  VDLG³ZKHQRQHRIWKHPRVWFUHGLEOHMRXUQDOLVWVLQWKHZRUOGDFFXVHV\RXRIEHLQJWKHQH[W(QURQ

  WLPHLVVKRUW´+HZDUQHGWKDW³<RXUUHSXWDWLRQDQGWKDWRIWKHUHVWRIWKHERDUGDORQJZLWKWKH

  FRPSDQ\ LV DW JUDYH ULVN RI EHLQJ GHVWUR\HG RQ D SHUPDQHQW EDVLV´  +H FULWLFL]HG 3HDUVRQ IRU

  HQGLQJWKHODVWFRQIHUHQFHFDOODEUXSWO\DQGVDLG³:KHQ0LNHVDLGWKDW\RXZHUHUXQQLQJRXWRI

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  VKDUHKROGHUVKHDUWKDWPDQDJHPHQWGRHVQ¶WKDYHWLPHWRDGGUHVVWKHLUFRQFHUQVWKH\DVVXPHWKH

  ZRUVW7KHUHLVQRDPRXQWRIWLPHWKDWVKRXOG>EH@VSDUHGDGGUHVVLQJVKDUHKROGHUV>VLF@FRQFHUQV´

  $FNPDQQRWHGWKDWLWWRRND³VKRUWVHOOHUWREULQJ3KLODGRU>VLF@WROLJKWDQGWKDWKDVGHVWUR\HG

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  DQVZHUV DUHDQGQRPDWWHUZKDWWKHOHJDOLPSOLFDWLRQVDUH´$FNPDQ QRWHG WKH EXVLQHVVULVNV

  LQFOXGLQJ ³9DOHDQW KDV EHFRPH WR[LF  'RFWRUV ZLOO VWRS SUHVFULELQJ \RXU SURGXFWV´ DQG

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  LGHQWLILFDWLRQQXPEHUVLIDQLQVXUHUUHMHFWHG3KLOLGRU¶VFODLP±WRHVVHQWLDOO\VKRSDURXQGIRURQH

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                      FRGHV RQ SUHVFULSWLRQV LQ VRPH FDVHV VR LW ZRXOG DSSHDU WKDW SK\VLFLDQV
                      UHTXLUHG RU SDWLHQWV GHVLUHG 9DOHDQW¶V EUDQGQDPH GUXJV ± QRW OHVV
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  SXUSRUWHG EHQHILWV DQG LQGHSHQGHQFH RI 3KLOLGRU 9DOHDQW DQQRXQFHG WKDW 3KLOLGRU ZRXOG EH

  VKXWWLQJGRZQDVVRRQDVSRVVLEOH3HDUVRQLVVXHGDVWDWHPHQWWKDW9DOHDQWKDG³ORVWFRQILGHQFH

  LQ3KLOLGRU¶VDELOLW\WRFRQWLQXHWRRSHUDWHLQDPDQQHUWKDWLVDFFHSWDEOH´

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  WKHPDUNHWRSHQHGWKDWGD\BloombergUHSRUWHGIXUWKHULQIRUPDWLRQUHJDUGLQJWKHILQDQFLDOLPSDFW

  RIFORVLQJ3KLOLGRUDVLWGLVFORVHGWKDWMXVWZHHNVHDUOLHU9DOHDQWZDVSODQQLQJWRH[SDQGLWVXVH

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  6FKLOOHUDQG,QJUDPDVZHOODV/LWWOHDQG&KDL2QQVWDWLQJWKDWThe Wall Street JournalZDVJRLQJ

  WR SXEOLVK D VWRU\ DERXW $FNPDQ +H VDLG $FNPDQ ³KDV JLYHQ WKH UHSRUWHU D ORW RI GHWDLOV

  XQIRUWXQDWHO\´DQG³LWZRQ¶WEHSUHWW\´0LOOHUJDYHD³UXQGRZQRIZKDW,H[SHFWWREHLQLW´WKDW

  LQFOXGHG$FNPDQWHOOLQJ,QJUDP³WKDW3HDUVRQPLJKWKDYHWRVWHSGRZQ´DQGWKDW$FNPDQWKRXJKW

  WKH2FWREHUFRQIHUHQFHFDOOZDV³GLVDSSRLQWLQJ´DQG³WRRVFULSWHGDQG0LNH>3HDUVRQ@ZDVLQ

  DKXUU\WRJHWRII´0LOOHUDGGHGWKDWKHH[SHFWHGWKHFDOOWRUHYHDOWKDW$FNPDQWROG,QJUDPWKDW

  ³:KDWWKHFRPSDQ\QHHGVQRZLVDUHSXWDWLRQDOUHFRYHU\VRPHRQHZKRFDQGHDOZLWKWKHSUHVV

  DQGWHVWLI\EHIRUH&RQJUHVVDQGWKDW¶VQRW0LNH¶VVWUHQJWK´




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  SXEOLVKHG D VWRU\ WKDW DOLJQHG ZLWK 0LOOHU¶V DFFRXQW DV LW UHSRUWHG WKDW $FNPDQ WKH KHDG RI

  3HUVKLQJ6TXDUH9DOHDQW¶VODUJHVWVKDUHKROGHUWROG9DOHDQW¶VOHDGGLUHFWRU,QJUDPWKDW3HDUVRQ

  PLJKWQHHGWROHDYH9DOHDQWDQGWKDW$FNPDQZDVFRQVLGHULQJOLTXLGDWLQJKLVHQWLUHELOOLRQ

  LQYHVWPHQW LQ WKH &RPSDQ\  7KH DUWLFOH DOVR VDLG WKDW $FNPDQ KDG SXVKHG 9DOHDQW WR KROG D

  FRQIHUHQFHFDOOWR³FRPHFOHDQ´DQGGLVFORVHWKHIXOOH[WHQWRIH[HFXWLYHV¶NQRZOHGJHUHJDUGLQJ

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  ZHOODV/LWWOHDQG&KDL2QQIRUZDUGLQJWKHDUWLFOHDQGVWDWLQJ³,GRQ¶WORYHWKHRXWFRPHEXWLW

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  3HDUVRQ5RVLHOOR&DUURDQG.HOOHQSDUWLFLSDWHGRQEHKDOIRIWKH&RPSDQ\3HDUVRQVWDWHGWKDW

  ³$VRIODVWZHHN3KLOLGRUKDVVWRSSHGDGMXGLFDWLQJFODLPV3KLOLGRUKDVFRPPLWWHGWRFHDVH

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          /DVWZHHNZHDVNHG3KLOLGRUWRVWRSDGMXGLFDWLQJFODLPVDQGWRILOODOOSUHVFULSWLRQV
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            7XUQLQJ WR 1HXUR ZH DUH DOVR VHHLQJ VRPH VKRUWWHUP SUHVVXUH LQ RXU 1HXUR
            EXVLQHVV LQ SDUWLFXODU ZLWK UHVSHFW WR 1LWURSUHVV DQG ,VXSUHO JLYHQ DOO WKH
            SXEOLFLW\DURXQGWKRVHWZRGUXJV:H¶UHZRUNLQJZLWKRXUODUJHFXVWRPHUVDQG
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            7XUQLQJWRJXLGDQFH,QWHUPVRIJXLGDQFHZHDUHZRUNLQJWRTXDQWLI\WKHSRWHQWLDO
            VKRUWWHUP LPSDFW RI UHFHQW HYHQWV LQFOXGLQJWKH WHUPLQDWLRQ RI RXU UHODWLRQVKLS
            ZLWK3KLOLGRU6SHFLILFDOO\WKHGRZQVLGHVLQ4ZLOOEHSULPDULO\LQGHUPDWRORJ\
            DQGWRDOHVVHUH[WHQWQHXURORJ\5;2EYLRXVO\ZKDWKDVKDSSHQHGZLOOLPSDFW
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            WKHYDOXHRIWKHDYHUDJHVHOOLQJSULFHIRUDVFULSW1RZ,ZRXOGQRWEHVKRFNHGWR
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            7KHRQXVLVRQXVWRJHWVRPHVRUWRID3ODQ%LQSODFHDQGZHDUHTXLWHFRQILGHQW
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  DFNQRZOHGJHG³WKHSDVWIHZZHHNVKDYHEHHQDSDLQIXOOHDUQLQJH[SHULHQFHIRUPHSHUVRQDOO\´

  DQGWKDW³>W@KHRWKHUWKLQJV,¶PGHGLFDWHGWRGRLQJJRLQJIRUZDUGLVOLVWHQLQJPRUHWRRXUSDWLHQWV

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  WKDW GLVUXSWLRQ WR 9DOHDQW¶V FDVK IORZ FRXOG KHLJKWHQ WKH ULVN RI WKH FRPSDQ\ YLRODWLQJ OHQGHU

  OLPLWVRQLWVGHEWEXUGHQ´7KHQZKLOHWKHPDUNHWZDVRSHQRQ 1RYHPEHU   1RPXUD

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  3DWHO DQG 3ULWFKHWW DYDLODEOH IRU LQWHUYLHZV EDVHG RQ DOOHJDWLRQV ³WKDW D JURXS RI 9DOHDQW

  HPSOR\HHV KHOSHG ODXQFK 3KLOLGRU¶V EXVLQHVV LQ  DQG KDYH UHPDLQHG LQYROYHG LQ LWV GDLO\

  RSHUDWLRQV´5HSUHVHQWDWLYH&XPPLQJVDOVRDVNHGIRUFRQWDFWLQIRUPDWLRQIRU.RUQZDVVHUZKR

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  7KH DUWLFOH DOVR GLVFORVHG WKDW PHPEHUV RI WKH +RXVH 2YHUVLJKW &RPPLWWHH ZHUH XUJLQJ IRU

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  QRWHGWKDWWKH\ZHUHSUHVFULELQJIHZHU9DOHDQWSURGXFWVDQGH[SHFWHGWRZULWHIHZHUSUHVFULSWLRQV
  LQ WKH IXWXUH  2QH DGGHG ³'LG QRW NQRZ FOHDUO\ DERXW WKH 3KLOLGRU9DOHDQW UHODWLRQVKLSV

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  $GGLWLRQDO'LVFORVXUHVRIWKH)LQDQFLDO,PSDFWRIWKH)UDXG

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  9DOHDQW DOVR DQQRXQFHG WKDW LW ZRXOG UHGXFH WKH SULFH RI LWV EUDQGHG SUHVFULSWLRQEDVHG

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  UHJDUGLQJ 9DOHDQW¶V DJUHHPHQW ZLWK :DOJUHHQV DQG VWDWLQJ WKDW 9DOHDQW PDQDJHPHQW KDG ³QRW

  GRQH D JRRG MRE LQ DUWLFXODWLQJ WKH GHWDLOV´ DQG WKDW ³>Z@H VWLOO GRQ¶W XQGHUVWDQG KRZ WKLV

  SDUWQHUVKLSZLOOLPSURYHILOOHGSUHVFULSWLRQVLISD\HUUHVWULFWLRQVSHUVLVW´:KLOHWKHPDUNHWZDV

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  RIWKH&(2´ZKLFKLQFOXGHG&KDL2QQ.HOOHQDQG5RVLHOORWRVHUYHLQDQLQWHULPFDSDFLW\7KH

  ERDUGDOVRFUHDWHGDFRPPLWWHHWR³RYHUVHHDQGVXSSRUW´WKH2IILFHRIWKH&(2ZKLFKLQFOXGHG

  ,QJUDP0RUILWDQG6FKLOOHU

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  WKH &RPSDQ\¶V LQWHULP &(2 ZKLOH 3HDUVRQ UHPDLQHG RQ PHGLFDOOHDYHDQG WKDW ,QJUDP ZRXOG

  VHUYHDVWKHLQWHULP&KDLUPDQRIWKHERDUGRIGLUHFWRUV

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  RQEHKDOIRI9DOHDQWDQG5RVLHOORVLJQHGRQEHKDOIRI.*$7KHDJUHHPHQWLQFOXGHGDUHWURDFWLYH

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  IXHO D UROOXS VWUDWHJ\ EXLOW RQ HDUQLQJV DFFUHWLRQ IRU GHDOV LV VKRUWVLJKWHG DV RIWHQ WKH FXWV

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  KHVLWDQWWRSD\IRUSURGXFWV´DQG³>D@QDOWHUQDWLYHH[SODQDWLRQIRUDGUDPDWLFULVHLQUHFHLYDEOHVLV

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  WKH³SRWHQWLDOUHYLVLRQVFRQFHUQUHYHQXHWKDW9DOHDQWERRNHGZKHQLWVGUXJVZHUHVKLSSHGWRD

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  &RPPLWWHH KDV 0DGH 6XEVWDQWLDO 3URJUHVV LQ ,WV 5HYLHZ RI 3KLOLGRU DQG 5HODWHG $FFRXQWLQJ

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  SODQV  7KHQ ZLWKLQ KRXUV RI UHOHDVH RI WKH Bloomberg DUWLFOH UHJDUGLQJ 9DOHDQW¶V QRQSXEOLF

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  VDPHGD\UHSRUWHGWKDW³LWLVGHILQLWLYHWKDW9DOHDQWKDVQRWEHHQHQWLUHO\IRUWKFRPLQJWRLQYHVWRUV´


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  PDQDJHGFDUHFRQWUDFWVDQGLQFUHDVHGLQYHVWPHQWLQNH\IXQFWLRQVVXFKDVILQDQFLDOUHSRUWLQJ

  SXEOLFDQGJRYHUQPHQWUHODWLRQVDQGFRPSOLDQFHDVZHOODVWKHLPSDFWRIWKHZHDNILUVWTXDUWHURI

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  GXHWRPRUHFRPSHWLWLYHSUHVVXUHLQUHVSRQVHWRRXUVWRUHSULFHLQFUHDVHVIRURXUODWHOLIHF\FOH

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  DQWLFLSDWHG´DQGDVNHG³KRZFDQZHEHFRQILGHQWLQZKDW\RX¶UHVD\LQJWRGD\DERXWWKHEXVLQHVV

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  ZKLOH9DOXH$FWZDQWHGWREHPRUH FRQVHUYDWLYH´DQGWKDW³PRVWH[HFXWLYHVZHUHDOLJQHGZLWK

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  RSSRUWXQLW\´DQGGLVFXVVHGDQXPEHURIWKHFKDOOHQJHVKHLQKHULWHG3DSDDFNQRZOHGJHGWKDWZLWK

  3KLOLGRU³FOHDUO\ZHKDGVRPHTXHVWLRQPDUNV´DQGWKDWKHDQGWKH&RPSDQ\EHOLHYHG³WKHUHZHUH

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  LPSDFWWKH9,(VHFRQRPLFSHUIRUPDQFHDQG  WKHHQWLW\KDVDQREOLJDWLRQWRDEVRUEORVVHVRU
  UHFHLYH EHQHILWV IURP WKH 9,(  See $6&  WR  DQG 3Z& $FFRXQWLQJ
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            x        PHWKRGRORJ\ IRU FRQFOXGLQJ WKH UHSRUWLQJ HQWLW\ >LV QRW@ WKH SULPDU\
                      EHQHILFLDU\ RI WKH 9,( LQFOXGLQJ GLVFORVXUH RI NH\ IDFWRUV DVVXPSWLRQV
                      DQGVLJQLILFDQWMXGJPHQWVXVHGLQPDNLQJWKLVGHWHUPLQDWLRQ

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  DQG FRQVROLGDWHG 3KLOLGRU¶V UHVXOWV LW ZDV UHTXLUHG XQGHU $6&  WR GLVFORVH WKH VDPH DV LQ

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                      LPSDFW RI WKDW FKDQJH RQ WKH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV e.g. WKH
                      UHSRUWLQJ HQWLW\ GLG QRW SUHYLRXVO\ FRQVROLGDWH WKH 9,( DQG LV QRZ
                      FRQVROLGDWLQJLW 

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            x        VLJQLILFDQW MXGJPHQWV DQG DVVXPSWLRQV PDGH LQ GHWHUPLQLQJ ZKHWKHU LW
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                      LQYROYHPHQWZLWKD9,(


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  VHJPHQWRIWKHEXVLQHVVZLWKRXWDQ\PHQWLRQRI9,(VH[LVWLQJLQDQRWKHUVHJPHQWRIWKHEXVLQHVV
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            x        WKHQDWXUHRIDQGFKDQJHVLQWKHULVNVDVVRFLDWHGZLWKDUHSRUWLQJHQWLW\¶V
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            x        KRZ D UHSRUWLQJ HQWLW\¶V LQYROYHPHQW ZLWK D 9,( DIIHFWV LWV ILQDQFLDO
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            UHSRUWLQJHQWLWLHVQRWWRDVVXPHWKDWWKHVSHFLILFGLVFORVXUHUHTXLUHPHQWVUHSUHVHQW
            WKHPLQLPXPUHTXLUHPHQWV,QVWHDGUHSRUWLQJHQWLWLHVVKRXOGDSSO\MXGJPHQWLQ
            GHWHUPLQLQJZKDWLVQHFHVVDU\WRSURYLGHILQDQFLDOVWDWHPHQWXVHUVZLWKGHFLVLRQ
            XVHIXOLQIRUPDWLRQ

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  DGPLWWHGWKDWZDVQRWWUXH

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  HIIHFWLYH,&)5DQGGLVFORVXUHFRQWUROVSXUVXDQWWR62;62;UHTXLUHG9DOHDQWPDQDJHPHQWWR




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  SHUIRUPDQQXDODVVHVVPHQWVRI9DOHDQW¶V,&)5DQGGLVFORVXUHFRQWUROVDQGWRLVVXHDUHSRUWRQ

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  Framework ³&262 )UDPHZRUN´   'XULQJ WKH &ODVV 3HULRG 9DOHDQW¶V ILQDQFLDO VWDWHPHQWV

  UHSUHVHQWHGWKDWPDQDJHPHQW¶VHYDOXDWLRQVZHUHEDVHGRQWKH&262)UDPHZRUN

            ZH FRQGXFWHG DQ HYDOXDWLRQ RI WKH HIIHFWLYHQHVV RI RXU LQWHUQDO FRQWURO RYHU
            ILQDQFLDO UHSRUWLQJ EDVHG RQ WKH IUDPHZRUN GHVFULEHG LQ ,QWHUQDO
            &RQWURO²,QWHJUDWHG)UDPHZRUN  LVVXHGE\WKH&RPPLWWHHRI6SRQVRULQJ
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            FRQVFLRXVQHVVRILWVSHRSOH,WLVWKHIRXQGDWLRQIRUDOORWKHUFRPSRQHQWVRILQWHUQDO
            FRQWURO SURYLGLQJ GLVFLSOLQH DQG VWUXFWXUH  &RQWURO HQYLURQPHQW IDFWRUV LQFOXGH
            WKHLQWHJULW\HWKLFDOYDOXHVDQGFRPSHWHQFHRIWKHHQWLW\¶VSHRSOHPDQDJHPHQW¶V
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  HQYLURQPHQWLVLQHIIHFWLYHLQFOXGHEXWDUHQRWOLPLWHGWR³,GHQWLILFDWLRQRIIUDXGRIDQ\PDJQLWXGH


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  RQWKHSDUWRIVHQLRUPDQDJHPHQW´DQG³,QHIIHFWLYHRYHUVLJKWRIWKHFRPSDQ\¶VH[WHUQDOILQDQFLDO

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            ZKLFKILQDQFLDOUHSRUWLQJRFFXUV±LVWKHPRVWLPSRUWDQWIDFWRUFRQWULEXWLQJWRWKH
            LQWHJULW\RIWKHILQDQFLDOUHSRUWLQJSURFHVV1RWZLWKVWDQGLQJDQLPSUHVVLYHVHWRI
            ZULWWHQ UXOHV DQG SURFHGXUHV LI WKH WRQH VHW E\ PDQDJHPHQW LV OD[ IUDXGXOHQW
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            UHSRUWLQJVXFKWKDWWKHUHLVDUHDVRQDEOHSRVVLELOLW\WKDWDPDWHULDOPLVVWDWHPHQWRI
            WKH &RPSDQ\¶V DQQXDO RU LQWHULP ILQDQFLDO VWDWHPHQWV ZLOO QRW EH SUHYHQWHG RU
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         PDWHULDOZHDNQHVVHVH[LVWLQWKHFRPSDQ\¶VLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJ
         DQGWKDWDVDUHVXOWLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJDQGGLVFORVXUHFRQWUROV
         DQGSURFHGXUHVZHUHQRWHIIHFWLYHDVRI'HFHPEHUDQGGLVFORVXUHFRQWUROV
         DQG SURFHGXUHV ZHUH QRW HIIHFWLYH DV RI 0DUFK  DQG VXEVHTXHQW LQWHULP
         SHULRGV LQ  DQG WKDW LQWHUQDO FRQWURO RYHU ILQDQFLDO UHSRUWLQJ DQG GLVFORVXUH
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         >$@V SDUW RI WKLV DVVHVVPHQW RI LQWHUQDO FRQWURO RYHU ILQDQFLDO UHSRUWLQJ WKH
         FRPSDQ\ KDV GHWHUPLQHG WKDW WKH WRQH DW WKH WRS RI WKH RUJDQL]DWLRQ DQG WKH
         SHUIRUPDQFHEDVHGHQYLURQPHQWDWWKHFRPSDQ\ZKHUHFKDOOHQJLQJWDUJHWVZHUH
         VHWDQGDFKLHYLQJWKRVHWDUJHWVZDVDNH\SHUIRUPDQFHH[SHFWDWLRQPD\KDYHEHHQ
         FRQWULEXWLQJIDFWRUVUHVXOWLQJLQWKHFRPSDQ\¶VLPSURSHUUHYHQXHUHFRJQLWLRQDQG
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         7KH$5&ZLOOFRQGXFWTXDUWHUO\SULYDWHVHVVLRQVZLWKWKH&RPSDQ\¶VEXVLQHVVXQLW
         OHDGHUVDQGWKHLU9LFH3UHVLGHQWVLQWKH)LQDQFHDQG$FFRXQWLQJDUHDVWRHQVXUHD
         FDQGLGDQGWLPHO\GLDORJXHUHJDUGLQJDFFRXQWLQJDQGILQDQFLDOUHSRUWLQJPDWWHUV
         LQFOXGLQJ EXW QRW OLPLWHG WR VLJQLILFDQW XQXVXDO WUDQVDFWLRQV DQG WKH EXVLQHVV
         SXUSRVHVWKHUHRIVLJQLILFDQWFKDQJHVLQEXVLQHVVWHUPVDQGRUFRQGLWLRQVWRQHDW
         WKH WRS DQG WKH OHYHO RI VHQLRU PDQDJHPHQW SUHVVXUH WR PHHW NH\ SHUIRUPDQFH
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         2QHRUPRUHLQGHSHQGHQW%RDUGPHPEHUVZLOOSHULRGLFDOO\DWWHQGWKH&RPSDQ\¶V
         SODQQLQJ DQG IRUHFDVWLQJ WHOHSKRQH FRQIHUHQFHV DQG WKH &RPSDQ\¶V SHULRGLF
         EXVLQHVV UHYLHZV WR PRQLWRU DQG LI QHFHVVDU\ DGGUHVV DQ\ WRQH DW WKH WRS
         PDQDJHPHQWRYHUULGHFRUSRUDWHJRYHUQDQFHLQWHUQDOFRQWURODQGDFFRXQWLQJDQG
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         '     'HIHQGDQWV&RQFHDOHGWKH,PSDFWRI3KLOLGRUDQG3ULFH,QFUHDVHVRQ5HYHQXHV

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         UHJLVWUDQWUHDVRQDEO\H[SHFWVZLOOKDYHDPDWHULDOIDYRUDEOHRUXQIDYRUDEOHLPSDFW
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         LQIRUPDWLRQQRWWREHQHFHVVDULO\LQGLFDWLYHRIIXWXUHRSHUDWLQJUHVXOWV

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         2XU86GHUPDWRORJ\EXVLQHVVKDGDQRXWVWDQGLQJTXDUWHU'HUPDWRORJ\UHYHQXH
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            ,QWHUPVRISULFHYROXPHDFWXDOO\YROXPHZDVJUHDWHUWKDQSULFHLQWHUPVRIRXU
            JURZWK2XWVLGHWKH8QLWHG6WDWHVLW¶VDOOYROXPH«$QGLQWKH86LW¶VVKLIWLQJPRUH
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  UHYHQXHZHUHVROGWKURXJK3KLOLGRU$VUHIOHFWHGDERYHGHPRQVWUDWLQJWKHLPSRUWDQFHRI3KLOLGRU

  WR -XEOLD¶V UHYHQXH JURZWK 9DOHDQW¶VUHSRUWHG UHYHQXH IRU -XEOLD GHFOLQHG  LQ 4 ZKHQ

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            x        &KDQJLQJ WUHQGV LQ VKLSPHQWV LQWR DQG VDOHV IURP D VDOHV FKDQQHO RU
                      VHSDUDWHFODVVRIFXVWRPHUWKDWFRXOGEHH[SHFWHGWRKDYHDVLJQLILFDQWHIIHFW
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  LQFOXGHG ZDLYLQJ FRSD\V WKURXJK SDWLHQW DVVLVWDQW SURJUDPV RU PDNLQJ QR UHDVRQDEOH HIIRUW WR

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  PLOOLRQD30% declineIURPWKHPLOOLRQLQ4'HUPDWRORJ\UHYHQXHV6LPLODUO\

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  9DOHDQW¶VIXWXUHILQDQFLDOUHVXOWVLVSUHFLVHO\WKHW\SHUHTXLUHGWREHGLVFORVHGE\9DOHDQWXQGHU

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            0' $ PXVW VSHFLILFDOO\ IRFXV RQ NQRZQ PDWHULDO HYHQWV DQG XQFHUWDLQWLHV WKDW
            ZRXOGFDXVHUHSRUWHGILQDQFLDOLQIRUPDWLRQQRWWREHQHFHVVDULO\LQGLFDWLYHRIIXWXUH
            RSHUDWLQJSHUIRUPDQFHRURIIXWXUHILQDQFLDOFRQGLWLRQ

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            2QH RI WKH SULQFLSDO REMHFWLYHV RI 0' $ LV WR SURYLGH LQIRUPDWLRQ DERXW WKH
            TXDOLW\ DQG SRWHQWLDO YDULDELOLW\ RI D FRPSDQ\¶V HDUQLQJV DQG FDVK IORZ VR WKDW
            UHDGHUV FDQDVFHUWDLQWKH OLNHOLKRRG WKDW SDVW SHUIRUPDQFH LV LQGLFDWLYH RI IXWXUH
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  RIIXWXUHUHVXOWVGXHWRWKHVLJQLILFDQWILQDQFLDOLPSDFW9DOHDQWZRXOGVXIIHUXSRQ3KLOLGRUFORVLQJ

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  UHYHQXHDQGSURILWDELOLW\JURZWKWUHQGVWKDWZDVUHTXLUHGWREHGLVFORVHGLQHDFK4DQG.

  WKURXJKRXWWKH&ODVV3HULRG)RUH[DPSOHDWWKH$SULO6HQDWH+HDULQJ3HDUVRQWHVWLILHG

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  :KHQDVNHGLIKHFRXOGQDPHDVLQJOHGUXJWKDW9DOHDQWDFTXLUHGZKHUHLWGLGQRWUDLVHWKHSULFH

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  WRUHSRUWGHWDLOVLQ0' $GLVFORVXUHVGHVFULELQJFKDQJHVLQYROXPHRUSULFHWKDWLPSDFWUHSRUWHG

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  Management’s Discussion and Analysis of Financial Condition and Results of OperationsVWDWHV

            7KH0' $UHTXLUHPHQWVDUHLQWHQGHGWRVDWLVI\WKUHHSULQFLSDOREMHFWLYHV

                 x WRSURYLGHDQDUUDWLYHH[SODQDWLRQRIDFRPSDQ\¶VILQDQFLDOVWDWHPHQWVWKDW
                    HQDEOHVLQYHVWRUVWRVHHWKHFRPSDQ\WKURXJKWKHH\HVRIPDQDJHPHQW

                 x WRHQKDQFHWKHRYHUDOOILQDQFLDOGLVFORVXUHDQGSURYLGHWKHFRQWH[WZLWKLQ
                    ZKLFKILQDQFLDOLQIRUPDWLRQVKRXOGEHDQDO\]HGDQG

                 x WRSURYLGHLQIRUPDWLRQDERXWWKHTXDOLW\RIDQGSRWHQWLDOYDULDELOLW\RID
                    FRPSDQ\¶V HDUQLQJV DQG FDVK IORZ VR WKDW LQYHVWRUV FDQ DVFHUWDLQ WKH
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            UHYHQXHVUHVXOWLQJIURPDGHFOLQHLQWKHYROXPHRISURGXFWVVROGZKHQFRPSDUHG
            WRDSULRUSHULRG0' $VKRXOGQRWRQO\LGHQWLI\WKHGHFOLQHLQVDOHVYROXPHEXW
            DOVRVKRXOGDQDO\]HWKHUHDVRQVXQGHUO\LQJWKHGHFOLQHLQVDOHVZKHQWKHUHDVRQV
            DUHDOVRPDWHULDODQGGHWHUPLQDEOH7KHDQDO\VLVVKRXOGUHYHDOXQGHUO\LQJPDWHULDO
            FDXVHVRIWKHPDWWHUVGHVFULEHGLQFOXGLQJIRUH[DPSOHLIDSSOLFDEOHGLIILFXOWLHVLQ
            WKHPDQXIDFWXULQJSURFHVVDGHFOLQHLQWKHTXDOLW\RIDSURGXFWORVVLQFRPSHWLWLYH
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            &KDQJHVLQUHYHQXHVKRXOGQRWEHHYDOXDWHGVROHO\LQWHUPVRIYROXPHDQGSULFH
            FKDQJHVEXWVKRXOGDOVRLQFOXGHDQDQDO\VLVRIWKHUHDVRQVDQGIDFWRUVFRQWULEXWLQJ
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  FDXVH UHSRUWHG ILQDQFLDO LQIRUPDWLRQ WR QRW QHFHVVDULO\ EH LQGLFDWLYH RI IXWXUH RSHUDWLQJ

  SHUIRUPDQFH  'XH WR WKH XQVXVWDLQDEOH QDWXUH RI 9DOHDQW¶V GHFHSWLYH SUDFWLFHV 9DOHDQW ZDV

  UHTXLUHGWRGLVFORVHWKHSUDFWLFHVDQGDVVRFLDWHGULVNVDQGWKDWLWVILQDQFLDOSHUIRUPDQFHZDVQRW

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  9DOHDQW¶VVDOHVJURZWKZHUHQRWSURYLGHGWKURXJKRXWWKH&ODVV3HULRG7KH2FWREHU

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  ZKLOHQHWUHDOL]HGSULFHKDGLQFUHDVHGIRU9DOHDQW¶V1HXURORJ\EXVLQHVV7KLVVKRZHGWKDW

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  9DOHDQWGRXEOHGLWVUHYHQXHVIURP:HOOEXWULQ;/IURPWRGHVSLWHGHFOLQLQJYROXPH

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            2I WKH  ELOOLRQ LQFUHDVH DSSUR[LPDWHO\ RQHTXDUWHU RI VXFK DPRXQW ZDV
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  LPSDFWHG LWV UHYHQXH JURZWK  7KLVODFN RI GLVFORVXUH YLRODWHG0' $UHTXLUHPHQWVEHFDXVHLW

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            SUREDEOHWKDWWKHMXGJPHQWRIDUHDVRQDEOHSHUVRQUHO\LQJXSRQWKHUHSRUWZRXOG
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  VROHO\RQDTXDQWLWDWLYHEDVLV³KDVQREDVLVLQWKHDFFRXQWLQJOLWHUDWXUHRUWKHODZ´,WQRWHVWKDW

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  PLVVWDWHPHQWV DQG GLVFORVXUH YLRODWLRQV ZHUH TXDQWLWDWLYHO\ DQGRU TXDOLWDWLYHO\ PDWHULDO WR

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  ILQDQFLDO VWDWHPHQWV VKRXOG QR ORQJHU EH UHOLHG XSRQ  9DOHDQW¶V ILQDQFLDO UHVWDWHPHQW LV DQ

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  PDWHULDOO\IDOVHDQGPLVOHDGLQJDVRQO\PDWHULDOO\PLVVWDWHGILQDQFLDOVWDWHPHQWVDQGPHDVXUHV

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  WKHPVHOYHVRXWWRLQYHVWRUVDVWKHSHUVRQVPRVWNQRZOHGJHDEOHDERXW9DOHDQW¶VEXVLQHVVRSHUDWLQJ

  PRGHODQGVWUDWHJLHV LQFOXGLQJSULFLQJWKH$)LQLWLDWLYHDQGVSHFLDOW\SKDUPDFLHV DFTXLVLWLRQV

  RUJDQLFJURZWKLQWHUQDOFRQWUROVHWKLFDOVWDQGDUGVFRPSOLDQFHSURJUDPVDQGWKHYROXPHSULFLQJ

  DQG SHUIRUPDQFH RI 9DOHDQW¶V SURGXFWV  7KH ,QGLYLGXDO 'HIHQGDQWV YROXQWDULO\ DQG UHSHDWHGO\

  FKRVH WR VSHDN RQ WKHVH LVVXHV WKURXJKRXW WKH &ODVV 3HULRG DQG LQ GRLQJ VR HLWKHU NQHZ RU



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     0HGLDRXWOHWVUHSRUWHG3HDUVRQIDOVHO\WROGLQYHVWRUVWKDW$OOHUJDQ¶VH[HFXWLYHVZDVWHGPRQH\
  RQDJROIFRXUVHDWLWVKHDGTXDUWHUVZKLFKZDVQRWWUXHDQGVHQWDWKUHDWHQLQJOHWWHUWR$OOHUJDQ¶V
  &(2 DVNLQJ KLP WR FRQVLGHU KRZ KH ZDQWHG WR EH SHUFHLYHG E\ ³LQYHVWRUV´ DQG HYHQ ³KLV
  LPPHGLDWHIDPLO\´


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  UHFNOHVVO\GLVUHJDUGHGWKDWWKHLUVWDWHPHQWVZHUHFRQWUDU\WRWKHXQGHUO\LQJIDFWVDOOHJHGKHUHLQ

  ZKLOHPDNLQJWKHVSHFLILFDQGGHWDLOHGVWDWHPHQWVDOOHJHGKHUHLQ)RUH[DPSOHGXULQJD0D\

  5%&,QYHVWRU0HHWLQJ3HDUVRQGLVFXVVHG9DOHDQW¶VVWRFNSULFHVWDWLQJ³>Z@HH[SHFWRXU

  VWRFNWRJRXSD\HDUWKDW¶VRXUH[SHFWDWLRQWKDW¶VZKDW,JHWSDLGWRGRDQGRXUORQJ

  WHUP LQYHVWRUV DSSUHFLDWH LW´  +H DOVR VDLG ³, EHOLHYH WKDW RXU FRPSDQ\ LV IXQGDPHQWDOO\

  XQGHUYDOXHG´DQGWKDW³ODVW\HDUZKHQZHZHUHWUDGLQJDWLWZDVVRREYLRXVWRPHWKDWZHZHUH

  VRXQGHUYDOXHGZK\ZRXOGQ¶WDOO\RXJX\VUXVKLQ"1RWMXVW\RXJX\VEXW,PHDQLQYHVWRUVFOHDUO\

  ZHZHUHQ¶WZRUWK´

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  IUDXGXOHQW VFKHPH DQG ZURQJIXO FRXUVH RI EXVLQHVV DOOHJHG KHUHLQ E\ YLUWXH RI WKHLU UHFHLSW RI

  LQIRUPDWLRQUHIOHFWLQJWKHWUXHIDFWVUHJDUGLQJ9DOHDQWLWVRSHUDWLRQVDQGLWVEXVLQHVVSUDFWLFHV

  DQGWKHLUFRQWURORYHUDQGRUUHFHLSWRI9DOHDQW¶VPDWHULDOO\PLVOHDGLQJPLVVWDWHPHQWVDQGRUWKHLU

  DVVRFLDWLRQV ZLWK WKH &RPSDQ\ WKDW PDGH WKHP SULY\ WR FRQILGHQWLDO SURSULHWDU\ LQIRUPDWLRQ

  FRQFHUQLQJ9DOHDQW¶VXQVXVWDLQDEOHEXVLQHVVPRGHODQGLWVUHOLDQFHRQGHFHSWLYHSUDFWLFHV7KH

  RQJRLQJIUDXGDVGHVFULEHGKHUHLQZDVSHUYDVLYHPXOWLIDFHWHGDQGFDUHIXOO\GHVLJQHGDQGFRXOG

  QRWKDYHEHHQSHUSHWUDWHGZLWKRXWWKHNQRZOHGJHDQGRUUHFNOHVVQHVVDQGFRPSOLFLW\RISHUVRQQHO

  DWWKHKLJKHVWOHYHORIWKH&RPSDQ\LQFOXGLQJWKH,QGLYLGXDO'HIHQGDQWV

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  RIILFHUV DQGRU GLUHFWRUV RI 9DOHDQW ZHUH SULY\ WR FRQILGHQWLDO DQG SURSULHWDU\ QRQSXEOLF

  LQIRUPDWLRQFRQFHUQLQJ9DOHDQW¶VRSHUDWLRQVILQDQFHVILQDQFLDOFRQGLWLRQDQGSUHVHQWDQGIXWXUH

  EXVLQHVV SURVSHFWVLQFOXGLQJ LQ FRQQHFWLRQ ZLWK GXH GLOLJHQFH XQGHUWDNHQ DV SDUW RI 9DOHDQW¶V

  DFTXLVLWLRQVYLDLQWHUQDOGRFXPHQWVDQGFRQYHUVDWLRQVZLWKRWKHURIILFHUVDQGHPSOR\HHVDQGRU

  DWWHQGDQFHDWPDQDJHPHQWDQGRUERDUGRIGLUHFWRUVPHHWLQJVDQGFRPPLWWHHVWKHUHRI%HFDXVH



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  RIWKHLUSRVVHVVLRQRIVXFKLQIRUPDWLRQWKH,QGLYLGXDO'HIHQGDQWVKDGWKHDELOLW\DQGRSSRUWXQLW\

  WR SUHYHQW WKH LVVXDQFH RI WKH &RPSDQ\¶V UHSRUWV DQG UHOHDVHV DOOHJHG KHUHLQ WR EH IDOVH RU

  PLVOHDGLQJDQGRUWRFDXVHWKHPWREHFRUUHFWHG7KH,QGLYLGXDO'HIHQGDQWV¶PDWHULDOO\IDOVHDQG

  PLVOHDGLQJ VWDWHPHQWV GXULQJ WKH &ODVV 3HULRG YLRODWHG WKHLU GXW\ WR SURPSWO\ GLVVHPLQDWH

  DFFXUDWHIXOODQGWUXWKIXOLQIRUPDWLRQZLWKUHVSHFWWR9DOHDQW¶V RSHUDWLRQV EXVLQHVV ILQDQFLDO

  VWDWHPHQWVDQGILQDQFLDOPHWULFVVRWKDWWKHPDUNHWSULFHRI9DOHDQWVHFXULWLHVZRXOGEHEDVHG

  XSRQWUXWKIXODQGDFFXUDWHLQIRUPDWLRQ

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  REOLJDWLRQWRREWDLQWKHUHTXLVLWHNQRZOHGJHWRHQVXUHWKH&RPSDQ\¶VGLVFORVXUHVWRWKHPDUNHW

  ZHUH WUXH E\ H[HFXWLQJ 62; &HUWLILFDWLRQV  3HDUVRQ 6FKLOOHU DQG 5RVLHOOR SDUWLFLSDWHG LQ WKH

  GUDIWLQJ SUHSDUDWLRQ DQGRU DSSURYDO RI WKH YDULRXV 6(& ILOLQJV UHOHDVHV DQG RWKHU SXEOLF

  VWDWHPHQWVFRPSODLQHGRIKHUHLQDQGEHFDXVHRIWKHLUPDQDJHULDOSRVLWLRQVKDGFRQWURORYHUWKH

  LQIRUPDWLRQWKDWZDVGLVFORVHGDQGWKHWUXHIDFWVUHODWLQJWRWKRVHGLVFORVXUHV

  7KH,QGLYLGXDO'HIHQGDQWV¶0RQLWRULQJRIDQG'HFLVLRQWR&ORVH3KLOLGRU

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  3KLOLGRU DQG LWV QHWZRUN RI SKDUPDFLHV IURP 3KLOLGRU¶V LQFHSWLRQ XQWLO WKH ([FKDQJH $FW

  'HIHQGDQWVGHFLGHGWRVKXW3KLOLGRUGRZQLQ2FWREHUDQGZHUHDZDUHWKDWWKHUHODWLRQVKLS

  ZDVEHLQJFRQFHDOHG7KH,QGLYLGXDO'HIHQGDQWVZHUHLQWLPDWHO\LQYROYHGLQWKHDFTXLVLWLRQRI

  0HGLFLVZKLFKHPSOR\HGDQ$)VWUDWHJ\DQGOHGWRWKHIRUPDWLRQRI3KLOLGRURQ-DQXDU\

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  .RUQZDVVHUDQG7DQQHUZHUHPDLQFRQWDFWVIRU3KLOLGRU7DQQHUUHSRUWHGWR.RUQZDVVHUZKR

  UHSRUWHGWR3HDUVRQ.RUQZDVVHU¶VSRVLWLRQDQGFRPSHQVDWLRQZLWKLQWKH&RPSDQ\PDNHFOHDU




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  WKDW3KLOLGRUZDVRIFULWLFDOLPSRUWDQFHWR9DOHDQW.RUQZDVVHUUHFHLYHGRYHUPLOOLRQLQWRWDO

  FRPSHQVDWLRQ FDVKDQGVWRFNDZDUGV LQKLVILUVW\HDURIHPSOR\PHQW

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  DQG 3HDUVRQ DQG RWKHU H[HFXWLYH RIILFHUV RIWHQ WRXWHG 9DOHDQW¶V QHZ ³DOWHUQDWLYH IXOILOOPHQW

  SURJUDP´

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  9DOHDQWHPSOR\HHVZHUHDVVLVWLQJLQWKHIRUPDWLRQRI3KLOLGRUZRUNLQJDW3KLOLGRUDQGHYHQWXDOO\

  WUDQVIHUUHGHPSOR\PHQWWR3KLOLGRUZKHUHWKHVHHPSOR\HHV ERWKZKLOHVWLOOHPSOR\HGDW9DOHDQW

  DQG DIWHU WUDQVIHUULQJ WR 3KLOLGRU  ZRXOG RYHUVHH WKH GHFHSWLYH EXVLQHVV SUDFWLFHV GHVLJQHG WR

  DUWLILFLDOO\ERRVWWKHVDOHVDQGVDOHSULFHVRI9DOHDQWGUXJV

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  9DOHDQW¶V%RDUGRI'LUHFWRUVHQJDJHGLQGXHGLOLJHQFHZKLFKLQFOXGHGPXOWLSOHVLWHYLVLWV,QIDFW

  WKHPDMRULW\RI9DOHDQW¶V%RDUGRI'LUHFWRUVLQFOXGLQJWKHHQWLUH$XGLWDQG5LVN&RPPLWWHHZHQW

  WRWRXUWKH3KLOLGRUIDFLOLW\LQ3HQQV\OYDQLDLQSHUVRQDQGSULRUWRWKHWUDQVDFWLRQ,QDGGLWLRQ

  9DOHDQW¶VHQWLUH%RDUGRI'LUHFWRUVLQFOXGLQJWKH)LQDQFHDQG7UDQVDFWLRQV&RPPLWWHHDQGWKH

  $XGLWDQG5LVN&RPPLWWHHUHYLHZHGDQGDSSURYHGWKH3KLOLGRUWUDQVDFWLRQDQGWKHDFFRXQWLQJ

  WUHDWPHQWWKDWYLRODWHG*$$3

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  FUHDWHG WR RUFKHVWUDWH 'HIHQGDQWV¶ VFKHPH DQG ZURQJIXO FRXUVH RI EXVLQHVV  9DOHDQW KDG D

  FRQWUDFWXDOULJKWWRLQVSHFW3KLOLGRU¶VERRNVUHFRUGVDQGIDFLOLWLHVDQGWRDXGLWLWVSUDFWLFHVIRU

  FRPSOLDQFHDQGHLWKHUGLGVRDQGNQRZLQJO\DSSURYHGRIWKHGHFHSWLYHSUDFWLFHVRUZDVVHYHUHO\

  UHFNOHVVLQIDLOLQJWRGRVR$V3KLOLGRUHPSOR\HHVKDYHFRQILUPHGWKHGHFHSWLYHSUDFWLFHVZHUH

  ZLGHO\ NQRZQ GLVFXVVHG DQG HYHQ GRFXPHQWHG LQ 3KLOLGRU¶V WUDLQLQJ PDQXDOV  3KLOLGRU ZDV



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  LQFOXGHGLQ9DOHDQW¶VLQWHUQDOFRQWUROWHVWLQJDQGLQWHUQDODXGLWSURJUDPIRU9DOHDQWDQG

  3KLOLGRUIRUPHGDMRLQWVWHHULQJFRPPLWWHHZKLFKKHOGUHJXODUPHHWLQJVWRGLVFXVVDPRQJRWKHU

  WKLQJV3KLOLGRU¶V³6WUDWHJLF3ODQ´FRQWUDFWXDOREOLJDWLRQVZLWKWKLUGSDUW\SD\RUVDQG³LQWHUQDO

  SROLFLHVPDQXDOVDQGSURFHVVHV´

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  SUDFWLFHV RQ 0DUFK   .HOOHQ VHQW DQ HPDLO WR 3HDUVRQ XSGDWLQJ KLP RQ WKHLU HDUOLHU

  FRQYHUVDWLRQVWDWLQJ³0HWZLWK'HE>-RUQ@«6XJJHVWHGZHJHWDOOWKH'0V>'LVWULFW0DQDJHUV@LQ

  IRUDGD\«goal to go over the practices in each district where Philidor is working wellDQGLGHQWLI\

  QH[W>DSSUR[LPDWHO\@SUDFWLFHVZKHUHZHVKRXOGSXVKKDUGHUWREXLOGLWRXWWKDW>VLF@ZLOOKHOS

  IXHOJURZWK´ (OOLSVHVLQRULJLQDOHPSKDVLVDGGHG 3HDUVRQUHVSRQGHG³*RRGVWXII´3KLOLGRU

  PDQDJHUVZHUHLQYLWHGWRPHHWZLWK9DOHDQW¶VERDUGLQ-XO\ZKLFKPHHWLQJ9DOXH$FWDOVR

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  UHODWLRQVKLS ZLWK 3KLOLGRU EXW WKH\ DOVR PRQLWRUHG WKH QHWZRUN RI SKDUPDFLHV WKURXJK ZKLFK

  3KLOLGRURSHUDWHG)RUH[DPSOH9DOHDQWPDGHDSSUR[LPDWHO\VKLSPHQWVRISURGXFWWR5 2

  EHWZHHQ-DQXDU\DQG$XJXVWDQGUHFHLYHGPLOOLRQVRIGROODUVLQSD\PHQWGLUHFWO\IURP5 2

  LQ UHWXUQ  2Q 6HSWHPEHU   DIWHU 5 2 EHJDQ ZLWKKROGLQJ LQYRLFHV XSRQ VXVSLFLRQ RI

  IUDXGXOHQWFRQGXFW9DOHDQW¶VJHQHUDOFRXQVHOVHQWDOHWWHUWR5 2¶VRZQHUVHHNLQJ³LPPHGLDWH

  SD\PHQW´,QWKH2FWREHUFRQIHUHQFHFDOO3HDUVRQWROGLQYHVWRUVWKDW5 2ZDVDSDUW

  RIWKH&RPSDQ\¶VVSHFLDOW\SKDUPDF\QHWZRUNDQGGLVFXVVHGWKHODZVXLW

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  FRQIHUHQFHDWWHQGHGE\5RVLHOORDQG.HOOHQGHIHQGHG3KLOLGRUDQGWKHGHFLVLRQWRFRQFHDOWKH

  UHODWLRQVKLS DV ³D FRPSHWLWLYH DGYDQWDJH WKDW ZH GLG QRW ZDQW WR GLVFORVH WR RXU FRPSHWLWRUV´



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  3HDUVRQ UHSHDWHG WKLV DW WKH 2FWREHU WK FRQIHUHQFH DWWHQGHG E\ 6FKLOOHU 5RVLHOOR ,QJUDP

  3URYHQFLR0HODV.\ULD]L6WHYHQVRQ&DUURDQG.HOOHQDQGDGGHGWKDW3KLOLGRUZDVSXUSRUWHGO\

  ³LQGHSHQGHQW´DQGVDOHVWKURXJKLWZHUH³OHVVSURILWDEOH´-XVWGD\VODWHURQ2FWREHU

  9DOHDQWDQQRXQFHG3KLOLGRUZRXOGFHDVHRSHUDWLRQVDV3KLOLGRU¶VLPSURSHUSUDFWLFHVZHUHSXEOLFO\

  UHYHDOHG7KH([FKDQJH$FW'HIHQGDQWV¶GHFLVLRQWRVKXW3KLOLGRUGRZQVRTXLFNO\UDWKHUWKDQ

  QHHGLQJWRLQYHVWLJDWHDQGFRQILUPWKHGHYDVWDWLQJDOOHJDWLRQVVKRZVWKH\ZHUHIXOO\DZDUHRI

  3KLOLGRU¶VGHFHSWLYHSUDFWLFHV

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  WKH&ODVV3HULRGEXWUHIXVHGWRSURYLGHGHWDLOVRIWKHSDUWLFXODUSUDFWLFHVZKHQDVNHG,QDGGLWLRQ

  ZKHQ9DOHDQW¶VUHODWLRQVKLSZLWK3KLOLGRUZDVXQFRYHUHG3HDUVRQDGPLWWHGWKDWLWZDVDFRQVFLRXV

  GHFLVLRQWRFRQFHDO3KLOLGRUIRUSXUSRUWHG³FRPSHWLWLYH´UHDVRQVDQG,QJUDPPDGHFOHDUWKDWWKH

  ERDUG³KDVIXOO\VXSSRUWHGWKHFRPSDQ\¶VVSHFLDOW\SKDUPDF\VWUDWHJ\´

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  UHYHQXHWKURXJK3KLOLGRU3HDUVRQ,QJUDPDQG&DUURDOOSXEOLFO\GHIHQGHG9DOHDQW¶VDFFRXQWLQJ

  2Q2FWREHU,QJUDPQRWHGWKDWWKHHQWLUHERDUGDQG$XGLW&RPPLWWHHKDGUHYLHZHGDQG

  FRQILUPHGWKHDSSURSULDWHQHVVRIWKHDFFRXQWLQJUHODWLQJWR3KLOLGRU9DOHDQW¶V44ILOHG

  WKDW VDPH GD\ VLJQHG E\ 3HDUVRQ DQG 5RVLHOOR UHSHDWHG WKLV IDFW  ,Q D FRQIHUHQFH FDOO ZLWK

  LQYHVWRUV ,QJUDP IRUFHIXOO\ GHIHQGHG 3HDUVRQ VD\LQJ ³, DOVR ZDQW WR UHLWHUDWH WKH %RDUG¶V

  FRPSOHWHDQGWRWDOIDLWKLQ0LNH3HDUVRQ´EHFDXVH³>K@HRSHUDWHVZLWKWKHKLJKHVWGHJUHHRIHWKLFV

  DQGKHKDVWKH%RDUG¶VXQDQLPRXVVXSSRUW´+RZHYHUDVWKH6(&EHJDQWRLQYHVWLJDWH&DUURDQG

  6FKLOOHUZHUHDVNHGWROHDYHIRUHQJDJLQJLQ³LPSURSHUFRQGXFW´UHODWHGWRWKHDFFRXQWLQJ9DOHDQW

  DGPLWWHG LW KDG LPSURSHUO\ LQIODWHG UHYHQXHV WKURXJK 3KLOLGRU DQG ZRXOG QHHG WR UHVWDWH LWV




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  SUHYLRXVO\LVVXHGILQDQFLDOVWDWHPHQWVEHFDXVHLWIRUH[DPSOHGRXEOHERRNHGUHYHQXHVZKLFKLV

  DQREYLRXVDQGLQGHIHQVLEOHYLRODWLRQRI*$$3

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  E\3KLOLGRUWRFRYHUXSLWVZURQJGRLQJIXUWKHUVXSSRUWDQLQIHUHQFHRIVFLHQWHU6SHFLILFDOO\DV

  UHSRUWHG E\ Reuters VWDUWLQJ LQ 6HSWHPEHU  ³3KLOLGRU EHJDQ UHTXLULQJ HPSOR\HHV WR VLJQ

  FRQILGHQWLDOLW\DJUHHPHQWVHPSRZHULQJWKHSKDUPDF\WRVXHZRUNHUVZKRGLYXOJHGLQIRUPDWLRQ

  DERXWLWVDFWLYLWLHV´7KHIDFWWKDW3KLOLGRUFRPSHOOHGLWVHPSOR\HHVWRVLJQVXFKDJUHHPHQWVWZR

  \HDUV DIWHU LW EHJDQ RSHUDWLRQV DQG MXVW DIWHU WKH 5 2 GLVSXWH DQG JRYHUQPHQW LQTXLULHV

  GHPRQVWUDWHV VXFK HIIRUWV ZHUH LQWHQGHG WR FRQFHDO ZURQJGRLQJ UDWKHU WKDQ SURWHFW SXUSRUWHG

  EXVLQHVVVHFUHWV

  9DOHDQW¶V5HIXVDOWR3XUVXH5HPHGLHV$JDLQVW:URQJGRHUV

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  VXSSRUWV DQLQIHUHQFHWKDW WKH GHFHSWLYH EXVLQHVV SUDFWLFHVDOOHJHG KHUHLQ ZHUH IXOO\ DSSURYHG

  9DOHDQWWKHUHIRUHFRXOGQRWSXUVXHVXFKUHPHGLHVIRUWKHYHU\ZURQJGRLQJLWFRQGRQHGDQGWKXV

  ZDVOLPLWHGWRWHUPLQDWLQJWKHHPSOR\PHQWRIWKHZURQJGRHUVDQGVKXWWLQJGRZQ3KLOLGRU

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  RI WKH UHOHYDQW SHULRG DQG DQ H[HFXWLYH LV IRXQG WR KDYH SDUWLFLSDWHG LQ IUDXGXOHQW RU LOOHJDO

  FRQGXFW  +RZHYHU DV ,QJUDP QRWHG WKH ERDUGDSSURYHGWKHDFFRXQWLQJ IRU 3KLOLGRU DQG WKXV

  QRWZLWKVWDQGLQJ WKLV FODZEDFN ULJKW 9DOHDQW¶V ERDUG KDV WDNHQ QR SXEOLF DFWLRQ WR UHFRYHU

  SD\PHQWVWR3HDUVRQ6FKLOOHURUWKHRWKHUH[HFXWLYHV

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  &RPSDQ\UHWURDFWLYHO\PRGLILHGKLVHPSOR\PHQWFRQWUDFWWRSURYLGHKLPZLWKDPLOOLRQVDODU\

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  LQGHPQLILFDWLRQIURPWKHHTXLW\KROGHUVRI3KLOLGRUIRUEUHDFKHVRIIXQGDPHQWDOUHSUHVHQWDWLRQV

  DQGFRYHQDQWVLQFOXGLQJIRUDEUHDFKRI3KLOLGRU¶VFRYHQDQWWRFRPSO\ZLWKDSSOLFDEOHODZV7KH

  HTXLW\KROGHUVLQGHPQLILFDWLRQREOLJDWLRQVXUYLYHGLQGHILQLWHO\DQGLVNHSWLQWKHDPRXQWRIWKH

  XSIURQWIHHDQGDOOWKHPLOHVWRQHVDFKLHYHG´7KH9DOHDQWSXUFKDVHRSWLRQDJUHHPHQWZLWK3KLOLGRU

  FRQILUPV WKH LQGHPQLILFDWLRQ ULJKWV SURYLGLQJWKDW3KLOLGRU ³VKDOO LQGHPQLI\ GHIHQG DQG KROG

  KDUPOHVV´9DOHDQW³IURPDQGDJDLQVWDQ\DQGDOO/RVVHV´WR9DOHDQW³DVDUHVXOWRIWKHRSHUDWLRQ

  RI WKH 3KDUPDF\ RU WKH SHUIRUPDQFH E\ WKH 3KDUPDF\ RI LWV GXWLHV´%XWLWSURYLGHVWKDWVXFK

  OLDELOLW\³VKDOOEHUHGXFHGE\WKHH[WHQW«WKDWVXFK/RVVHVDUHFDXVHGE\RUDULVHRXWRI D WKH

  QHJOLJHQFH RU LQWHQWLRQDO PLVFRQGXFW RI 0DQXIDFWXUHU´  5DWKHU WKDQ SXUVXH LWV FODLPV DJDLQVW

  3KLOLGRU9DOHDQWHQWHUHGLQWRDPXWXDOUHOHDVHZLWK3KLOLGRUHIIHFWLYHDVRI1RYHPEHU

  DQGWKH([FKDQJH$FW'HIHQGDQWVKDYHQRWSXEOLFO\DQQRXQFHGDQ\VWHSVWRUHFRYHUIURP3KLOLGRU

  DQ\GDPDJHVWKH&RPSDQ\VXVWDLQHGDVDUHVXOWRI3KLOLGRU¶VDOOHJHGSUDFWLFHV

  9DOHDQW$GPLWVLW0DGH0LVUHSUHVHQWDWLRQV'XULQJWKH&ODVV3HULRG

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  3HULRGVWDWHPHQWVZHUHIDOVHDQGPLVOHDGLQJWKDW&DUURDQG6FKLOOHUHQJDJHGLQLPSURSHUFRQGXFW

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  ZHDNQHVVHVLQLQWHUQDOFRQWUROVDQGWKH.DQGWKUHH4VGXULQJFRXOGQRORQJHU

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  HQYLURQPHQW«PD\KDYHEHHQFRQWULEXWLQJIDFWRUVUHVXOWLQJLQ«LPSURSHUUHYHQXHUHFRJQLWLRQ´

  9DOHDQWDVNHG 6FKLOOHU WR UHVLJQIURP WKH ERDUG DQGIRUFHG3HDUVRQ DQG &DUUR RXW DQG TXLFNO\

  UHSODFHGWKHP

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  6HQDWH ³6HQDWH $JLQJ &RPPLWWHH´  EHJDQ LQYHVWLJDWLQJ 9DOHDQW¶V EXVLQHVV SUDFWLFHV LQ 

  1XPHURXV DGPLVVLRQV GXULQJ WKH FRXUVH RI WKHVH LQYHVWLJDWLRQV IXUWKHU VXSSRUW DQ LQIHUHQFH RI

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  ³WKDW0U3HDUVRQSXUFKDVHG,VXSUHODQG1LWURSUHVVLQRUGHUWRGUDPDWLFDOO\LQFUHDVHWKHLUSULFHV´

  DQG³9DOHDQWLGHQWLILHGJRDOVIRUUHYHQXHVILUVWDQGWKHQVHWGUXJSULFHVWRUHDFKWKRVHJRDOV´ LL 


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  UHJDUGLQJ WKH ³RYHUDOO IRUPDW DQG SUHVHQWDWLRQ RI WKH QRQ*$$3 PHDVXUHV´ DQG UHJDUGLQJ WKH
  SURPLQHQFHJLYHQWRVXFKQXPEHUV,QD0DUFKOHWWHUWRWKH&RPSDQ\WKH6(&QRWHG
  WKDW ³RYHU WKH SDVW IRXU \HDUV \RXKDYH UHSRUWHG DSSUR[LPDWHO\  ELOOLRQ RI QRQ*$$3 QHW
  LQFRPH´FRPSDUHGWRKDYLQJ³UHSRUWHG>D@*$$3QHWORVVRIDSSUR[LPDWHO\PLOOLRQ´7KH
  ([FKDQJH $FW 'HIHQGDQWV¶ ZLOOLQJQHVV WR FRQWLQXDOO\ SXVK WKH HQYHORSH ZLWK RSDTXH DQG
  PLVOHDGLQJGLVFORVXUHVIXUWKHUVXSSRUWVDQLQIHUHQFHRIVFLHQWHU2Q$SULOXQGHU9DOHDQW¶V
  QHZ &(2 WKH &RPSDQ\ WROG WKH 6(& LW ZRXOG FKDQJH LWV DSSURDFK WR QRQ*$$3 ILQDQFLDO
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  ³WKDW9DOHDQWXVHGLWVSDWLHQWDVVLVWDQFHSURJUDPVWRMXVWLI\UDLVLQJSULFHVDQGWRJHQHUDWHLQFUHDVHG

  UHYHQXHVE\GULYLQJSDWLHQWVLQWRFORVHGGLVWULEXWLRQV\VWHPV´ LLL WKDW9DOHDQW³VRXJKWWRH[SORLW

  WKLVWHPSRUDU\PRQRSRO\E\LQFUHDVLQJSULFHVGUDPDWLFDOO\WRH[WUHPHO\KLJKOHYHOVYHU\TXLFNO\´

  DQG LY WKDW³0U3HDUVRQXWLOL]HGWKLVVWUDWHJ\ZLWKPDQ\PRUHGUXJVWKDQ,VXSUHODQG1LWURSUHVV´

  DV9DOHDQWKDGLQFUHDVHGWKHSULFHRISUHVFULSWLRQSURGXFWVE\PRUHWKDQIURPWR

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  IDPLOLDULW\ZLWKDQGNQRZOHGJHRI9DOHDQW¶VGUXJSULFLQJSUDFWLFHVDQGVSRNHDVDQDXWKRULW\RQ

  WKHVXEMHFW,QKLVSUHSDUHGWHVWLPRQ\6FKLOOHUDFNQRZOHGJHGWKDW9DOHDQWKDGDFTXLUHG1LWURSUHVV

  DQG ,VXSUHO LQ )HEUXDU\  DQG WKDW HYHQ WKRXJK WKH\ ZHUH RQO\ WZR RI  WRWDO 9DOHDQW

  SURGXFWV   WKH\ DFFRXQWHG IRU  RI IXOO \HDU  UHYHQXHV  6FKLOOHU DGPLWWHG WKDW

  ³SDWLHQWDVVLVWDQFH´9DOHDQWSURYLGHGWRORZHUFRSD\VIRUSDWLHQWVZLWKSULYDWHLQVXUDQFHZDVQRW

  SHUPLWWHGE\IHGHUDODQWLNLFNEDFNODZV

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  FRQFHDOHGULVNVRIWKH&RPSDQ\¶VSULFHJRXJLQJSUDFWLFHVLQFOXGHG³LQFUHDVHGSUHVVXUHIRUUHEDWHV

  IURP WKH SD\HUV GHFUHDVHG VDOHV YROXPHV IURP KRVSLWDOV LQFUHDVHG VXEVWLWXWLRQ RI DOWHUQDWLYH

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  VXVWDLQDEOHQRUPRUHSURILWDEOH6FKLOOHUGLGVRE\DFNQRZOHGJLQJ³ZHPDGHDORWRIPLVWDNHV´

  DQG ZRXOG QR ORQJHU SXUVXH VXFK ³DJJUHVVLYH´ SULFH LQFUHDVHV DQG ZRXOG EH ORZHULQJ SULFHV


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  6FKLOOHUDOVRDGPLWWHGWKH\ZHUH³WRRDJJUHVVLYH´LQUDLVLQJWKHSULFHVRI1LWURSUHVVDQG,VXSUHO

  DQG VDLG ³>Z@H DUH QRW JRLQJ WR EH ORRNLQJ IRU WKRVH NLQGV RI DFTXLVLWLRQV JRLQJ IRUZDUG´  ,Q

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  ³FKDQJ>LQJ@TXLWHDELW´5HSUHVHQWDWLYH0DORQH\DVNHGLI³SULFHLQFUHDVHVUHSUHVHQWHGSHUFHQW

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  VWUDWHJ\ KDV EHHQ WR EX\ GUXJV WKDW DUH DOUHDG\ RQ WKH PDUNHW DQG WKHQ UDLVH WKH SULFHV

  DVWURQRPLFDOO\ >IRU D@ WHPSRUDU\ SHULRG RI WLPH EHIRUH RWKHU FRPSHWLWRUV HQWHU WKH PDUNHW´

  5HSUHVHQWDWLYH &XPPLQJV QRWHG UHSRUWV WKDW ³LQ  9DOHDQW OHG WKH LQGXVWU\ LQ SULFH KLNHV

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  PHPEHUVRIWKH+RXVH2YHUVLJKW&RPPLWWHHFRQWLQXHGWRHPSKDVL]HWKDW9DOHDQWZDVQRWEHLQJ

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  FRRSHUDWH IXOO\ ZLWK &RQJUHVV LV H[WUHPHO\ WURXEOLQJ DQG UHIOHFWV D SDWWHUQ RI REVWUXFWLRQ´

  &XPPLQJV VDLG KH KDG DVNHG RQ 1RYHPEHU   WKDW 9DOHDQW PDNH7DQQHU3ULWFKHWWDQG

  3DWHODYDLODEOHIRULQWHUYLHZVEXWWKDW9DOHDQWKDG³IDLOHG´WRGRVR

          6HQDWH$JLQJ&RPPLWWHH+HDULQJ

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  9DOHDQW3HDUVRQ ZKRKDGEHHQWHUPLQDWHGDV&(2DIWHUUHWXUQLQJIURPDOHDYHRIDEVHQFH DORQJ

  ZLWK6FKLOOHUDQG$FNPDQWHVWLILHG

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  DJJUHVVLYH±DQG,DVLWVOHDGHUZDVWRRDJJUHVVLYH±LQSXUVXLQJSULFHLQFUHDVHVRQFHUWDLQGUXJV´

  +HVDLGKH³UHJUHW>WHG@SXUVXLQJWUDQVDFWLRQVZKHUHDFHQWUDOSUHPLVHZDVDSODQQHGLQFUHDVHLQ

  WKHSULFHVRIWKHPHGLFLQHVVXFKDVRXUDFTXLVLWLRQVRI1LWURSUHVVDQG,VXSUHO´'XULQJWKHKHDULQJ

  3HDUVRQDQG6FKLOOHUGLVSOD\HGWKHLULQWLPDWHIDPLOLDULW\ZLWKDQGNQRZOHGJHRIWKH&RPSDQ\¶V

  GUXJSULFLQJSUDFWLFHVDQGVSRNHDVDXWKRULWLHVRQWKHVXEMHFW

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  PRGHOZDVQRWIXOO\XQGHUVWRRGE\DOOLQYHVWRUVDQGWKH&RPSDQ\KDG³QRWKLQJWREHDVKDPHGRI´

  6HQDWRU.DLQHDVNHGLI3HDUVRQVWLOOIHOWWKDWZD\DQG3HDUVRQWHVWLILHG³1R´DGGLQJ³ZHKDYH

  EHHQWRRDJJUHVVLYHRQSULFLQJ´3HDUVRQDOVRDGPLWWHGKHKDGUDLVHGSULFHVKLJKHUWKDQ9DOHDQW¶V

  FRQVXOWDQWVUHFRPPHQGHG

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  IRUJURZWKWKDQYROXPHLQDOOTXDUWHUVH[FHSWRQHDQG3HDUVRQFRQILUPHGWKDWZDVFRUUHFW7KLV

  DGPLVVLRQ FRQWUDGLFWHG 3HDUVRQ¶V $SULO   VWDWHPHQW DQG KLV 2FWREHU   OHWWHU WR

  6HQDWRU 0F&DVNLOO ZKHUHLQ 3HDUVRQ FODLPHG ³>W@KHUH LV D PLVSHUFHSWLRQ LQ WKH PHGLD WKDW

  9DOHDQW¶VUHYHQXHJURZWKIRUH[LVWLQJSURGXFWVKDVEHHQGULYHQSULPDULO\E\SULFH´3HDUVRQKDG



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  ZULWWHQWKDWWKHDYHUDJHVHOOLQJSULFHIRU³SURGXFWVWKDWZHRZQHGD\HDUDJR´KDGLQFUHDVHGE\

   ³>E@XW RXU SUHVFULSWLRQ YROXPH IRU WKHVH SURGXFWV RYHU WKLV VDPH WLPHIUDPH LQFUHDVHG E\

  DSSUR[LPDWHO\VKRZLQJWKDWYROXPHJURZWKFRQWULEXWHVsignificantly more than priceIRURXU

  86EUDQGHGSKDUPDFHXWLFDOEXVLQHVV´ (PSKDVLVDGGHG 

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  1LWURSUHVV DQG ,VXSUHO ZHUH RQO\ ³WZR RI WKH DSSUR[LPDWHO\  SUHVFULSWLRQ SURGXFWV VROG E\

  9DOHDQW´DQGWKDW³>E@URDGFRQFOXVLRQVDERXW9DOHDQWFDQQRWEHGUDZQIURPWKHSULFLQJRUKLVWRU\

  RIDQ\RQHGUXJRUVHWRIGUXJV´7KLVZDVDOVRPLVOHDGLQJEHFDXVHIDUIURPUDLVLQJSULFHVRQMXVW

  WZRRISURGXFWV9DOHDQWKDGUDLVHGSULFHV LQMXVWDORQH RQRILWV³86%UDQGHG

  3KDUPD´SURGXFWVE\DQDYHUDJHRI$WWKHKHDULQJ3HDUVRQZDVDVNHGLIKHFRXOGQDPHD

  VLQJOHGUXJWKDW9DOHDQWKDGDFTXLUHGZKHUHLWGLGQRWUDLVHWKHSULFHVDQGKHFRQFHGHG³>Q@RWLQ

  WKH8QLWHG6WDWHV´

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  OHWWHUWR6HQDWRU0F&DVNLOOWKDW³IRUWKRVHLQVWLWXWLRQVZKHUHWKHLPSDFWZDVVLJQLILFDQWO\

  JUHDWHUwe are beginning to reach out to hospitalsWRGHWHUPLQHDQDSSURSULDWHSULFLQJVWUDWHJ\´

  6RRQ WKHUHDIWHU 9DOHDQW DQQRXQFHG D  GLVFRXQW SURJUDP  %XW DW WKH KHDULQJ 6HQDWRU

  0F&DVNLOOQRWHGWKDWVKHKDGQRWIRXQGDVLQJOHKRVSLWDOWKDWKDGUHFHLYHGWKHGLVFRXQWV+RVSLWDO

  DIILOLDWHGZLWQHVVHVDWWKHKHDULQJDOVRGHQLHGUHFHLYLQJWKHGLVFRXQWVDQGVHYHUDOPRUHVHQWOHWWHUV

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    3HDUVRQLQKLVOHWWHUZDVDOVRFRQWUDGLFWHGE\9DOHDQW¶VLQYHVWRUSUHVHQWDWLRQSXEOLVKHGRQ
  2FWREHUVKRZLQJSULFHKDGDJUHDWHULPSDFWRQJURZWKWKDQYROXPHLQERWK 
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  DERXWWKHGLVFRXQWVDQG6WRO]SURPLVHGWRJHWEDFNWRWKHPEXWQHYHUGLG6LPLODUO\8QLYHUVLW\

  RI 8WDK +HDOWK &DUH ZURWH WR WKH 6HQDWH $JLQJ &RPPLWWHH WKDW ³9DOHDQW QRWHG LQ D OHWWHU WR

  5DQNLQJ 0HPEHU 0F&DVNLOO WKDW WKHLU FRPSDQ\ ZRXOG EH UHDFKLQJ RXW WR KRVSLWDOV WKDW ZHUH

  LPSDFWHGE\WKHQHZSULFLQJ´EXWZKHQWKH\FDOOHG³9DOHDQWUHIXVHGWRWDONWRPHDERXWEHWWHU

  FRQWUDFWHGSULFHV´9DOHDQWHVVHQWLDOO\FRQFHGHGWKDW3HDUVRQ¶VFODLPZDVLQDFFXUDWHZKHQRQ

  $SULO6WRO]VXEPLWWHGDZULWWHQUHVSRQVHDGPLWWLQJWKDW³>D@VRIWKLVGDWH9DOHDQWKDV

  QRW HQWHUHG LQWR FRQWUDFWV ZLWK LQGLYLGXDO KRVSLWDOV WR SURYLGH YROXPHEDVHG GLVFRXQWV IRU

  1LWURSUHVVDQG,VXSUHO´EXWKDGHQWHUHGLQWRFRQWUDFWVZLWKRQO\WKUHHKRVSLWDOJURXSV9DOHDQW

  LVVXHGDSXEOLFVWDWHPHQWWKDWWKH\IRUPHGDFRPPLWWHHZKLFKZDVZRUNLQJWR³GHYHORSVROXWLRQV

  VRDQ\KRVSLWDOWKDWLVHOLJLEOHIRUGLVFRXQWVRQ1LWURSUHVVDQG,VXSUHOUHFHLYHVWKHP´DQG6WRO]

  OHIWWKH&RPSDQ\

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  JRXJLQJVWUDWHJ\DSSHDUVWREHEDVHGRQFDUHIXOVWXG\RIWKH)'$DSSURYDOSURFHVV7KH&RPSDQ\

  NQRZVLWRIWHQWDNHV\HDUVEHIRUHJHQHULFFRPSHWLWRUVFDQFOHDUWKHKXUGOHVLPSRVHGE\WKDWSURFHVV

  WRHQWHUWKHPDUNHWDQGWRFRPSHWH'XULQJWKDWSHULRG9DOHDQWH[SORLWVLWVGHIDFWRPRQRSRO\´

  6HQDWRU0F&DVNLOODGGHGWKDW³>H@YHQ9DOHDQW¶VSDWLHQWDVVLVWDQFHSURJUDPDSSHDUVWREHVHWXS

  VROHO\WRLQFUHDVH9DOHDQW¶VERWWRPOLQH´ZLWK6HQDWRU&ROOLQVDGGLQJWKDW9DOHDQW¶V3$3ZDV

  XVHG³VRWKDW\RXFDQVWLOOJHWWKHSD\PHQWVSULPDULO\IURPFRPPHUFLDOLQVXUHUVZKLFKGZDUIWKH

  DPRXQWWKDW\RX¶UHJLYLQJLQFXVWRPHUDVVLVWDQFH´6HQDWRU:DUUHQDVNHG3HDUVRQ³>Z@K\GRQ¶W

  \RX XVH WKHVH FRSD\ UHGXFWLRQ SURJUDPV IRU IHGHUDO JRYHUQPHQW LQVXUDQFH SURJUDPV OLNH

  0HGLFDUH3DUW'RU0HGLFDLG´WRZKLFK3HDUVRQDFNQRZOHGJHG³ZH¶UHQRWDOORZHGWR´:DUUHQ

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  WKH ,VXSUHO LW VROG DQG LW PDGH PRUH WKDQ  PLOOLRQ LQ QHW LQFRPH RQ WKDW RQH GUXJ DORQH´

  3HDUVRQDFNQRZOHGJHG³\RXUILJXUHVDUHFRUUHFWIURPDJURVVPDUJLQVWDQGSRLQW´

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  UDWKHUWKDQDFTXLUHWKHRSWLRQWRSXUFKDVHLWIRU3KLOLGRU¶VFRXQVHOLQDZULWWHQUHVSRQVHVDLG

  WKDW³3KLOLGRUFRQFOXGHGWKDW9DOHDQW¶VFRQGXFWZDVFRQVLVWHQWZLWKDFRQFHUQDERXWWKHHFRQRPLF

  LPSDFWVRIDQ\3%0UHVSRQVHLI9DOHDQWKDGSXUFKDVHG3KLOLGRU´7KXV3KLOLGRUFRQILUPHGWKDW

  9DOHDQW NQHZ 3%0V ZRXOG UHIXVH WR UHLPEXUVH 3KLOLGRU SUHVFULSWLRQV LI 3%0V NQHZ RI WKH

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  ,QGLYLGXDO'HIHQGDQWVLQFORVHWHPSRUDOSUR[LPLW\WRUHYHODWLRQVUHJDUGLQJWKHGHFHSWLYHSUDFWLFHV

  E\9DOHDQWDQG3KLOLGRUIXUWKHUVXSSRUWDQLQIHUHQFHRIVFLHQWHU

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  SXEOLFDQGMXVWDIWHUWKHIDOVHILQDQFLDOVWDWHPHQWVZHUHLVVXHGWKH&RPSDQ\LVVXHGDUHOHDVH

  DQQRXQFLQJWKDW6FKLOOHUZRXOGEHVWHSSLQJGRZQDV&)2XSRQDSSRLQWPHQWRIDVXFFHVVRU

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  FRQWDFW.RUQZDVVHUEXWUHFHLYHGDFDOOIURP9DOHDQW¶VFULVLVPDQDJHPHQWGHSDUWPHQWZKRVDLG

  .RUQZDVVHUZDVQRWLQWHUHVWHGLQGLVFXVVLQJ9DOHDQWRU3KLOLGRU7KH+RXVH2YHUVLJKW&RPPLWWHH

  DOVR VRXJKW WR LQWHUYLHZ .RUQZDVVHU DQG 5HSUHVHQWDWLYH &XPPLQJV QRWHG KH ZDV QHYHU PDGH

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  8EEHQWKURXJK9DOXH$FWVROGPLOOLRQVKDUHVRI9DOHDQWVWRFNZKLFKKDGEHHQKHOGIRUPDQ\

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  *DVWURLQWHVWLQDO DQG 'HUPDWRORJ\ GLYLVLRQV ZDV ³OHDYLQJ WKH FRPSDQ\ HIIHFWLYH LPPHGLDWHO\´

  -RUQZDVUHVSRQVLEOHIRUVRPHRI9DOHDQW¶VWRSVHOOLQJGUXJVLQFOXGLQJ-XEOLDDGHUPDWRORJ\GUXJ

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  DQG PDWHULDO ZHDNQHVVHV LQ LQWHUQDO FRQWUROV DQG FRQILUPHG WKDW 3HDUVRQ ZRXOG EH OHDYLQJ WKH

  &RPSDQ\  ,Q DGGLWLRQ WKH &RPSDQ\ GLVFORVHG WKDW 6FKLOOHU DQG &DUUR HQJDJHG LQ LPSURSHU

  FRQGXFW DQG SURYLGHG LQDFFXUDWH LQIRUPDWLRQ WR WKH $G +RF &RPPLWWHH LQYHVWLJDWLQJ WKH IDOVH

  UHYHQXHV6FKLOOHUZDVDVNHGWRUHVLJQIURPWKHERDUG&DUURZDVUHSODFHGDVFRQWUROOHU

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  WKHFRUUHFWLYHDFWLRQV9DOHDQWZDVWDNLQJDQGKHUHVSRQGHGE\VWDWLQJWKDW3HDUVRQZDVUHSODFHG

  DV&(2)RUH[DPSOHDWWKH6HQDWHKHDULQJRQ$SULO$FNPDQWROGWKHFRPPLWWHHKH

  MRLQHGWKHERDUGWR³DVVLVWLQDPDQDJHPHQWWUDQVLWLRQ´:KHQDVNHGZKDW9DOHDQWZRXOGGRWR

  FRUUHFWLWVEHKDYLRUKHUHVSRQGHGE\QRWLQJ³:HKDYHDQHZ&(2VWDUWLQJ´DQGWKDWD³ORWRIWKH

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   RI9DOXH$FW 3URYHQFLR FKDLURIWKH$XGLW&RPPLWWHH *RJJLQV)DUPHU ZKROLNH3HDUVRQ



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  DQGUHSRUWHGO\OHIWWKHUHDIWHUDVHULHVRIFRVWFXWWLQJPHDVXUHVOHGWRVDIHW\UHFDOOVZKLFKPHGLD
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  KDGSUHYLRXVO\ZRUNHGDW0F.LQVH\DQGZKR3HDUVRQKDGDOVRNQRZQIRUPDQ\\HDUVSULRUWR

  MRLQLQJ 9DOHDQW¶V ERDUG  DQG 0HODV.\ULD]L PHPEHU RI WKH $XGLW &RPPLWWHH   1RWDEO\

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  UHVLJQHGDV6HQLRU9LFH3UHVLGHQW1HXURORJ\'HQWLVWU\DQG*HQHULFV6WRO]KDGEHHQLQYROYHGLQ

  ERWKWKHSULFHLQFUHDVHVDQGWKHSXUSRUWHGSULFLQJGLVFRXQWV3HDUVRQSURPLVHG&RQJUHVVEXWIDLOHG

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  SUDFWLFHVDOOHJHGKHUHLQXQGHUVFRUHV3HDUVRQ¶VHODERUDWHDQGDIILUPDWLYHHIIRUWVWRFRQFHDOWKRVH

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  KDG D FRRSHUDWLYH EXVLQHVV UHODWLRQVKLS WKHUHE\ VXSSRUWLQJ D VWURQJ LQIHUHQFH RI KLV VFLHQWHU

  $OWKRXJK$FNPDQPHWZLWK3HDUVRQRQPDQ\RFFDVLRQVWRGLVFXVV9DOHDQW¶VEXVLQHVV3HDUVRQ

  FRQFHDOHGWKHGHFHSWLYHSUDFWLFHVGHVFULEHGKHUHLQIURP$FNPDQZKLOHXVLQJ$FNPDQWRUHIXWH

  $OOHUJDQ¶VFODLPVDQGGHIHQG9DOHDQW¶VEXVLQHVVPRGHO

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  VWDNHKROGHUV 3HUVKLQJ 6TXDUH  PHW ZLWK 3HDUVRQ WR IRUP D SDUWQHUVKLS EHWZHHQ 9DOHDQW DQG

  3HUVKLQJ6TXDUHLQDQHIIRUWWRWDNHRYHU$OOHUJDQ$FFRUGLQJWRWKHSODQ3HUVKLQJ6TXDUHZRXOG

  DFTXLUHVWRFNLQ$OOHUJDQERWKWRDVVLVWLQSURYLGLQJVKDUHKROGHUVXSSRUWDQGWRYDOLGDWHWKHYDOXH

  RI9DOHDQW¶VVWRFN

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  ZKRVHEXVLQHVVLVWRWKRURXJKO\LQYHVWLJDWHFRPSDQLHVEHIRUHWDNLQJODUJHLQYHVWPHQWSRVLWLRQV

  ,QDQ2FWREHUGHSRVLWLRQ$FNPDQWHVWLILHGWKDWEHFDXVH9DOHDQWZDVDWWHPSWLQJWRDFTXLUH



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  $OOHUJDQZLWK9DOHDQWVWRFN3HUVKLQJ6TXDUH³KDGWKHEHQHILWUHDOO\IRUWKHILUVWWLPHRIGRLQJGXH

  GLOLJHQFHRQDFRPSDQ\ZLWKIXOODFFHVVWRPDQDJHPHQWDQGDFFHVVWRLQVLGHLQIRUPDWLRQVRZH

  FRXOGYHW9DOHDQWDVFRPSDQ\ZHFRXOGDVVHVVLWVYDOXHDQGZHFRXOGKDYHKHOSHG\RXNQRZYHW

  WKHFUHGLELOLW\RIWKHFXUUHQF\>9DOHDQW¶VVWRFN@´

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  VXVWDLQDELOLW\ RI 9DOHDQW¶V EXVLQHVV DQG LWV SULFLQJ SUDFWLFHV ZKLFK FODLPV 9DOHDQW GHQLHG 

  3HUVKLQJ6TXDUHHQJDJHGLQIXUWKHUGXHGLOLJHQFHEHIRUHLQYHVWLQJELOOLRQLQ9DOHDQWLQHDUO\

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  LQWURGXFHGRWKHULQYHVWRUVWR3HDUVRQRIIHUHGWRKHOS3HDUVRQSUHSDUHIRUHDUQLQJVFDOOVDQGJDYH

  DGYLFHDIWHUWKRVHFDOOV,QVKRUWGXULQJDQG$FNPDQKDGQXPHURXVFRQYHUVDWLRQV

  ZLWK3HDUVRQDERXW9DOHDQW¶VEXVLQHVV

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  PDQDJHPHQW´ 3HDUVRQ FRQFHDOHG 9DOHDQW¶V SULFH JRXJLQJ DQG RWKHU GHFHSWLYH SUDFWLFHV IURP

  $FNPDQ LQ RUGHU WR KDYH $FNPDQ SXEOLFO\ YRXFK IRU 9DOHDQW¶V ³FXUUHQF\´ i.e. VWRFN YDOXH

  GXULQJWKHDWWHPSWHG$OOHUJDQDFTXLVLWLRQDQGGHIHQG3HDUVRQDQG9DOHDQW¶VEXVLQHVVSUDFWLFHV

  )RUH[DPSOHRQ$SULO3HDUVRQHPDLOHG$FNPDQDVNLQJKLPWR³HPSKDVL]H>WKH@TXDOLW\

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  %XIIHWW ³%XIIHWW´ LQUHVSRQVHWRFULWLFLVPRI9DOHDQWDQG3HDUVRQE\%XIIHWW¶VSDUWQHU&KDUOLH

  0XQJHU ³0XQJHU´  YLFHFKDLUPDQ RI %HUNVKLUH +DWKDZD\  $FNPDQ ZURWH WKDW 0XQJHU ³KDV

  JRWWHQWKLVRQHZURQJ´WKDW³>Z@HKDYHJRWWHQWRNQRZ9DOHDQWDQG3HDUVRQZHOORYHUWKHODVW

  \HDU´DQGWKDWRWKHUVDOVR³KROG0LNH3HDUVRQLQH[WUHPHO\KLJKUHJDUG´,URQLFDOO\$FNPDQ

  FODLPHGWKDW3HDUVRQZDV³DQH[WUHPHO\GLUHFWSHUVRQ´DQGRIIHUHGWRVHWXSDPHHWLQJWR³PHHW



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  0LNH3HDUVRQDQGDVNKLPDQ\WKLQJ\RXZRXOGOLNH´,QGLFDWLQJWKDWKHKDGGLVFXVVHGWKHPDWWHU

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  UHVSRQVHWR&KDUOLH¶VUHFHQWFRPPHQWV´%XIIHWWVXJJHVWHGWKDW$FNPDQFRQWDFW0XQJHUGLUHFWO\

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  VRXUFHRI\RXUPLVLQIRUPDWLRQ´$FNPDQDVNHGKLPWRPHHWZLWK3HDUVRQVWDWLQJ³,WKLQN\RX

  KDYHWKHIDFWVZURQJ´DQG³LWVHHPVIDLUWKDW\RXZRXOGJLYH0LNHDQRSSRUWXQLW\WRUHVSRQGWR

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  ZHUH IDOVH DQG UHYHDOLQJ WKH H[WHQW RI KLV LJQRUDQFH DERXW WKH WUXH VWDWH RI DIIDLUV DW 9DOHDQW

  $FNPDQHYHQFODLPHGWKDW3HDUVRQIROORZHGD³UDWLRQDODSSURDFKWRRSHUDWLRQV´DQGWKDW³9DOHDQW

  VWRFNKDVEHHQDQGFRQWLQXHVWRUHPDLQSHUHQQLDOO\XQGHUYDOXHG´HYHQWKRXJKLWZDVWUDGLQJDW

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  9DOHDQW¶VSULFHJRXJLQJ,QDPHGLDLQWHUYLHZWKDWGD\$FNPDQFODLPHGD³>Y@HU\VPDOOSDUWRI

  9DOHDQW¶VEXVLQHVVLVUHSULFLQJGUXJV´DQGVDLGLWZDVSULFHLQFUHDVHVE\RWKHUFRPSDQLHVWKDWZHUH

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  ZKDWKHFDOOHGWKH³KRUULEOH´DQG³ZURQJ´SULFHLQFUHDVHVWKDWZHUHODWHUSXEOLFO\GLVFORVHGZLWK

  UHJDUGWR&XSULPLQH,VXSUHODQG1LWURSUHVVDQGWHVWLILHGWKDW3HUVKLQJ6TXDUHGLGQRWDSSURYHRI

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  ZHUH WKLQJV , GLG QRW XQGHUVWDQG DERXW WKH EXVLQHVV´  $FNPDQ DOVR WROG WKH 6HQDWH $JLQJ

  &RPPLWWHHDQGUHSHDWHGRQ&1%&DQGLQRWKHUPHGLDLQWHUYLHZVWKDWUHSODFLQJ3HDUVRQDV&(2

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  RIFRXUVHLVDVHZHUDQGWKRVHZKRFUHDWHGLWGHVHUYHDOOWKHRSSUREULXPWKDWWKH\JRW´%XIIHWW

  DGGHG  ³, GRQ¶W WKLQN \RX¶G ZDQW \RXU VRQ WR JURZ XS DQG UXQ DFRPSDQ\LQWKHPDQQHUWKDW

  9DOHDQWZDVUXQ´7KLVWLPHUDWKHUWKDQGHIHQG3HDUVRQDVKHKDGWR0XQJHUDQG%XIIHWLQWKH

  SDVW $FNPDQ HVVHQWLDOO\ FRQFHDOHG 3HDUVRQ¶V PLVFRQGXFW E\ VWDWLQJ RQO\ WKDW ³LWLV QRW IDLU WR

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  HQYLURQPHQWE\SURYLGLQJLQFUHGLEO\ULFKFRPSHQVDWLRQSDFNDJHVEDVHGRQDFKLHYLQJLQFUHDVLQJO\

  FKDOOHQJLQJSHUIRUPDQFHJRDOVEDFNHGE\WKHWKUHDWRIWHUPLQDWLRQ$V3HDUVRQGHVFULEHGLW³>L@I

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  ZHFRQWLQXHWRXSJUDGHWDOHQW´3HDUVRQEOXQWO\VWDWHG³>W@KHUH¶VQRWHQXUHDW9DOHDQW,W¶VXSDQG

  RXW     ,W¶V PRUH OLNH D SURIHVVLRQDO VHUYLFHV ILUP WKDQ D VRUW RI WUDGLWLRQDO SKDUPDFHXWLFDO

  FRPSDQ\´3HDUVRQDGPLWWHGWKDWWKHFRPSHQVDWLRQV\VWHPDW9DOHDQWZDVHQWLUHO\GHSHQGHQWRQ

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          6RRXU&RPSDQ\VHQLRUPDQDJHPHQWDQGWKH%RDUGZHWKHUH¶VRQO\RQHPHWULF
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          KDYHDXQLTXHSD\PRGHOWKDWDWOHDVWZHDWOHDVWLIZHGRQ¶WDWOHDVWDFKLHYHD



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         WRWDOUHWXUQWRVKDUHKROGHUVHDFK\HDUFRPSRXQGHGDQQXDOJURZWKUDWHWKDW
         EDVLFDOO\WKHHTXLW\ZHUHFHLYHLQWHUPVRIRXUVWRFNJUDEVLVZRUWKQRWKLQJ

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  LQFUHDVHGEDVHGRQ³>P@XOWLSOHFKDOOHQJHVE\FRUSRUDWH´7KHSUHVHQWDWLRQQRWHGWKDW³>E@XGJHW

  UHIOHFWVVWUHWFKHGWDUJHWVIRUDOOEXVLQHVVXQLWV´DQGWKHUHZRXOGEH³>Q@RERQXVHVWREHSDLGIRU

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  DJJUHVVLYHILQDQFLDOWDUJHWV)RUH[DPSOHLQ3HDUVRQ¶VEDVHFRPSHQVDWLRQZDVPLOOLRQ

  DQG6FKLOOHU¶VZDVPLOOLRQ+RZHYHUXQGHUWKHERQXVSURJUDPWKH\FRXOGHDUQPXOWLSOHVRI

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  RI 3HDUVRQ¶V EDVH FRPSHQVDWLRQ DQG 6FKLOOHU UHFHLYHG D  PLOOLRQ ERQXV QHDUO\  RI

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  FRPSHQVDWLRQ VFKHPH ZKLFK ZDV GHVLJQHG E\ ERDUG PHPEHU DQG KHGJH IXQG DFWLYLVW 0DVRQ

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  VKDUHKROGHUDOLJQHGFRPSHQVDWLRQSDFNDJHVZH¶YHHYHUVHHQ´$FNPDQDOVRKLJKOLJKWHGWKDWD

  ODUJHSRUWLRQRI3HDUVRQ¶VFRPSHQVDWLRQZDVWLHGWRWKHJUDQWRISHUIRUPDQFHVKDUHXQLWVWKDWYHVW


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  RQO\LIKHGHOLYHUHGLQFUHGLEO\DJJUHVVLYHDQQXDOUHWXUQVRYHUWKUHH \HDUV RI EHWZHHQ  DQG

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  ELOOLRQDLUHDQGREWDLQZHDOWKIDUEH\RQGHYHQDW\SLFDOKLJKO\SDLG&(2DQGLQFHQWLYL]HG3HDUVRQ

  DQGRWKHU9DOHDQWH[HFXWLYHVWRGRZKDWHYHULWWRRNWRLQFUHDVHWKHVWRFNSULFHWKURXJKHYHQ

  DWWKHH[SHQVHRIHWKLFDODQGFRPSOLDQWSUDFWLFHVWKDWZRXOGEHQHILWVKDUHKROGHUVLQWKHORQJWHUP

  0RUHRYHU3HDUVRQZDVDOORZHGWRHIIHFWLYHO\FDVKRXWDVLJQLILFDQWSRUWLRQRIKLVVWRFNVLPSO\

  SOHGJLQJLWDVFROODWHUDOIRUPLOOLRQORDQHGWRKLPE\*ROGPDQ6DFKVLQ

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  ZKLFKZDVSXEOLFO\GLVFORVHGE\WKH&RPSDQ\,QLW3HDUVRQVWDWHGLQSDUW³:HEHOLHYHRXUVWRFN

  LVWUDGLQJDWDUWLILFLDOO\ORZOHYHOV´See also

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  DQQRXQFLQJ LW KDG HQWHUHG LQWR DQ DPHQGHG DQG UHVWDWHG HPSOR\PHQW DJUHHPHQW ZLWK 3HDUVRQ

  3HDUVRQVWRSSHGHDUQLQJDQDQQXDOEDVHVDODU\EXWKLV³WDUJHWERQXVRSSRUWXQLW\´ZDVLQFUHDVHG

  IURPPLOOLRQWRPLOOLRQ$JDLQDVODUJHDVLWZDVWKHFDVKERQXVZDVPLQLVFXOHFRPSDUHG

  WR WKH KXQGUHGV RI PLOOLRQV LQ FRPSHQVDWLRQ 3HDUVRQ ZRXOG UHFHLYH LI KH VXFFHVVIXOO\ GURYH

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          SULFH RI  ZLWK WKH SRWHQWLDO WR HDUQ EHWZHHQ ]HUR DQG  368V
          GHSHQGLQJRQSHUIRUPDQFH 7KH368VYHVWEDVHGRQDFKLHYHPHQWRIWKHIROORZLQJ
          SHUIRUPDQFH PHWULFV DSSO\LQJ OLQHDU LQWHUSRODWLRQ IRU SHUIRUPDQFH EHWZHHQ WKH
          DSSOLFDEOHWKUHVKROGV LIWKHWRWDOVKDUHKROGHUUHWXUQ ³765´ RYHUWKHILYH\HDU
          PHDVXUHPHQWSHULRGLVOHVVWKDQRYHUWKHEDVHSULFHQRQHRIWKH368VZLOO
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  WKH WRS´ WR SULRULWL]H HWKLFDO EXVLQHVV DQG DFFRXQWLQJ SUDFWLFHV DQG FRPSOLDQFH RYHU SHUVRQDO

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  RIFDVKIRUWKH&RPSDQ\IURPWKHLQYHVWLQJSXEOLFDWDUWLILFLDOO\KLJKSULFHVWKHSURFHHGVRIZKLFK

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          x       WKDW WKH GHFHSWLYH SUDFWLFHV LQFOXGHG SULFH JRXJLQJ DQG PLVFRQGXFW WR
                   FRQFHDO VXFK SULFH JRXJLQJ LQFOXGLQJ URXWLQJ SUHVFULSWLRQV WKURXJK LWV
                   VHFUHWQHWZRUNRIFDSWLYHSKDUPDFLHVDQGHPSOR\LQJ3$3DQG35VWUDWHJ\
                   WRFRQFHDOVXFKSUDFWLFHV

          x       WKDW 9DOHDQW¶V VHFUHW QHWZRUN RI VSHFLDOW\ SKDUPDFLHV ZHUH HPSOR\LQJ
                   GHFHSWLYH WDFWLFV WR ERRVW WKH VDOHV SULFHV RI 9DOHDQW¶V GUXJV DQG REWDLQ
                   IXQGVIURP3%0VDQGSULYDWHSD\RUVLQDPRXQWVJUHDWHUWKDQZRXOGKDYH
                   EHHQREWDLQHGLIWKHGHFHSWLYHWDFWLFVZHUHQRWHPSOR\HG

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                   DQG ILQDQFLDO ULVNV WKDW LQFOXGHG LQFUHDVHG VFUXWLQ\ IURP JRYHUQPHQWDO
                   DJHQFLHV VXFK DV WKH 6(& IHGHUDO SURVHFXWRUV DQG &RQJUHVV DQG UHODWHG
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  DUWLILFLDOLQIODWLRQIURPWKHSULFHRI9DOHDQWVHFXULWLHVZRXOGKDYHEHHQJUHDWHUKDG'HIHQGDQWV

  IXOO\GLVFORVHGWKHWUXWK%XWEHFDXVHRI'HIHQGDQWV¶PDWHULDOO\IDOVHDQGPLVOHDGLQJVWDWHPHQWV

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  EUDQGQDPHGUXJVDQDYHUDJHRIDERXWILYHWLPHVDVPXFKDVLWVFORVHVWLQGXVWU\SHHUV2Q

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  &RPSDQ\¶V SULFH JRXJLQJ DQG LPSURSHU SUDFWLFHV DV ZHOO DV WKH H[WHQW RI WKH &RPSDQ\¶V

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  IDOVH DQG PLVOHDGLQJ VWDWHPHQWV DQGRU IDLOXUH WR GLVFORVH WKH IXOO WUXWK WKH SULFH RI 9DOHDQW

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  DPDVVLYHIUDXG´2QWKHVDPHGD\WUDGLQJLQ9DOHDQWVKDUHVZDVKDOWHGEHFDXVHRIWKHUDSLGSULFH

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  GHSHQGHQFH RQ VSHFLDOW\ SKDUPDFLHV LQFOXGLQJ 3KLOLGRU WR LQFUHDVH WKH SULFH DQG YROXPH RI

  9DOHDQW¶VVDOHVWKHGHFHSWLYHFRQGXFWXVHGWRKLGH9DOHDQW¶VWLHVWRVSHFLDOW\SKDUPDFLHVDQGWKH

  IRUPDWLRQ RI DQ DG KRF FRPPLWWHH ZLWKLQ WKH &RPSDQ\ WR LQYHVWLJDWH LWV DFFRXQWLQJ DQG

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  VHFXULWLHV ZRXOG KDYH EHHQ JUHDWHU KDG 'HIHQGDQWV IXOO\ GLVFORVHG WKH WUXWK  %XW EHFDXVH RI

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  GRFXPHQWVUHJDUGLQJFOHDUO\LPSURSHUEXVLQHVVSUDFWLFHVDQGWUDLQLQJDW3KLOLGRUUHJDUGLQJ9DOHDQW

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  WKUHHODUJHVW3%0VLQWKHFRXQWU\DVZHOODVWKH&RPSDQ\ZRXOGEHDEUXSWO\WHUPLQDWLQJWKHLU

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  FRQWUROVWKH6(&¶VLQYHVWLJDWLRQLQWR9DOHDQWDQGWKHH[WHQWRIWKHQHJDWLYHILQDQFLDOLPSDFWRQ

  9DOHDQW RI FHDVLQJ LWV GHFHSWLYH SUDFWLFHV WKDW KDG EHHQ FRQFHDOHG RU PLVUHSUHVHQWHG E\

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  PXFKDQWLFLSDWHGFRQIHUHQFHFDOODQGPRUHIXOO\UHYHDOHGWRWKHPDUNHWWKHQDWXUHDQGH[WHQWRI

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  WKH&RPSDQ\¶VJURZWKEHLQJGHSHQGHQWXSRQVXEVWDQWLDOSULFHLQFUHDVHVIRU9DOHDQW¶VGUXJVWKH

  VLJQLILFDQW QHJDWLYH ILQDQFLDO LPSDFW WKDW WKH &RPSDQ\¶V WHUPLQDWLRQ RI LWV UHODWLRQVKLS ZLWK

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  LQFUHDVHG JRYHUQPHQW VFUXWLQ\ LQWR 9DOHDQW¶V SUDFWLFHV ZRXOG KDYH RQ 9DOHDQW¶V EXVLQHVV DQG

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  WUXWK%XWEHFDXVHRI'HIHQGDQWV¶PDWHULDOO\IDOVHDQGPLVOHDGLQJVWDWHPHQWVDQGRPLVVLRQVDQG

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  GLVFORVXUHVZKLFKIXUWKHUUHYHDOHGKRZPXFK9DOHDQWUHOLHGRQ3KLOLGRUWRERRVWSUHVFULSWLRQGUXJ

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  ZDVUHPRYHGIURPWKHSULFHRIWKHVHFXULWLHVDQG3ODLQWLIIVDQGVLPLODUO\VLWXDWHGLQYHVWRUVZHUH

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  PLJKWKDYHFRQVLGHUHGWKHPLPSRUWDQWLQPDNLQJLQYHVWPHQWGHFLVLRQV*LYHQWKHLPSRUWDQFHRI

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  HIILFLHQWDWDOOWLPHV3ODLQWLIIVDQGRWKHUPHPEHUVRIWKH&ODVVSXUFKDVHG9DOHDQW¶VVHFXULWLHV

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                   E     9DOHDQWGHEWVHFXULWLHVLQFOXGLQJLWVVHQLRUQRWHVZHUHZLGHO\GLVWULEXWHG
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                   H     9DOHDQW UHJXODUO\ FRPPXQLFDWHG ZLWK SXEOLF LQYHVWRUV YLD HVWDEOLVKHG
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                          UHOHDVHVRQWKHQDWLRQDOFLUFXLWVRIPDMRUQHZVZLUHVHUYLFHVDQGRWKHUZLGH
                          UDQJLQJSXEOLFGLVFORVXUHVVXFKDVFRPPXQLFDWLRQVZLWKWKHILQDQFLDOSUHVV
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                   I     9DOHDQW ZDV IROORZHG E\ VHYHUDO VHFXULWLHV DQDO\VWV HPSOR\HG E\ PDMRU
                          EURNHUDJHILUPVZKRZURWHUHSRUWVZKLFKZHUHGLVWULEXWHGWRWKHVDOHVIRUFH



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                           DQG FHUWDLQ FXVWRPHUV RI WKHLU UHVSHFWLYH EURNHUDJH ILUPV  7KHVH UHSRUWV
                           ZHUHSXEOLFO\DYDLODEOHDQGHQWHUHGWKHSXEOLFPDUNHWSODFH

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  GLJHVWHGFXUUHQWLQIRUPDWLRQUHJDUGLQJ9DOHDQWIURPDOOSXEOLFO\DYDLODEOHVRXUFHVDQGUHIOHFWHG

  VXFK LQIRUPDWLRQ LQ WKH SULFH RI VXFK VHFXULWLHV  8QGHU WKHVH FLUFXPVWDQFHV DOO SXUFKDVHUV RI

  9DOHDQWVHFXULWLHVGXULQJWKH&ODVV3HULRGVXIIHUHGVLPLODULQMXU\WKURXJKWKHLUSXUFKDVHRI9DOHDQW

  VHFXULWLHVDWDUWLILFLDOO\LQIODWHGSULFHDQGDSUHVXPSWLRQRIUHOLDQFHDSSOLHV

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  DOOHJHGKHUHLQDQGFRXOGQRWUHDVRQDEO\KDYHGLVFRYHUHGWKRVHIDFWV

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  LPPXQL]LQJWKRVHVWDWHPHQWVIURPOLDELOLW\ E WKHVWDWHPHQWVZHUHPDGHLQFRQQHFWLRQZLWKD

  UROOXSWUDQVDFWLRQRUWKHRSHUDWLRQVRIDOLPLWHGOLDELOLW\FRPSDQ\DQGRU F WKHVWDWHPHQWVZHUH

  LQFOXGHGLQDILQDQFLDOVWDWHPHQWSXUSRUWHGO\SUHSDUHGLQDFFRUGDQFHZLWK*$$3

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  WKH)/6ZDVDXWKRUL]HGDQGRUDSSURYHGE\DQH[HFXWLYHRIILFHURI9DOHDQWZKRNQHZWKDWWKH

  )/6ZDVIDOVH,QDGGLWLRQWKH)/6ZHUHFRQWUDGLFWHGE\H[LVWLQJXQGLVFORVHGPDWHULDOIDFWVWKDW

  ZHUH UHTXLUHG WR EH GLVFORVHG VR WKDW WKH )/6 ZRXOG QRW EH PLVOHDGLQJ  )LQDOO\ 'HIHQGDQWV¶


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  SXUSRUWHG³6DIH+DUERU´ZDUQLQJVZHUHWKHPVHOYHVPLVOHDGLQJEHFDXVHWKH\ZDUQHGRI³ULVNV´

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  could FDXVHWKH&RPSDQ\¶VDFWXDOUHVXOWVWRGLIIHU PDWHULDOO\IURPLWVH[SHFWDWLRQV7KHOLVWHG

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  PLVOHDGLQJ LQ WKDW WKH\ FRQWDLQHG PLVUHSUHVHQWDWLRQV DQG FRQFHDOHG PDWHULDO IDFWV QHFHVVDU\ LQ

  RUGHUWRPDNHWKHVWDWHPHQWVPDGHLQOLJKWRIWKHFLUFXPVWDQFHVXQGHUZKLFKWKH\ZHUHPDGHQRW

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                          QHFHVVDU\ LQ RUGHU WR PDNH WKH VWDWHPHQWV PDGH LQ OLJKW RI WKH
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                   F     HQJDJHGLQDFWVSUDFWLFHVDQGDFRXUVHRIEXVLQHVVWKDWRSHUDWHGDVDIUDXG
                          RU GHFHLW XSRQ 3ODLQWLIIV DQG RWKHUV VLPLODUO\ VLWXDWHG LQ FRQQHFWLRQ ZLWK
                          WKHLUSXUFKDVHVRI9DOHDQWVHFXULWLHVGXULQJWKH&ODVV3HULRG
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  9DOHDQW¶VRSHUDWLRQVDQGSHUIRUPDQFHWKDWZRXOGEHPDWHULDOWRLQYHVWRUVLQFRPSOLDQFHZLWKWKH

  LQWHJUDWHGGLVFORVXUHSURYLVLRQVRIWKH6(&LQFOXGLQJZLWKUHVSHFWWRWKH&RPSDQ\¶VUHYHQXHDQG

  HDUQLQJVWUHQGVVRWKDWWKHPDUNHWSULFHVRIWKH&RPSDQ\¶VVHFXULWLHVZRXOGEHEDVHGRQWUXWKIXO

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  SXUFKDVHVRI9DOHDQWVHFXULWLHVGXULQJWKH&ODVV3HULRGEHFDXVHLQUHOLDQFHRQWKHLQWHJULW\RIWKH

  PDUNHWWKH\SDLGDUWLILFLDOO\LQIODWHGSULFHVIRU9DOHDQWVHFXULWLHVDQGH[SHULHQFHGORVVHVZKHQWKH

  DUWLILFLDOLQIODWLRQZDVUHOHDVHGIURP9DOHDQWVHFXULWLHVDVDUHVXOWRIWKHUHYHODWLRQVDQGSULFHV

  GHFOLQHGHWDLOHGKHUHLQ3ODLQWLIIVDQGWKH&ODVVZRXOGQRWKDYHSXUFKDVHG9DOHDQWVHFXULWLHVDW

  WKHSULFHVWKH\SDLGRUDWDOOLIWKH\KDGEHHQDZDUHWKDWWKHPDUNHWSULFHVKDGEHHQDUWLILFLDOO\

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  9DOHDQWWKHVHGHIHQGDQWVKDGWKHSRZHUDQGDXWKRULW\WRFDXVH9DOHDQWWRHQJDJHLQWKHFRQGXFW

  FRPSODLQHGRIKHUHLQ7KHVHGHIHQGDQWVZHUHDEOHWRDQGGLGFRQWUROGLUHFWO\DQGLQGLUHFWO\WKH

  GHFLVLRQPDNLQJ RI 9DOHDQW LQFOXGLQJ WKH FRQWHQW DQG GLVVHPLQDWLRQ RI 9DOHDQW¶V SXEOLF

  VWDWHPHQWVDQGILOLQJVGHVFULEHGKHUHLQWKHUHE\FDXVLQJWKHGLVVHPLQDWLRQRIWKHPDWHULDOO\IDOVH

  DQGPLVOHDGLQJVWDWHPHQWVDQGRPLVVLRQVDVDOOHJHGKHUHLQ9DOHDQWH[HUFLVHGFRQWURORYHUDQG

  GLUHFWHG WKH DFWLRQV RI LWV VHQLRU PDQDJHUV GLUHFWRUV DQG DJHQWV LQFOXGLQJ WKH ,QGLYLGXDO

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  PLVVWDWHPHQWVDQGRPLVVLRQVVHWIRUWKDERYH,QGHHGWKHVHGHIHQGDQWVKDGGLUHFWDQGVXSHUYLVRU\

  LQYROYHPHQW LQ WKH GD\WRGD\ RSHUDWLRQV RI WKH &RPSDQ\ DQG KDG DFFHVV WR QRQSXEOLF

  LQIRUPDWLRQUHJDUGLQJ9DOHDQW¶VGHFHSWLYHDQGULVN\EXVLQHVVSUDFWLFHV9DOHDQW3HDUVRQ6FKLOOHU

  DQG5RVLHOORKDGWKHDELOLW\WRLQIOXHQFHDQGGLUHFWDQGGLGVRLQIOXHQFHDQGGLUHFWWKHDFWLYLWLHVRI

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  FXOSDEOHSDUWLFLSDWLRQ3HDUVRQ6FKLOOHUDQG5RVLHOORDUHOLDEOHSXUVXDQWWR D RIWKH([FKDQJH

  $FWMRLQWO\DQGVHYHUDOO\ZLWKDQGWRWKHVDPHH[WHQWDV9DOHDQWLVOLDEOHWR3ODLQWLIIVDQGWKH

  RWKHUPHPEHUVRIWKH&ODVV9DOHDQWH[HUFLVHGFRQWURORYHUWKH,QGLYLGXDO'HIHQGDQWVDQGDOORI

  LWV HPSOR\HHV DQG VXEVLGLDULHV DQG DV D UHVXOW RI LWV DIRUHPHQWLRQHG FRQGXFW DQG FXOSDEOH

  SDUWLFLSDWLRQLVOLDEOHSXUVXDQWWR D RIWKH([FKDQJH$FWMRLQWO\DQGVHYHUDOO\ZLWKDQGWR

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  5HSRUWZKLFKVWDWHG

         In our opinion, the accompanying consolidated balance sheets and the related
         consolidated statements of income (loss), comprehensive income (loss),
         shareholders’ equity, and cash flows present fairly, in all material respects, the
         financial position of Valeant Pharmaceuticals International, Inc. and its
         subsidiaries (the “Company”) at December 31, 2014 and December 31, 2013, and
         the results of their operations and their cash flows for each of the three years in
         the period ended December 31, 2014 in conformity with accounting principles
         generally accepted in the United States of America

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         Also in our opinion, the Company maintained, in all material respects, effective
         internal control over financial reporting as of December 31, 2014, based on
         criteria established in Internal Control - Integrated Framework (2013) issued by


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          the Committee of Sponsoring Organizations of the Treadway Commission
          (COSO).

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          We conducted our audits in accordance with the standards of the Public
          Company Accounting Oversight Board.

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  IDFWVZKLFKZHUHWKHQNQRZQWRRUUHFNOHVVO\GLVUHJDUGHGE\3Z&ZHUHWKDW

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  UHVSHFWVWKHILQDQFLDOSRVLWLRQRI9DOHDQWDQGWKHUHVXOWVRIWKHLURSHUDWLRQVDQGWKHLUFDVK

  IORZV´ DQGZHUHQRWSUHSDUHGLQFRQIRUPLW\ZLWK*$$3GXHWRPDWHULDORYHUVWDWHPHQWVRIUHYHQXH

  QHWLQFRPHDQG(36DV9DOHDQWRYHUVWDWHGUHYHQXHE\PLOOLRQQHWLQFRPHE\PLOOLRQ

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  DFFRXQWLQJSULQFLSOHVJHQHUDOO\DFFHSWHGLQWKH8QLWHG6WDWHVRI$PHULFD´EHFDXVHWKHILQDQFLDO

  VWDWHPHQWVIDLOHGWRGLVFORVH3KLOLGRUDVDPDWHULDODFTXLVLWLRQEXVLQHVVFRPELQDWLRQDQG9,(LQ

  YLRODWLRQRI*$$3

                   F     9DOHDQWGLGQRWPDLQWDLQ³LQDOOPDWHULDOUHVSHFWVHIIHFWLYHLQWHUQDOFRQWURO

  RYHU ILQDQFLDO UHSRUWLQJ DV RI 'HFHPEHU  ´ DQG 9DOHDQW¶V LQWHUQDO FRQWUROV ZHUH QRW

  HIIHFWLYHEHFDXVHWKH\VXIIHUHGIURPWKHH[LVWHQFHRIWZRPDWHULDOZHDNQHVVHVDVRI'HFHPEHU

   LQFOXGLQJ L  DQ LPSURSHU WRQH DW WKH WRS RI WKH RUJDQL]DWLRQ ZLWK D SHUIRUPDQFHEDVHG

  HQYLURQPHQW LQ ZKLFK FKDOOHQJLQJ WDUJHWV ZHUH VHW DQG DFKLHYLQJ WKRVH WDUJHWV ZDV D NH\

  SHUIRUPDQFHH[SHFWDWLRQWKDWFRQWULEXWHGWRWKHUHVWDWHPHQWDQG LL DIDLOXUHWRDGHTXDWHO\GHVLJQ

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  DQGGLVFORVXUHIRUQRQVWDQGDUGUHYHQXHWUDQVDFWLRQVDWTXDUWHUHQGVLQFOXGLQJIRUWKHPLOOLRQ

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  GLVFORVHWKHRYHUVWDWHGILQDQFLDOUHVXOWV9DOHDQW¶VDFTXLVLWLRQDQGFRQWURORI3KLOLGRULQYLRODWLRQ

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  VWRFN SULFH E\ VLJQLILFDQW DPRXQWV 3Z& NQHZ WKDW WKHVH ZHUH ULVN IDFWRUV IRU IUDXG IURP LWV ZRUN

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  $V VWDWHG E\ WKH 6(& DW WKH WLPH RI WKH GLVEDUPHQW ³,QYHVWRUV UHO\ RQ DXGLWRUV DQG DUH EHWUD\HG

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  9DOHDQWZRXOGOLNHO\GRWKHVDPHZLWK3KLOLGRUEHIRUHWKHFORVLQJRIWKH'HFHPEHUSXUFKDVH

  RSWLRQ DJUHHPHQW  1RW RQO\ ZDV 3Z& UHTXLUHG WR REMHFW WR 9DOHDQW¶V LPSURSHU SUDFWLFHV EXW

  9DOHDQW¶V SDWWHUQ RI PDQLSXODWLQJ UHYHQXHV DW TXDUWHU HQGV UHTXLUHG 3Z& WR EULQJ KHLJKWHQHG

  VFUXWLQ\WRWKHSUHFORVLQJVDOHVWR3KLOLGRU+RZHYHU3Z&DJDLQWXUQHGDEOLQGH\HWRWKHXQXVXDO

  WUDQVDFWLRQVDQGVDOHVVSLNHWR3KLOLGRUSULRUWRWKHFORVLQJRIWKHDJUHHPHQW

              3&$2% JXLGDQFH VWDWHV WKDW ³>H@IIHFWLYH DXGLWLQJ LQYROYHV GLOLJHQW SXUVXLW RI

  VXIILFLHQW DSSURSULDWH DXGLW HYLGHQFH SDUWLFXODUO\ LI FRQWUDU\ HYLGHQFH H[LVWV DQG FULWLFDO

  DVVHVVPHQWRIDOOWKHHYLGHQFHREWDLQHG´<HW3Z&IDLOHGWRFRQGXFWLWVDXGLWLQDFFRUGDQFH



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  ZLWK3&$2%VWDQGDUGVDQGIDLOHGWRLGHQWLI\WKHDFFRXQWLQJIRUWKH3KLOLGRU6DOHV7UDQVDFWLRQVDV

  QRQFRPSOLDQWZLWK*$$3

             3&$2%VWDQGDUGVDOVRUHTXLUHG3Z&WRH[HUFLVH³GXHSURIHVVLRQDOFDUH´ZKLFK

  ³UHTXLUHVWKHDXGLWRUWRH[HUFLVHSURIHVVLRQDOVNHSWLFLVP´±³DQDWWLWXGHWKDWLQFOXGHVDTXHVWLRQLQJ

  PLQGDQGDFULWLFDODVVHVVPHQWRIDXGLWHYLGHQFH´'XHSURIHVVLRQDOFDUHUHTXLUHVWKHDXGLWRUWR

  XVHWKH³NQRZOHGJHVNLOODQGDELOLW\FDOOHGIRUE\WKHSURIHVVLRQRISXEOLFDFFRXQWLQJWRGLOLJHQWO\

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  RXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV$VWKH&RPSDQ\DGPLWWHGLQLWV.

            ,QFRQQHFWLRQZLWKWKHZRUNRIWKH$G+RF&RPPLWWHHWKH&RPSDQ\GHWHUPLQHG
            WKDWFHUWDLQVDOHVWUDQVDFWLRQVIRUGHOLYHULHVWR3KLOLGRULQWKHVHFRQGKDOIRI
            OHDGLQJXSWRWKHH[HFXWLRQRIWKHSXUFKDVHRSWLRQDJUHHPHQWZHUHQRWH[HFXWHGLQ
            WKHQRUPDOFRXUVHRIEXVLQHVVXQGHUDSSOLFDEOHDFFRXQWLQJVWDQGDUGVDQGLQFOXGHG
            DFWLRQVWDNHQE\WKH&RPSDQ\ LQFOXGLQJIXOILOOPHQWRIXQXVXDOO\ODUJHRUGHUVZLWK
            H[WHQGHGSD\PHQWWHUPVDQGLQFUHDVHGSULFLQJDQHPSKDVLVRQGHOLYHULQJSURGXFW
            SULRUWRWKHH[HFXWLRQRIWKHSXUFKDVHRSWLRQDJUHHPHQWDQGVHHNLQJDQGILOOLQJD

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          VXEVWLWXWHRUGHURIHTXLYDOHQWYDOXHIRUDQXQDYDLODEOHSURGXFW LQFRQWHPSODWLRQRI
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  FORVHG9DOHDQWZRXOGQRORQJHUEHDEOHWRUHFRUGVDOHVRQGHOLYHU\RISURGXFWWR3KLOLGRU,QVWHDG

  9DOHDQWZRXOGKDYHWRGHOD\UHYHQXHUHFRJQLWLRQXQWLO3KLOLGRUVROGWKHSURGXFWVEHFDXVHDIWHU

  WKHRSWLRQDJUHHPHQWWUDQVIHUULQJSURGXFWWR3KLOLGRUZRXOGEHWKHHTXLYDOHQWRI9DOHDQWVHOOLQJ

  WRLWVHOIZKLFKLWFRXOGQRWGR,QDGGLWLRQEHFDXVH9DOHDQWFRXOGQRWLPPHGLDWHO\ERRNVDOHVWR

  3KLOLGRU DIWHU WKH FORVLQJ *$$3 DOVR SURKLELWHG 9DOHDQW IURP VLPSO\ WUDQVIHUULQJ SURGXFWV WR

  3KLOLGRUSULRUWRWKHFORVLQJLQRUGHUWRERRVWVDOHVEHFDXVH*$$3SUHFOXGHVWKHUHFRJQLWLRQRI

  UHYHQXHIURPWUDQVDFWLRQVWKDWODFNHFRQRPLFVXEVWDQFHDQGDUHGRQHRXWVLGHWKHQRUPDOFRXUVHRI

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  SDUW\ WUDQVDFWLRQV DUH PRUH VXVFHSWLEOH WR IUDXG RU LQDSSURSULDWH PDQLSXODWLRQ EHFDXVH RI WKH

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             7KHDXGLWRUVKRXOGSODFHHPSKDVLVRQWHVWLQJPDWHULDOWUDQVDFWLRQVZLWKSDUWLHVKH
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  )XUWKHUDQDXGLWRU¶V³SURIHVVLRQDOVNHSWLFLVP´GLVFXVVHGDERYHDW³LVSDUWLFXODUO\LPSRUWDQW

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  3Z&.QHZRU5HFNOHVVO\'LVUHJDUGHGWKDW9DOHDQW&RQFHDOHG,WV$FTXLVLWLRQRI3KLOLGRU
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  DGPLWWHGZDVWKH&RPSDQ\KDGPDWHULDOZHDNQHVVHVLQLWVLQWHUQDOFRQWUROVDVRI'HFHPEHU

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  ODWHU DGPLWWHG LW KDG YLRODWHG *$$3 E\ SUHPDWXUHO\ ERRNLQJ UHYHQXHV EDVHG RQ WKH XQXVXDO

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  2FWREHU   ZKLFK DOVR FRQWDLQHG WKH VDPH RU VLPLODU IDOVH DQG PLVOHDGLQJ VWDWHPHQWV


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  UHJDUGLQJLWVSXUSRUWHGHWKLFDOFRQGXFWDSSURSULDWHDFFRXQWLQJIRU3KLOLGRUDQGRWKHUPDWWHUVWKDW

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                           RU GHFHLW XSRQ 1DPHG 3ODLQWLII 7XFVRQ DQG RWKHUV VLPLODUO\ VLWXDWHG LQ
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  9DOXH$FW DOVR LQIOXHQFHG 9DOHDQW¶V KHGJHIXQGOLNH EXVLQHVV PRGHO RI FXWWLQJ 5 ' UDSLGO\

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  DQGGRFXPHQWVLQFRUSRUDWHGWKHUHLQFRQWDLQHGXQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWR

  VWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQ

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  GLUHFWO\IURPWKHVDOHRIWKHVHFXULWLHVZKLFKDOORZHGLWWRIXQGQXPHURXVFRUSRUDWHDFTXLVLWLRQV

  DQGFUHDWHDSSDUHQWJURZWKZKLFKUHVXOWHGLQVWRFNSULFHLQFUHDVHVSD\GRZQDQGUHILQDQFHGHEW

  JHQHUDWHIXQGVIRUFRUSRUDWHDFWLYLWLHVDQGSD\IRUPLOOLRQVRIGROODUVLQH[HFXWLYHFRPSHQVDWLRQ

  WR3HDUVRQDQG6FKLOOHU3HDUVRQ¶VDQG6FKLOOHU¶VFRPSHQVDWLRQ PRUHWKDQPLOOLRQDQG

  PLOOLRQ UHVSHFWLYHO\ GXULQJ WKH &ODVV 3HULRG  ZDV WLHG WR 9DOHDQW¶V EXVLQHVV DQG SURVSHFWV

  LQFOXGLQJ E\ PHHWLQJ JURZWK DQG ILQDQFLDO SHUIRUPDQFH WDUJHWV IDFLOLWDWHG E\ IXQGV UDLVHG DQG

  EXVLQHVV DFTXLVLWLRQV ILQDQFHG E\ SURFHHGV IURP WKH RIIHULQJV  ,QGHHG 3HDUVRQ¶V 

  HPSOR\PHQWDJUHHPHQWLQFOXGHGKXQGUHGVRIPLOOLRQVLQFRPSHQVDWLRQOLQNHGWRZKHWKHUWKHSULFH

  RI9DOHDQWVWRFNZHQWXSE\VLJQLILFDQWDPRXQWVRYHUWLPHDQG6FKLOOHUUHFHLYHGHTXLW\DZDUGV

  WKDWYHVWHGRQO\LI9DOHDQWDFKLHYHGFHUWDLQVKDUHSULFHLQFUHDVHV

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  LQWKHVROLFLWDWLRQDQGVDOHRIWKHVHFXULWLHVVROGLQWKHGHEWDQGHTXLW\RIIHULQJVGXULQJWKH&ODVV

  3HULRG7KHVHGHIHQGDQWVSDUWLFLSDWHGLQWKHGUDIWLQJDQGRUGLVVHPLQDWLRQRIWKHRIIHULQJPDWHULDOV

  LQH[FKDQJHIRUWHQVRIPLOOLRQVRIGROODUVLQGLVFRXQWVFRPPLVVLRQVDQGRWKHUIHHV

  6HFXULWLHV$FW3DUWLHV

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  2IIHULQJ GHVFULEHG EHORZ IURP WKH 6HFXULWLHV $FW 'HIHQGDQWV E\ PHDQV RI WKH VHFXULWLHV¶

  UHVSHFWLYHRIIHULQJSURVSHFWXVHVHDFKRIZKLFKFRQWDLQHGXQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRU

  RPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWV

  PDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGH




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  VWDWHPHQWDQGE\PHDQVRIWKHSURVSHFWXVHDFKRIZKLFKFRQWDLQHGXQWUXHVWDWHPHQWVRIPDWHULDO

  IDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKH

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  'XULQJWKH&ODVV3HULRG9DOHDQWLVVXHGELOOLRQVRIGROODUVLQGHEWDQGHTXLW\VHFXULWLHV5HOHYDQW

  WR3ODLQWLIIV¶6HFXULWLHV$FWFODLPV9DOHDQWRIIHUHGWKHIROORZLQJVHFXULWLHVLQWKH8QLWHG6WDWHV

  RQWKHGDWHVVHWIRUWKEHORZ

      'DWHRI2IIHULQJ                           6HFXULWLHV2IIHUHG                           3URFHHGV
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  3HDUVRQVLJQHG9DOHDQW¶V-XQHVKHOIUHJLVWUDWLRQVWDWHPHQWDQGSURVSHFWXV ³5HJLVWUDWLRQ


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  LVVXHG E\ VXEVLGLDULHV RI 9DOHDQW DQG XQGHU WKH FRQWURO RI 9DOHDQW LQ RUGHU WR IXQG &RPSDQ\
  DFTXLVLWLRQV ZKLFK ZHUH XOWLPDWHO\ OLTXLGDWHG ZLWK WKH RIIHULQJ SURFHHGV JLYHQ WR DQG DOO
  REOLJDWLRQVDVVXPHGE\9DOHDQWDIWHUWKHDFTXLVLWLRQVFORVHG³9DOHDQW´DVXVHGKHUHLQLQFOXGHV
  LWV FXUUHQW DQG IRUPHU VXEVLGLDULHVLQFOXGLQJ EXW QRW OLPLWHGWR95; (VFURZ&RUSDQG93,,
  (VFURZ&RUS


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  6WDWHPHQW´ DQG WRJHWKHU ZLWK 9DOHDQW¶V 0DUFK   SURVSHFWXV VXSSOHPHQW ³3URVSHFWXV

  6XSSOHPHQW´ WKH³0DUFK6WRFN2IIHULQJ0DWHULDOV´ XVHGLQFRQQHFWLRQZLWKWKHRIIHULQJ

  LQ0DUFKRIPLOOLRQVKDUHVRI9DOHDQWFRPPRQVWRFNDWDSULFHRISHUVKDUH ³0DUFK

  6WRFN2IIHULQJ´ DQG9DOHDQW¶V)RUP.H[SUHVVO\LQFRUSRUDWHGLQWRWKH0DUFK

  6WRFN2IIHULQJ0DWHULDOV'XULQJWKH&ODVV3HULRG3HDUVRQVROLFLWHGSXUFKDVHUVLQWKHGHEWDQG

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  VHUYHGRQ9DOHDQW¶V%RDUGRI'LUHFWRUVGXULQJWKH&ODVV3HULRGDQGDWWKHWLPHRIWKHGHEWDQG

  HTXLW\RIIHULQJVOLVWHGLQ6FKLOOHUVLJQHGWKH5HJLVWUDWLRQ6WDWHPHQWXVHGLQFRQQHFWLRQ

  ZLWKWKH0DUFK6WRFN2IIHULQJDQGWKHLQFRUSRUDWHG.'XULQJWKH&ODVV3HULRG

  6FKLOOHUVROLFLWHGSXUFKDVHUVLQWKHGHEWDQGHTXLW\RIIHULQJVOLVWHGLQIRUKLVRZQILQDQFLDO

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  2IIHULQJDQG9DOHDQW¶VLQFRUSRUDWHG.*RJJLQV/|QQHUDQG8EEHQZHUHPHPEHUVRI

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  WKHVHFXULWLHVVROGLQWKH-XO\'HEW2IIHULQJWKH'HFHPEHU'HEW2IIHULQJWKH-DQXDU\

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  9DOHDQW¶VRXWVLGHDXGLWRU3Z&FHUWLILHG9DOHDQW¶V.DQGLQFOXGHGD)HEUXDU\

  $XGLW 5HSRUW UHODWLQJ WR WKH ILQDQFLDO VWDWHPHQWV ILQDQFLDO VWDWHPHQW VFKHGXOH DQG WKH

  HIIHFWLYHQHVVRI9DOHDQW¶VLQWHUQDOFRQWURORYHUILQDQFLDOUHSRUWLQJ ³$XGLW5HSRUW´ 3Z&

  SURYLGHGLWVFRQVHQWWRLQFRUSRUDWHE\UHIHUHQFHWKH$XGLW5HSRUWLQ9DOHDQW¶V.

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  0DUNHWV´ %DUFOD\V&DSLWDO,QF ³%DUFOD\V´ 0RUJDQ6WDQOH\ &R//& ³0RUJDQ6WDQOH\´ 

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  ³6WRFN8QGHUZULWHU'HIHQGDQWV´ DFWHGDVFROHDGXQGHUZULWHUVRIDQGDVVHOOHUVLQWKH0DUFK

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  ³%02´ DQG60%&1LNNR6HFXULWLHV$PHULFD,QF ³60%&1LNNR6HFXULWLHV´  FROOHFWLYHO\

  WKH³%DQN2IIHULQJ'HIHQGDQWV´ HDFKDJUHHGWREHDQ³LQLWLDOSXUFKDVHU´IURPWKHLVVXHULQWKH

  RIIHULQJ RI RQH RU PRUH RI WKH  1RWHV  1RWHV  1RWHV  1RWHV 

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  7KH%DQN2IIHULQJ'HIHQGDQWVSDUWLFLSDWHGLQWKHRIIHUDQGVDOHRIWKHVHQLRUQRWHVLVVXHGDQGVROG

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  GROODUV IRU WKHLU VDOH PDUNHWLQJ DQG GLVWULEXWLRQ RI WKH VHQLRU QRWHV LQ WKH IRUP RI GLVFRXQWV

  FRPPLVVLRQVDQGRWKHUIHHV7KH%DQN2IIHULQJ'HIHQGDQWVSDUWLFLSDWHGLQWKHGUDIWLQJDQGRU

  GLVVHPLQDWLRQRIWKHVHQLRUQRWHV¶GHIHFWLYHSURVSHFWXVHVDVZHOODVLQWKHVROLFLWDWLRQDQGVDOHRI

  WKHQRWHVWR/HDG3ODLQWLIIDQGWKH&ODVVLQFRQQHFWLRQZLWKWKHQRWHRIIHULQJV

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   0RUJDQ6WDQOH\                   ;          ;          ;          ;           ;
   5%&&DSLWDO0DUNHWV              ;          ;          ;          ;           ;
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      60%&1LNNR6HFXULWLHV                                                     ;                
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                  9DOHDQW WKH ,QGLYLGXDO 6HFXULWLHV $FW 'HIHQGDQWV 3Z& DQG WKH %DQN

  2IIHULQJ'HIHQGDQWVDUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDVWKH³6HFXULWLHV$FW'HIHQGDQWV´

  9DOHDQW¶V'HEW2IIHULQJV:HUH3XEOLF2IIHULQJV

                  $OWKRXJK 9DOHDQW DVVHUWHG WKDW WKH 'HEW 2IIHULQJV ZHUH H[HPSW IURP

  UHJLVWUDWLRQ9DOHDQW¶V-XO\'HEW2IIHULQJ'HFHPEHU'HEW2IIHULQJ-DQXDU\'HEW

  2IIHULQJDQG0DUFK'HEW2IIHULQJ DOODVGHILQHGKHUHLQ FRQVWLWXWHGSXEOLFRIIHULQJV7KH

  'HEW2IIHULQJVZHUHVRPHRIWKHODUJHVWFRUSRUDWHRIIHULQJVE\DGUXJFRPSDQ\LQWKHODVWILYH

  \HDUVUDLVLQJPRUHWKDQELOOLRQIURP7,$$DQGRWKHUPHPEHUVRIWKH&ODVV$WWKHWLPHLW

  ZDVFRQVXPPDWHGWKH0DUFK'HEW2IIHULQJZDVWKHWKLUGODUJHVWKLJK\LHOGFRUSRUDWHGHEW

  RIIHULQJLQKLVWRU\

                  9LDWKH'HEW2IIHULQJV9DOHDQWZLGHO\PDUNHWHGDQGVROGLWVGHEWVHFXULWLHV

  WRKXQGUHGVLIQRWWKRXVDQGVRILQYHVWRUVZKLFKLQFOXGHG7,$$DQGRWKHUUHWLUHPHQWDQGSHQVLRQ

  SODQV RSHUDWHG IRU WKH EHQHILW RI PLOOLRQV RI WHDFKHUV ILUHILJKWHUV SROLFHPHQ VWDWH DQG ORFDO

  JRYHUQPHQWHPSOR\HHVPDQXIDFWXULQJHPSOR\HHVDFWRUVDQGVFUHHQZULWHUVFRQVWUXFWLRQZRUNHUV

  DQGRWKHUSURIHVVLRQDOVLQERWKWKHSXEOLFDQGSULYDWHVHFWRUV9DOHDQW3HDUVRQ6FKLOOHUDQGWKH

  %DQN 2IIHULQJ 'HIHQGDQWV DFWLYHO\  VROLFLWHG DQG VROG VHQLRU QRWHV LQ WKH 'HEW 2IIHULQJV WR

  LQYHVWRUVDFURVVWKH8QLWHG6WDWHV±IURP+DZDLLWR1HZ<RUNDQG7H[DVWR:\RPLQJDQGGR]HQV

  RISODFHVLQEHWZHHQLQFOXGLQJ3HQQV\OYDQLD2UHJRQDQG0LVVRXULDPRQJPDQ\RWKHUV,QVKRUW

  WKHVHFXULWLHVVROGE\9DOHDQW3HDUVRQ6FKLOOHUDQGWKH%DQN2IIHULQJ'HIHQGDQWVZHUHZLGHO\



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  PDUNHWHGYLDWHOHFRQIHUHQFHVDQGPHHWLQJVDQGVROGWRDODUJHFURVVVHFWLRQRI$PHULFDQLQYHVWRUV

  DQGWKHGHFUHDVHVLQWKHYDOXHRIWKHVHVHFXULWLHVKDVDGYHUVHO\LPSDFWHGWKHUHWLUHPHQWVDYLQJVRI

  WHQVRIPLOOLRQVRI$PHULFDQV

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  'HEW2IIHULQJ3URVSHFWXVWKH-DQXDU\'HEW2IIHULQJ3URVSHFWXVDQGWKH0DUFK'HEW

  2IIHULQJ3URVSHFWXV DOODVGHILQHGKHUHLQ DOVRLQFOXGHGWKHLQIRUPDWLRQUHTXLUHGLQFRQQHFWLRQ

  ZLWKWKHVDOHRIUHJLVWHUHGVHFXULWLHV)RUH[DPSOHHDFKRIWKHVHRIIHULQJGRFXPHQWVLQFOXGHG

  inter alia L WKHQDPHRIWKHLVVXHUDQGWKHVWDWHXQGHUZKLFKLWZDVRUJDQL]HG LL DVWDWHPHQWRI

  9DOHDQW¶VEXVLQHVV LLL WKHSULFHDQGWHUPVRIWKHVHQLRUQRWHV LY WKHHVWLPDWHGQHWSURFHHGVWR

  EHGHULYHGIURPWKHRIIHULQJ Y DVWDWHPHQWRI9DOHDQW¶VFDSLWDOL]DWLRQ YL DEDODQFHVKHHWDQG

  SURILW DQG ORVV VWDWHPHQW RI 9DOHDQW DQG YLL  WKH QDPHV RI WKH LQYHVWPHQW ILUPV VHOOLQJ WKH

  VHFXULWLHVWRLQYHVWRUV$V9DOHDQWLWVHOIKDVDFNQRZOHGJHGRQPXOWLSOHRFFDVLRQVZLWKUHVSHFWWR

  WKH'HEW2IIHULQJV³>Q@RRIIHURIVHFXULWLHVVKDOOEHPDGHH[FHSWE\PHDQVRIDSURVSHFWXVPHHWLQJ

  WKHUHTXLUHPHQWVRI6HFWLRQRIWKH6HFXULWLHV$FW´

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                 )RU9LRODWLRQVRI6HFWLRQ D  RIWKH6HFXULWLHV$FWLQ&RQQHFWLRQ
                                   ZLWKWKH-XO\'HEW2IIHULQJ

   $JDLQVW9DOHDQW3HDUVRQ6FKLOOHU*ROGPDQ6DFKV%DUFOD\V0HUULOO/\QFK-30RUJDQ
       0RUJDQ6WDQOH\5%&&DSLWDO0DUNHWV'1%0DUNHWV6XQ7UXVW&,%&+6%&
                                   08)-DQG7'6HFXULWLHV

                 3ODLQWLIIV LQFRUSRUDWH   DV WKRXJK IXOO\ VHW IRUWK KHUHLQ

  :LWKUHVSHFWWRWKLV&RXQW3ODLQWLIIVH[FOXGHDOOHJDWLRQVWKDWFRXOGEHFRQVWUXHGDVDOOHJLQJIUDXG

  RU LQWHQWLRQDO PLVFRQGXFW DV WKLV &RXQW LV EDVHG VROHO\ RQ FODLPV RI VWULFW OLDELOLW\ DQGRU

  QHJOLJHQFH


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                 /HDG3ODLQWLII7,$$EULQJVWKLVFODLPSXUVXDQWWR D  RIWKH6HFXULWLHV

  $FW86&O D  RQEHKDOIRILWVHOIDQGRWKHUPHPEHUVRIWKH&ODVVZKRSXUFKDVHGWKH

  1RWHVDQGWKH1RWHVIURP'HIHQGDQWVLQWKH-XO\'HEW2IIHULQJDJDLQVW9DOHDQW

  3HDUVRQ6FKLOOHU*ROGPDQ6DFKV%DUFOD\V0HUULOO/\QFK-30RUJDQ0RUJDQ6WDQOH\5%&

  &DSLWDO0DUNHWV'1%0DUNHWV6XQ7UXVW&,%&+6%&08)-DQG7'6HFXULWLHV

                 ,Q-XO\9DOHDQW3HDUVRQDQG6FKLOOHUWRJHWKHUZLWK*ROGPDQ6DFKV

  %DUFOD\V 0HUULOO /\QFK -3 0RUJDQ 0RUJDQ 6WDQOH\ 5%& &DSLWDO 0DUNHWV '1% 0DUNHWV

  6XQ7UXVW &,%& +6%& 08)- DQG 7' 6HFXULWLHV VROLFLWHG WR VHOO DQG VROG WR LQYHVWRUV 

  ELOOLRQ DJJUHJDWH SULQFLSDO DPRXQW RI WKH  1RWHV DQG  ELOOLRQ DJJUHJDWH SULQFLSDO

  DPRXQWRIWKH1RWHV ³-XO\'HEW2IIHULQJ´ $9DOHDQWUHOHDVHLVVXHGLQFRQQHFWLRQ

  ZLWKWKHRIIHULQJVWDWHGWKDWQHWSURFHHGVRIWKH-XO\'HEW2IIHULQJZRXOGEHXVHGWRIXQG

  WKHUHFHQWO\DQQRXQFHGDFTXLVLWLRQRI%DXVFK /RPEDQGWKHUHSD\PHQWRI%DXVFK /RPE¶V

  RXWVWDQGLQJGHEW

                 2Q-XQH9DOHDQWILOHGD)RUP.VLJQHGE\6FKLOOHUDQQRXQFLQJ

  WKHSULFLQJRIWKHVHQLRUQRWHVVROGLQWKH-XO\'HEW2IIHULQJ

                 2Q-XO\9DOHDQWILOHGD)RUP.VLJQHGE\6FKLOOHUDQQRXQFLQJ

  WKHFORVLQJRIWKH-XO\'HEW2IIHULQJ

                 ,Q DGGLWLRQ 3HDUVRQ DQG 6FKLOOHU SDUWLFLSDWHG LQ FRQIHUHQFH FDOOV ZLWK

  LQYHVWRUV LQ FRQQHFWLRQ ZLWK WKH -XO\  'HEW 2IIHULQJ WR HPSKDVL]H 9DOHDQW¶V EXVLQHVV

  RSHUDWLRQVDQGSURVSHFWVLQFOXGLQJFDOOVKHOGRQ0D\DQG-XQH)RUH[DPSOHGXULQJ

  WKH0D\FDOO3HDUVRQDQG6FKLOOHUGLVFXVVHG9DOHDQW¶VDFTXLVLWLRQRI%DXVFK /RPE

  WKDWWKH&RPSDQ\ZRXOGEHLVVXLQJQRWHVWRIXQGWKHDFTXLVLWLRQDQGWKHVXEVWDQWLDOEHQHILWVWKDW




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  ZRXOGDFFUXHWR9DOHDQWIURPWKHDFTXLVLWLRQLQFOXGLQJPLOOLRQLQSXUSRUWHGFRVWV\QHUJLHV

  IRUWKH&RPSDQ\E\WKHHQGRI

                        $ FRPSUHKHQVLYH RIIHULQJ PHPRUDQGXP ZDV GUDIWHG DQGRU DSSURYHGE\

  9DOHDQW3HDUVRQ6FKLOOHUDQGWKH%DQN2IIHULQJ'HIHQGDQWVQDPHGLQWKLV&RXQWIRUWKH-XO\

   'HEW 2IIHULQJ ³-XO\  'HEW 2IIHULQJ 3URVSHFWXV´   7KH -XO\  'HEW 2IIHULQJ

  3URVSHFWXVVROLFLWHGSXUFKDVHUVIRUWKHRIIHULQJDQGFRQWDLQHGLQIRUPDWLRQUHTXLUHGWREHGLVFORVHG

  LQDSURVSHFWXVSUHSDUHGXQGHURIWKH6HFXULWLHV$FWDVDOOHJHGLQ 

                        7KH %DQN 2IIHULQJ 'HIHQGDQWV QDPHG LQ WKLV &RXQW DFWHG DV ³LQLWLDO

  SXUFKDVHUV´DQGDJUHHGWRSXUFKDVHWKHVHQLRUQRWHVVROGLQWKH-XO\'HEW2IIHULQJIURPWKH

  LVVXHUZLWKWKHLQWHQWWRVHOOWKHQRWHVWRLQYHVWRUVE\PHDQVRIWKHSURVSHFWXVDQGWRPDUNHWWKH

  QRWHVLQH[FKDQJHIRUGLVFRXQWVFRPPLVVLRQVDQGDGGLWLRQDOIHHVDQGH[SHQVHV/HDG3ODLQWLII

  DQGRWKHUPHPEHUVRIWKH&ODVVSXUFKDVHG9DOHDQWVHQLRUQRWHVLQWKH-XO\'HEW2IIHULQJ

  IURPWKH%DQN2IIHULQJ'HIHQGDQWVQDPHGLQWKLV&RXQWDQGGLGVRE\PHDQVRIWKH-XO\

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  UHVXOWFRQWDLQHGXQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHG

  WREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPH

  WKH\ZHUHPDGH

            $FWLRQDEOH6WDWHPHQWV


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     7KH -XO\  'HEW 2IIHULQJ 3URVSHFWXV DOVR H[SUHVVO\ LQFRUSRUDWHG 9DOHDQW¶V ILQDQFLDO
  ILOLQJV LQFOXGLQJ LWV  L   . LL  4 4 LLL  )RUP . FXUUHQW UHSRUWV ILOHG RQ
  )HEUXDU\0D\0D\0D\0D\0D\DQG-XQH RWKHUWKDQGRFXPHQWV
  RU SRUWLRQV RI WKHVH GRFXPHQWV GHHPHG WR EH IXUQLVKHG UDWKHU WKDQ ILOHG  LY   3UR[\
  6WDWHPHQWDQG Y DOODGGLWLRQDODQQXDODQGTXDUWHUO\ILQDQFLDOVWDWHPHQWVTXDUWHUO\UHSRUWVDQG
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                   D     $ ³NH\ HOHPHQW´ RI 9DOHDQW¶V EXVLQHVV VWUDWHJ\ ZKLFK DOORZHG LW WR

  “improve both the growth rate and profitability of the Company´ DQG ³enhance shareholder

  value´ZDVLWV³low-risk research and development (‘R&D’) model´

                   E     9DOHDQW¶V GHUPDWRORJ\ VHJPHQW ZDV DQ ³DWWUDFWLYH PDUNHW´ IRU 9DOHDQW

  EHFDXVHRI³VROLGPDUNHWJURZWK´7KHSURVSHFWXVLGHQWLILHG³[k]ey growth drivers´IRU9DOHDQW¶V

  GHUPDWRORJ\ SURGXFWV DV ³DJLQJ DQG JURZLQJ SRSXODWLRQ´ FRQVXPHU ³VHOIDZDUHQHVV´ DQG

  ³LPSURYHG WHFKQRORJ\´ EXW IDLOHG WR GLVFORVH 9DOHDQW¶V GUDPDWLF SULFH LQFUHDVHV QHWZRUN RI

  FRQWUROOHGSKDUPDFLHVRUXVHRI3$3DQG35VWUDWHJLHVWRDYRLGSDWLHQWVFUXWLQ\

                   F     9DOHDQW¶V GHUPDWRORJ\ DQG RWKHU SURGXFW PDUNHWV KDG ³specialized

  channels´ WKDWSRVLWLRQHGWKH&RPSDQ\WR³strengthen its competitive positioning´DQG³continue

  to drive organic growth´ EXW IDLOHG WR GLVFORVH 9DOHDQW¶V UHODWLRQVKLS ZLWK 3KLOLGRU DQG WKDW

  3KLOLGRUKDGEHHQIRUPHGIRUWKHEHQHILWRI9DOHDQWWRLQFUHDVHWKHVDOHVSULFHRI9DOHDQWSURGXFWV

  IDU EH\RQG LQGXVWU\ QRUPV DQG SUHYHQWHG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV ZLWK WKRVH RI RWKHU

  FRPSDQLHV

                   G     $OWKRXJK 9DOHDQW FRQWUROOHG DQG KDG VLJQLILFDQW LQIOXHQFH RYHU 3KLOLGRU

  ³pricing and sales volume of certain of our products . . . are distributed by third parties, over

  which we have no or limited control´

                   H     9DOHDQW³do[es] not like to ‘bet’ on high-risk science´DQG³avoid[s] high-

  risk blockbuster programs´W\SLFDORIODUJHSKDUPDFHXWLFDOFRPSDQLHV

                 7KH44ZKLFKZDVH[SUHVVO\LQFRUSRUDWHGLQWRWKH-XO\'HEW

  2IIHULQJ 3URVSHFWXV UHSUHVHQWHG WKDW PDQDJHPHQW¶V GLVFORVXUH FRQWUROV DQG SURFHGXUHV ZHUH

  HIIHFWLYH  ³2XU PDQDJHPHQW ZLWK WKH SDUWLFLSDWLRQ RI RXU &(2 DQG &KLHI )LQDQFLDO 2IILFHU



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  µ&)2¶ KDVHYDOXDWHGWKHHIIHFWLYHQHVVRIRXUGLVFORVXUHFRQWUROVDQGSURFHGXUHVDVRI0DUFK

  Based on this evaluation, our CEO and CFO concluded thatour disclosure controls and

  procedures were effective as of March 31, 2013´ ³,QWHUQDO&RQWUROV6WDWHPHQW´ 7KH4

  4DOVRLQFOXGHG 62;&HUWLILFDWLRQV VLJQHGE\3HDUVRQDQG6FKLOOHUVWDWLQJWKDWWKH44GLG

  QRWFRQWDLQDQ\XQWUXHVWDWHPHQWVRURPLVVLRQVRIPDWHULDOIDFWVDVGHVFULEHGLQ

                 7KH -XO\  'HEW 2IIHULQJ 3URVSHFWXV    FRQWDLQHG

  XQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQ

  RUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGH7KH

  WUXHIDFWVZHUH

                   D     WKDWDOWKRXJKQRWGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0V

  DQG LQYHVWRUV 9DOHDQW HPSOR\HHV ZRUNHG DW 3KLOLGRU DQG 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH

  DVVLVWDQFHDQGIRUWKHEHQHILWRI9DOHDQWWRLQFUHDVHWKHVDOHSULFHVRI9DOHDQWSURGXFWV

                   E     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\DQGWKHNH\JURZWKGULYHURIGHUPDWRORJ\

  VDOHVFRQVLVWHGRIDPDWHULDOVRXUFHRILWVJURZWKLQVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQG

  RWKHU SURGXFWV UHVXOWHG IURP XQGLVFORVHG SUDFWLFHV RI L  GUDPDWLF SULFH LQFUHDVHV WKDW ZHUH

  XQVXVWDLQDEOH DQG IDU EH\RQG LQGXVWU\ QRUPV LL  URXWLQJ SDWLHQWV LQWR 9DOHDQW¶V QHWZRUN RI

  FRQWUROOHGSKDUPDFLHVWKDWDSSHDUHGLQGHSHQGHQWZKHQLQWUXWKWKH\ZHUHQRW LLL XVLQJ3$3DQG

  35 SUDFWLFHV WR DYRLG SDWLHQW VFUXWLQ\ DQG LY  QRW GLVFORVLQJ WKHVH SUDFWLFHV WR SD\RUV DQG

  REWDLQLQJ UHLPEXUVHPHQW IRU GUXJV WKDW ZRXOG QRW RWKHUZLVH EH UHLPEXUVHG RU ZRXOG QRW EH

  UHLPEXUVHGDWVXFKUDWHVLIWKHVHSUDFWLFHVZHUHGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV

  DQG3%0V

                   F     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\ZDVQRW³ORZULVN´DVLWVEXVLQHVVULVNVKDG

  PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH XQGLVFORVHG SUDFWLFHV LQ VXESDUDJUDSK E  DERYH ZKLFK



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  H[SRVHGWKH&RPSDQ\WRUHJXODWRU\VDQFWLRQLQYHVWLJDWLRQDQGDVVRFLDWHGFRVWVUHSXWDWLRQDOKDUP

  FRQWUDFWXDO YLRODWLRQV GHFUHDVHG VDOHV QRQSD\PHQWVXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\ 3%0V

  SULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVZHUHGLVFORVHG

                  G     WKDW 9DOHDQW ZDV QRW HPSOR\LQJ D ³ORZ ULVN UHVHDUFK DQG GHYHORSPHQW

  PRGHO´RUDYRLGLQJ³KLJKULVN´VWUDWHJLHVEXWUDWKHUHPSOR\LQJDVWUDWHJ\WKDWVXEMHFWHG9DOHDQW

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  IXWXUHEXVLQHVVSURVSHFWVDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQWRQ9DOHDQW¶VDELOLW\WR

  FRQWLQXHWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNV

  LQVXESDUDJUDSK F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVV

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  HYHQWVRUWUDQVDFWLRQVRUDQ\VLJQLILFDQWHFRQRPLFFKDQJHVWKDWPDWHULDOO\DIIHFWHGWKHDPRXQWRI

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  WKHP LQ WKH IRUP RI FRPSHQVDWLRQ GLVFRXQWV IHHV FRPPLVVLRQV DQG RWKHU WUDQVDFWLRQUHODWHG

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  LQWKH-XO\'HEW2IIHULQJ3URVSHFWXVLQFOXGLQJILQDQFLDOVWDWHPHQWVDQGVWDWHPHQWVUHJDUGLQJ

  9DOHDQW¶VLQWHUQDOFRQWUROVDQGIDLOHGWRGRVR+DGWKHVH'HIHQGDQWVH[HUFLVHGUHDVRQDEOHFDUH

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  HODSVHGIURPWKHWLPHWKDW/HDG3ODLQWLIIGLVFRYHUHGRUUHDVRQDEO\FRXOGKDYHGLVFRYHUHGWKHIDFWV

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  FRPSODLQWIRUYLRODWLRQVRIWKHVHFXULWLHVODZV/HVVWKDQWKUHH\HDUVHODSVHGEHWZHHQWKHWLPHWKDW

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  IURPWKHLVVXHUZLWKWKHLQWHQWWRVHOOWKHQRWHVWRLQYHVWRUVE\ PHDQVRIWKHSURVSHFWXVDQGWR

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  3ODLQWLIIDQGRWKHUPHPEHUVRIWKH&ODVVSXUFKDVHG9DOHDQWVHQLRUQRWHVLQWKH'HFHPEHU

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  UHTXLUHGWREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDW

  WKHWLPHWKH\ZHUHPDGH

         $FWLRQDEOH6WDWHPHQWV

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                  D     $ ³NH\ HOHPHQW´ RI 9DOHDQW¶V EXVLQHVV VWUDWHJ\ ZKLFK DOORZHG LW WR

  ³improve both the growth rate and profitability of the Company´ DQG ³enhance shareholder

  value´ZDVLWV³lower-risk research and development (‘R&D’) model´

                  E     9DOHDQW¶V GHUPDWRORJ\ VHJPHQW ZDV DQ ³DWWUDFWLYH PDUNHW´ IRU 9DOHDQW

  EHFDXVHRI³VROLGPDUNHWJURZWK´7KHSURVSHFWXVLGHQWLILHG“[k]ey growth drivers´IRU9DOHDQW¶V

  GHUPDWRORJ\ SURGXFWV DV ³DJLQJ DQG JURZLQJ SRSXODWLRQ´ FRQVXPHU ³VHOIDZDUHQHVV´ DQG

  ³LPSURYHG WHFKQRORJ\´ EXW IDLOHG WR GLVFORVH 9DOHDQW¶V GUDPDWLF SULFH LQFUHDVHV QHWZRUN RI

  FRQWUROOHGSKDUPDFLHVRUXVHRI3$3DQG35VWUDWHJLHVWRDYRLGSDWLHQWVFUXWLQ\

                  F     9DOHDQW¶V GHUPDWRORJ\ DQG RWKHU SURGXFW PDUNHWV KDG ³specialized

  channels´ WKDWSRVLWLRQHGWKH&RPSDQ\WR³strengthen its competitive positioning´DQG³continue



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  to drive organic growth´ EXW IDLOHG WR GLVFORVH 9DOHDQW¶V UHODWLRQVKLS ZLWK 3KLOLGRU DQG WKDW

  3KLOLGRUKDGEHHQIRUPHGIRUWKHEHQHILWRI9DOHDQWWRLQFUHDVHWKHVDOHVSULFHRI9DOHDQWSURGXFWV

  IDU EH\RQG LQGXVWU\ QRUPV DQG SUHYHQWHG VXEVWLWXWLRQ RI 9DOHDQW SURGXFWV ZLWK WKRVH RI RWKHU

  FRPSDQLHV

                   G     ³pricing and sales volume of certain of our products . . . are distributed or

  marketed by third parties, over which we have no or limited control´ZLWKRXWGLVFORVLQJWKDW

  9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU

                   H     9DOHDQW ³avoid[s] high-risk blockbuster programs´ W\SLFDO RI ODUJH

  SKDUPDFHXWLFDOFRPSDQLHV

                   I     9DOHDQWKDGFRQVROLGDWHGUHYHQXHVIRUWKHQLQHPRQWKVHQGHG6HSWHPEHU

  RIDSSUR[LPDWHO\ELOOLRQDQDSSUR[LPDWHO\LQFUHDVH\HDURYHU\HDUEXWIDLOHG

  WRGLVFORVHWKDWWKLVJURZWKKDGEHHQDFKLHYHGLQSDUWWKURXJKKLJKULVNDQGLPSURSHUSUDFWLFHV

  WKDW H[RUELWDQWO\ UDLVHG VDOHV SULFHV WKURXJK WKH XVH RI FDSWLYH VSHFLDOW\ SKDUPDFLHV ZKLOH

  SUHYHQWLQJVXEVWLWXWLRQRI9DOHDQWSURGXFWVZLWKWKRVHRIRWKHUFRPSDQLHV

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  DQG WKHUHE\ UHVWDWHG VWDWHPHQWV IURP WKH 4 4 OLVWHG LQ  WKDW FRQWDLQHG XQWUXH

  VWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQRU

  QHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGH

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  LQFRUSRUDWHG LQWR WKH 'HFHPEHU  'HEW 2IIHULQJ 3URVSHFWXV FRQWDLQHG WKH VDPH ,QWHUQDO

  &RQWUROV6WDWHPHQW DQG62;&HUWLILFDWLRQVVLJQHGE\3HDUVRQDQG6FKLOOHU DVVHWIRUWKLQ

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  VWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\

  ZHUHPDGH7KHWUXHIDFWVZHUH

                   D      WKDWDOWKRXJKQRWGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0V

  DQG LQYHVWRUV 9DOHDQW HPSOR\HHV ZRUNHG DW 3KLOLGRU DQG 3KLOLGRU KDG EHHQ IRUPHG ZLWK WKH

  DVVLVWDQFH DQG IRU WKH EHQHILW RI 9DOHDQW WRLQFUHDVH WKH VDOHSULFHV RI 9DOHDQW SURGXFWV DQG WR

  SUHYHQWWKHVXEVWLWXWLRQRI9DOHDQWSURGXFWVZLWKWKRVHRIRWKHUFRPSDQLHV

                   E      WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\DQGWKHNH\JURZWKGULYHURIGHUPDWRORJ\

  VDOHVFRQVLVWHGRIDPDWHULDOVRXUFHRILWVJURZWKLQVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQG

  RWKHU SURGXFWV UHVXOWHG IURP XQGLVFORVHG SUDFWLFHV RI  L  GUDPDWLF SULFH LQFUHDVHV WKDW ZHUH

  XQVXVWDLQDEOH LQFOXGLQJIRUH[DPSOHGRXEOLQJWKHSULFHRI6\SULQHRQ-XO\GRXEOLQJLW

  DJDLQRQ$XJXVWDQGGRXEOLQJLW\HWDJDLQRQ$XJXVWIRUDWRWDOLQFUHDVHRI

   IURP  WR   LL  URXWLQJ SDWLHQWV LQWR 9DOHDQW¶V QHWZRUN RI FRQWUROOHG

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  SUDFWLFHVWRDYRLGSDWLHQWVFUXWLQ\DQG LY QRWGLVFORVLQJWKHVHSUDFWLFHVWRSD\RUVDQGREWDLQLQJ

  UHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWRWKHUZLVHEHUHLPEXUVHGRUZRXOGQRWEHUHLPEXUVHGDW

  VXFKUDWHVLIWKHVHSUDFWLFHVZHUHGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQVDQG3%0V

                   F      WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\ZDVQRW³ORZULVN´DVLWVEXVLQHVVULVNVKDG

  PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH XQGLVFORVHG SUDFWLFHV LQ VXESDUDJUDSK E  DERYH ZKLFK

  H[SRVHGWKH&RPSDQ\WRUHJXODWRU\VDQFWLRQLQYHVWLJDWLRQDQGDVVRFLDWHGFRVWVUHSXWDWLRQDOKDUP

  FRQWUDFWXDO YLRODWLRQV GHFUHDVHG VDOHV QRQSD\PHQWVXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\ 3%0V

  SULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVZHUHGLVFORVHG



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                   G     WKDW9DOHDQWZDVQRWHPSOR\LQJD“lower risk research and development

  model” RUDYRLGLQJ³KLJKULVN´VWUDWHJLHVEXWUDWKHUHPSOR\LQJDVWUDWHJ\WKDWVXEMHFWHG9DOHDQW

  WRWKHLQFUHDVHGULVNVVHWIRUWKLQVXESDUDJUDSK F DERYH

                   H     WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXH(36DQGSURILWDELOLW\DVZHOODVLWV

  IXWXUHEXVLQHVVSURVSHFWVDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQWRQ9DOHDQW¶VDELOLW\WR

  FRQWLQXHWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNV

  LQVXESDUDJUDSK F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVV

  SURVSHFWV

                   I     WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

  SURJUDPVWKDWIDLOHGWRHQVXUHWKDWLWV6(&ILOLQJVDQGSXEOLFGLVFORVXUHV ZHUH IUHHRI PDWHULDO

  PLVVWDWHPHQWVDQG

                   J     WKDWWKH62;&HUWLILFDWLRQVLQ9DOHDQW¶V4444DQG4

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  WRPDNHWKHVWDWHPHQWVPDGHQRWPLVOHDGLQJ

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  )RUP 4 LQFRUSRUDWHG LQWR WKH 'HFHPEHU  'HEW 2IIHULQJ 3URVSHFWXV WR GHVFULEH ³DQ\

  NQRZQWUHQGVRUXQFHUWDLQWLHVWKDWKDYHKDGRUWKDWWKHUHJLVWUDQWUHDVRQDEO\H[SHFWVZLOOKDYHD

  PDWHULDO IDYRUDEOH RU XQIDYRUDEOH LPSDFW RQ QHW VDOHV RU UHYHQXHV RU LQFRPH IURP FRQWLQXLQJ

  RSHUDWLRQV´  &)5  D  LL   6LPLODUO\ WKH UHJXODWLRQ UHTXLUHG WKH TXDUWHUO\

  VWDWHPHQWV WR GLVFORVH HYHQWV WKDW WKH UHJLVWUDQW NQHZ ZRXOG ³FDXVH D PDWHULDO FKDQJH LQ WKH

  UHODWLRQVKLSEHWZHHQFRVWVDQGUHYHQXHV´DQG³DQ\XQXVXDORULQIUHTXHQWHYHQWVRUWUDQVDFWLRQVRU

  DQ\VLJQLILFDQWHFRQRPLFFKDQJHVWKDWPDWHULDOO\DIIHFWHGWKHDPRXQWRIUHSRUWHGLQFRPHIURP




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  FRQWLQXLQJRSHUDWLRQVDQGLQHDFKFDVHLQGLFDWHWKHH[WHQWWRZKLFKLQFRPHZDVVRDIIHFWHG´

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  4RPLWWHGWKDWDWWKHWLPHRIWKH'HFHPEHU'HEW2IIHULQJ9DOHDQW¶VJURZWKDQGSURILWDELOLW\

  ZHUHLQFUHDVLQJO\GHSHQGHQWXSRQLWVXQGLVFORVHGSUDFWLFHVRISULFHJRXJLQJURXWLQJSDWLHQWVLQWR

  LWV XQGLVFORVHG DQG FRQWUROOHG QHWZRUN RI SKDUPDFLHV DQG XVLQJ 3$3 DQG 35 SUDFWLFHV DOO RI

  ZKLFKUHVXOWHGLQ9DOHDQWREWDLQLQJKLJKHUUHLPEXUVHPHQWVIRU9DOHDQW¶VSURGXFWVDQGKDGDPDMRU

  LPSDFW LQ GULYLQJ 9DOHDQW¶V UHYHQXH JURZWK ZKLOH H[SRVLQJWKH &RPSDQ\ WR LQFUHDVHG ULVNV RI

  UHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRILQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQV

  GHFUHDVHGVDOHVDQGLQFUHDVHGVFUXWLQ\QRQSD\PHQWDQGVXEVWLWXWLRQRI9DOHDQWSURGXFWV7KHVH

  NQRZQWUHQGVHYHQWVRUXQFHUWDLQWLHVWKDWZHUHUHDVRQDEO\OLNHO\WRKDYHDPDWHULDOXQIDYRUDEOH

  LPSDFWRQ9DOHDQW¶VQHWVDOHVRUUHYHQXHVRULQFRPHIURPFRQWLQXLQJRSHUDWLRQVDQGFDXVHUHSRUWHG

  ILQDQFLDOLQIRUPDWLRQWRQRWQHFHVVDULO\EHLQGLFDWLYHRIIXWXUHUHVXOWVZHUHQHJOLJHQWO\RPLWWHGLQ

  WKHTXDUWHUO\VWDWHPHQWVLQFRUSRUDWHGLQWRWKH'HFHPEHU'HEW2IIHULQJ3URVSHFWXV

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  DOORZLQJ9DOHDQWWRREWDLQDSSUR[LPDWHO\PLOOLRQIURP7,$$DQGWKHRWKHUPHPEHUVRIWKH

  &ODVVZKRSXUFKDVHGVHQLRUQRWHVGLUHFWO\LQWKH'HFHPEHU'HEW2IIHULQJIURPWKH%DQN

  2IIHULQJ 'HIHQGDQWV QDPHG LQ WKLV &RXQW E\ PHDQV RI WKH 'HFHPEHU  'HEW 2IIHULQJ

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  'HFHPEHU'HEW2IIHULQJ3URVSHFWXVDQGWKH\GLGVRIRUWKHEHQHILWRI9DOHDQWDQGRUIRU

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  DIILOLDWHG ZLWK WKHP LQ WKH IRUP RI FRPSHQVDWLRQ GLVFRXQWV IHHV FRPPLVVLRQV DQG RWKHU

  WUDQVDFWLRQUHODWHG SD\PHQWV  7KH %DQN 2IIHULQJ 'HIHQGDQWV QDPHG LQ WKLV &RXQW DORQH

  FROOHFWLYHO\UHFHLYHGDSSUR[LPDWHO\PLOOLRQLQIHHVIRUWKHLUUROHLQWKH'HFHPEHU'HEW

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  ZHUHREOLJDWHGE\ODZWRPDNHDUHDVRQDEOHDQGGLOLJHQWLQYHVWLJDWLRQRIWKHVWDWHPHQWVFRQWDLQHG

  LQ WKH 'HFHPEHU  'HEW 2IIHULQJ 3URVSHFWXV LQFOXGLQJ ILQDQFLDO VWDWHPHQWV DQG VWDWHPHQWV

  UHJDUGLQJ 9DOHDQW¶V LQWHUQDO FRQWUROV DQG IDLOHG WR GR VR  +DG WKHVH GHIHQGDQWV H[HUFLVHG

  UHDVRQDEOH FDUH WKH\ ZRXOG KDYH NQRZQ RI WKH PDWHULDO PLVVWDWHPHQWV DQG RPLVVLRQV DOOHJHG

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  3ODLQWLIIDQGWKHRWKHUPHPEHUVRIWKH&ODVVZKRSXUFKDVHG9DOHDQW¶VVHQLRUQRWHVLQWKH'HFHPEHU

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  VHFXULWLHV WR WKH 'HIHQGDQWV VXHG KHUHLQ  &ODVV PHPEHUV ZKR KDYH VROG WKHLU VHFXULWLHV VHHN

  GDPDJHVWRWKHH[WHQWSHUPLWWHGE\ODZ

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  RI WKH &ODVV ZHUH QRW DZDUH RI WKH XQWUXH RU PLVOHDGLQJ QDWXUH RI WKH VWDWHPHQWV DQGRU WKH



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  RPLVVLRQV DOOHJHG KHUHLQ DQG FRXOG QRW KDYH UHDVRQDEO\ GLVFRYHUHG VXFK XQWUXH VWDWHPHQWV RU

  RPLVVLRQVEHIRUHWKH\DFTXLUHGWKHVHFXULWLHVIRUZKLFKWKLVFODLPLVDVVHUWHG/HVVWKDQRQH\HDU

  HODSVHGIURPWKHWLPHWKDW/HDG3ODLQWLIIGLVFRYHUHGRUUHDVRQDEO\FRXOGKDYHGLVFRYHUHGWKHIDFWV

  XSRQ ZKLFK WKLV &RQVROLGDWHG &RPSODLQW LV EDVHG XQWLO WKH WLPH WKDW SODLQWLIIV ILOHG WKH HDUOLHU

  FRPSODLQWIRUYLRODWLRQVRIWKHVHFXULWLHVODZV/HVVWKDQWKUHH\HDUVHODSVHGEHWZHHQWKHWLPHWKDW

  WKHVHFXULWLHVXSRQZKLFKWKLV&RXQWLVEURXJKWZHUHRIIHUHGWRWKHSXEOLFDQGWKHGDWHWKHDFWLRQ

  FRPPHQFHG

                                  &28179,,&28179,,,
                                               
            )RU9LRODWLRQVRI6HFWLRQ D  RIWKH6HFXULWLHV$FWLQ&RQQHFWLRQ
                            ZLWKWKH-DQXDU\'HEW2IIHULQJ
     $JDLQVW9DOHDQW3HDUVRQ6FKLOOHU%DUFOD\V5%&&DSLWDO0DUNHWV'HXWVFKH%DQN
     '1%0DUNHWV+6%&08)-0RUJDQ6WDQOH\&LWLJURXS-30RUJDQDQG6XQ7UXVW

                  3ODLQWLIIV LQFRUSRUDWH   DV WKRXJK IXOO\ VHW IRUWK KHUHLQ

  :LWKUHVSHFWWRWKLV&RXQW3ODLQWLIIVDOVRH[FOXGHDOOHJDWLRQVWKDWFRXOGEHFRQVWUXHGDVDOOHJLQJ

  IUDXGRULQWHQWLRQDOPLVFRQGXFWDVWKLV&RXQWLVEDVHGVROHO\RQFODLPVRIVWULFWOLDELOLW\DQGRU

  QHJOLJHQFH

                  /HDG3ODLQWLII7,$$EULQJVWKLVFODLPSXUVXDQWWR D  RIWKH6HFXULWLHV

  $FW86&O D  RQEHKDOIRILWVHOIDQGRWKHUPHPEHUVRIWKH&ODVVZKRSXUFKDVHGWKH

  1RWHVIURP'HIHQGDQWVLQWKH-DQXDU\'HEW2IIHULQJDJDLQVW9DOHDQW3HDUVRQ6FKLOOHU

  %DUFOD\V5%&&DSLWDO0DUNHWV'HXWVFKH%DQN'1%0DUNHWV+6%&08)-0RUJDQ6WDQOH\

  &LWLJURXS-30RUJDQDQG6XQ7UXVW

                  ,Q -DQXDU\  9DOHDQW 3HDUVRQ DQG 6FKLOOHU WRJHWKHU ZLWK %DUFOD\V

  5%&&DSLWDO0DUNHWV'HXWVFKH%DQN'1%0DUNHWV+6%&08)-0RUJDQ6WDQOH\&LWLJURXS

  -3 0RUJDQ DQG 6XQ7UXVW VROLFLWHG WR VHOO DQG VROG WR LQYHVWRUV  ELOOLRQ DJJUHJDWH SULQFLSDO

  DPRXQWRIWKH1RWHV ³-DQXDU\'HEW2IIHULQJ´ $9DOHDQWUHOHDVHLVVXHGLQFRQQHFWLRQ


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  ZLWKWKHRIIHULQJVWDWHGWKDWQHWSURFHHGVRIWKH-DQXDU\'HEW2IIHULQJZRXOGEHXVHGWRSD\

  GRZQWKH&RPSDQ\¶VRXWVWDQGLQJVHQLRUQRWHVGXHUHSD\DPRXQWVRXWVWDQGLQJXQGHU

  WKH&RPSDQ\¶VUHYROYLQJFUHGLWIDFLOLW\DQGIRUJHQHUDOFRUSRUDWHSXUSRVHVLQFOXGLQJDFTXLVLWLRQV

                        2Q-DQXDU\9DOHDQWILOHGDUHSRUWRQ)RUP.VLJQHGE\6FKLOOHU

  VWDWLQJWKDWWKH&RPSDQ\ZRXOGFRPPHQFHWKH-DQXDU\'HEW2IIHULQJ

                        2Q-DQXDU\9DOHDQWILOHGDUHSRUWRQ)RUP.VLJQHGE\6FKLOOHU

  DQQRXQFLQJWKHFORVLQJRIWKH-DQXDU\'HEW2IIHULQJ

                        ,Q DGGLWLRQ 3HDUVRQ DQG 6FKLOOHU SDUWLFLSDWHG LQ FRQIHUHQFH FDOOV LQ

  FRQQHFWLRQZLWKWKH-DQXDU\'HEW2IIHULQJZLWKLQYHVWRUVWRHPSKDVL]H9DOHDQW¶VEXVLQHVV

  RSHUDWLRQVDQGSURVSHFWVLQFOXGLQJFDOOVKHOGRQ-DQXDU\DQG-DQXDU\

                        $ FRPSUHKHQVLYH RIIHULQJ PHPRUDQGXP ZDV GUDIWHG DQGRU DSSURYHGE\

  9DOHDQW3HDUVRQ6FKLOOHUDQGWKH%DQN2IIHULQJ'HIHQGDQWVQDPHGLQWKLV&RXQWIRUWKH-DQXDU\

  'HEW2IIHULQJ ³-DQXDU\'HEW2IIHULQJ3URVSHFWXV´ 7KH-DQXDU\'HEW2IIHULQJ

  3URVSHFWXVVROLFLWHGSXUFKDVHUVIRUWKHRIIHULQJDQGFRQWDLQHGLQIRUPDWLRQUHTXLUHGWREHGLVFORVHG

  LQDSURVSHFWXVSUHSDUHGXQGHURIWKH6HFXULWLHV$FWDVDOOHJHGLQ 

                        7KH %DQN 2IIHULQJ 'HIHQGDQWV QDPHG LQ WKLV &RXQW DFWHG DV ³LQLWLDO

  SXUFKDVHUV´DQGDJUHHGWRSXUFKDVHWKHVHQLRUQRWHVVROGLQWKH-DQXDU\'HEW2IIHULQJIURP

  WKHLVVXHUZLWKWKHLQWHQWWRVHOOWKHQRWHVWRLQYHVWRUVE\PHDQVRIWKHSURVSHFWXVDQGWRPDUNHW


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      7KH-DQXDU\'HEW2IIHULQJ3URVSHFWXVDOVRH[SUHVVO\LQFRUSRUDWHG9DOHDQW¶VILQDQFLDO
  ILOLQJVLQFOXGLQJLWV L )RUP. LL HDFKRIWKHTXDUWHUO\VWDWHPHQWVRQ)RUP
  4 LLL )RUP.FXUUHQWUHSRUWVILOHGRQ-XQH DVDPHQGHGE\WKH)RUP.$ILOHGRQ
  2FWREHU DQG$SULO0D\0D\0D\6HSWHPEHU6HSWHPEHU1RYHPEHU
  DQG-DQXDU\ RWKHUWKDQGRFXPHQWVRUSRUWLRQVRIWKHVHGRFXPHQWVGHHPHGWR
  EH IXUQLVKHG UDWKHU WKDQ ILOHG  LY   3UR[\ 6WDWHPHQW DQG Y  DOO DGGLWLRQDO DQQXDO DQG
  TXDUWHUO\ILQDQFLDOILOLQJVTXDUWHUO\UHSRUWVDQGSUR[\VWDWHPHQWVLVVXHGSULRUWRWKHFRPSOHWLRQRI
  WKH-DQXDU\'HEW2IIHULQJ


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  WKHQRWHVLQH[FKDQJHIRUGLVFRXQWVFRPPLVVLRQVDQGDGGLWLRQDOIHHVDQGH[SHQVHV/HDG3ODLQWLII

  DQG WKH RWKHU PHPEHUV RI WKH &ODVV SXUFKDVHG 9DOHDQW VHQLRU QRWHV LQ WKH -DQXDU\  'HEW

  2IIHULQJIURPWKHVH%DQN2IIHULQJ'HIHQGDQWVQDPHGLQWKLV&RXQWDQGGLGVRE\PHDQVRIWKH

  -DQXDU\'HEW2IIHULQJ3URVSHFWXV

                  7KH-DQXDU\'HEW2IIHULQJ3URVSHFWXVZDVQHJOLJHQWO\SUHSDUHGDQG

  DV D UHVXOW FRQWDLQHG XQWUXH VWDWHPHQWV RI PDWHULDO IDFW DQGRU RPLWWHG WR VWDWH PDWHULDO IDFWV

  UHTXLUHGWREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDW

  WKHWLPHWKH\ZHUHPDGH

          $FWLRQDEOH6WDWHPHQWV

                  7KH-DQXDU\'HEW2IIHULQJ3URVSHFWXVUHSUHVHQWHGWKDW

                   D      $ ³NH\ HOHPHQW´ RI 9DOHDQW¶V EXVLQHVV VWUDWHJ\ ZKLFK DOORZHG LW WR

  ³maximize both the growth rate and profitability of the Company´DQG³enhance shareholder

  value´ZDVLWV³lower risk, output-focused research and development model´

                   E      9DOHDQW ³avoid[s] high-risk blockbuster programs´ W\SLFDO RI ODUJH

  SKDUPDFHXWLFDOFRPSDQLHV

                   F      9DOHDQW¶V GHUPDWRORJ\ VHJPHQW DQG RWKHU VHJPHQWV ZHUH ³DWWUDFWLYH

  PDUNHWV´ LQ ZKLFK 9DOHDQW RSHUDWHG EHFDXVH WKH\ ZHUH ³high-growth businesses´ ZKHUH WKH

  ³healthcare professional or patient is still the primary decision maker´DQGVLPLODUO\VWDWHGWKDW

  9DOHDQW¶VEXVLQHVVVWUDWHJ\RSHUDWHG³to ensure decisions are made close to the customer´EXW

  IDLOHGWRGLVFORVHWKH&RPSDQ\¶VH[RUELWDQWSULFHLQFUHDVHVRULPSURSHUDFFRXQWLQJDVDVRXUFHRI

  JURZWKRUWKDWWKH&RPSDQ\ZDVPDNLQJVDOHVSULFLQJDQGHYHQSUHVFULSWLRQGHFLVLRQVZLWKRXWWKH

  NQRZOHGJHDQGFRQVHQWRIKHDOWKFDUHSURIHVVLRQDOVRUSDWLHQWV




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                   G     ³pricing and sales volume of certain of our products . . . are distributed or

  marketed by third parties, over which we have no or limited control´ZLWKRXWGLVFORVLQJWKDW

  9DOHDQWFRQWUROOHGDQGKDGVLJQLILFDQWLQIOXHQFHRYHU3KLOLGRU´DQG

                   H     9DOHDQWKDGFRQVROLGDWHGUHYHQXHVIRUWKHQLQHPRQWKVHQGHG6HSWHPEHU

  RIDSSUR[LPDWHO\ELOOLRQDQDSSUR[LPDWHO\LQFUHDVH\HDURYHU\HDUEXWIDLOHGWR

  GLVFORVHWKDWWKLVJURZWKKDGEHHQDFKLHYHGLQSDUWWKURXJKKLJKULVNDQGLPSURSHUSUDFWLFHVZKLFK

  H[RUELWDQWO\UDLVHGVDOHVSULFHVWKURXJKWKHXVHRIFDSWLYHVSHFLDOW\SKDUPDFLHVZKLOHSUHYHQWLQJ

  VXEVWLWXWLRQRI9DOHDQWSURGXFWVZLWKWKRVHRIRWKHUFRPSDQLHV

                 9DOHDQW¶V  . ZKLFK ZDV H[SUHVVO\ LQFRUSRUDWHG LQWR WKH-DQXDU\

  'HEW2IIHULQJ3URVSHFWXVDOVRVWDWHGWKDWWKH&RPSDQ\IDFHGVLJQLILFDQWFRPSHWLWLRQIURP

  JHQHULF SKDUPDFHXWLFDO SURGXFWV ZLWKRXW GLVFORVLQJ WKH VWHSV WDNHQ WR DYRLG WKH VXEVWLWXWLRQ RI

  9DOHDQWSURGXFWVVWDWLQJLQSDUW³*HQHULFYHUVLRQVDUHJHQHUDOO\VLJQLILFDQWO\OHVVH[SHQVLYHWKDQ

  EUDQGHGYHUVLRQVDQGZKHUHDYDLODEOHPD\EHUHTXLUHGLQSUHIHUHQFHWRWKHEUDQGHGYHUVLRQXQGHU

  WKLUGSDUW\UHLPEXUVHPHQWSURJUDPVRUVXEVWLWXWHGE\SKDUPDFLHV´,WDGGHG³To successfully

  compete for business with managed care and pharmacy benefits management organizations, we

  must often demonstrate that our products offer not only medical benefits but also cost

  advantages as compared with other forms of care´

                 7KH.DOVRH[SUHVVO\DGGUHVVHG9,(V$9,(LVGHILQHGLQ*$$3

  DVDOHJDOHQWLW\WKDWLVVXEMHFWWRFRQVROLGDWLRQ$OWKRXJK3KLOLGRUZDVD9,(XQGHU*$$3LQLWV

  .9DOHDQWH[SOLFLWO\VWDWHGWKDWLWGLGQRWKROGDQ\LQWHUHVWVLQ9,(VVWDWLQJ³there were

  no material arrangements determined to be variable interest entities´

                 7KH.LQFOXGHG0DQDJHPHQW¶V&RQFOXVLRQVLJQHGE\3HDUVRQDQG

  6FKLOOHU ³that the Company’s internal control over financial reporting was effective as of



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  December 31, 2013DQGWKHVDPH,QWHUQDO&RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQVDVVHWIRUWK

  LQWKHSULRUILQDQFLDOVWDWHPHQWVDW 

                 7KH 4 4 4 4 DQG 4 4 ZKLFK ZHUH H[SUHVVO\

  LQFRUSRUDWHG LQWR WKH -DQXDU\  'HEW 2IIHULQJ 3URVSHFWXV PDGH QXPHURXV VWDWHPHQWV

  UHJDUGLQJWKH&RPSDQ\¶VSXUSRUWHGO\³lower risk´EXVLQHVVVWUDWHJ\WKDWZRXOG³maximize both

  the growth rate and the profitability of the Company´DQG³enhance shareholder value´

                 9DOHDQW¶V 4 4 VLJQHG E\ 3HDUVRQ DQG 6FKLOOHU DQG H[SUHVVO\

  LQFRUSRUDWHG LQWR WKH -DQXDU\  'HEW 2IIHULQJ 3URVSHFWXV UHSRUWHG WKH &RPSDQ\¶V 3Q14

  revenues of $2.056 billion, net income of $275.7 million, and GAAP EPS of $0.81

                 (DFK RI 9DOHDQW¶V  TXDUWHUO\ VWDWHPHQWV RQ )RUP 4 ZHUH HDFK

  LQFRUSRUDWHG LQWR WKH -DQXDU\  'HEW 2IIHULQJ 3URVSHFWXV DQG FRQWDLQHG WKH VDPH ,QWHUQDO

  &RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQVDVVHWIRUWKLQ 

                 7KH-DQXDU\'HEW2IIHULQJ3URVSHFWXV   FRQWDLQHG

  XQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQ

  RUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGH7KH

  WUXHIDFWVZHUH

                   D     WKDWDOWKRXJKQRWGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0V

  DQGLQYHVWRUV9DOHDQWHPSOR\HHVZRUNHGDW3KLOLGRU3KLOLGRUKDGEHHQIRUPHGZLWKWKHDVVLVWDQFH

  DQG IRU WKH EHQHILW RI 9DOHDQW WR LQFUHDVH WKH VDOH SULFHV RI 9DOHDQW SURGXFWV 9DOHDQW SDLG

  3KLOLGRU¶VRZQHUVPLOOLRQLQ'HFHPEHUIRUWKHULJKWWRDFTXLUH3KLOLGRUIRUDQGKDG

  REWDLQHG H[SOLFLW ULJKWV WR GLUHFW 3KLOLGRU DFWLYLWLHV DQG 9DOHDQW ZDV FRQVROLGDWLQJ 3KLOLGRU¶V

  UHVXOWVDVLWVRZQ




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                   E     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\DQGWKHNH\JURZWKGULYHURIGHUPDWRORJ\

  VDOHVFRQVLVWHGRIDPDWHULDOVRXUFHRILWVJURZWKLQVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQG

  RWKHU SURGXFWV UHVXOWHG IURP XQGLVFORVHG SUDFWLFHV RI  L  GUDPDWLF SULFH LQFUHDVHV WKDW ZHUH

  XQVXVWDLQDEOH DQG IDU EH\RQG LQGXVWU\ QRUPV LQFOXGLQJ IRU H[DPSOH LQFUHDVLQJ WKH SULFH RI

  6\SULQHDQG&XSULPLQHE\RQ-XO\  LL URXWLQJSDWLHQWVLQWR9DOHDQW¶VQHWZRUNRI

  FRQWUROOHGSKDUPDFLHVWKDWDSSHDUHGLQGHSHQGHQWZKHQLQWUXWKWKH\ZHUHQRW LLL XVLQJ3$3DQG

  35 SUDFWLFHV WR DYRLG SDWLHQW VFUXWLQ\ DQG LY  QRW GLVFORVLQJ WKHVH SUDFWLFHV WR SD\RUV DQG

  REWDLQLQJ UHLPEXUVHPHQW IRU GUXJV WKDW ZRXOG QRW RWKHUZLVH EH UHLPEXUVHG RU ZRXOG QRW EH

  UHLPEXUVHGDWVXFKUDWHVLIWKHVHSUDFWLFHVZHUHGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV

  DQG3%0V

                   F     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\ZDVQRW³ORZULVN´DVLWVEXVLQHVVULVNVKDG

  PDWHULDOO\ LQFUHDVHG DV D UHVXOW RI WKH XQGLVFORVHG SUDFWLFHV LQ VXESDUDJUDSK E  DERYH ZKLFK

  H[SRVHGWKH&RPSDQ\WRUHJXODWRU\VDQFWLRQLQYHVWLJDWLRQDQGDVVRFLDWHGFRVWVUHSXWDWLRQDOKDUP

  FRQWUDFWXDO YLRODWLRQV GHFUHDVHG VDOHV QRQSD\PHQWVXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\ 3%0V

  SULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVZHUHGLVFORVHG

                   G     WKDW9DOHDQWZDVQRWHPSOR\LQJD³ORZHUULVNRXWSXWIRFXVHGUHVHDUFKDQG

  GHYHORSPHQWPRGHO´EXWUDWKHUHPSOR\LQJDVWUDWHJ\WKDWVXEMHFWHG9DOHDQWWRWKHLQFUHDVHGULVNV

  VHWIRUWKLQVXESDUDJUDSK F DERYH

                   H     WKDW WKH &RPSDQ\¶V ³KLJKJURZWK EXVLQHVVHV´ LQFOXGLQJ LWV GHUPDWRORJ\

  EXVLQHVVKDGJURZQWKURXJKH[RUELWDQWSULFHLQFUHDVHVGHSHQGHQWRQDFTXLULQJFRPSDQLHVDQGGUXJ

  SRUWIROLRVLQZKLFKLWFRXOGHQJDJHLQWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\

  VORZGRZQ RU FHVVDWLRQ RI VXFK DFTXLVLWLRQV ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH

  &RPSDQ\¶VEXVLQHVVFDVKIORZVDQGUHVXOWVRIRSHUDWLRQV



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                    I     WKDW UDWKHU WKDQ FRPSHWLQJ E\ GHPRQVWUDWLQJ WKHLU SURGXFWV¶ ³FRVW

  DGYDQWDJHV´ 'HIHQGDQWV ZHUH XVLQJ XQGLVFORVHG PHWKRGV WR VHFXUH SD\PHQW IRU PDVVLYH SULFH

  LQFUHDVHVZKLFKLQFOXGHGUDLVLQJWKHSULFHRISURGXFWVIDUDERYHLQGXVWU\QRUPVLQFOXGLQJE\DV

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  ZLWKPRUHFRVWHIILFLHQWJHQHULFVWKDWZHUHSUHIHUUHGE\3%0VDQGVXEVWLWXWHGE\SKDUPDFLHVWKH

  XQGLVFORVHG SUDFWLFHV GHVFULEHG LQ VXESDUDJUDSK E  DERYH DOORZHG 9DOHDQW WR DYRLG VXFK

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  IXWXUHEXVLQHVVSURVSHFWVDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQWRQ9DOHDQW¶VDELOLW\WR

  FRQWLQXHWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNV

  LQVXESDUDJUDSK F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVV

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                    L     WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

  SURJUDPVWKDWIDLOHGWRHQVXUHWKDWLWV6(&ILOLQJVDQGSXEOLFGLVFORVXUHV ZHUH IUHHRI PDWHULDO

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  VLJQLILFDQW HFRQRPLF FKDQJHV WKDW PDWHULDOO\ DIIHFWHG WKH DPRXQW RI UHSRUWHG LQFRPH IURP

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  DQGFRQWUROOHGQHWZRUNRISKDUPDFLHVDQGXVLQJ3$3DQG35SUDFWLFHVDOORIZKLFKUHVXOWHGLQ

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  RUXQFHUWDLQWLHVWKDWZHUHUHDVRQDEO\OLNHO\WRKDYHDPDWHULDOXQIDYRUDEOHLPSDFWRQ9DOHDQW¶VQHW

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  WRQRWQHFHVVDULO\EHLQGLFDWLYHRIIXWXUHUHVXOWVZHUHQHJOLJHQWO\RPLWWHGIURPWKH.

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  &ODVV ZKR SXUFKDVHG VHQLRU QRWHV GLUHFWO\ LQ WKH -DQXDU\  'HEW 2IIHULQJ IURP WKH %DQN

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  ZHUHREOLJDWHGE\ODZWRPDNHDUHDVRQDEOHDQGGLOLJHQWLQYHVWLJDWLRQRIWKHVWDWHPHQWVFRQWDLQHG

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  UHDVRQDEOH FDUH WKH\ ZRXOG KDYH NQRZQ RI WKH PDWHULDO PLVVWDWHPHQWV DQG RPLVVLRQV DOOHJHG

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  3ODLQWLIIDQGWKHRWKHUPHPEHUVRIWKH&ODVVZKRSXUFKDVHG9DOHDQW¶VVHQLRUQRWHVLQWKH-DQXDU\



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  VHFXULWLHV WR WKH GHIHQGDQWV VXHG KHUHLQ  &ODVV PHPEHUV ZKR KDYH VROG WKHLU VHFXULWLHV VHHN

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  WKHRPLVVLRQVDOOHJHGKHUHLQDQGFRXOGQRWKDYHUHDVRQDEO\GLVFRYHUHGVXFKXQWUXHVWDWHPHQWVRU

  RPLVVLRQVEHIRUHWKH\DFTXLUHGWKHVHFXULWLHVIRUZKLFKWKLVFODLPLVDVVHUWHG/HVVWKDQRQH\HDU

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  XSRQ ZKLFK WKLV &RQVROLGDWHG &RPSODLQW LV EDVHG XQWLO WKH WLPH WKDW SODLQWLIIV ILOHG WKH HDUOLHU

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  WKHVHFXULWLHVXSRQZKLFKWKLV&RXQWLVEURXJKWZHUHRIIHUHGWRWKHSXEOLFDQGWKHGDWHWKHDFWLRQ

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  IUDXGRULQWHQWLRQDOPLVFRQGXFWDVWKLV&RXQWLVEDVHGVROHO\RQFODLPVRIVWULFWOLDELOLW\DQGRU

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  EHLVVXLQJERQGVWRIXQGWKHDFTXLVLWLRQHPSKDVL]LQJWKHEHQHILWV9DOHDQWZRXOGGHULYHIURPWKH

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  WKHQRWHVLQH[FKDQJHIRUGLVFRXQWVFRPPLVVLRQVDQGDGGLWLRQDOIHHVDQGH[SHQVHV/HDG3ODLQWLII

  DQG WKH RWKHU PHPEHUV RI WKH &ODVV SXUFKDVHG 9DOHDQW VHQLRU QRWHV LQ WKH 0DUFK  'HEW

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  UHTXLUHGWREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDW

  WKHWLPHWKH\ZHUHPDGH

            $FWLRQDEOH6WDWHPHQWV


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  
      7KH 0DUFK  'HEW 2IIHULQJ 3URVSHFWXV DOVR H[SUHVVO\ LQFRUSRUDWHG 9DOHDQW¶V ILQDQFLDO
  ILOLQJVLQFOXGLQJLWV L . LL )RUP.FXUUHQWUHSRUWVILOHGRQ-DQXDU\-DQXDU\
  )HEUXDU\DQG0DUFK RWKHUWKDQGRFXPHQWVRUSRUWLRQVRIWKHVHGRFXPHQWVGHHPHGWR
  EH IXUQLVKHG UDWKHU WKDQ ILOHG  LLL   3UR[\ 6WDWHPHQW DQG LY  DOO DGGLWLRQDO DQQXDO DQG
  TXDUWHUO\ILQDQFLDOILOLQJVTXDUWHUO\UHSRUWVDQGSUR[\VWDWHPHQWVLVVXHGSULRUWRWKHFRPSOHWLRQRI
  WKH0DUFK'HEW2IIHULQJ


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                7KH0DUFK'HEW2IIHULQJ3URVSHFWXVUHSUHVHQWHGWKDW

                  D     $ ³NH\ HOHPHQW´ RI 9DOHDQW¶V EXVLQHVV VWUDWHJ\ ZKLFK DOORZHG LW WR

  ³maximize both the growth rate and profitability of the Company´DQG³enhance shareholder

  value´ZDVLWV³lower-risk, output-focused research and development model´

                  E     $OWKRXJK 9DOHDQW FRQWUROOHG DQG KDG VLJQLILFDQW LQIOXHQFH RYHU 3KLOLGRU

  “pricing and sales volume of certain of our products . . . are distributed or marketed by third

  parties, over which we have no or limited control´

                  F     9DOHDQW¶V GHUPDWRORJ\ VHJPHQW DQG RWKHU VHJPHQWV ZHUH ³DWWUDFWLYH

  PDUNHWV´ LQ ZKLFK 9DOHDQW RSHUDWHG EHFDXVH WKH\ ZHUH ³high-growth businesses´ ZLWK

  ³sustainableRUJDQLFgrowth´ZKHUHWKH³healthcare professional or patient is still the primary

  decision maker´ DQG VLPLODUO\ VWDWHG WKDW 9DOHDQW¶V EXVLQHVV VWUDWHJ\ RSHUDWHG ³to ensure

  decisions are made close to the customer´EXWIDLOHGWRGLVFORVHWKH&RPSDQ\¶VH[RUELWDQWSULFH

  LQFUHDVHVRULPSURSHUDFFRXQWLQJDVDVRXUFHRIJURZWKRUWKDWWKH&RPSDQ\ZDVPDNLQJVDOHV

  SULFLQJ DQG HYHQ SUHVFULSWLRQ GHFLVLRQV ZLWKRXW WKH NQRZOHGJH DQG FRQVHQW RI KHDOWKFDUH

  SURIHVVLRQDOVRUSDWLHQWVDQGIXUWKHUWKDWVXFKSUDFWLFHVDQG9DOHDQW¶VJURZWKGHSHQGHQWRQWKHP

  ZHUHQRWVXVWDLQDEOHDQG

                  G     9DOHDQWKDGFRQVROLGDWHGUHYHQXHVIRUWKH\HDUHQGHG'HFHPEHU

  RIDSSUR[LPDWHO\ELOOLRQDQDSSUR[LPDWHO\LQFUHDVH\HDURYHU\HDUEXWIDLOHGWRGLVFORVH

  WKDW WKLV JURZWK KDG EHHQ DFKLHYHG LQ SDUW WKURXJK KLJKULVN DQG LPSURSHU SUDFWLFHV ZKLFK

  H[RUELWDQWO\UDLVHGVDOHVSULFHVWKURXJKWKHXVHRIFDSWLYHVSHFLDOW\SKDUPDFLHVZKLOHSUHYHQWLQJ

  VXEVWLWXWLRQRI9DOHDQWSURGXFWV

                7KH0DUFK'HEW2IIHULQJ3URVSHFWXVGLVFXVVHGWKH&RPSDQ\¶V³2WKHU

  5HFHQW$FTXLVLWLRQV´EXWIDLOHGWRPHQWLRQ3KLOLGRUDWDOOOHWDORQHGLVFORVH9DOHDQW¶VHUURQHRXV



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  DFFRXQWLQJUHODWHGWR3KLOLGRURUWKDW9DOHDQWSDLGPLOOLRQIRUWKHRSWLRQWRDFTXLUH3KLOLGRU

  MXVWWKUHHPRQWKVSULRUWRWKH0DUFK'HEW2IIHULQJ,QVWHDGWKH0DUFK'HEW2IIHULQJ

  3URVSHFWXVVWDWHGWKDWWKH&RPSDQ\ZDV³not currently a party to any significant transactions,

  other than the [Salix merger]´

                 7KH  . ZKLFK ZDV H[SUHVVO\ LQFRUSRUDWHG LQWR WKH 0DUFK 

  'HEW 2IIHULQJ 3URVSHFWXV FODLPHG WKH &RPSDQ\ IDFHG VLJQLILFDQW FRPSHWLWLRQ IURP JHQHULF

  SKDUPDFHXWLFDOSURGXFWVZLWKRXWGLVFORVLQJ9DOHDQW¶VSUDFWLFHVWRSUHYHQWWKHVXEVWLWXWLRQRILWV

  SURGXFWV)RUH[DPSOHWKH.VWDWHGLQSDUW³*HQHULFYHUVLRQVDUHJHQHUDOO\VLJQLILFDQWO\

  OHVVH[SHQVLYHWKDQEUDQGHGYHUVLRQVDQGZKHUHDYDLODEOHPD\EHUHTXLUHGLQSUHIHUHQFHWRWKH

  EUDQGHG YHUVLRQ XQGHU WKLUG SDUW\ UHLPEXUVHPHQW SURJUDPV RU VXEVWLWXWHG E\ SKDUPDFLHV´  ,W

  DGGHG  ³To successfully compete for business with managed care and pharmacy benefits

  management organizations, we must often demonstrate WKDWRXUSURGXFWVRIIHUQRWRQO\PHGLFDO

  EHQHILWVEXWDOVRcost advantages as compared with other forms of care´

                 7KH  . IXUWKHU UHSRUWHG WKH &RPSDQ\¶V 4Q14 revenue of $2.28

  billion, net income of $534.9 million, and GAAP EPS of $1.56, and full year 2014 revenue of

  $8.264 billion, net income of $913.5 million, and GAAP EPS of $2.67´

                 7KH  . DGGUHVVHG 9DOHDQW¶V ³6LJQLILFDQW $FFRXQWLQJ 3ROLFLHV´

  LQFOXGLQJLWV³3ULQFLSOHVRI&RQVROLGDWLRQ´VWDWLQJWKDW³[t]he consolidated financial statements

  include the accounts of the Company and those of its subsidiaries and any variable interest

  entities (‘VIEs’) for which the Company is the primary beneficiary´ZKLOHRPLWWLQJDQ\PHQWLRQ

  RI3KLOLGRU

                 7KH.VWDWHGXQGHUWKHKHDGLQJ³%XVLQHVV&RPELQDWLRQV´

          During the year ended December 31, 2014, the Company completed other smaller
          acquisitions, including the consolidation of variable interest entities, which are


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         not material individually or in the aggregate7KHVHDFTXLVLWLRQVDUHLQFOXGHGLQ
         WKHDJJUHJDWHGDPRXQWVSUHVHQWHGEHORZ

                7KH.LQFOXGHG³5HSRUWVRI0DQDJHPHQWRQ)LQDQFLDO6WDWHPHQWV

  DQG,QWHUQDO&RQWURORYHU)LQDQFLDO5HSRUWLQJ´VLJQHGE\3HDUVRQDQG6FKLOOHUVWDWLQJ

         )LQDQFLDO6WDWHPHQWV

         7KH &RPSDQ\¶V PDQDJHPHQW LV UHVSRQVLEOH IRU SUHSDULQJ WKH DFFRPSDQ\LQJ
         FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV LQ FRQIRUPLW\ ZLWK 8QLWHG 6WDWHV JHQHUDOO\
         DFFHSWHG DFFRXQWLQJ SULQFLSOHV ³86 *$$3´  ,Q SUHSDULQJ WKHVH FRQVROLGDWHG
         ILQDQFLDO VWDWHPHQWV management selects appropriate accounting policies DQG
         XVHV LWV MXGJPHQW DQG EHVW HVWLPDWHV to report events and transactions as they
         occurManagement has determined such amounts on a reasonable basis in order
         to ensure that the consolidated financial statements are presented fairly, in all
         material respects. Financial information included throughout this Annual
         Report is prepared on a basis consistent with that of the accompanying
         consolidated financial statements.

         ,QWHUQDO&RQWURO2YHU)LQDQFLDO5HSRUWLQJ

         8QGHU WKH VXSHUYLVLRQ DQG ZLWK WKH SDUWLFLSDWLRQ RI PDQDJHPHQW LQFOXGLQJ WKH
         &RPSDQ\¶V &KLHI ([HFXWLYH 2IILFHU DQG &KLHI )LQDQFLDO 2IILFHU WKH &RPSDQ\
         FRQGXFWHGDQHYDOXDWLRQRIWKHHIIHFWLYHQHVVRILWVLQWHUQDOFRQWURORYHUILQDQFLDO
         UHSRUWLQJ EDVHG RQ WKH IUDPHZRUN GHVFULEHG LQ ,QWHUQDO &RQWURO ² ,QWHJUDWHG
         )UDPHZRUN   LVVXHG E\ WKH &RPPLWWHH RI 6SRQVRULQJ2UJDQL]DWLRQVRIWKH
         7UHDGZD\ &RPPLVVLRQ Based on its evaluation under this framework,
         management concluded that the Company’s internal control over financial
         reporting was effective as of December 31, 2014

                7KH)RUP.ZDVVLJQHGE\3HDUVRQDQG6FKLOOHUDQGFRQWDLQHGWKH

  VDPH,QWHUQDO&RQWUROV6WDWHPHQWDQG62;&HUWLILFDWLRQVDVVHWIRUWKLQ 

                7KH0DUFK'HEW2IIHULQJ3URVSHFWXV   FRQWDLQHG

  XQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQ

  RUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGH7KH

  WUXHIDFWVZHUH

                  D     WKDWDOWKRXJKQRWGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0V

  DQGLQYHVWRUV9DOHDQWHPSOR\HHVZRUNHGDW3KLOLGRU3KLOLGRUKDGEHHQIRUPHGZLWKWKHDVVLVWDQFH


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  DQG IRU WKH EHQHILW RI 9DOHDQW WR LQFUHDVH WKH VDOH SULFHV RI 9DOHDQW SURGXFWV 9DOHDQW SDLG

  3KLOLGRU¶VRZQHUVPLOOLRQLQ'HFHPEHUIRUWKHULJKWWRDFTXLUH3KLOLGRUIRUDQGKDG

  REWDLQHG H[SOLFLW ULJKWV WR GLUHFW 3KLOLGRU DFWLYLWLHV DQG 9DOHDQW ZDV FRQVROLGDWLQJ 3KLOLGRU¶V

  UHVXOWVDVLWVRZQ

                   E     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\FRQVLVWHGRIDPDWHULDOVRXUFHRILWVJURZWK

  LQVDOHVRILWVNH\GHUPDWRORJ\QHXURORJ\DQGRWKHUSURGXFWVUHVXOWHGIURPXQGLVFORVHGSUDFWLFHV

  RI L GUDPDWLFSULFHLQFUHDVHVWKDWZHUHXQVXVWDLQDEOHDQGIDUEH\RQGLQGXVWU\QRUPV LQFOXGLQJ

  IRUH[DPSOHLQFUHDVLQJWKHSULFHRI6\SULQHDQG&XSULPLQHE\RQ-XO\  LL URXWLQJ

  SDWLHQWVLQWR9DOHDQW¶VQHWZRUNRIFRQWUROOHGSKDUPDFLHVDSSHDUHGLQGHSHQGHQWZKHQLQWUXWKWKH\

  ZHUHQRW LLL XVLQJ3$3DQG35SUDFWLFHVWRDYRLGSDWLHQWVFUXWLQ\DQG LY QRWGLVFORVLQJWKHVH

  SUDFWLFHVWRSD\RUVDQGREWDLQLQJWRREWDLQUHLPEXUVHPHQWIRUGUXJVWKDWZRXOGQRWRWKHUZLVHEH

  UHLPEXUVHGRUZRXOGQRWEHUHLPEXUVHGDWVXFKUDWHVLIWKHVHSUDFWLFHVZHUHGLVFORVHGWRSULYDWH

  SD\RUVSDWLHQWVSK\VLFLDQVDQG3%0V

                   F     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\ZDVQRW³ORZHUULVN´DVLWVEXVLQHVVULVNV

  KDGPDWHULDOO\LQFUHDVHGDVDUHVXOWRIWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHZKLFK

  H[SRVHGWKH&RPSDQ\WRUHJXODWRU\VDQFWLRQLQYHVWLJDWLRQDQGDVVRFLDWHGFRVWVUHSXWDWLRQDOKDUP

  FRQWUDFWXDO YLRODWLRQV GHFUHDVHG VDOHV QRQSD\PHQWVXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\ 3%0V

  SULYDWHSD\RUVDQGSK\VLFLDQVLIVXFKSUDFWLFHVZHUHGLVFORVHG

                   G     WKDW UDWKHU WKDQ FRPSHWLQJ E\ GHPRQVWUDWLQJ WKHLU SURGXFWV¶ ³FRVW

  DGYDQWDJHV´ 'HIHQGDQWV ZHUH XVLQJ XQGLVFORVHG PHWKRGV WR VHFXUH SD\PHQW IRU PDVVLYH SULFH

  LQFUHDVHVZKLFKLQFOXGHGUDLVLQJWKHSULFHRISURGXFWVIDUDERYHLQGXVWU\QRUPVLQFOXGLQJE\DV

  PXFKDVDQGZLWKRXWMXVWLILFDWLRQWKDWZRXOGEHDFFHSWDEOHWRSD\RUVDV9DOHDQWKDGQRW

  LQFUHDVHGVSHQGLQJRQ5 'WRLPSURYHWKHDIIHFWHGPHGLFDWLRQV



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                   H     WKDWWKH&RPSDQ\¶VUHSRUWHGUHYHQXH(36DQGSURILWDELOLW\DVZHOODVLWV

  IXWXUHEXVLQHVVSURVSHFWVDQGDELOLW\WRVHUYLFHLWVGHEWZHUHGHSHQGHQWRQ9DOHDQW¶VDELOLW\WR

  FRQWLQXHWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGEHFDXVHRIWKHXQGLVFORVHGULVNV

  LQVXESDUDJUDSK F DERYHGLGQRWDFFXUDWHO\SRUWUD\9DOHDQW¶VILQDQFLDOSHUIRUPDQFHDQGEXVLQHVV

  SURVSHFWV

                   I     WKDW 9DOHDQW ZDV QRW HPSOR\LQJ D ³ORZHU ULVN UHVHDUFK DQG GHYHORSPHQW

  PRGHO´ EXW HPSOR\LQJ D VWUDWHJ\ WKDW VXEMHFWHG 9DOHDQW WR WKH LQFUHDVHG ULVNV VHW IRUWK LQ

  VXESDUDJUDSK F DERYH

                   J     WKDW WKH &RPSDQ\¶V ³KLJKJURZWK EXVLQHVVHV´ LQFOXGLQJ LWV GHUPDWRORJ\

  EXVLQHVVKDGJURZQWKURXJKH[RUELWDQWSULFHLQFUHDVHVGHSHQGHQWRQDFTXLULQJFRPSDQLHVDQGGUXJ

  SRUWIROLRVLQZKLFKLWFRXOGHQJDJHLQWKHXQGLVFORVHGSUDFWLFHVLQVXESDUDJUDSK E DERYHDQGDQ\

  VORZGRZQ RU FHVVDWLRQ RI VXFK DFTXLVLWLRQV ZRXOG KDYH D PDWHULDO DGYHUVH HIIHFW RQ WKH

  &RPSDQ\¶VEXVLQHVVFDVKIORZVDQGUHVXOWVRIRSHUDWLRQV

                   K     WKDW ZKLOH WKH &RPSDQ\¶V EUDQGHG SURGXFWV ZHUH VXEMHFW WR FRPSHWLWLRQ

  ZLWKPRUHFRVWHIILFLHQWJHQHULFVWKDWZHUHSUHIHUUHGE\3%0VDQGVXEVWLWXWHGE\SKDUPDFLHVWKH

  XQGLVFORVHG SUDFWLFHV GHVFULEHG LQ VXESDUDJUDSK E  DERYH DOORZHG 9DOHDQW WR DYRLG VXFK

  VXEVWLWXWLRQ

                   L     WKDW9DOHDQWKDGPDWHULDOO\LQFUHDVHGWKHDPRXQWRIVDOHVWKURXJK3KLOLGRU

  DV3KLOLGRUH[SDQGHGLWVQHWZRUNRISKDUPDFLHVDQGEHJDQVHOOLQJLQVWDWHVZKHUHLWGLGQRWKDYH

  RUKDGEHHQGHQLHGDOLFHQVH

                   M     WKDW 9DOHDQW ODFNHG DGHTXDWH LQWHUQDO FRQWUROV FRPSOLDQFH DQG WUDLQLQJ

  SURJUDPVWKDWIDLOHGWRHQVXUHWKDWLWV6(&ILOLQJVDQGSXEOLFGLVFORVXUHV ZHUH IUHHRI PDWHULDO

  PLVVWDWHPHQWV



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                  N       WKDWLQYLRODWLRQRI*$$3WKH.IDLOHGWRGLVFORVH3KLOLGRUDVD

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                  O       WKDW WKH 62; FHUWLILFDWLRQV LQ 9DOHDQW¶V  . LQDFFXUDWHO\ FHUWLILHG

  WKDWWKH.GLGQRWFRQWDLQDQ\XQWUXHVWDWHPHQWRIPDWHULDOIDFWRURPLWWRVWDWHDPDWHULDO

  IDFWQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHQRWPLVOHDGLQJDQG

                  P       WKDW9DOHDQWLPSURSHUO\UHFRJQL]HG3KLOLGRUUHYHQXHLQYLRODWLRQRI*$$3

  FDXVLQJ WKH UHYHQXHV QHW LQFRPH DQG *$$3 (36 UHSRUWHG LQ 9DOHDQW¶V  . WR EH

  PDWHULDOO\PLVVWDWHG

                  ,QDGGLWLRQ,WHPUHTXLUHGWKH.LQFRUSRUDWHGLQWRWKH0DUFK

  'HEW2IIHULQJ3URVSHFWXVWRGHVFULEH³DQ\NQRZQWUHQGVRUXQFHUWDLQWLHVWKDWKDYHKDGRU

  WKDWWKHUHJLVWUDQWUHDVRQDEO\H[SHFWVZLOOKDYHDPDWHULDOIDYRUDEOHRUXQIDYRUDEOHLPSDFWRQQHW

  VDOHVRUUHYHQXHVRULQFRPHIURPFRQWLQXLQJRSHUDWLRQV´&)5 D  LL 6LPLODUO\

  WKHUHJXODWLRQUHTXLUHGWKH.WRGLVFORVHHYHQWVWKDWWKHUHJLVWUDQWNQHZZRXOG³FDXVHD

  PDWHULDOFKDQJHLQWKHUHODWLRQVKLSEHWZHHQFRVWVDQGUHYHQXHV´DQG³DQ\XQXVXDORULQIUHTXHQW

  HYHQWVRUWUDQVDFWLRQVRUDQ\VLJQLILFDQWHFRQRPLFFKDQJHVWKDWPDWHULDOO\DIIHFWHGWKHDPRXQWRI

  UHSRUWHGLQFRPHIURPFRQWLQXLQJRSHUDWLRQVDQGLQHDFKFDVHLQGLFDWHWKHH[WHQWWRZKLFKLQFRPH

  ZDVVRDIIHFWHG´&)5 D  L  LL 

                  ,QYLRODWLRQRI,WHPWKH.RPLWWHGWKDWDWWKHWLPHRIWKH0DUFK

   'HEW 2IIHULQJ 9DOHDQW¶V JURZWK DQG SURILWDELOLW\ ZHUH LQFUHDVLQJO\ GHSHQGHQW XSRQ LWV

  XQGLVFORVHGSUDFWLFHVRISULFHJRXJLQJURXWLQJSDWLHQWVLQWRLWVXQGLVFORVHGDQGFRQWUROOHGQHWZRUN

  RISKDUPDFLHVDQGXVLQJ3$3DQG35SUDFWLFHVDOORIZKLFKUHVXOWHGLQ9DOHDQWREWDLQLQJKLJKHU

  UHLPEXUVHPHQWV IRU 9DOHDQW¶V SURGXFWV DQG KDG D PDMRU LPSDFW LQ GULYLQJ 9DOHDQW¶V UHYHQXH

  JURZWKZKLOHH[SRVLQJWKH&RPSDQ\WRLQFUHDVHGULVNVRIUHJXODWRU\VDQFWLRQVLQFUHDVHGFRVWVRI



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  LQYHVWLJDWLRQVUHSXWDWLRQDOKDUPFRQWUDFWXDOYLRODWLRQVGHFUHDVHGVDOHVDQGLQFUHDVHGVFUXWLQ\

  QRQSD\PHQWDQGVXEVWLWXWLRQRI9DOHDQWSURGXFWV7KHVHNQRZQWUHQGVHYHQWVRUXQFHUWDLQWLHV

  WKDW ZHUH UHDVRQDEO\ OLNHO\ WR KDYH D PDWHULDO XQIDYRUDEOH LPSDFW RQ 9DOHDQW¶V QHW VDOHV RU

  UHYHQXHVRULQFRPHIURPFRQWLQXLQJRSHUDWLRQVDQGFDXVHUHSRUWHGILQDQFLDOLQIRUPDWLRQWRQRW

  QHFHVVDULO\ EH LQGLFDWLYH RI IXWXUH UHVXOWV ZHUH QHJOLJHQWO\ RPLWWHG IURP WKH  .

  LQFRUSRUDWHGLQWRWKH0DUFK'HEW2IIHULQJ3URVSHFWXV

                 7KH 0DUFK  'HEW 2IIHULQJ FORVHG RQ RU DURXQG 'HFHPEHU  

  DOORZLQJ9DOHDQWWRREWDLQELOOLRQVRIGROODUVIURP7,$$DQGWKHRWKHUPHPEHUVRIWKH&ODVVZKR

  SXUFKDVHG VHQLRU QRWHV GLUHFWO\ LQ WKH 0DUFK  'HEW 2IIHULQJ IURP WKH %DQN 2IIHULQJ

  'HIHQGDQWVQDPHGLQWKLV&RXQWE\PHDQVRIWKH0DUFK'HEW2IIHULQJ3URVSHFWXV

                 7KH'HIHQGDQWVQDPHGLQWKLV&RXQWZHUHVWDWXWRU\VHOOHUVZKRVROGDQG

  DVVLVWHGLQWKHVDOHRIVHFXULWLHVWR/HDG3ODLQWLIIDQGRWKHUPHPEHUVRIWKH&ODVVE\PHDQVRIWKH

  0DUFK'HEW2IIHULQJ3URVSHFWXVDQGWKH\GLGVRIRUWKHEHQHILWRI9DOHDQWDQGRUIRUWKHLU

  RZQSHUVRQDOJDLQLQFOXGLQJSD\PHQWVGLUHFWO\WRWKHVHLQGLYLGXDOVDQGRUWRHQWLWLHVDIILOLDWHG

  ZLWKWKHPLQWKHIRUPRIFRPSHQVDWLRQGLVFRXQWVIHHVFRPPLVVLRQVDQGRWKHUWUDQVDFWLRQUHODWHG

  SD\PHQWV7KH%DQN2IIHULQJ'HIHQGDQWVQDPHGLQWKLV&RXQWDORQHFROOHFWLYHO\UHFHLYHGDOPRVW

  PLOOLRQLQIHHVIRUWKHLUUROHLQWKH0DUFK'HEW2IIHULQJ

                 (DFKRIWKH6HFXULWLHV$FW'HIHQGDQWVDJDLQVWZKRPWKLVFODLPLVDVVHUWHG

  ZHUHREOLJDWHGE\ODZWRPDNHDUHDVRQDEOHDQGGLOLJHQWLQYHVWLJDWLRQRIWKHVWDWHPHQWVFRQWDLQHG

  LQ WKH 0DUFK  'HEW 2IIHULQJ 3URVSHFWXV LQFOXGLQJ ILQDQFLDO VWDWHPHQWV DQG VWDWHPHQWV

  UHJDUGLQJ 9DOHDQW¶V LQWHUQDO FRQWUROV DQG IDLOHG WR GR VR  +DG WKHVH GHIHQGDQWV H[HUFLVHG

  UHDVRQDEOH FDUH WKH\ ZRXOG KDYH NQRZQ RI WKH PDWHULDO PLVVWDWHPHQWV DQG RPLVVLRQV DOOHJHG

  KHUHLQ



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                 $VDUHVXOWRIWKHFRQGXFWDOOHJHGKHUHLQ'HIHQGDQWVQDPHGLQWKLV&RXQW

  YLRODWHG D  RIWKH6HFXULWLHV$FW$VDGLUHFWDQGSUR[LPDWHUHVXOWRIVXFKYLRODWLRQV/HDG

  3ODLQWLIIDQGWKHRWKHUPHPEHUVRIWKH&ODVVZKRSXUFKDVHGVHQLRUQRWHVLQWKH0DUFK'HEW

  2IIHULQJSXUVXDQWWRWKH0DUFK'HEW2IIHULQJ3URVSHFWXVIURPWKHVHGHIHQGDQWVVXVWDLQHG

  VXEVWDQWLDOGDPDJHV

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  WKH0DUFK'HEW2IIHULQJDWSDUDQGE\0DUFKKDGGHFOLQHGWRDQG

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  KDYHWKHULJKWWRUHVFLQGDQGUHFRYHUWKHFRQVLGHUDWLRQSDLGIRUWKHLUVHFXULWLHVXSRQWHQGHURIWKHLU

  VHFXULWLHV WR WKH 'HIHQGDQWV VXHG KHUHLQ  &ODVV PHPEHUV ZKR KDYH VROG WKHLU VHFXULWLHV VHHN

  GDPDJHVWRWKHH[WHQWSHUPLWWHGE\ODZ

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  ZHUHQRWDZDUHRIWKHXQWUXHRUPLVOHDGLQJQDWXUHRIWKHVWDWHPHQWVDQGRUWKHRPLVVLRQVDOOHJHG

  KHUHLQDQGFRXOGQRWKDYHUHDVRQDEO\GLVFRYHUHGVXFKXQWUXHVWDWHPHQWVRURPLVVLRQVEHIRUHWKH\

  DFTXLUHGWKHVHFXULWLHVIRUZKLFKWKLVFODLPLVDVVHUWHG/HVVWKDQRQH\HDUHODSVHGIURPWKHWLPH

  WKDW /HDG 3ODLQWLII GLVFRYHUHG RU UHDVRQDEO\ FRXOG KDYH GLVFRYHUHG WKH IDFWV XSRQ ZKLFK WKLV

  &RQVROLGDWHG &RPSODLQW LV EDVHG XQWLO WKH WLPH WKDW SODLQWLIIV ILOHG WKH HDUOLHU FRPSODLQW IRU

  YLRODWLRQVRIWKHVHFXULWLHVODZV/HVVWKDQWKUHH\HDUVHODSVHGEHWZHHQWKHWLPHWKDWWKHVHFXULWLHV

  XSRQZKLFKWKLV&RXQWLVEURXJKWZHUHRIIHUHGWRWKHSXEOLFDQGWKHGDWHWKHDFWLRQFRPPHQFHG

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                  )RU9LRODWLRQVRI6HFWLRQRIWKH6HFXULWLHV$FWLQ&RQQHFWLRQ
                               ZLWKWKH0DUFK6WRFN2IIHULQJ
                    $JDLQVW9DOHDQWWKH,QGLYLGXDO6HFXULWLHV$FW'HIHQGDQWV
                           3Z&DQGWKH6WRFN8QGHUZULWHU'HIHQGDQWV


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                 3ODLQWLIIV LQFRUSRUDWH   DV WKRXJK IXOO\ VHW IRUWK KHUHLQ

  :LWKUHVSHFWWRWKLV&RXQW3ODLQWLIIVDOVRH[FOXGHDOOHJDWLRQVWKDWFRXOGEHFRQVWUXHGDVDOOHJLQJ

  IUDXGRULQWHQWLRQDOPLVFRQGXFWDVWKLV&RXQWLVEDVHGVROHO\RQFODLPVRIVWULFWOLDELOLW\DQGRU

  QHJOLJHQFH

                 1DPHG3ODLQWLII7XFVRQEULQJVWKLVFODLPSXUVXDQWWRRIWKH6HFXULWLHV

  $FW86&NRQEHKDOIRILWVHOIDQGWKHRWKHUPHPEHUVRIWKH&ODVVZKRSXUFKDVHG9DOHDQW

  FRPPRQVWRFNLQWKH0DUFK6WRFN2IIHULQJDJDLQVW9DOHDQWWKH,QGLYLGXDO6HFXULWLHV$FW

  'HIHQGDQWV3Z&DQGWKH6WRFN8QGHUZULWHU'HIHQGDQWV

                 2Q RU DERXW 0DUFK   9DOHDQW DQQRXQFHG D  ELOOLRQ SXEOLF

  RIIHULQJRIPLOOLRQVKDUHVRI9DOHDQWFRPPRQVWRFNDWDSULFHRISHUVKDUHWKHSURFHHGV

  RIZKLFK ZHUHXVHGWRIXQGWKHDFTXLVLWLRQRI6DOL[DQGUHODWHG FRVWV 7KH 0DUFK  6WRFN

  2IIHULQJZDVFRQGXFWHGSXUVXDQWWRWKH0DUFK6WRFN2IIHULQJ0DWHULDOV

                 7KH -XQH  5HJLVWUDWLRQ 6WDWHPHQW ZDV  SDJHV ORQJ H[FOXGLQJ

  H[KLELWV DQGLWGLGQRWLWVHOIGHVFULEHDQ\RIIHULQJEXWUDWKHUQRWHG³>H@DFKWLPHZHVHOOVHFXULWLHV

  ZHZLOOSURYLGHDSURVSHFWXVVXSSOHPHQWWKDWZLOOFRQWDLQVSHFLILFLQIRUPDWLRQDERXWWKHWHUPVRI

  WKDWRIIHULQJ7KHSURVSHFWXVVXSSOHPHQWPD\DOVRDGGXSGDWHRUFKDQJHLQIRUPDWLRQFRQWDLQHG

  LQWKLVSURVSHFWXV´7KH9DOHDQWILQDQFLDOVWDWHPHQWVLQFRUSRUDWHGE\UHIHUHQFHLQWKH-XQH

  5HJLVWUDWLRQ 6WDWHPHQW VKRZHG DPRQJ RWKHU WKLQJV DSSUR[LPDWHO\  ELOOLRQ LQ DQQXDO

  UHYHQXHVELOOLRQLQORQJWHUPGHEWDQGHPSOR\HHV

                 ,Q FRQWUDVW WKH 0DUFK  3URVSHFWXV 6XSSOHPHQW ZDV  SDJHV ORQJ

  H[FOXGLQJH[KLELWV DQGE\LWVRZQWHUPV³GHVFULEH>G@WKHVSHFLILFWHUPVRIWKHRIIHULQJDQGDOVR

  VXSSOHPHQW>HG@DGG>HG@WRDQGXSGDWH>G@LQIRUPDWLRQFRQWDLQHGLQWKH>-XQH5HJLVWUDWLRQ

  6WDWHPHQW@ DQG WKH GRFXPHQWV LQFRUSRUDWHG E\ UHIHUHQFH LQWR WKH >-XQH  5HJLVWUDWLRQ



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  6WDWHPHQW@´$WWKHWLPHRIWKH0DUFK6WRFN2IIHULQJWKHLQIRUPDWLRQFRQWDLQHGLQWKH-XQH

  5HJLVWUDWLRQ6WDWHPHQWZDVPRUHWKDQPRQWKVROG7KHILQDQFLDOVWDWHPHQWVLQFRUSRUDWHG

  E\ UHIHUHQFH LQ WKH 0DUFK  3URVSHFWXV 6XSSOHPHQW ZHUH VLJQLILFDQWO\ GLIIHUHQW VKRZLQJ

  DSSUR[LPDWHO\ELOOLRQLQDQQXDOUHYHQXHVELOOLRQLQORQJWHUPGHEW DQGLQWKHSURFHVV

  RIFRPSOHWLQJDELOOLRQDFTXLVLWLRQ DQGHPSOR\HHV

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  LQIRUPDWLRQ WKDW ZDV IXQGDPHQWDO WR DVVHVVLQJ WKH YDOXH RI WKH 0DUFK  6WRFN 2IIHULQJ

  LQFOXGLQJEXWQRWOLPLWHGWR

         x      WKH VWDWHPHQWV VHW IRUWK LQ  E  DQG G  EHORZ LQFOXGLQJ WKH
                 ILQDQFLDOUHVXOWVIRUWKDWFRQWDLQHGXQWUXHVWDWHPHQWVRIPDWHULDOIDFW
                 DQGRU RPLWWHG WR VWDWH PDWHULDO IDFWV UHTXLUHG WR EH VWDWHG WKHUHLQ RU
                 QHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPH
                 WKH\ZHUHPDGH

         x      LQIRUPDWLRQ UHJDUGLQJ DFTXLVLWLRQV FRPSOHWHG EHWZHHQ WKH -XQH 
                 5HJLVWUDWLRQ 6WDWHPHQW DQG WKH 0DUFK  6WRFN 2IIHULQJ LQFOXGLQJ
                 2EDJL0HGLFDO3URGXFWV,QF $SULO %DXVFK/RPE $XJXVW 
                 6ROWD0HGLFDO,QF -DQXDU\ 3UH&LVLRQ'HUPDWRORJ\,QF -XO\ 
                 SURGXFWV IURP 0DUDWKRQ VXFK DV 1LWURSUHVV DQG ,VXSUHO )HEUXDU\ 
                 DQG'HQGUHRQ&RUSRUDWLRQ )HEUXDU\ 

         x      D GHVFULSWLRQ RI WKH SXUSRUWHG ULVNV UHODWHG WR WKH 0DUFK  6WRFN
                 2IIHULQJDQG9DOHDQW¶VFRPPRQVKDUHV

         x      DQ H[SODQDWLRQ WKDW WKH RIIHULQJ ZDV EHLQJ FRPSOHWHG LQ FRQQHFWLRQ ZLWK
                 9DOHDQW¶VELOOLRQDFTXLVLWLRQRI6DOL[

         x      DGHVFULSWLRQRI6DOL[LQFOXGLQJLWVEXVLQHVVSURGXFWVDQGULVNVDVZHOODV
                 WKHSXUSRUWHGULVNVUHODWHGWRWKHDFTXLVLWLRQDQGWKHSRVWPHUJHUFRPSDQ\

         x      D GHVFULSWLRQ RI D ILUP FRPPLWPHQW OHWWHU EHWZHHQ 9DOHDQW DQG YDULRXV
                 EDQNVIRUXSWRELOOLRQLQXQVHFXUHGEULGJHORDQVIRUSXUSRVHVRILQ
                 SDUWILQDQFLQJWKH6DOL[DFTXLVLWLRQ

         x      XSGDWHGILQDQFLDOLQIRUPDWLRQLQFOXGLQJWKH&RPSDQ\¶VDXGLWHGILQDQFLDO
                 VWDWHPHQWVIRUIXOO\HDUDQGDQGXQDXGLWHGILQDQFLDOVWDWHPHQWV
                 RIWKHFRPELQHGFRPSDQ\DQG



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  ³sustainableRUJDQLFgrowth´ZKHUHWKH³healthcare professional or patient is still the primary

  decision maker´ DQG VLPLODUO\ VWDWHG WKDW 9DOHDQW¶V EXVLQHVV VWUDWHJ\ RSHUDWHG ³to ensure

  decisions are made close to the customer´DQGWKDWWKHUHZDV³significant opportunity to create

  value through application of the Valeant business model´

                  F     9DOHDQW¶V³inventory is held at retail pharmacies and other non-wholesale

  locations over whose buying patterns we will have limited influence´ DQGWKH³pricing and sales

  volume of certain of our products (or Salix’s products) . . . are distributed or marketed by third

  parties, over which we have no or limited control´DQG

                  G     9DOHDQW¶V ILQDQFLDO UHVXOWV IRU WKH \HDU HQGHG 'HFHPEHU   total

  revenues of $8.264 billion; net income of $913.5 million; and basic and diluted EPS of $2.72

  and $2.67, respectivelyDQGVWDWHGWKDWUHYHQXHVKDGJURZQE\DSSUR[LPDWHO\\HDURYHU\HDU

  LWIDLOHGWRGLVFORVHWKDWWKLVJURZWKKDGEHHQDFKLHYHGWKURXJKKLJKULVNDQGLPSURSHUSUDFWLFHV

  ZKLFKUDLVHGVDOHVSULFHVYLDFDSWLYHVSHFLDOW\SKDUPDFLHVZKLOHSUHYHQWLQJVXEVWLWXWLRQRI9DOHDQW

  SURGXFWVZLWKWKRVHRIRWKHUFRPSDQLHV

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  5HFHQW$FTXLVLWLRQV´EXWIDLOHGWRPHQWLRQ9DOHDQWSDLGPLOOLRQIRUWKHRSWLRQWRDFTXLUH

  3KLOLGRUMXVWWKUHHPRQWKVSULRUWRWKH0DUFK6WRFN2IIHULQJDQGFODLPHGWKDWWKH&RPSDQ\

  ZDV³QRWFXUUHQWO\DSDUW\WRDQ\VLJQLILFDQWWUDQVDFWLRQVRWKHUWKDQWKH>6DOL[PHUJHU@´

                9DOHDQW¶V  . ZKLFK ZDV H[SUHVVO\ LQFRUSRUDWHG LQWR WKH 0DUFK

   6WRFN 2IIHULQJ 0DWHULDOV LQFOXGHG WKH VDPH ,QWHUQDO &RQWUROV 6WDWHPHQW DQG 62;

  &HUWLILFDWLRQVDVVHWIRUWKLQ 7KH.DOVRLQFOXGHGWKHVWDWHPHQWVOLVWHGLQ

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  XQWUXHVWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQ

  RUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGH7KH

  WUXHIDFWVZHUH

                   D     WKDWDOWKRXJKQRWGLVFORVHGWRSULYDWHSD\RUVSDWLHQWVSK\VLFLDQV3%0V

  DQGLQYHVWRUV9DOHDQWHPSOR\HHVZRUNHGDW3KLOLGRU3KLOLGRUKDGEHHQIRUPHGZLWKWKHDVVLVWDQFH

  DQG IRU WKH EHQHILW RI 9DOHDQW WR LQFUHDVH WKH VDOH SULFHV RI 9DOHDQW SURGXFWV 9DOHDQW SDLG

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  REWDLQHG H[SOLFLW ULJKWV WR GLUHFW 3KLOLGRU DFWLYLWLHV DQG 9DOHDQW ZDV FRQVROLGDWLQJ 3KLOLGRU¶V

  UHVXOWVDVLWVRZQ

                   E     WKDW9DOHDQW¶VEXVLQHVVVWUDWHJ\FRQVLVWHGRIDPDWHULDOVRXUFHRILWVJURZWK

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  FRQWUDFWXDO YLRODWLRQV GHFUHDVHG VDOHV QRQSD\PHQWVXEVWLWXWLRQ RI 9DOHDQW SURGXFWV E\ 3%0V

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  FKDQJHLQWKHUHODWLRQVKLSEHWZHHQFRVWVDQGUHYHQXHV´DQG³DQ\XQXVXDORULQIUHTXHQWHYHQWVRU

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         PwC’s Certification of Valeant’s Actionable Financial Statements

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            Auditing Standards and Purpose of an Audit

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  WRKHUHLQDV³$8BB´ DQGKDVDOVRSURPXOJDWHGDGGLWLRQDODXGLWLQJVWDQGDUGV UHIHUUHGWRKHUHLQ
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  DVVHUWLRQWKDWLVWKHUHVSRQVLELOLW\RIDQRWKHUSDUW\WKHDVVHUWHU´$,&3$Statement on Standards
  for Consulting Services No. 17R³DWWHVW´PHDQV³WRHVWDEOLVKRUYHULI\´7KXVWKURXJKLWV
  DXGLW3Z&ZDVYHULI\LQJWKDWWKHILQDQFLDOVWDWHPHQWVZHUHSUHSDUHGLQDFFRUGDQFHZLWK*$$3


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  SUHSDUHGLQDFFRUGDQFHZLWKWKHREMHFWLYH*$$3VWDQGDUGV$QLPSRUWDQWFRQFHSWLQDFFRXQWLQJ

  LV FRPSDUDELOLW\ ZKLFK SURYLGHV WKDW DFFRXQWLQJ LQIRUPDWLRQ LV FRPSDUDEOH ZKHQ DFFRXQWLQJ

  VWDQGDUGVDQGSROLFLHVDUHDSSOLHGFRQVLVWHQWO\IURPRQHSHULRGWRDQRWKHUDQGIURPRQHFRPSDQ\

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  &RPSDUDELOLW\ LV LPSRUWDQW WR LQYHVWRUV DV LW DOORZV D FRPSDULVRQ RI D FRPSDQ\¶V ILQDQFLDO

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  2WKHUZLVHLQYHVWRUVZRXOGEHIRUFHGWRUHO\XSRQWKHVXEMHFWLYHYLHZVRIPDQDJHPHQWUHJDUGLQJ

  PDWWHUVVXFKDVDVVHWVUHYHQXHVDQGHDUQLQJVZKLFKZRXOGEHLQFDSDEOHRIYHULILFDWLRQWKURXJK

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          Actionable Statements in PwC’s Audit Report

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  VWDWHPHQWV

          x      In our opinion, the accompanying consolidated balance sheets and the
                  related consolidated statements of income (loss), comprehensive income
                  (loss), shareholders’ equity, and cash flows present fairly, in all material
                  respects, the financial position of Valeant Pharmaceuticals International,
                  Inc. and its subsidiaries (the “Company”) at December 31, 2014 and
                  December 31, 2013, and the results of their operations and their cash
                  flows for each of the three years in the period ended December 31, 2014
                  in conformity with accounting principles generally accepted in the United
                  States of America.

          x      Also in our opinion, the Company maintained, in all material respects,
                  effective internal control over financial reporting as of December 31,
                  2014, based on criteria established in Internal Control - Integrated



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                      Framework (2013) issued by the Committee of Sponsoring Organizations
                      of the Treadway Commission (COSO).

            x        We conducted our audits in accordance with the standards of the Public
                      Company Accounting Oversight Board.

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  VWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGHLQFOXGLQJ

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  FRQWUROHQYLURQPHQW7KHVHFRQGPDWHULDOZHDNQHVVZDVGXHWR9DOHDQW¶VIDLOXUHWRDGHTXDWHO\
  GHVLJQ DQG PDLQWDLQ HIIHFWLYH FRQWUROV RYHU WKH UHYLHZ DSSURYDO DQG GRFXPHQWDWLRQ RI WKH
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  LQFOXGLQJIRUWKHPLOOLRQRIRYHUVWDWHGUHYHQXHJLYLQJULVHWRWKHUHVWDWHPHQWDQGRWKHUUHYHQXH
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          DFWLRQVWDNHQE\WKH&RPSDQ\ LQFOXGLQJIXOILOOPHQWRIXQXVXDOO\ODUJHRUGHUVZLWK
          H[WHQGHGSD\PHQWWHUPVDQGLQFUHDVHGSULFLQJDQGHPSKDVLVRQGHOLYHULQJSURGXFW
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  DV SDUW RI LWV DXGLW RI 9DOHDQW¶V ILQDQFLDO VWDWHPHQWV DQG LQWHUQDO FRQWUROV IRU WKH \HDU HQGHG

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  PDQDJHPHQW WR DFW LQ LWV RZQ LQWHUHVWV UDWKHU WKDQ LQ WKH LQWHUHVWV RI WKH &RPSDQ\ DQG LWV

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  ZLWKUHODWHGSDUWLHVKDYHEHHQSURSHUO\LGHQWLILHGDFFRXQWHGIRUDQGGLVFORVHGLQWKHILQDQFLDO

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  WKHVH 3&$2% VWDQGDUGV UHTXLULQJ 3Z& WR SODFH H[WUD HPSKDVLV RQ PDWHULDO WUDQVDFWLRQV ZLWK

  UHODWHGSDUWLHVLQFOXGLQJZKHWKHUVXFKWUDQVDFWLRQVKDYHEHHQSURSHUO\DFFRXQWHGIRU3Z&VWLOO

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             x       :KHWKHUVRXQGLQWHJULW\DQGHWKLFDOYDOXHVSDUWLFXODUO\RIWRSPDQDJHPHQW
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             x       :KHWKHUWKH%RDUGRUDXGLWFRPPLWWHHXQGHUVWDQGVDQGH[HUFLVHVRYHUVLJKW
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  FRQWURO SURYLGLQJ GLVFLSOLQH DQG VWUXFWXUH  &RQWURO HQYLURQPHQW IDFWRUV LQFOXGH WKH LQWHJULW\
  HWKLFDOYDOXHVDQGFRPSHWHQFHRIWKHHQWLW\¶VSHRSOHPDQDJHPHQW¶VSKLORVRSK\DQGRSHUDWLQJ
  VW\OHWKHZD\PDQDJHPHQWDVVLJQVDXWKRULW\DQGUHVSRQVLELOLW\DQGRUJDQL]HVDQGGHYHORSVLWV
  SHRSOHDQGWKHDWWHQWLRQDQGGLUHFWLRQSURYLGHGE\WKHERDUGRIGLUHFWRUV´See &RPPLWWHHRI
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  HQYLURQPHQW DV RI 'HFHPEHU   LQFOXGLQJ DQ LQDSSURSULDWH WRQH DW WKH WRS RI WKH

  RUJDQL]DWLRQ7KLVZDVGHPRQVWUDWHGE\6FKLOOHUDQG&DUURSUHPDWXUHO\UHFRUGLQJUHYHQXHVIRU

  WKH 3KLOLGRU 6DOHV 7UDQVDFWLRQV  $V VXFK 9DOHDQW¶V LQWHUQDO FRQWUROV ZHUH QRW HIIHFWLYH DV RI

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  6DOHV7UDQVDFWLRQVWKDWXOWLPDWHO\OHGWRWKHUHVWDWHPHQW&RQVHTXHQWO\3Z&IDLOHGWRFRQGXFWLWV

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          Actionable Statements in PwC’s Audit Consent

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  IDFWVWKDWZRXOGPDNHWKHVWDWHPHQWVLQWKH0DUFK6WRFN2IIHULQJ0DWHULDOVPLVOHDGLQJ

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          VWDWHPHQW VFKHGXOH DQG WKH HIIHFWLYHQHVV RI LQWHUQDO FRQWURO RYHU ILQDQFLDO
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  LWV$XGLW5HSRUWXSWRWKHHIIHFWLYHGDWHRIWKH0DUFK6WRFN2IIHULQJ0DWHULDOVRUDVFORVH

  WKHUHWRDVLVUHDVRQDEOHDQGSUDFWLFDEOHXQGHUWKHFLUFXPVWDQFHV3URFHGXUHVWKDW3Z&VKRXOGKDYH

  XQGHUWDNHQSULRUWRLVVXLQJLWVFRQVHQWLQFOXGHG

         x      UHDGLQJWKHHQWLUHSURVSHFWXVDQGRWKHUSHUWLQHQWSRUWLRQVRIWKH0DUFK
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         x      LQTXLULQJRIDQGREWDLQLQJZULWWHQUHSUHVHQWDWLRQVIURPRIILFHUVDQGRWKHU
                 H[HFXWLYHVUHVSRQVLEOHIRUILQDQFLDODQGDFFRXQWLQJPDWWHUVDERXWZKHWKHU
                 DQ\ HYHQWV RFFXUUHG RWKHU WKDQ WKRVH UHIOHFWHG LQ WKH 0DUFK  6WRFN
                 2IIHULQJ0DWHULDOVWKDWLQWKHLURSLQLRQKDGDPDWHULDOHIIHFWRQWKHDXGLWHG
                 ILQDQFLDOVWDWHPHQWVLQFOXGHGWKHUHLQRUWKDWVKRXOGEHGLVFORVHGLQRUGHUWR
                 NHHSWKRVHVWDWHPHQWVIURPEHLQJPLVOHDGLQJ

         x      UHDGLQJ WKH ODWHVW DYDLODEOH LQWHULP ILQDQFLDO VWDWHPHQWV WR PDNH DQ\
                 DSSURSULDWH FRPSDULVRQV DQG LQTXLULQJ DV WR ZKHWKHU LQWHULP VWDWHPHQWV
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         x      LQTXLULQJ ZKHWKHU WKHUH KDG EHHQ DQ\ FKDQJHV LQ WKH &RPSDQ\¶V UHODWHG
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         x      LQTXLU\LQWRZKHWKHUWKH&RPSDQ\KDVHQWHUHGLQWRDQ\VLJQLILFDQWXQXVXDO
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         x      PDNLQJ VXFK DGGLWLRQDO LQTXLULHV RU SHUIRUPLQJ VXFK SURFHGXUHV DV
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                 FDUU\LQJRXWWKHIRUHJRLQJSURFHGXUHVLQTXLULHVDQGGLVFXVVLRQV

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  VWDWHPHQWVRIPDWHULDOIDFWDQGRURPLWWHGWRVWDWHPDWHULDOIDFWVUHTXLUHGWREHVWDWHGWKHUHLQRU

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  QDWXUH RI WKH VWDWHPHQWV DQGRU WKH RPLVVLRQV DOOHJHG KHUHLQ DQG FRXOG QRW KDYH UHDVRQDEO\

  GLVFRYHUHGVXFKXQWUXHVWDWHPHQWVRURPLVVLRQVEHIRUHWKH\DFTXLUHGWKHVHFXULWLHVIRUZKLFKWKLV

  FODLPLVDVVHUWHG/HVVWKDQRQH\HDUHODSVHGIURPWKHWLPHWKDW7XFVRQGLVFRYHUHGRUUHDVRQDEO\

  FRXOGKDYHGLVFRYHUHGWKHIDFWVXSRQZKLFKWKLV&RQVROLGDWHG&RPSODLQWLVEDVHGXQWLOWKHWLPH

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  PDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPHWKH\ZHUHPDGHUHJDUGLQJ9DOHDQW¶V

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  &ODVVZKRSXUFKDVHGVWRFNGLUHFWO\LQWKH0DUFK6WRFN2IIHULQJIURPWKH'HIHQGDQWVQDPHG

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  ZLWKWKHPLQWKHIRUPRIFRPSHQVDWLRQGLVFRXQWVIHHVFRPPLVVLRQVDQGRWKHUWUDQVDFWLRQUHODWHG

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  DFTXLUHGWKHVHFXULWLHVIRUZKLFKWKLVFODLPLVDVVHUWHG/HVVWKDQRQH\HDUHODSVHGIURPWKHWLPH

  WKDW 7XFVRQ GLVFRYHUHG RU UHDVRQDEO\ FRXOG KDYH GLVFRYHUHG WKH IDFWV XSRQ ZKLFK WKLV

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  WREHVWDWHGWKHUHLQRUQHFHVVDU\WRPDNHWKHVWDWHPHQWVPDGHWKHUHLQQRWPLVOHDGLQJDWWKHWLPH

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  KHOG H[HFXWLYH DQG GLUHFWRU SRVLWLRQV DW 9DOHDQW DV GHWDLOHG DERYH  3HDUVRQ ZDV 9DOHDQW¶V

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  WKH IHGHUDO VHFXULWLHV ODZV WR IXUWKHU HQVXUH VXFK SURWHFWLRQ DQG LQWHQG WR SURVHFXWH WKLV DFWLRQ

  YLJRURXVO\  $ FODVV DFWLRQ LV VXSHULRU WR RWKHU DYDLODEOH PHWKRGV IRU WKH IDLU DQG HIILFLHQW

  DGMXGLFDWLRQRIWKLVFRQWURYHUV\%HFDXVHWKHGDPDJHVVXIIHUHGE\LQGLYLGXDO&ODVVPHPEHUVPD\

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